 Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 1 of 409 PageID #:13770




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DON LIPPERT, et al.,                                  )
                                                       )
                        Plaintiffs,                    )   No. 10-cv-4603
         v.                                            )
                                                       )   Judge Jorge L. Alonso
 JOHN BALDWIN, et al.,                                 )   Magistrate Judge Susan E. Cox
                                                       )
                        Defendants.                    )

                                   FINAL PRETRIAL ORDER

       As stated at the pretrial conference on November 28, 2018, the Court hereby enters the

following pretrial order:

       1.      This is a civil rights action brought under the Eighth and Fourteenth Amendments

of the United States Constitution and 28 U.S.C. §§1343, 2201, and 2202 and 42 U.S.C. § 1983

for declaratory and injunctive relief on behalf of a class of all prisoners in the custody of the

Illinois Department of Corrections with serious medical or dental needs. The jurisdiction of the

court is invoked under28 U.S.C. § 1331 and 28 U.S.C. § 1343. Jurisdiction is not disputed.

       2.      The following are attached to and made a part of this Order:

               a.       a statement of uncontested facts (Exhibit 1);

               b.       the parties’ statements of contested issues of fact and law (Exhibit 2);

               c.       the parties’ schedules of exhibits (Plaintiffs’ schedule attached as Exhibit

                        3; Defendants’ schedule attached as Exhibit 4);

               d.       the parties’ witness lists (Plaintiffs’ list attached as Exhibit 5; Defendants’

                        list attached as Exhibit 6);

               f.       Plaintiffs’ list of deposition designations (Exhibit 7); and




                                                   1
 Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 2 of 409 PageID #:13771




                g.       the parties’ proposed findings of fact and conclusions of law (Plaintiffs’

                         list attached as Exhibit 8; Defendants’ list attached as Exhibit 9).

        3.      Non-objected-to exhibits are received in evidence by operation of this Order.

        4.      The parties have no motions in limine to present at this time.

        5.      Fact discovery closed on May 2, 2018 and all expert discovery has been

completed except for the deposition of Defendants’ rebuttal expert, Dr. Owen Murray, which is

scheduled for September 28. Plaintiffs, as they have advised Defendants, anticipate the need to

request certain limited updates of discovery (pursuant to Fed. R. Civ. P. 26(e)) between now and

the date of trial, given that the case is one for injunctive relief.

        6.      Trial of this case is expected to take ten (10) days and is scheduled for the weeks

of December 17, 2018 and January 7, 2019.

        7.      The trial is non-jury.

        8.      This Order will control the course of the trial and may not be amended except by

consent of the parties and the court, or by order of the court to prevent manifest injustice.

        9.      Possibility of settlement of this case was considered by the parties.



ENTERED:



12/3/18                                                  ______________________________
                                                         Jorge L. Alonso
                                                         United States District Judge




                                                    2
 Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 3 of 409 PageID #:13772




/s/ Camille E. Bennett                       /s/ Michael Arnold

Attorney for Plaintiffs                      Attorney for Defendant

Camille E. Bennett                           Michael Arnold
Benjamin S. Wolf                             Christopher Fletcher
Lindsay S. Miller                            Assistant Attorney General
Roger Baldwin Foundation of ACLU, Inc.       General Law Bureau
150 N. Michigan Ave., Ste. 600               100 W. Randolph St., 13th Floor
Chicago, IL 60601                            Chicago, IL 60601

Harold C. Hirshman
Dentons US LLP
233 S. Wacker Dr., Ste. 5900
Chicago, IL 60606

Alan Mills
Elizabeth Mazur
Uptown People’s Law Center
4413 N. Sheridan
Chicago, IL 60640




                                         3
 Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 4 of 409 PageID #:13773




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DON LIPPERT, et al.,                              )
                                                   )
                        Plaintiffs,                )   No. 10-cv-4603
         v.                                        )
                                                   )   Judge Jorge L. Alonso
 JOHN BALDWIN, et al.,                             )   Magistrate Judge Susan E. Cox
                                                   )
                        Defendants.                )

                            FINAL PRETRIAL ORDER
                 EXHIBIT 1—STATEMENT OF UNCONTESTED FACTS

       1.      As of May 31, 2018, IDOC had over 40,000 prisoners in custody at 28 facilities

throughout the State of Illinois.

       2.      Official capacity Defendant John R. Baldwin is the Director of IDOC.

       3.      Since 2010, the Directors or acting Directors of IDOC have been Gladyse Taylor

(Acting Director September 2010 – April 2011; June 16, 2015 – August 13, 2015), Salvador

Godinez (May 2, 2011- March 2, 2015); Bryan Gleckler (Acting Director March 3, 2015 - March

15, 2015); Donald Stolworthy (Acting Director March 16, 2015 - June 15, 2015), John R.

Baldwin (August 14, 2015 - present).

       4.      Official capacity Defendant Dr. Steven Meeks is the Chief of Health Services of

IDOC, and has been since. (This position was formerly known as “agency Medical Director.”),

       5.      Since 2010, the agency Medical Directors of IDOC have been Dr. Louis Shicker

(2010 - June 2016); Dr. Michael Dempsey (acting) (June 2016 - November 2016), and Dr.

Meeks (November 2016 - present).

       6.      Official capacity Defendant Bruce Rauner is the Governor of Illinois.




                                               1
 Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 5 of 409 PageID #:13774




       7.      Since 2010, the Governors of Illinois have been Pat Quinn (2010 - 2014) and

Bruce Rauner (2015 - present).

       8.      In May 2011, IDOC entered into a contract for comprehensive healthcare services

with Wexford Health Sources, Inc. The initial term of the contract was five years, with a

provision permitting it to be renewed by the parties for up to an additional five years. The 2011

Wexford contract was renewed for one year in April 2016; for one year in April 2017; and for

three years in April 2018. The contract cost for the most recent renewal is $672,599,329.00 for

three years.

       9.      Wexford is a privately-held corporation headquartered in Pittsburgh,

Pennsylvania and is a wholly-owned subsidiary of The Bantry Group, also a privately-held

corporation.

       10.     Pursuant to the 2011 contract, Wexford supplies approximately 65 percent of

IDOC healthcare workers statewide. The remaining 35 percent are state employees.

       11.     Each of IDOC’s 27 prisons has healthcare staff positions, including a Medical

Director who is a physician and a Wexford employee, a Health Care Unit Administrator (HCUA)

who is a state employee, and other administrative, nursing, and other support staff who may be

either Wexford or state employees.

       12.     State personnel cannot discipline or terminate Wexford employees. A prison’s

warden may revoke a Wexford employee’s security clearance, prohibiting that employee from

entering the prison.

       13.     IDOC has an electronic medical records system in place at the two prisons

housing women, Logan CC and Decatur CC. The remaining prisons use paper files for all

medical records.




                                                 2
 Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 6 of 409 PageID #:13775




       14.     Plaintiff Don Lippert is 43 years old and is currently incarcerated at Lawrence

CC; he was previously incarcerated at Stateville CC and at Pinckneyville CC. IDOC medical

records reflect that Mr. Lippert is a type 1 (insulin-dependent) diabetic and also has diabetic

neuropathy and hypertension.

       15.     Plaintiff Lewis Rice is 48 years old and is incarcerated at Menard CC. IDOC

medical records reflect that Mr. Rice has a medical history that includes headaches, fainting

spells, chest pains, right shoulder pain (for which Mr. Rice receives a “double cuff” permit), and

GERD (gastroesophageal reflux disease).

       16.     Plaintiff Debra Pattison is 54 years old and is incarcerated at Logan CC. IDOC

medical records reflect that Ms. Pattison has, in her knee, a complete ACL tear, a partial PCL

tear, a meniscal tear, and tricompartmental osteoarthritis, as well as a history of hypertension,

type 2 diabetes, asthma, migraines, and possible transient ischemic attacks, inter alia.

       17.     Plaintiff Ezell Thomas is 76 years old and is incarcerated at Pontiac CC. IDOC

medical records reflect that Mr. Thomas has a history of chronic obstructive pulmonary disease,

hypertension, dyslipidemia, anemia, prostate cancer, renal failure, and lung cancer.

       18.     Plaintiff Milam Martin is 62 years old and is incarcerated at Big Muddy River

CC. Mr. Martin was previously incarcerated at Pontiac CC, Menard CC, Lawrence CC, and

Pinckneyville CC. Mr. Martin is identified in IDOC’s records as “Milan” Martin. IDOC medical

records reflect that Mr. Martin has a medical history that includes chronic bronchitis,

hypertension, Bell’s palsy, hypercholesterolemia (high cholesterol levels), and partial right lower

extremity hemiparesis (weakness of one side of the body). Mr. Martin uses a wheelchair.

       19.     On December 19, 2014, by agreement of the parties, the Court appointed Dr.

Ronald Shansky as a court-appointed expert in the case pursuant to Federal Rule of Evidence




                                                 3
 Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 7 of 409 PageID #:13776




706. Dr. Shansky delivered a draft report to the parties in August 2014. Plaintiffs submitted

comments to Dr. Shansky on the draft report on October 20, 2014, and Defendants submitted

comments to Dr. Shansky on the draft report on November 10, 2014. Dr. Shansky issued his

Final Report in December 2014.

       20.     On December 8, 2017, over the objection of Defendants, the Court appointed Dr.

Michael Puisis as a court-appointed expert in the case pursuant to Federal Rule of Evidence 706.

Dr. Puisis delivered a draft report to the parties on August 13, 2018.

       21.     The parties do not contest jurisdiction or venue.




                                                 4
 Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 8 of 409 PageID #:13777




                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

 DON LIPPERT, et al.,                                    )
                                                         )
                            Plaintiffs,                  )   No. 10-cv-4603
           v.                                            )
                                                         )   Judge Jorge L. Alonso
 JOHN BALDWIN, et al.,                                   )   Magistrate Susan E. Cox
                                                         )
                            Defendants.                  )

                                FINAL PRETRIAL ORDER
                      EXHIBIT 2—AGREED CONTESTED ISSUES OF FACT

        1.    Whether Defendants put Plaintiffs and the class members at substantial risk of
serious harm by:

   (i)          Failing to provide adequate staffing to meet the medical and dental care needs of the
                IDOC population;

   (ii)         Failing to exercise oversight of the delivery of medical and dental care and of the
                healthcare vendor;

   (iii)        Providing physicians who lack sufficient training and credentials to assess, diagnose,
                and treat the medical needs of the class members;

   (iv)         Failing to ensure that there is a sufficiently robust system of peer/performance review
                that providers who put patients at risk are timely identified, corrected, or terminated;

   (v)          Failing to ensure that IDOC has the power to terminate medical or dental care staff
                who pose risks to patient safety;

   (vi)         Failing to provide safe, confidential, and adequately equipped areas with basic
                sanitation features in place for physical and dental healthcare encounters;

   (vii)        Failing to provide sufficient medical and dental equipment in good repair;

   (viii) Failing to create, maintain, or obtain adequate records of medical and dental
          treatment, diagnoses, and problems, including by failing to implement an electronic
          medical records system;

   (ix)         Failing to provide adequately staffed and supervised infirmaries for those patients
                needing infirmary care, and failing to provide safe, adequately equipped rooms and




                                                     1
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 9 of 409 PageID #:13778




              other equipment in those infirmaries to prevent the dissemination of infection and
              disease and other harms to the sick;

  (x)         Failing to conduct adequate medical and dental screening on intake, including failing
              to review previous medical histories, failing to screen for chronic conditions, and
              failing to test adequately for infectious diseases;

  (xi)        Failing to provide an adequate system for access to care through nursing sick call, and
              failing to ensure that IDOC patients receive evaluations by health care staff licensed
              to perform independent assessments;

  (xii)       Failing to implement a reliable medication administration system;

  (xiii) Failing to implement current standards of care for assessing and monitoring chronic
         diseases;

  (xiv)       Failing to provide point-of-care access to electronic medical resources;

  (xv)        Failing to create a system that ensures that patients who need urgent/emergent care
              are referred to it;

  (xvi)       Failing to implement a system that provides timely access to outside specialty care for
              patients who need it;

  (xvii) Failing to ensure continuity of care, including through preventable lapses in
         intrasystem transfer; failing to obtain records of and other information from outside
         procedures; and failing to assess or follow up with returning patients;

  (xviii) Failing to provide skilled nursing care and end-of-life care to patients in need of it;

  (xix)       Failing to provide routine dental care and access to dental prosthetics;

  (xx)        Failing to assess health history when performing dental procedures;

  (xxi)       Failing to provide personnel and institute a system for infection control;

  (xxii) Failing to institute a functional healthcare continuous quality improvement (CQI)
         program that collects and analyses data and identifies problems and solutions to those
         problems;

  (xxiii) Failing to implement a functional system of mortality review that identifies
          preventable or possibly preventable death, and takes appropriate corrective action to
          prevent future harm.

         2.      Whether all of the allegations detailed above, if proven true, are systemic.




                                                    2
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 10 of 409 PageID #:13779




        3.     Whether Defendants also put Plaintiffs and the class at substantial, ongoing risk
of serious harm by:

   (i)     Failing to perform any analysis of the funding required to meet the physical
           healthcare needs of the IDOC population and to seek that funding;

   (ii)    Failing to hold the healthcare vendor accountable when it does not meet its
           contractual obligations;

   (iii)   Persistently adhering to a contract structure with the healthcare vendor that
           financially disincentivizes the vendor from referring patients to outside specialty care
           or procedures, and also permits the vendor to determine who is referred to outside
           care or procedures;

        4.      Whether Defendants are aware of the allegations identified above and, and if
these allegations are proven true, have ignored them or failed to take reasonable steps to correct
them.

       5.       Whether the persistence of these allegations in IDOC medical and dental care, if
proven true, also establishes Defendants’ deliberate indifference to the serious physical
healthcare needs of the IDOC population.




                                                 3
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 11 of 409 PageID #:13780




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

DON LIPPERT, et al.,                       )
                                           )
                   Plaintiffs,             )   No. 10-cv-4603
      v.                                   )
                                           )   Judge Jorge L. Alonso
JOHN BALDWIN, et al.,                      )   Magistrate Judge Susan E. Cox
                                           )
                   Defendants.             )

                        FINAL PRETRIAL ORDER
              EXHIBIT 3—PLAINTIFFS’ AMENDED EXHIBIT LIST




                                       1
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 12 of 409 PageID #:13781

 Ex.   BegBates     EndBates        Title (if available)      Description (if no title)    Defendants' Objections   Plaintiffs' Responses
1                                2011 Wexford Contract.

2      Settlement   Settlement                               Quality improvement
       Discovery    Discovery                                documents.
       000744       000776
3      Wexford      Wexford      Dixon Monthly Primary
       #12 p. 33    #12 p. 40    Medical Service Reports.
4      Settlement   Settlement                               Year of 2014 log book for
       Discovery    Discovery                                off-site medical treatment.
       000884       001039
5      DOC          DOC          Wexford Daily Activity
       043401       043561       Reports for Stateville.

6                                Final Report of the Court
                                 Appointed Expert
                                 (unredacted), no
                                 appendices.
7                                                            Email chain among
                                                             several re Wexford Issues.
                                                             Attachment Outstanding
                                                             Vendor Issues (2).doc.




                                                                     2
                     Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 13 of 409 PageID #:13782

 Ex.   BegBates   EndBates      Title (if available)    Description (if no title)    Defendants' Objections          Plaintiffs' Responses
8                                                      Email from Lisa Moss to      401: This document does       401, 402: This October
                                                       many re Facility Listing     not make plaintiff's claims   2012 email attaching a list
                                                       October2012 REVISED.         more or less probable. The    of the medical leadership
                                                       Attachment Facility          document is an email          positions at each prison
                                                       Listing October2012.doc.     containing the names of       and their occupants is
                                                                                    medical staff at each         relevant because it shows
                                                                                    correctional facility. The    filled and vacant positions
                                                                                    document does not             in the past (in year 2 of the
                                                                                    indicate whether there are    current Wexford contract,
                                                                                    any inadequacies or delays    which is now in year 8),
                                                                                    in treatment. The             and permits comparison to
                                                                                    document merely lists the     lists in later years showing
                                                                                    names of the medical staff    whether vacancies have
                                                                                    at each facility.             stayed about the same or
                                                                                                                  worsened. Vacancies,
                                                                                                                  especially in medical
                                                                                                                  leadership positions, have
                                                                                                                  been identified by both the
                                                                                                                  First and Second Court-
                                                                                                                  Appointed Experts as a
                                                                                                                  significant problem in
                                                                                                                  IDOC impacting the
                                                                                                                  routine delivery of care
                                                                                                                  and it is also Plaintiffs'
                                                                                                                  contention that the failure
                                                                                                                  to fill State positions or to
                                                                                                                  hold Wexford accountable
                                                                                                                  for failing to fill Wexford
                                                                                                                  positions is evidence of
                                                                                                                  Defendants' deliberate
                                                                                                                  indifference.
9      IDOC       IDOC                                 Emails between Shannis
       Update     Update                               Stock and Louis Shicker
       001591     001598                               re Medical Grievances.



                                                               3
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 14 of 409 PageID #:13783

 Ex.    BegBates    EndBates     Title (if available)    Description (if no title)    Defendants' Objections           Plaintiffs' Responses
10     IDOC        IDOC                                 Email from Marna Ross to     403: Although this email       401, 402: This is a 2014
       Update      Update                               several re STV.              indicates that there is        email from IDOC northern
       000900      000900                                                            inadequate training for        regional healthcare
                                                                                     healthcare supervisors, the    coordinator Marna Ross to
                                                                                     unfair prejudice of this       her direct superior, IDOC
                                                                                     document grossly               agency medical director
                                                                                     outweighs its probative        (and former official-
                                                                                     value. The document is         capacity defendant) Dr.
                                                                                     probative of whether or        Shicker complaining of
                                                                                     not there are inadequacies     Wexford's training and
                                                                                     in the training for            management team at
                                                                                     healthcare unit                Stateville Correctional
                                                                                     supervisors. However, the      Center, one of the largest
                                                                                     statements made in this        IDOC prisons. This
                                                                                     email do not indicate          shows, inter alia, that state
                                                                                     whether the inadequacies       employees in responsible
                                                                                     in training health care        positions have been
                                                                                     supervisors relates to         complaining about
                                                                                     inadequacies in treatment      Wexford for years;
                                                                                     for prisoners. The             nevertheless IDOC
                                                                                     language used by Marna         continues to renew
                                                                                     Ross could be unfairly         Wexford's contract, thus it
                                                                                     interpreted by a fact finder   is evidence of deliberate
                                                                                     that high level officials      indifference. Defendants'
                                                                                     were aware of inadequate       objection is a misuse of
                                                                                     health care treatment for      FRE 403; a document is
                                                                                     prisoners.                     not "unfair[ly] prejudicial"
                                                                                                                    simply because it helps
                                                                                                                    establish a fact a party
                                                                                                                    dislikes, and any such
                                                                                                                    concerns are in any event
                                                                                                                    de minimis in a bench
                                                                                                                    trial.
11     IDOC        IDOC                                 Collection of emails
       Update      Update                               involving Louis Shicker's
       001581      001590

                                                                4
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 15 of 409 PageID #:13784

Ex.   BegBates   EndBates      Title (if available)     Description (if no title)    Defendants' Objections          Plaintiffs' Responses
                                                      opinions of employees'
                                                      competency.
12    IDOC       IDOC                                 Collection of emails          403: Even though this          401, 402: This email
      Update     Update                               involving Louis Shicker's     email indicates existance      (from former agency
      001693     001704                               re Complaint to Vendor        of deficiencies in health      Medical Director Dr.
                                                      and Office of Health          care, the probative value      Shicker) is part of a series
                                                      Services stat request.        of this email is               of communications
                                                                                    outweighed by its              relating to an initiative
                                                                                    prejudice to the jury.         within IDOC in 2015 to
                                                                                    Although the sender            hold Wexford accountable
                                                                                    indicates that there are       for its contractual failures
                                                                                    deficiencies at a few          - which ultimately went
                                                                                    correctional facilities, it    nowhere. It is evidence
                                                                                    does not indicate the level    both that Defendants knew
                                                                                    or extent of these             of backlogs in healthcare
                                                                                    defincies. The email           services and healthcare
                                                                                    merely requests a list of      vacancies at multiple
                                                                                    the facilities that include    prisons and that they
                                                                                    backlogs. The email does       talked about holding
                                                                                    not indicate whether these     Wexford responsible for
                                                                                    backlogs have led to           these deficiencies (but
                                                                                    delays in patient care or      ultimately did nothing).
                                                                                    have caused prisoners          Defendants' objection is a
                                                                                    injury. The prejudice of       misuse of FRE 403; a
                                                                                    the blanket statement that     document is not
                                                                                    the facilities listed in the   "unfair[ly] prejudicial"
                                                                                    email should be included       simply because it helps
                                                                                    in a report indicating         establish a fact a party
                                                                                    backlogs in healthcare         dislikes, and any such
                                                                                    does not reveal the extent     concerns are in any event
                                                                                    of the inefficiencies in       de minimis in a bench trial
                                                                                    each facility. As a result,    (Defendants erroneously
                                                                                    the email's comments           refer to "prejudice to the
                                                                                    about the prison facilities    jury").
                                                                                    are overly prejudicial
                                                                                    because the email is not
                                                              5
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 16 of 409 PageID #:13785

Ex.   BegBates   EndBates      Title (if available)    Description (if no title)    Defendants' Objections           Plaintiffs' Responses
                                                                                   probative of the level or
                                                                                   effect of the backlogs
13                                                    Email from Louis Shicker
                                                      to several re Staffing at
                                                      Stateville.
14    IDOC       IDOC                                 Email chain involving        403: The majority of the        401, 402: Defendants
      Update     Update                               Louis Shicker re Dr.         statements in this email        acknowledge that this
      001575     001575                               Ahmed - resignation          are relevant. However,          email is mostly relevant.
                                                      today.                       extranneous comments            As to Ms. Ross's
                                                                                   made by the author of the       statements about her
                                                                                   email carry a level of          vacation and "ground
                                                                                   unfair prejudice and have       zero," like Exhibit 10,
                                                                                   the potential to distract the   above, this is a
                                                                                   trier of fact. The              communcation from a
                                                                                   statements regarding the        highly-placed State
                                                                                   state of crisis being           employee to the agency
                                                                                   ordered at Dixon could be       Medical Director
                                                                                   admitted, however Marna         expressing the depth of
                                                                                   Ross' comments about her        her dissatisfaction with
                                                                                   vacation, "oh goody,            Wexford; the colorful
                                                                                   goody, back to ground           language only serves to
                                                                                   zero" , and "R.A.I.S.E the      emphasize the extent of
                                                                                   Standard" should be             her dissatisfaction. The
                                                                                   redacted if the exhibit is      Court is certainly capable
                                                                                   offered into evidence.          of disregarding any
                                                                                                                   prejudicial features of this,
                                                                                                                   if any. Finally,
                                                                                                                   Defendants misunderstand
                                                                                                                   "R.A.I.S.E the Standard" -
                                                                                                                   this was a Wexford slogan
                                                                                                                   (Dr. Funk is a Wexford
                                                                                                                   employee) which appears
                                                                                                                   in the auto-signature box
                                                                                                                   of many Wexford
                                                                                                                   employee emails. See,
                                                                                                                   e.g., Exhibit 374.
                                                              6
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 17 of 409 PageID #:13786

 Ex.    BegBates    EndBates      Title (if available)       Description (if no title)   Defendants' Objections   Plaintiffs' Responses
15     IDOC        IDOC                                    Emails between Mike
       Update      Update                                  Atchison and Louis
       001688      001692                                  Shicker re AD
                                                           requirements / Audit
                                                           concerns.
16     IDOC        IDOC                                    Collection of emails
       Update      Update                                  involving Louis Shicker re
       001034      001051                                  medical back logs.
17                             Final Report of the Court
                               Appointed Expert
                               (redacted), with
                               appendices.
18     RFP#5_W     RFP#5_W     2011 Wexford Contract.
       exford      exford
       Contracts   Contracts
       000294      000559
19                           Prison Health Care: Costs
                             and Quality - PEW Trusts
                             Report.
20     RFP#5_Uti RFP#5_Uti Wexford Utilization
       lization   lization   Management Guidelines.
       Manageme Manageme Region: Internal.
       nt 000013 nt 000019
21     RTP#5_Th RTP#5_Th NCCHC Resources, Inc.
       ird Party  ird Party  Technical Assistance
       Analyses-  Analyses-  Report, IDOC Health
       Studies-   Studies-   Services.
       Reports    Reports
       000001     000120
22     RFP#5_W RFP#5_W February 2017 Dixon
       exford     exford     Healthcare Contract
       Monitoring Monitoring Monthly Performance
       _Dixon     _Dixon     Monitoring Report.
       000273     000288
23                           IDOC's response to the
                             August 2014 Confidential
                                                                   7
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 18 of 409 PageID #:13787

Ex.   BegBates   EndBates       Title (if available)     Description (if no title)    Defendants' Objections         Plaintiffs' Responses
                            Draft Report of Dr.
                            Shansky.
24    IDOC       IDOC       IDOC AD 04.03.103
      Update     Update     effective 2/1/14 re
      000016     000021     Offender Health Care
                            Services.
25                          Excerpts from NCCHC
                            Guidelines for the
                            Management of an
                            Adequate Delivery
                            System.
26                          Excerpts from NCCHC
                            Standards for Health
                            Services in Prisons 2014.
27                          Cover of Clinical Practice                               401: The document should      401, 201: As Defendants
                            in Correctional Medicine,                                be excluded on relevance      note, this is the title cover
                            Second Ed., by Michael                                   grounds because it does       of a treatise on
                            Puisis.                                                  not contain any               correctional medicine
                                                                                     information that makes        authored by the Second
                                                                                     plaintiff's claims more or    Court-Appointed Expert
                                                                                     less probable. Although       (not "Plaintiffs' Expert," as
                                                                                     the document is the title     Defendants would have
                                                                                     cover of a treatise by Dr.    it). It is relevant to the
                                                                                     Puisis (Plaintiff's Expert)   expertise of Dr. Puisis and
                                                                                     this evidence can be          the Court can take judicial
                                                                                     elicited by testimony and     notice of it. The fact that
                                                                                     is unneccessary. The          Defendants dislike the
                                                                                     document merely contains      conclusions reached by
                                                                                     a coversheet/title page for   the Second Court-
                                                                                     a manual/treatise on          Appointed Expert and his
                                                                                     correctional medicine. The    team does not convert him
                                                                                     document does not contain     into "Plaintiffs' Expert."
                                                                                     any information relating to
                                                                                     the standards of care or
                                                                                     treatments administered
                                                                                     by IDOC.
                                                                8
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 19 of 409 PageID #:13788

 Ex.   BegBates      EndBates          Title (if available)    Description (if no title)    Defendants' Objections          Plaintiffs' Responses
28                                 John Howard Association
                                   2014 Monitoring Report -
                                   Northern Reception and
                                   Classification.
29                                 State Prison Health Care
                                   Spending - An
                                   Examination - PEW
                                   Trusts Report.
30                                                            Memo from Cindy
                                                              Hobrock to Louis Shicker
                                                              re August, 2013 Activity
                                                              Report.
31                                                            Email from Edwin Bowen
                                                              to Louis Shicker re
                                                              Vacancies.
32                                 IDOC Critical Healthcare
                                   Vacancies.
33                                 Declaration of Debra
                                   Pattison.
34                                 May 2017 Stateville
                                   Healthcare Contract
                                   Monthly Performance
                                   Monitoring Report.
35     Response      Response                                 Spreadsheet of FY15          401: The document              401, 402: This document
       to Eleventh   to Eleventh                              spending and outstanding     appears to have                was (as is indicated on the
       Motion to     Motion to                                payments by facility.        conditional relevance if       document) marked at
       Compel        Compel                                                                Plaintiff is able to provide   Exhibit 14 at the
       001015        001015                                                                information showing that       deposition of Jared Brunk,
                                                                                           the expenditures below         the Chief Financial
                                                                                           were in regards to medical     Officer of IDOC. Mr.
                                                                                           treatment. Without             Brunk testified inter alia
                                                                                           substantive evidence in        that it reflected
                                                                                           support of this argument,      "Healthcare expenditures
                                                                                           this document bears little     related to Wexford."
                                                                                           evidence on IDOC's             (Brunk transcript,
                                                                                           ability and provision of       1/31/18pm, 7:6-7.)
                                                                      9
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 20 of 409 PageID #:13789

Ex.   BegBates      EndBates      Title (if available)    Description (if no title)    Defendants' Objections        Plaintiffs' Responses
                                                                                      adequate treatment to
                                                                                      inmates. Without evidence
                                                                                      showing what the
                                                                                      expenditures listed in the
                                                                                      document are in regards
                                                                                      to, the document is not
                                                                                      probative of the plaintiff's
                                                                                      claim.
36    Response      Response                             Spreadsheet of vouchers
      to Eleventh   to Eleventh                          and remittance
      Motion to     Motion to                            descriptions, mostly for
      Compel        Compel                               Vandalia.
      001016        001019
37                                                       Spreadsheet of
                                                         comprehensive medical,
                                                         ancillary costs, AIDS/HEP
                                                         C, dialysis and statewide
                                                         hospitalization costs for
                                                         FY10-FY18.
38                                                       Spreadsheet of remittances
                                                         to vendors.
39                                                       Spreadsheet of invoice
                                                         amounts, dates and
                                                         vendors.
40                                                       Spreadsheet of vouchers
                                                         and remittance
                                                         descriptions.
41    RTP#5_ES RTP#5_ES                                  Email from Jared Brunk to
      I 0212349 I 0212356                                Louis Shicker, Bryan
                                                         Gleckler and Gladyse
                                                         Taylore re increased
                                                         medical costs. Attachment
                                                         IDOC FY-15 Revised
                                                         Budget.pdf.


                                                                10
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 21 of 409 PageID #:13790

 Ex.   BegBates      EndBates         Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
42                                 2011 Wexford Contract.

43     Response      Response                                Facility budget and
       to Eleventh   to Eleventh                             reconciliation sheets.
       Motion to     Motion to
       Compel        Compel
       000906        000932
44     RTP#5_ES      RTP#5_ES                                Email chain involving
       I 0052418     I 0052421                               Louis Shicker re Hill CC
                                                             Medical Back log.
45     RTP#5_ES RTP#5_ES                                     Email chain involving
       I 0273398 I 0273416                                   Jared Brunk re Complaint
                                                             to Vendor Forms. Several
                                                             Notices of complaint to
                                                             vendor forms attached.




                                                                     11
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 22 of 409 PageID #:13791

 Ex.    BegBates EndBates      Title (if available)    Description (if no title)    Defendants' Objections          Plaintiffs' Responses
46     RTP#5_ES RTP#5_ES                              Email chain involving        401 and 403: The              401, 402: This September
       I 0275568 I 0275569                            Jared Brunk re Wexford       information in these          2016 email chain between
                                                      Penalties.                   emails regard whether         IDOC CFO Brunk and
                                                                                   IDOC has ever levied a        others shows that the best
                                                                                   penalty against Wexford.      recollection of the state
                                                                                   Although these emails are     employees whom he
                                                                                   probative of plaintiff's      thought might be
                                                                                   claim they do not indicate    knowledgeable on this
                                                                                   whether any penalties         subject was no one could
                                                                                   were actually levied          definitively remember
                                                                                   against Wexford. Even         whether Wexford had ever
                                                                                   further, the emails           been penalized for
                                                                                   themselves do not reveal      contractual non-
                                                                                   any information that          performance (and if it had
                                                                                   makes plaintiff's claim       been done, their guess was
                                                                                   more or less probable.        that it had been done in
                                                                                   Even if these documents       2001 or 2003).
                                                                                   were found to be relevant,    Defendants acknowledge
                                                                                   the prejudice of the emails   that this is relevant to
                                                                                   outweighs the probative       Plaintiffs' claim that
                                                                                   value. The emails do not      Defendants have failed to
                                                                                   indicate whether Wexford      hold Wexford accountable
                                                                                   was actually fined.           for its violations of the
                                                                                   However, the implication      healthcare contract, which
                                                                                   posed by the email's          supports the claim of
                                                                                   request implies that there    deliberate indifference.
                                                                                   have been problems            Since this email chain,
                                                                                   without Wexford. Without      like Exhibit 12 discussed
                                                                                   positive information          above, is part of a larger
                                                                                   indicating that a penalty     series relating to internal
                                                                                   was actually levied against   discussions about
                                                                                   Wexford, the emails lack      Wexford's contractual
                                                                                   probative value and are       violations and whether to
                                                                                   more likely to mislead the    assess penalties available
                                                                                   fact finder into believing    under the contract, to talk
                                                                                                                 about the "prejudice" in an

                                                             12
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 23 of 409 PageID #:13792

Ex.   BegBates      EndBates      Title (if available)    Description (if no title)    Defendants' Objections         Plaintiffs' Responses
                                                                                      that IDOC actually levied    "implication" that "there
                                                                                      penalties against Wexford.   have been problems with[]
                                                                                                                   Wexford" is to try to close
                                                                                                                   the barn door after the
                                                                                                                   cows are gone. There is
                                                                                                                   abundant evidence that
                                                                                                                   Defendants and their
                                                                                                                   employees believed that
                                                                                                                   there were "problems"
                                                                                                                   with Wexford (and that
                                                                                                                   there were such problems.
                                                                                                                   Finally, Defendants seem
                                                                                                                   to be unaware that they
                                                                                                                   have admitted that no
                                                                                                                   penalties had been
                                                                                                                   imposed on Wexford
                                                                                                                   under the 2011 contract,
                                                                                                                   as least as of April 2017
                                                                                                                   (Defendants' Response to
                                                                                                                   Plaintiffs' First Requests
                                                                                                                   for Admission, no. 4).
47    Response      Response                             Spreadsheets involving
      to Eleventh   to Eleventh                          medical credits.
      Motion to     Motion to
      Compel        Compel
      002333        002340
48    RTP#5_ES      RTP#5_ES                             Email chain involving
      I 0096417     I 0096418                            Jared Brunk and Michael
                                                         Dempsey re Inpatient and
                                                         outpatient questions.
49    RTP#5_ES RTP#5_ES                                  Email chain involving
      I 0346209 I 0346218                                Jared Brunk and Edwin
                                                         Bowen re Job descriptions
                                                         for Wexford contract
                                                         monitors. Includes
                                                         attachments.
                                                                 13
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 24 of 409 PageID #:13793

 Ex.    BegBates EndBates      Title (if available)     Description (if no title)  Defendants' Objections         Plaintiffs' Responses
50     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0129542 I 0129545                            Jared Brunk, Louis
                                                      Shicker, Melvin Hinton
                                                      and others re Appointment
                                                      to Subcommittee.
                                                      Attachment 9/15/15 memo
                                                      from Melvin Hinton to all
                                                      subcommittee members re
                                                      Subcommittee on Health
                                                      Care Contractual
                                                      Monitoring and Oversight.
51     RTP#5_ES RTP#5_ES                              Email chain between Jared 401: The emails contained       401, 402: Plaintiffs
       I 0281071 I 0281072                            Brunk and Christa Bull re in the exhibit and the          acknowledge that the only
                                                      If I misspoke.              extraneous comments           relevant part of this 2017
                                                                                  located in them do not        email chain is the initial
                                                                                  make plaintiff's claim        email from IDOC CFO
                                                                                  more or less probable.        Brunk saying "Shoot me;
                                                                                  Although there is mention     at least then I wouldn't
                                                                                  of missing items in the       have to listen to more of
                                                                                  email, it is unclear if the   Wexford's plans. Thanks."
                                                                                  missing items are medical     Once again, this shows the
                                                                                  supplies or anything          extreme dissatisfaction, 5
                                                                                  related to the care or        years from the start of the
                                                                                  treatment of prisoners.       contract with Wexford, of
                                                                                  Without any verifying         highly placed IDOC
                                                                                  information to give this      employees with Wexford.
                                                                                  document context, the         (The remainder of the
                                                                                  document lacks relevance      email chain concerns
                                                                                  and would only lead to        matters related to the
                                                                                  confuse the trier of fact     closing of the Illinois
                                                                                  about IDOC record             Youth Center at Kewanee,
                                                                                  keeping.                      which was part of the
                                                                                                                Department of Juvenile
                                                                                                                Justice and not involved in
                                                                                                                this case.)


                                                             14
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 25 of 409 PageID #:13794

 Ex.    BegBates      EndBates        Title (if available)    Description (if no title)    Defendants' Objections        Plaintiffs' Responses
52     Response      Response    Illinois State Legislature                               401 and 407: The            401, 402: This document
       to Eleventh   to Eleventh FY 2018 Narrative                                        information contained in    is the Fiscal Year 2018
       Motion to     Motion to   Statement.                                               this document contains      statement provided by
       Compel        Compel                                                               evidence of proposed        IDOC to the Illinois State
       000328        000389                                                               remedial measures for the   Legislature as part of the
                                                                                          IDOC healthcare system.     state budget process; it is
                                                                                          Aside from conclusory       signed by the IDOC
                                                                                          remarks made in regards     Director. Among other
                                                                                          to the allegations in the   information
                                                                                          Lippert litigation,t he     communicated to the
                                                                                          information contained in    legislature, the document
                                                                                          the document does not       identifies "Addressing the
                                                                                          make plaintiff's claims     Health Care Needs of our
                                                                                          more or less probable as    Population" (p. 7) as a top
                                                                                          they do not indicate        agency priority, but the
                                                                                          whether or not there was    budget request (p. 59)
                                                                                          any negligence or           contains no request for
                                                                                          deficiencies in IDOC        increased healthcare
                                                                                          healthcare. The evidence    funding. It thus evidences
                                                                                          of proposed measures        Defendants' deliberate
                                                                                          within the document are     indifference. Plaintiffs are
                                                                                          barred under rule 407 if    not sure what "proposed
                                                                                          used as evidence of         remedial measures" in this
                                                                                          IDOC's failure to provide   budget document are
                                                                                          adequate healthcare.        being referred to by
                                                                                                                      Defendants in their
                                                                                                                      objection (there is a
                                                                                                                      summary of this case on p.
                                                                                                                      2 but it does not on its
                                                                                                                      face contain "proposed
                                                                                                                      remedial measures"). In
                                                                                                                      any event, FRE 407
                                                                                                                      ("Subsequent Remedial
                                                                                                                      Measures") by its terms
                                                                                                                      does not cover "proposed"
                                                                                                                      remedial measures and is

                                                                    15
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 26 of 409 PageID #:13795

Ex.   BegBates      EndBates         Title (if available)    Description (if no title)   Defendants' Objections     Plaintiffs' Responses
                                                                                                                  not applicable (if the
                                                                                                                  "proposed" remedial
                                                                                                                  measures Defendants
                                                                                                                  complain of are in the
                                                                                                                  Lippert summary, they
                                                                                                                  have not yet been
                                                                                                                  actualized and are not
                                                                                                                  "subsequent," and in any
                                                                                                                  event this case is not about
                                                                                                                  an "earlier injury or
                                                                                                                  harm," FRE 407 - it seeks
                                                                                                                  prospective relief for
                                                                                                                  ongoing risks of harm).
                                                                                                                  FRE 407 is not applicable
                                                                                                                  here.
53    Response      Response    Illinois State Legislature                               Same arguments as the    See Plaintiffs' Response as
      to Eleventh   to Eleventh FY 2017 Narrative                                        above cell.              to Exhibit 52, above. This
      Motion to     Motion to   Statement.                                                                        is the first half of the FY
      Compel        Compel                                                                                        2017 IDOC statement to
      000043        000061                                                                                        the Illinois legislature; the
                                                                                                                  second half of this
                                                                                                                  document was produced
                                                                                                                  separately and is Exhibit
                                                                                                                  54.




                                                                   16
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 27 of 409 PageID #:13796

 Ex.    BegBates      EndBates     Title (if available)    Description (if no title)   Defendants' Objections          Plaintiffs' Responses
54     Response      Response                             Attachments to an Illinois 401: Although the issue of     401, 402: Defendants
       to Eleventh   to Eleventh                          State Legislature Narrative understaffing is probative    misunderstand what this
       Motion to     Motion to                            Statement.                  of plaintiffs claim, this     document is; as stated in
       Compel        Compel                                                           document does not make        Plaintiffs' Response as to
       000309        000327                                                           the allegation of             Exhibit 53, this is the
                                                                                      inadequate staffing more      second half of the FY
                                                                                      or less probable. The         2017 agency statement to
                                                                                      document is a redacted list   the legislature (so Exhibits
                                                                                      of IDOC employees that        53 and 54 together are the
                                                                                      have disabilities. The        FY17 equivalent of
                                                                                      document does not             Exhibit 52). Once again,
                                                                                      indicate whether or not       Exhibits 53-54 are
                                                                                      these employees were          relevant because, inter
                                                                                      incapable of providing        alia, they identify
                                                                                      adequate care or if this is   healthcare in general as a
                                                                                      an inappropriate number       top priority of the
                                                                                      of members to have            Department (Exh. 53 p. 7)
                                                                                      staffed. If anything, the     but, in this case, include
                                                                                      document has the potential    only mental health, not
                                                                                      to mislead the fact finder    physical healthcare needs,
                                                                                      into believing that IDOC      in the budget funding
                                                                                      staff are not capable of      request (Exh. 54 p. 18
                                                                                      performing healthcare         "True Needs of the
                                                                                      duties appropriately          Department"). Again, this
                                                                                      because they may or may       is evidence of deliberate
                                                                                      not have a disability. The    indifference towards the
                                                                                      presence of an IDOC           physical healthcare needs
                                                                                      employee with a disability    of the class.
                                                                                      on its own does not
                                                                                      indicate whether these
                                                                                      conditions led IDOC to
                                                                                      provide constitutionally
                                                                                      inadequate healthcare.




                                                                 17
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 28 of 409 PageID #:13797

 Ex.    BegBates EndBates      Title (if available)    Description (if no title)    Defendants' Objections          Plaintiffs' Responses
55     RTP#5_ES RTP#5_ES                              Email from Lindsay           401: The document             401, 402: This document
       I 0334676 I 0334679                            Amerson to Jared Brunk       discusses the method for      is principally relevant as
                                                      re EO Reserves.              IDOC to receive a credit      containing a description of
                                                      Attachment 1.25.2015         for Wexford services and      how the "hospitalization
                                                      IDOC FY15 Budget             how the credit is applied     utilization" credit under
                                                      Reductions_Reserves          against bills for Wexford     the Wexford contract is
                                                      (2).xlsx.                    services. Despite the         calculated and used and
                                                                                   document relating to the      how much that credit was
                                                                                   interactions and              estimated to be in FY15
                                                                                   relationship between          (under the 2011 Wexford
                                                                                   IDOC and Wexford, the         contract, costs of outside
                                                                                   document does not             medical services over a
                                                                                   indicate whether the use or   certain annual threshold -
                                                                                   expenditures related to       the "hospital utilization
                                                                                   this credit have result in    threshold" - are Wexford's
                                                                                   delays or inadequate          financial responsibility,
                                                                                   treatments that support       not IDOC's. Plaintiffs
                                                                                   Plaintiff's claims. As a      contend that the utilization
                                                                                   result, the mention that      threshold creates an
                                                                                   IDOC receives credits for     incentive to Wexford to
                                                                                   Wexford services is not       deny care to the plaintiff
                                                                                   relevant towards the issue    class (since Wexford also
                                                                                   of whether the treatments     controls whether members
                                                                                   provided by IDOC              of the class are referred
                                                                                   through wexford are           for outside care); this
                                                                                   constitutionally              email states that, by the
                                                                                   inadequate.                   calcuation of IDOC's
                                                                                                                 Chief Financial Officer
                                                                                                                 Mr. Brunk, there was
                                                                                                                 some $5 million in
                                                                                                                 utilization credit coming
                                                                                                                 back to the Department
                                                                                                                 and thus shows that
                                                                                                                 Plaintiffs' belief that
                                                                                                                 Wexford stands to lose
                                                                                                                 significant sums by

                                                             18
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 29 of 409 PageID #:13798

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)   Defendants' Objections      Plaintiffs' Responses
                                                                                                           referring class members to
                                                                                                           outside care is not
                                                                                                           speculative. It also
                                                                                                           illustrates interactions
                                                                                                           between the Department
                                                                                                           and the Governor's Office
                                                                                                           of Management and
                                                                                                           Budget as to IDOC's
                                                                                                           expenditures.
56    RTP#5_ES RTP#5_ES                              Email chain involving
      I 0185135 I 0185138                            Jared Brunk re FY17
                                                     Budget Documents.
                                                     Attachment FY17 and
                                                     FY18 Concerns.docx.
57    RTP#5_ES RTP#5_ES                              Email from Jared Brunk to
      I 0184785 I 0184788                            several re FY17 and FY18
                                                     Concerns. Attachment
                                                     FY17 and FY18
                                                     Concerns.docx.
58    RTP#5_ES RTP#5_ES                              Email chain involving
      I 0370441 I 0370444                            Jared Brunk and Andrew
                                                     Munemoto with no
                                                     subject. Attachment 426-
                                                     DOC.xlsx.
59    RTP#5_ES RTP#5_ES                              Email from Gladyse
      I 0251671 I 0251812                            Taylor to several re
                                                     Medical Subcommittee
                                                     #3. Attachments IDOC-
                                                     Medical RFP V 15.2
                                                     Template 1124.docx and
                                                     Executive Summary -
                                                     New Contract.docx.




                                                            19
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 30 of 409 PageID #:13799

 Ex.    BegBates EndBates      Title (if available)    Description (if no title)    Defendants' Objections           Plaintiffs' Responses
60     RTP#5_ES RTP#5_ES                              Email chain involving        401: This email was sent       401, 402: This email
       I 0305184 I 0305185                            Jared Brunk and              to Jared Brunk regarding       relates to the October
                                                      Alexander Boucher re         IDOC expenditures on           2017 Pew Charitable
                                                      Pew Survey on                healthcare. Despite the        Trusts report about state
                                                      Correctional Health Care     email's mention of IDOC        prison healthcare spending
                                                      Spending - Illinois.         spending on healthcare         (Exhibit 19, which shows
                                                                                   services provided by           that Illinois ranks in the
                                                                                   Wexford, the email does        bottom tier of states in its
                                                                                   not make mention of how        spending on healthcare
                                                                                   much IDOC is spending          services for prisoners and
                                                                                   on healthcare and whether      next to last in the per
                                                                                   these budgetary                capita number of
                                                                                   allocations are causing        healthcare workers it
                                                                                   delays or issues in treating   provides in its prison
                                                                                   inmates. As a result, the      system). This email is
                                                                                   document does not make         relevant in that it shows
                                                                                   the Plaintiff's claims more    that Pew's information
                                                                                   or less probable, and          was derived from
                                                                                   instead, merely mentions       personnel (in this case,
                                                                                   that Jared Brunk is            IDOC CFO Brunk) in the
                                                                                   assisting with IDOC's          individual states and
                                                                                   review of budget               furthermore that Pew
                                                                                   expenditures.                  consulted those state
                                                                                                                  personnel as to the
                                                                                                                  appropriateness of its
                                                                                                                  descriptions of the prison
                                                                                                                  healthcare services
                                                                                                                  provided. (Mr. Brunk has
                                                                                                                  testified that he also
                                                                                                                  provided the underlying
                                                                                                                  financial and prison staff
                                                                                                                  headcount information to
                                                                                                                  Pew; see Exhibit 61,
                                                                                                                  which is the attachment to
                                                                                                                  Exhibit 60.) Further, this
                                                                                                                  email chain and the

                                                             20
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 31 of 409 PageID #:13800

Ex.   BegBates   EndBates      Title (if available)    Description (if no title)   Defendants' Objections         Plaintiffs' Responses
                                                                                                               attached survey response
                                                                                                               were shared by Mr. Brunk
                                                                                                               with IDOC agency
                                                                                                               Medical Director Dr.
                                                                                                               Meeks and former acting
                                                                                                               IDOC agency Medical
                                                                                                               Director Dr. Dempsey.
61    RTP#5_ES RTP#5_ES                               Illinois Pew Survey of
      I 0132707 I 0132717                             Correctional Health Care
                                                      Expenditures.
62    RTP#5_ES RTP#5_ES                               Email from Tina Jepsen to
      I 0178422 I 0178442                             several re Hill CC
                                                      Contract Monitoring.
                                                      Attachment copy of
                                                      monthly performance
                                                      report April 2016 Hill
                                                      CC.xlsx.
63    RTP#5_ES RTP#5_ES                               Email from Jared Brunk to
      I 0275745 I 0275749                             Andrew Munemoto and
                                                      Lindsay Amerson re
                                                      Updated sheets for
                                                      tomorrow's meeting.
                                                      Attachments FY17 walk
                                                      down.pdf and budget
                                                      explanation.xlsx.
64                          2016 State of Illinois
                            Request for Proposal -
                            IDOC Comprehensive
                            Medical and Mental
                            Health Services.
65    RTP#5_ES RTP#5_ES                               Email chain involving        403 and 407: The            401, 402: This email
      I 0086819 I 0086820                             Charlie Weikel, John         document pertains to        documents a stage of the
                                                      Baldwin, Brent Gibson        IDOC plans to restructure   discussions between a
                                                      and others re SOW for        its healthcare system and   member of the Governor's
                                                      NRI engagement.              search for additional       Office and the National
                                                                                   healthcare providers. The   Commission on
                                                             21
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 32 of 409 PageID #:13801

Ex.   BegBates   EndBates     Title (if available)   Description (if no title)    Defendants' Objections            Plaintiffs' Responses
                                                                                 remedial measures               Correctional Healthcare as
                                                                                 mentioned in this email         to the scope of work for a
                                                                                 cannot be used to show          project for IDOC that
                                                                                 negligence or culpability       ultimately resulted in the
                                                                                 on the part of IDOC. Even       NCCHC Resources, Inc.,
                                                                                 if the judge finds this         Technical Assistance
                                                                                 email admissable under          Report (Exhibit 6 - to
                                                                                 407, the document's             which Defendants did not
                                                                                 probative value is              object). The 2016
                                                                                 outweighed by the unfair        NCCHC report contains a
                                                                                 prejudice of the fact finder    number of criticisms and
                                                                                 hearing that IDOC is            suggestions for
                                                                                 looking for other health        improvement of IDOC
                                                                                 care providers and plans to     healthcare services, a
                                                                                 restructure its health care     number of which overlap
                                                                                 system. Similar to the 407      with recommendations
                                                                                 argument, this evidence is      made by both the First and
                                                                                 likely to prejudice the trier   Second Court-Appointed
                                                                                 of fact into believing that     Experts. The course of the
                                                                                 IDOC is changing its            discussions about the
                                                                                 policies because the            scope of work is important
                                                                                 current health care system      to know because the
                                                                                 is flawed. Further, the         NCCHC report addresses
                                                                                 email contains little           a more limited set of
                                                                                 evidence of what policies       topics than the First and
                                                                                 are causing unsatisfactory      Second Court-Appointed
                                                                                 healthcare in the opinion       Expert reports; this email
                                                                                 of IDOC administrative          helps explain why. This
                                                                                 officials. As a result, the     email also shows concern
                                                                                 email should not be             and knowledge about
                                                                                 admitted as either              problems in IDOC
                                                                                 evidence of subsequent          healthcare services on the
                                                                                 remedial measures or as         part of the Office of the
                                                                                 unfairly prejudicial to the     Governor. As to
                                                                                 fact finder.                    Defendants' FRE 403 and
                                                                                                                 407 objections, that IDOC

                                                           22
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 33 of 409 PageID #:13802

Ex.   BegBates   EndBates     Title (if available)   Description (if no title)   Defendants' Objections      Plaintiffs' Responses
                                                                                                          has been planning to make
                                                                                                          changes to its healthcare
                                                                                                          system and has searched
                                                                                                          for additional providers is
                                                                                                          an open secret (in the
                                                                                                          course of the past three
                                                                                                          years, the Department has
                                                                                                          issued two healthcare
                                                                                                          contract Requests for
                                                                                                          Proposal) and Defendants
                                                                                                          have not objected to
                                                                                                          numerous other
                                                                                                          documents on this list that
                                                                                                          pertain to that process. As
                                                                                                          previously explained, FRE
                                                                                                          407 is in any event not
                                                                                                          pertinent to "plans" for
                                                                                                          change (it deals with
                                                                                                          remedial measures that
                                                                                                          have already been put in
                                                                                                          place) and it is not
                                                                                                          applicable to a case
                                                                                                          seeking prospective relief
                                                                                                          for future risk (it deals
                                                                                                          with "measures . . . taken
                                                                                                          that would have made a
                                                                                                          past injury or harm less
                                                                                                          likely to occur" (emphasis
                                                                                                          added). That Defendants
                                                                                                          contemplated changes and
                                                                                                          solicited advice about
                                                                                                          them, and then failed to
                                                                                                          make them, is evidence of
                                                                                                          their deliberate
                                                                                                          indifference.


                                                           23
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 34 of 409 PageID #:13803

 Ex.    BegBates EndBates      Title (if available)    Description (if no title)   Defendants' Objections         Plaintiffs' Responses
66     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0455475 I 0455692                            Steven Meeks, Kimberly
                                                      Butler and others re
                                                      Medical RFP.
                                                      Attachments
                                                      comprehensive medical
                                                      and mental health services
                                                      RFP.docx and IL DOC
                                                      vendor questions 2.2.17
                                                      (2).docx.
67     RTP#5_ES RTP#5_ES                              Email chain involving        401: The information         401, 402: This email
       I 0073017 I 0073017                            Gladyse Taylor, Georgia      contained in this email      concerns the
                                                      Man and others re            lacks relevance because it   circumstances surrounding
                                                      Meeting.                     does not pertain to          the withdrawal of the first
                                                                                   healthcare standards,        Request for Proposal for a
                                                                                   treatment, financing, or     comprehensive IDOC
                                                                                   issues related to services   healthcare services
                                                                                   provided by Wexford. The     contract. This RFP
                                                                                   email merely grants the      contemplated significant
                                                                                   recipient permission to      changes in certain aspects
                                                                                   meet with Wexford and        of IDOC healthcare
                                                                                   reminds them that they do    services (at least some of
                                                                                   not have the authority to    which were in line with
                                                                                   discuss the "RFP" or         the recommendations of
                                                                                   "contract extensions"        the First Court-Appointed
                                                                                                                Expert), and there has
                                                                                                                been conflicting testimony
                                                                                                                to date as to why it was
                                                                                                                withdrawn. This email
                                                                                                                shows the involvement of
                                                                                                                the Office of the Governor
                                                                                                                in that withdrawal, and
                                                                                                                also includes the statement
                                                                                                                by a high-up member of
                                                                                                                that Office (Ms. Man was
                                                                                                                Deputy General Counsel

                                                             24
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 35 of 409 PageID #:13804

Ex.   BegBates      EndBates         Title (if available)     Description (if no title)    Defendants' Objections     Plaintiffs' Responses
                                                                                                                    and Chief Compliance
                                                                                                                    Officer in the Governor's
                                                                                                                    Office) that this was a
                                                                                                                    "critical RFP and contract
                                                                                                                    for the state . . ."
68                                                           Spreadsheet of FY15
                                                             spending and outstanding
                                                             payments by facility.
69                                                           Collection of different
                                                             documents and emails
                                                             regarding compliance,
                                                             vacancies and penalties.
70    Response      Response                                 Attachments to an Illinois
      to Eleventh   to Eleventh                              State Legislature Narrative
      Motion to     Motion to                                Statement.
      Compel        Compel
      000309        000309
71    Response      Response    Illinois State Legislature
      to Eleventh   to Eleventh FY 2017 Narrative
      Motion to     Motion to   Statement.
      Compel        Compel
      000062        000080
72    RTP#5_ES      RTP#5_ES                                 Email chain involving
      I 0065036     I 0065051                                Charlie Weikel re
                                                             Wexford Contract
                                                             Analysis. Attachments
                                                             violation overview.xlsx
                                                             and Wexford contract
                                                             reporting
                                                             requirements.docx.
73    RTP#5_ES RTP#5_ES                                      Email chain involving
      I 0167591 I 0167592                                    Mike Atchison re
                                                             Governor's Staff Tour.




                                                                    25
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 36 of 409 PageID #:13805

 Ex.    BegBates EndBates      Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
74     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0180666 I 0180666                            Melvin Hinton, Charlie
                                                      Weikel, Gladyse Taylor
                                                      and others re
                                                      Subcommittee -
                                                      monitoring and oversight
                                                      notes. Attachment 9/16/15
                                                      Subcommittee on Health
                                                      Care Contractual
                                                      Monitoring and Oversight
                                                      Subcommittee Report.
75     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0182571 I 0182576                            Melvin Hinton, Charlie
                                                      Weikel, Gladyse Taylor
                                                      and others re
                                                      Subcommittee -
                                                      monitoring and oversight
                                                      notes. Attachment
                                                      10/25/15 memo from
                                                      Melvin Hinton to Charlie
                                                      Weikel re Subcommittee -
                                                      monitoring and oversight
                                                      notes email 10/25/15.
76                                                    Email chain involving
                                                      Charlie Weikel, John
                                                      Baldwin and Louis
                                                      Shicker re NCCHC
                                                      Accreditation.
77     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0180543 I 0180543                            Charlie Weikel, John
                                                      Baldwin and others re
                                                      Please review: SOW -
                                                      NRI.




                                                             26
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 37 of 409 PageID #:13806

 Ex.    BegBates EndBates      Title (if available)     Description (if no title)    Defendants' Objections         Plaintiffs' Responses
78     RTP#5_ES RTP#5_ES                              Meeting minutes from
       I 0606815 I 0606815                            UIC-IDOC collaboration
                                                      meeting involving Charlie
                                                      Weikel, Erin Johnson,
                                                      Camile Lindsay, Steven
                                                      Meeks, Michael Dempsey
                                                      and John Baldwin.
79     RTP#5_ES RTP#5_ES                              Email chain involving         403 & 407: This email is      401, 402: This document
       I 0096023 I 0096027                            Charlie Weikel, Brent         in regards to an evaluation   is similar to Exhibit 60
                                                      Gibson, John Baldwin and      of IDOC correctional          discussed above in that it
                                                      others re RFP. Attachment     medicine by the reviewing     captures a stage of the
                                                      Illinois DOC mental           organization NCCHC            discussions relating to the
                                                      health services initial       Resources Inc. The            scope of work for the
                                                      assessment 2015 initial       NCCHC's report states         project that ultimately
                                                      plan 10.26.15.docx.           that the goal of the          issued in the NCCHC
                                                                                    organization is to evaluate   report for IDOC (Exhibit
                                                                                    IDOC and make                 6) and is relevant for the
                                                                                    recommendations for           reasons identified in the
                                                                                    improvements in regards       response as to Exh. 60. It
                                                                                    to the ongoing Rasho and      also shows the
                                                                                    Lippert litigation. This      involvement and
                                                                                    document does not             awareness of IDOC
                                                                                    indicate that there are any   Director Baldwin as well
                                                                                    current deficiencies in       as a member of the
                                                                                    IDOC healthcare.              Governor's office. For the
                                                                                    However, this information     reasons stated above, FRE
                                                                                    can potentially prejudice     407 ("Subsequent
                                                                                    the trier of fact into        Remedial Measures") is
                                                                                    believing that the presence   not applicable to this case.
                                                                                    of the NCCHC                  In addition, any
                                                                                    presumptively means that      "prejudice" to the
                                                                                    IDOC was aware that its       Defendants resulting from
                                                                                    current healthcare system     proof that Defendants
                                                                                    was inadequate. As such,      were aware of deficiencies
                                                                                    the probative value of this   in IDOC healthcare is
                                                                                    evidence in regards to        vastly outweighed by the

                                                             27
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 38 of 409 PageID #:13807

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)     Defendants' Objections            Plaintiffs' Responses
                                                                                   actual deficiencies in          probative value to
                                                                                   IDOC health care is             Plaintiffs' claims of
                                                                                   outweighed by the unfair        deliberate indifference of
                                                                                   prejudice carried by the        any and all evidence that
                                                                                   hiring of a consultant to       Defendants were aware of
                                                                                   improve IDOC healthcare.        problems in IDOC
                                                                                   Furthermore, this evidence      healthcare, sought a
                                                                                   should be barred if it is       review of same and
                                                                                   used as circumstantial          recommendations as to
                                                                                   evidence to show that           how to make
                                                                                   IDOC's healthcare system        improvements, and have
                                                                                   is deficient.                   failed to implement them.




80    RTP#5_ES RTP#5_ES                              Email chain involving         403 & 407: Same                 401, 402: This email is
      I 0344460 I 0344469                            Charlie Weikel, Brent         argument as the above           relevant for the same
                                                     Gibson, LaShonda Hunt         cell. Although these            reasons stated as to
                                                     and others re IDOC SOW.       emails and the attached         Exhibits 60 and 79, and
                                                     Attachments Budget            report relate to health care,   FRE 403 and 407 are
                                                     narrative for IL DOC          the emails and documents        inapplicable for the
                                                     11.23.15.docx, IL letter to   do not carry any probative      reasons given there also.
                                                     NRI for RFP                   value in determining
                                                     engagement.eml.               whether IDOC's health
                                                                                   care system is
                                                                                   constitutionally
                                                                                   inadequate. The emails
                                                                                   and report merely indicate
                                                                                   and describe the logistics
                                                                                   and costs for IDOC's
                                                                                   healthcare system to be
                                                                                   evaluated by the NRI. The
                                                                                   indication that IDOC has
                                                                                   hired consultants to
                                                             28
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 39 of 409 PageID #:13808

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)     Defendants' Objections      Plaintiffs' Responses
                                                                                   evaluate its healthcare
                                                                                   system is highly
                                                                                   prejudicial and outweighs
                                                                                   any probative value in
                                                                                   regards to plaintiff's
                                                                                   claims. Further, rule 407
                                                                                   bars the admission of this
                                                                                   evidence if this document
                                                                                   is used as circumstantial
                                                                                   evidence of IDOC's
                                                                                   culpability and negligence
                                                                                   in providing adequate
                                                                                   healthcare.

81    RTP#5_ES RTP#5_ES                              Email chain involving
      I 0011179 I 0011185                            Michael Knauer, Jared
                                                     Brunk, Gladyse Taylor
                                                     and others re DOC Health
                                                     RFP.
82    RTP#5_ES RTP#5_ES                              Email chain involving
      I 0159773 I 0159895                            John Baldwin, Charlie
                                                     Weikel, Brent Gibson and
                                                     others re Illinois DOC
                                                     Health Care Technical
                                                     Assistance Report.
                                                     Attachment IDOC full
                                                     report_final_delivered.pdf.




                                                            29
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 40 of 409 PageID #:13809

 Ex.    BegBates EndBates      Title (if available)    Description (if no title)    Defendants' Objections           Plaintiffs' Responses
83     RTP#5_ES RTP#5_ES                              Email chain involving        403: Although this             401, 402: Defendants'
       I 0178957 I 0178959                            Charlie Weikel, Gladyse      evidence pertains to the       description of this email
                                                      Taylor, John Baldwin and     relationship between           chain mischaracterizes its
                                                      others re Information on     IDOC and Wexford, these        contents. The first part of
                                                      Incruse Ellipta inhaler.     emails contain little          the chain relates (as the
                                                                                   probative information          email plainly states) to an
                                                                                   regarding actual quality of    instance of Wexford
                                                                                   healthcare provided by         having unilaterally
                                                                                   Wexford. The emails            changed a medication on
                                                                                   reference an incident          the formulary without
                                                                                   involving an inhaler but       approval from IDOC
                                                                                   do not indicate whether        Office of Health Services,
                                                                                   this incident was a failure    although, as agency
                                                                                   in delivering medication       Medical Director Shicker
                                                                                   or just a routine              points out to Wexford, this
                                                                                   medication supply issue.       is a violation of the
                                                                                   The emails also discuss        contract. This then leads
                                                                                   penalties for Wexford.         to an internal discussion
                                                                                   The emails do not indicate     as to whether, in light of
                                                                                   that any penalties have        two such "clear"
                                                                                   been assessed against          contractual violations,
                                                                                   Wexford or if Wexford's        IDOC should proceed
                                                                                   actions have actually          with meeting with
                                                                                   resulted in penalties          Wexford to work on a 1-
                                                                                   towards them.                  year extension to
                                                                                   Furthermore, it is also        Wexford's contract.
                                                                                   unclear if these penalties     Director Baldwin says
                                                                                   are in regards to instances    nevertheless he has "no
                                                                                   of Wexford providing           issue with moving
                                                                                   inadequate medical             forward" with this.
                                                                                   treatment. Without further     Finally, there is a
                                                                                   information, the mention       discussion between
                                                                                   of penalties lacks context     Assistant Director Taylor
                                                                                   and carries the potential of   and Mr. Weikel in the
                                                                                   biasing the fact finder. As    Governor's office of
                                                                                   a result, the probative        possible increased future

                                                             30
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 41 of 409 PageID #:13810

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)    Defendants' Objections        Plaintiffs' Responses
                                                                                  value of the relationship   penalties for contractual
                                                                                  between Wexford and         violations of staffing
                                                                                  IDOC is outweighed by       requirements. We know
                                                                                  the prejudicial effect of   those penalties never came
                                                                                  hearing that IDOC is        into existence as the
                                                                                  penalizing Wexford.         current contract does not
                                                                                                              have them. In sum, this
                                                                                                              email is highly relevant to
                                                                                                              Plaintiffs' claim that
                                                                                                              Defendants (in spite of
                                                                                                              disparaging Wexford's
                                                                                                              performance in their
                                                                                                              internal discussions) fail
                                                                                                              to hold Wexford
                                                                                                              accountable (and instead
                                                                                                              continue to reward it with
                                                                                                              contract extensions)
                                                                                                              despite its repeated
                                                                                                              violations of the contract,
                                                                                                              showing Defendants'
                                                                                                              deliberate indifference.
                                                                                                              There can be no
                                                                                                              "prejudicial effect" of
                                                                                                              "hearing that IDOC is
                                                                                                              penalizing Wexford," as
                                                                                                              Defendants' objection
                                                                                                              suggests, since there were
                                                                                                              (and are) no such
                                                                                                              penalties. In any event the
                                                                                                              probative value of this
                                                                                                              email chain outweighs any
                                                                                                              embarrassment to
                                                                                                              Defendants from it.
84    RTP#5_ES RTP#5_ES                              Email chain involving
      I 0068483 I 0068484                            Charlie Weikel, John
                                                     Baldwin, Michael

                                                            31
                     Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 42 of 409 PageID #:13811

Ex.   BegBates    EndBates        Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                           Dempsey and others re
                                                           Medical check-ins.

85    RTP#5_ES RTP#5_ES                                    Email from Edward
      I 0015386 I 0015389                                  Jackson to several re
                                                           Subcontracting notices -
                                                           INA and AFSCME.
                                                           Attachments AFSCME
                                                           subcontracting1.docx,
                                                           INA
                                                           subcontracting1.docx.
86    RTP#5_ES RTP#5_ES                                    Email chain and meeting
      I 0583091 I 0583092                                  invitation involving
                                                           Charlie Weikel, Michael
                                                           Dempsey, Steven Meeks
                                                           and others re IDOC and
                                                           UIC engagement.
87    RFP#5_W     RFP#5_W     State of Illinois Contract
      exford      exford      Renewal of Healthcare
      Contracts   Contracts   Services.
      000560      000598
88                            June 2017 Illinois River
                              Healthcare Contract
                              Monthly Performance
                              Monitoring Report.
89    Response    Response    IDOC Director's
      to Motion   to Motion   Transition Report.
      to Compel   to Compel
      002341      002470
90    Response    Response                                 PowerPoint presentation
      to Motion   to Motion                                re IDOC projects between
      to Compel   to Compel                                July 2015 through June
      002472      002494                                   2016.



                                                                  32
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 43 of 409 PageID #:13812

 Ex.    BegBates EndBates      Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
91     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0065946 I 0065947                            Anthony Galullo, Charlie
                                                      Weikel and John Baldwin
                                                      re Wexford contract
                                                      analysis.
92     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0483023 I 0483024                            John Baldwin, Louis
                                                      Shicker and Amber
                                                      Bolden re Our meeting.
93     RTP#5_ES RTP#5_ES                              Email chain between
       I 0250142 I 0250142                            Charlie Weikel and John
                                                      Baldwin re NCCHC
                                                      accreditation - earlier
                                                      question.
94     RTP#5_ES RTP#5_ES                              Email from Louis Shicker
       I 0623498 I 0623498                            to several re vendor
                                                      staffing and backlogs.
95     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0497425 I 0497427                            Charlie Weikel, Gladyse
                                                      Taylor, John Baldwin and
                                                      others re Information on
                                                      Incruse Ellipta inhaler.
96     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0409310 I 0409312                            Jared Brunk, Camile
                                                      Lindsay, Gladyse Taylor
                                                      and others re Medical
                                                      RFP.
97     RTP#5_ES RTP#5_ES                              Email chain involving
       I 0623447 I 0623449                            Wallace Strow, Michael
                                                      Dempsey, Lois Lindorff,
                                                      Kimberly Butler and
                                                      others re Strow response
                                                      to reprimand.
98     RTP#5_ES RTP#5_ES                              Email from Steven Meeks
       I 0044133 I 0044134                            to John Baldwin and
                                                      others re Strategic plan.
                                                              33
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 44 of 409 PageID #:13813

Ex.   BegBates   EndBates      Title (if available)    Description (if no title)    Defendants' Objections   Plaintiffs' Responses
                                                      Attachment OHS Strategic
                                                      plan.docx.

99    Wexford    Wexford    Big Muddy River Monthly
      #12 p. 1   #12 p. 8   Primary Medical Service
                            Reports.
100   RTP#5_ES RTP#5_ES                               Email from Lisa Prather to
      I 0381031 I 0381032                             Michael Dempsey and
                                                      Kim Hugo re ??.
101   RTP#5_ES RTP#5_ES                               Email chain involving
      I 0095024 I 0095025                             Kim Hugo, Michael
                                                      Dempsey, Kimberly
                                                      Butler and others re
                                                      Menard nursing crisis.
102   RTP#5_ES RTP#5_ES                               Email chain involving
      I 0096016 I 0096017                             Steven Meeks, Kim Hugo,
                                                      Lawrence Frank and
                                                      others re Nursing staff
                                                      Menard CC.
103   RTP#5_ES RTP#5_ES                               Email chain involving
      I 0046529 I 0046530                             Lisa Prather, Gail Walls
                                                      and others re HCU
                                                      minimum staffing.
104   RTP#5_ES RTP#5_ES                               Email chain involving
      I 0421000 I 0421001                             Cheri Laurent, Kim Hugo
                                                      and others re Nursing staff
                                                      at Pinckneyville.
105   RTP#5_ES RTP#5_ES                               Email chain involving
      I 0609558 I 0609559                             Shannis Stock-Jones,
                                                      Susan Griffin and others
                                                      re SWICC ASR LPN
                                                      hours.
106   RTP#5_ES RTP#5_ES                               Email chain involving
      I 0622044 I 0622046                             Natalie Northern, Joseph
                                                      Ssenfuma, Emily Ruskin
                                                      and others re Sorry.
                                                              34
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 45 of 409 PageID #:13814

 Ex.    BegBates EndBates            Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
107    RTP#5_ES RTP#5_ES                                    Email from Lorie Smalley
       I 0622761 I 0622762                                  to Lisa Johnson and others
                                                            re Staffing.
108    RTP#5_ES RTP#5_ES                                    Email chain between
       I 0622769 I 0622771                                  Joseph Ssenfuma and
                                                            Jason Orkies re Contract
                                                            monitoring report
                                                            september 2017.
109    RTP#5_ES RTP#5_ES                                    Email from Kim Hugo to
       I 0099462 I 0099480                                  Steven Meeks re RFP Hill.
                                                            Several attachments re
                                                            RFP questions.
110    RTP#5_ES RTP#5_ES                                    Email chain involving
       I 0392582 I 0392583                                  Kimberly Butler, John
                                                            Baldwin and others re
                                                            Assisted living facility.
111                                                         LinkedIn profile of Andy
                                                            Munemoto.
112                                                         List of deposition topics.

113                                                         Pages 274-278 of FY2019
                                                            State Budget re IDOC.
114    Subpoena     Subpoena   State of Illinois Contract
       to Wexford   to Wexford Renewal of Healthcare
       10-10-17     10-10-17   Services.
       Request 12   Request 12
       p. 507       p. 519
115    RTP#5_ES     RTP#5_ES                                Email from Shannis
       I 0410410    I 0410412                               Stock-Jones to several re
                                                            staffing vacancies/medical
                                                            backlogs. Attachment
                                                            staffing vacancies
                                                            12.12.16.xls, medical
                                                            backlogs 12.12.16.xls.


                                                                   35
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 46 of 409 PageID #:13815

 Ex.   BegBates     EndBates        Title (if available)     Description (if no title)     Defendants' Objections   Plaintiffs' Responses
116                              Wexford Provider
                                 Handbook: Physicians,
                                 Psychiatrists, Dentists,
                                 Nurse Practitioners, and
                                 Physician Assistants.
117    Subpoena     Subpoena                                Spreadsheet from
       to Wexford   to Wexford                              Lawrence CC showing
       10-10-17     10-10-17                                vacancies and waiting
       Request 21   Request 21                              lists.
       & 44 p.      & 44 p.
       592          592
118    Subpoena     Subpoena                                Spreadsheet showing
       to Wexford   to Wexford                              weekly MHP backlogs for
       10-10-17     10-10-17                                all facilities over 11/24/17
       Request 23   Request 23                              through 12/15/17.
       p. 580       p. 580
119    RTP#5_ES     RTP#5_ES                                Pew Institute and Vera
       I 0132707    I 0132717                               Institute of Justice survey
                                                            of correctional health care
                                                            expenditures.
120    Subpoena     Subpoena                                Email from Emily
       to Wexford   to Wexford                              McMaster to several re
       10-10-17     10-10-17                                Peer review for Dr.
       Request 4    Request 4                               Khurana by Dr. Sood.
       p. 3606      p. 3619                                 Attached peer review.
121    Subpoena     Subpoena                                Discipline report for
       to Wexford   to Wexford                              employees 7/1/15 to
       10-10-17     10-10-17                                11/26/17 for misconduct
       Request 5    Request 5                               or performance.
       p. 549       p. 549
122    RTP#5_ES     RTP#5_ES                                Email from Mary Schantz
       I 0064473    I 0064479                               to several re c16-bmr-005.
                                                            Attached 9/10/15
                                                            memorandum and
                                                            investigation re Gary

                                                                    36
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 47 of 409 PageID #:13816

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)   Defendants' Objections       Plaintiffs' Responses
                                                     Gerst negligence and
                                                     conduct of individual.


123   RTP#5_ES RTP#5_ES                              Collection of emails         401 and 403: Defendants    401, 402: Defendants'
      I 0073927 I 0073946                            involving several re Sood    object to the attachment   objection actually pertains
                                                     at Hill. Attachments Dr.     which includes the         to Exhibit 123, which is an
                                                     Sood email.docx, Dr.         Seventh Circuit case       email chain relating to
                                                     Sood correspondence          where Dr. Sood was a       Wexford physician Dr.
                                                     2016.pdf, Zaya v.            Defendant.                 Sood. This chain begins
                                                     Sood.pdf.                                               with Dr. Dempsey, the
                                                                                                             acting agency Medical
                                                                                                             Director, stating inter alia
                                                                                                             that the death review of a
                                                                                                             certain prisoner at Hill CC
                                                                                                             who was under Dr. Sood's
                                                                                                             care was "quite
                                                                                                             concerning" and that he
                                                                                                             "want[s] to know why Dr.
                                                                                                             Sood is back at Hill . . .";
                                                                                                             at the end of the chain, Dr.
                                                                                                             Dempsey is corresponding
                                                                                                             with IDOC deputy
                                                                                                             Director Kimberly Butler
                                                                                                             as to certain chronology
                                                                                                             relating to Dr. Sood and
                                                                                                             states "Dr. Sood is
                                                                                                             involved in another
                                                                                                             lawsuit Zaya v. Sood. . ."
                                                                                                             and summarizes the
                                                                                                             Seventh Circuit decision,
                                                                                                             which is also attached to
                                                                                                             the email chain. Since this
                                                                                                             decision was part of the
                                                                                                             material Dr. Dempsey was
                                                                                                             relying on in making his
                                                            37
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 48 of 409 PageID #:13817

Ex.   BegBates   EndBates     Title (if available)   Description (if no title)   Defendants' Objections      Plaintiffs' Responses
                                                                                                          comments and Defendants
                                                                                                          concede that the email
                                                                                                          chain is otherwise relevant
                                                                                                          (and the opinion is briefly
                                                                                                          summarized in the email
                                                                                                          in any event), the
                                                                                                          objection to its relevance
                                                                                                          is unfounded. As to
                                                                                                          Defendants' FRE 403
                                                                                                          objection, since the entire
                                                                                                          email chain is unflattering
                                                                                                          to Dr. Sood, the possibility
                                                                                                          of additional prejudice
                                                                                                          from the opinion itself is
                                                                                                          de minimis. Dr. Sood was
                                                                                                          identified by both the First
                                                                                                          Court-Appointed Expert
                                                                                                          and now by the Second
                                                                                                          Court-Appointed Expert
                                                                                                          as a physician involved in
                                                                                                          problematic mortalities;
                                                                                                          both Court-Appointed
                                                                                                          Experts identify him as an
                                                                                                          example of the problems
                                                                                                          with the training and
                                                                                                          credentialing of Wexford
                                                                                                          physicians in IDOC. That
                                                                                                          Defendants were
                                                                                                          independently aware of
                                                                                                          issues with Dr. Sood
                                                                                                          (including the Seventh
                                                                                                          Circuit decision to which
                                                                                                          Defendants object) is
                                                                                                          highly relevant to
                                                                                                          Plaintiffs' claim that
                                                                                                          Defendants have been

                                                           38
                     Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 49 of 409 PageID #:13818

Ex.   BegBates    EndBates       Title (if available)    Description (if no title)     Defendants' Objections         Plaintiffs' Responses
                                                                                                                    deliberately indifferent to
                                                                                                                    the problem of medical
                                                                                                                    provider quality and
                                                                                                                    outweighs any claim of
                                                                                                                    prejudice.
124   RFP#5_Uti   RFP#5_Uti   Wexford Utilization
      lization    lization    Management Policies and
      Manageme    Manageme    Procedures. Region:
      nt 000001   nt 000012   Internal.
125   Wexford     Wexford     Wexford Employee
      #18 p. 1    #18 p. 60   Handbook.
126   Various     Various                               Various medical records
                                                        of Debra Pattison.
127                                                     List of names with            401: Defendants object as     401, 402: This list was
                                                        "Lippert" typed at the top.   this document is not          provided by Ellen
                                                                                      relevant. The list does not   Holzman Daley, Chief
                                                                                      make an issue of              Procurement Officer for
                                                                                      consequence to the            General Services for the
                                                                                      litigation more or less       State of Illinois, at her
                                                                                      probable than without it.     deposition; it is the list of
                                                                                                                    persons who were
                                                                                                                    permitted to see the
                                                                                                                    responses to the Requests
                                                                                                                    for Proposal for a
                                                                                                                    comprehensive IDOC
                                                                                                                    healthcare contract (in
                                                                                                                    2017, there were two
                                                                                                                    responses). The list
                                                                                                                    includes official capacity
                                                                                                                    defendant Dr. Meeks as
                                                                                                                    well as IDOC Assistant
                                                                                                                    Director Taylor and IDOC
                                                                                                                    CFO Brunk, inter alia.
                                                                                                                    This is relevant to show
                                                                                                                    that, at least as to the
                                                                                                                    "technical" part of the
                                                                39
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 50 of 409 PageID #:13819

Ex.   BegBates   EndBates      Title (if available)    Description (if no title)    Defendants' Objections     Plaintiffs' Responses
                                                                                                             proposals, which were
                                                                                                             opened and reviewed,
                                                                                                             Defendants were not
                                                                                                             unaware of the contents of
                                                                                                             these proposals before the
                                                                                                             RFP was withdrawn (and
                                                                                                             the current contract with
                                                                                                             Wexford extended).
128                                                   "Addendum" created by
                                                      Katherine Tople. Title
                                                      IDOC Comprehensive
                                                      Medical and Mental
                                                      Health Services.
129                                                   "Notice" created by
                                                      Darrell R. Marcy. Title
                                                      IDOC Comprehensive
                                                      Medical and Mental
                                                      Health Services.
130   RTP#5_ES RTP#5_ES                               Email chain involving
      I 0596316 I 0596324                             Lisa Prather, Steven
                                                      Meeks, and several others
                                                      re Priority! Dental chairs.
131   RTP#5_ES RTP#5_ES                               Email from Joseph
      I 0590462 I 0590462                             Ssenfuma to several re
                                                      Pontiac CC.
132   RTP#5_ES RTP#5_ES                               Email chain involving
      I 0594689 I 0594692                             Lisa Prather, Kim Hugo,
                                                      Mary Klein and others re
                                                      ASR equipment.
133   Various    Various                              Collection of emails
                                                      involving Sandra Funk,
                                                      Edwin Bowen, John
                                                      Baldwin and others re
                                                      Help, Revised Agency
                                                      Projects List, and Round
                                                      Table - Western IL CC.
                                                              40
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 51 of 409 PageID #:13820

 Ex.    BegBates EndBates             Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
134    RTP#5_ES RTP#5_ES                                     Email chain between
       I 0616080 I 0616080                                   Jennifer Clem-Pierce and
                                                             Jared Brunk re Wexford.
135    RTP#5_ES RTP#5_ES                                     Email chain involving
       I 0622127 I 0622128                                   Jared Brunk, Le Chen and
                                                             Markus Veile re IDOC
                                                             update/plans for Wexford
                                                             Payments.
136    RTP#5_ES RTP#5_ES                                     Email chain involving
       I 0616186 I 0616187                                   Jared Brunk, Frank
                                                             Lawrence, Charlotte Scott
                                                             and others re Dr.
                                                             Caldwell.
137    RTP#5_ES RTP#5_ES                                     Email from Le Chen to
       I 0621718 I 0621718                                   Jared Brunk and others re
                                                             IDOC update/plans for
                                                             Wexford payments.
138    RTP#5_ES RTP#5_ES                                     Email chain involving
       I 0587784 I 0587787                                   Steven Meeks, Gladyse
                                                             Taylor, Jared Brunk and
                                                             others re Medical RFP
                                                             Q&A.
139    RTP#5_ES RTP#5_ES                                     Email chain involving
       I 0621937 I 0621938                                   Jared Brunk, Scott Harry,
                                                             Andy Munemoto and
                                                             others re Wexford pending
                                                             vouchers.
140    Response      Response                                Facility budget and
       to Eleventh   to Eleventh                             reconciliation sheets.
       Motion to     Motion to
       Compel        Compel
       000906        000933
141                                Declaration of Jared
                                   Brunk.



                                                                    41
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 52 of 409 PageID #:13821

 Ex.    BegBates      EndBates        Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
142    Response      Response    Illinois State Legislature
       to Eleventh   to Eleventh FY 2019 Narrative
       Motion to     Motion to   Statement.
       Compel        Compel
       003422        003485
143    RTP#5_ES      RTP#5_ES                                 Email chain involving
       I 0057894     I 0057898                                Tim Lawrence, Jared
                                                              Brunk, John Baldwin,
                                                              Bobby Shady and others
                                                              re 1115 waiver - potential
                                                              DOC contributions.
144    RTP#5_ES RTP#5_ES State of Illinois
       I 0607599 I 0607851 Department of Corrections
                           Department-Wide
                           Financial Audit for the
                           year ended June 30, 2016
                           and Compliance
                           Examination for the two
                           years ended June 30,
                           2016.
145    RTP#5_ES RTP#5_ES                             Email from Tracey
       I 0095234 I 0095272                           Williams to several re
                                                     Gender informed practice
                                                     assessment (GIPA).
                                                     Attachment The Gender
                                                     Informed Practice
                                                     Assessment (GIPA)
                                                     Summary of Findings &
                                                     Recommendations for
                                                     Logan CC.
146                        John Howard Association
                           Monitoring Visit to
                           Stateville Northern
                           Reception &
                           Classification Center
                           2012.
                                                                     42
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 53 of 409 PageID #:13822

 Ex.    BegBates EndBates       Title (if available)       Description (if no title)   Defendants' Objections   Plaintiffs' Responses
147    RTP#5_ES RTP#5_ES                                 Email chain involving
       I 0277733 I 0277770                               Louis Shicker, Marna
                                                         Ross and others re JHA
                                                         Response Due 2/22/13.
                                                         Attachment Draft John
                                                         Howard Association
                                                         Monitoring Visit to
                                                         Stateville Northern
                                                         Reception &
                                                         Classification Center
                                                         2012.
148    RTP#5_ES RTP#5_ES                                 Email from Nicole Wilson
       I 0079641 I 0079774                               to John Baldwin re Final
                                                         Report. Attachment July
                                                         2016 Gender Informed
                                                         Practice Assessment
                                                         (GIPA) for Logan CC.
149                          John Howard Association
                             Special Prison Monitoring
                             Report. Overcrowded,
                             Underresourced, and Ill-
                             Conceived: Logan
                             Correctional Center,
                             2013/14.
150                          John Howard Association
                             Monitoring Visit to Dixon
                             Correctional Center 2013.
151                          John Howard Association
                             Monitoring Visit to
                             Stateville Correctional
                             Center 2013.
152                          John Howard Association
                             Monitoring Visit to
                             Pontiac Correctional
                             Center 2013.


                                                                43
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 54 of 409 PageID #:13823

 Ex.   BegBates   EndBates      Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
153                          John Howard Association
                             Monitoring Visit to
                             Vandalia Correctional
                             Center 2012.
154                          John Howard Association
                             Monitoring Visit to
                             Graham Correctional
                             Center 2013.
155    RTP#5_ES RTP#5_ES                               Email from Kimberly
       I 0098770 I 0098797                             Butler to several re JHA
                                                       Report. Attachment John
                                                       Howard Association 2016
                                                       Prison Monitoring Project
                                                       Summary and
                                                       Recommendations Part II.
156    RTP#5_ES RTP#5_ES                               Email from Kimberly
       I 0098798 I 0098825                             Butler to several re John
                                                       Howard. Attachment John
                                                       Howard Association 2016
                                                       Prison Monitoring Project
                                                       Summary and
                                                       Recommendations Part II.
157                                                    Email chain involving
                                                       Melvin Hinton, Louis
                                                       Shicker and others re
                                                       Draft JHA Dixon Report.
                                                       Attachment Draft John
                                                       Howard Association 2013
                                                       Monitoring Visit to Dixon
                                                       Correctional Center.
158                                                    Email from Lori Killam to
                                                       several re Minutes -
                                                       Monthly Staff Meeting.
                                                       Attachment 12/16/14
                                                       Programs & Support


                                                              44
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 55 of 409 PageID #:13824

Ex.    BegBates   EndBates      Title (if available)      Description (if no title)    Defendants' Objections        Plaintiffs' Responses
                                                         Services Monthly Staff
                                                         Meeting minutes.


G159                                                     All monthly contract         Defendants object. This      Plaintiffs do not
                                                         monitoring reports           hyperlink does not link to   understand the nature of
                                                         produced by defendants.      a single exhibit.            this objection. This is a
                                                                                                                   group exhibit of multiple
                                                                                                                   documents.
G160                                                     All CQI reports/minutes      Defendants object. This      Plaintiffs do not
                                                         produced by defendants.      hyperlink does not link to   understand the nature of
                                                                                      a single exhibit.            this objection. This is a
                                                                                                                   group exhibit of multiple
                                                                                                                   documents.
G161                         [Exhibit number not used]   [Exhibit number not used]    Defendants object. No        These are the IDOC-
                                                                                      hyperlink given.             produced medical records
                                                                                                                   of one of the named
                                                                                                                   plaintiffs. For all exhibits
                                                                                                                   except the plaintiff
                                                                                                                   medical records (which
                                                                                                                   are voluminous), in the
                                                                                                                   course of preparing for
                                                                                                                   this filling, Plaintiffs had
                                                                                                                   provided Defendants with
                                                                                                                   a flash drive containing an
                                                                                                                   Excel version of this
                                                                                                                   exhibit list together with
                                                                                                                   all the exhibit documents
                                                                                                                   hyperlinked to the Excel
                                                                                                                   spreadsheet. Again, these
                                                                                                                   records are voluminous
                                                                                                                   and are in the possession
                                                                                                                   of Defendants. However,
                                                                                                                   Plaintiffs have now
                                                                                                                   provided Defendants with
                                                                                                                   the documents
                                                                45
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 56 of 409 PageID #:13825

Ex.    BegBates   EndBates     Title (if available)    Description (if no title)   Defendants' Objections      Plaintiffs' Responses
                                                                                                            hyperlinked to the Excel
                                                                                                            list.
G162                                                  All medical records of       Defendants object. No    These are the IDOC-
                                                      Don Lippert produced by      hyperlink given.         produced medical records
                                                      defendants or obtained                                of one of the named
                                                      from IDOC                                             plaintiffs. For all exhibits
                                                                                                            except the plaintiff
                                                                                                            medical records (which
                                                                                                            are voluminous), in the
                                                                                                            course of preparing for
                                                                                                            this filling, Plaintiffs had
                                                                                                            provided Defendants with
                                                                                                            a flash drive containing an
                                                                                                            Excel version of this
                                                                                                            exhibit list together with
                                                                                                            all the exhibit documents
                                                                                                            hyperlinked to the Excel
                                                                                                            spreadsheet. Again, these
                                                                                                            records are voluminous
                                                                                                            and are in the possession
                                                                                                            of Defendants. However,
                                                                                                            Plaintiffs have now
                                                                                                            provided Defendants with
                                                                                                            the documents
                                                                                                            hyperlinked to the Excel
                                                                                                            list.




                                                             46
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 57 of 409 PageID #:13826

 Ex.   BegBates   EndBates     Title (if available)     Description (if no title)    Defendants' Objections      Plaintiffs' Responses
G163                                                  All medical records of        Defendants object. No     These are the IDOC-
                                                      Milam Martin produced         hyperlink given.          produced medical records
                                                      by defendants or obtained                               of one of the named
                                                      from IDOC                                               plaintiffs. For all exhibits
                                                                                                              except the plaintiff
                                                                                                              medical records (which
                                                                                                              are voluminous), in the
                                                                                                              course of preparing for
                                                                                                              this filling, Plaintiffs had
                                                                                                              provided Defendants with
                                                                                                              a flash drive containing an
                                                                                                              Excel version of this
                                                                                                              exhibit list together with
                                                                                                              all the exhibit documents
                                                                                                              hyperlinked to the Excel
                                                                                                              spreadsheet. Again, these
                                                                                                              records are voluminous
                                                                                                              and are in the possession
                                                                                                              of Defendants. However,
                                                                                                              Plaintiffs have now
                                                                                                              provided Defendants with
                                                                                                              the documents
                                                                                                              hyperlinked to the Excel
                                                                                                              list.
G164                                                  All medical records of        Defendants object. No     These are the IDOC-
                                                      Debra Pattison produced       hyperlink given.          produced medical records
                                                      by defendants or obtained                               of one of the named
                                                      from IDOC                                               plaintiffs. For all exhibits
                                                                                                              except the plaintiff
                                                                                                              medical records (which
                                                                                                              are voluminous), in the
                                                                                                              course of preparing for
                                                                                                              this filling, Plaintiffs had
                                                                                                              provided Defendants with
                                                                                                              a flash drive containing an
                                                                                                              Excel version of this

                                                              47
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 58 of 409 PageID #:13827

Ex.    BegBates   EndBates     Title (if available)    Description (if no title)   Defendants' Objections      Plaintiffs' Responses
                                                                                                            exhibit list together with
                                                                                                            all the exhibit documents
                                                                                                            hyperlinked to the Excel
                                                                                                            spreadsheet. Again, these
                                                                                                            records are voluminous
                                                                                                            and are in the possession
                                                                                                            of Defendants. However,
                                                                                                            Plaintiffs have now
                                                                                                            provided Defendants with
                                                                                                            the documents
                                                                                                            hyperlinked to the Excel
                                                                                                            list.
G165                                                  All medical records of       Defendants object. No    These are the IDOC-
                                                      Lewis Rice produced by       hyperlink given.         produced medical records
                                                      defendants or obtained                                of one of the named
                                                      from IDOC                                             plaintiffs. For all exhibits
                                                                                                            except the plaintiff
                                                                                                            medical records (which
                                                                                                            are voluminous), in the
                                                                                                            course of preparing for
                                                                                                            this filling, Plaintiffs had
                                                                                                            provided Defendants with
                                                                                                            a flash drive containing an
                                                                                                            Excel version of this
                                                                                                            exhibit list together with
                                                                                                            all the exhibit documents
                                                                                                            hyperlinked to the Excel
                                                                                                            spreadsheet. Again, these
                                                                                                            records are voluminous
                                                                                                            and are in the possession
                                                                                                            of Defendants. However,
                                                                                                            Plaintiffs have now
                                                                                                            provided Defendants with
                                                                                                            the documents
                                                                                                            hyperlinked to the Excel
                                                                                                            list.

                                                             48
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 59 of 409 PageID #:13828

 Ex.   BegBates   EndBates     Title (if available)     Description (if no title)  Defendants' Objections      Plaintiffs' Responses
G166                                                  All medical records of      Defendants object. No     These are the IDOC-
                                                      Ezell Thomas produced by hyperlink given.             produced medical records
                                                      defendants or obtained                                of one of the named
                                                      from IDOC                                             plaintiffs. For all exhibits
                                                                                                            except the plaintiff
                                                                                                            medical records (which
                                                                                                            are voluminous), in the
                                                                                                            course of preparing for
                                                                                                            this filling, Plaintiffs had
                                                                                                            provided Defendants with
                                                                                                            a flash drive containing an
                                                                                                            Excel version of this
                                                                                                            exhibit list together with
                                                                                                            all the exhibit documents
                                                                                                            hyperlinked to the Excel
                                                                                                            spreadsheet. Again, these
                                                                                                            records are voluminous
                                                                                                            and are in the possession
                                                                                                            of Defendants. However,
                                                                                                            Plaintiffs have now
                                                                                                            provided Defendants with
                                                                                                            the documents
                                                                                                            hyperlinked to the Excel
                                                                                                            list.
167    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0036999 I 0037004                            Cheri Laurent, Bryan
                                                      Gleckler, Louis Shicker
                                                      and others re Wexford key
                                                      vacancies. Attachment
                                                      Illinois Recruitment
                                                      Activities through 4.1.14
                                                      providers.doc.




                                                             49
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 60 of 409 PageID #:13829

 Ex.    BegBates     EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
168    Lippert      Lippert                                 Collection of emails,
       subp. #19    subp. #19                               documents and reports
       p. 275       p. 1123                                 pursuant to request 19 of
                                                            the 6/12/15 Wexford
                                                            subpoena, "Documents
                                                            relating to
                                                            communications between
                                                            Wexford and IDOC since
                                                            July 1, 2012 related to
                                                            complaints, concerns,
                                                            problems, or issues related
                                                            to the provision of
                                                            healthcare to inmates,
                                                            including performance or
                                                            failures of performance
                                                            under the Wexford/IDOC
                                                            contract."
169    Subpoena     Subpoena     Packet 2: Pricing
       to Wexford   to Wexford   Proposal. IDOC Medical
       10-10-17     10-10-17     and Mental Health RFP
       Request 13   Request 13   16-97556 bid by Wexford.
       p. 9104      p. 9203
170    Subpoena     Subpoena                                Wexford RFP bid
       to Wexford   to Wexford                              schedules D1, D2, D3, D4
       10-10-17     10-10-17                                and E for each facility for
       Request 13   Request 13                              each fiscal year 2018 to
       p. 9204      p. 11075                                2028.
171                          2016 State of Illinois
                             Request for Proposal -
                             IDOC Comprehensive
                             Medical and Mental
                             Health Services.
172    Subpoena   Subpoena   Packet 1: Specifications /
       to Wexford to Wexford Qualifications / Statement
       10-10-17   10-10-17   of Work. IDOC Medical
                             and Mental Health RFP
                                                                    50
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 61 of 409 PageID #:13830

Ex.    BegBates    EndBates         Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
      Request 13   Request 13   16-97556 bid by Wexford
      p. 12345     p. 13604     [excerpts].

173   Subpoena     Subpoena     Packet 3: Offeror's Offer.
      to Wexford   to Wexford   IDOC Medical and Mental
      10-10-17     10-10-17     Health RFP 16-97556 bid
      Request 13   Request 13   by Wexford.
      p. 11328     p. 11347
174   RTP#5_U      RTP#5_U                                   Draft v.15.2 State of
      PDATED_      PDATED_                                   Illinois Request for
      SHICKER      SHICKER                                   Proposal.
      RFP          RFP
      000001       000109
175   RTP#5_U      RTP#5_U                                   PDF titled "New contract -
      PDATED_      PDATED_                                   Louis Shicker's comments
      SHICKER      SHICKER                                   - meeting results brg."
      RFP          RFP
      000110       000113
176   RTP#5_U      RTP#5_U                                   PDF titled "Shicker RFP
      PDATED_      PDATED_                                   Recommendations."
      SHICKER      SHICKER
      RFP          RFP
      000116       000117
177   Subpoena     Subpoena                                  Budget schedule Es for
      to Wexford   to Wexford                                each facility 5/1/16 to
      10-17-17     10-17-17                                  4/30/17.
      Request 12   Request 12
      p. 11585     p. 11610
178   RTP#5_ES     RTP#5_ES                                  Budget schedule Es for
      I 0006569    I 0006598                                 each facility 5/1/17 to
                                                             4/30/18.
179   Subpoena     Subpoena                                  Budget schedule Es for
      to Wexford   to Wexford                                each facility 5/1/18 to
      10-17-17     10-17-17                                  4/30/19.
      Request 12   Request 12
      p. 11611     p. 11640
                                                                     51
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 62 of 409 PageID #:13831

 Ex.   BegBates   EndBates        Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
180    CONTRA     CONTRA     Contract for Services
       CT 00001   CT 00162   between Illinois
                             Healthcare and Family
                             Services Illinois Dept. of
                             Corrections and Wexford
                             Health Sources, Inc. 2006-
                             05-001.
181    CONTRA     CONTRA     Amendment 1 to Contract
       CT 00163   CT 00165   for Services between
                             Illinois Healthcare and
                             Family Services Illinois
                             Dept. of Corrections and
                             Wexford Health Sources,
                             Inc. 2006-05-001.
182    CONTRA     CONTRA     Amendment 2 to Contract
       CT 00166   CT 00166   for Services between
                             Illinois Healthcare and
                             Family Services Illinois
                             Dept. of Corrections and
                             Wexford Health Sources,
                             Inc. 2006-05-001.
183    CONTRA     CONTRA     Contract Renewal 1 to
       CT 00199   CT 00240   Contract for Services
                             between Illinois
                             Healthcare and Family
                             Services Illinois Dept. of
                             Corrections and Wexford
                             Health Sources, Inc. 2006-
                             05-001.
184    CONTRA     CONTRA     Contract Renewal 2 to
       CT 00241   CT 00280   Contract for Services
                             between Illinois
                             Healthcare and Family
                             Services Illinois Dept. of
                             Corrections and Wexford


                                                                52
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 63 of 409 PageID #:13832

Ex.   BegBates     EndBates         Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                Health Sources, Inc. 2006-
                                05-001.


185   CONTRA       CONTRA                                    Contract Obligation
      CT 00281     CT 00292                                  documents and signed
                                                             contract amendment
                                                             administrative orders.
186   Wexford      Wexford      State of Illinois Contract
      #11 p. 1     #11 p. 12    Amendment.
187   RFP#5_W      RFP#5_W      State of Illinois Contract
      exford       exford       Renewal of Healthcare
      Contracts    Contracts    Services.
      000560       000598
188   Subpoena     Subpoena     State of Illinois Contract
      to Wexford   to Wexford   Renewal of Healthcare
      10-10-17     10-10-17     Services.
      Request 12   Request 12
      p. 11285     p. 11297
189   Subpoena     Subpoena     State of Illinois Contract
      to Wexford   to Wexford   Renewal of Healthcare
      10-10-17     10-10-17     Services.
      Request 12   Request 12
      p. 507       p. 519
190   Subpoena     Subpoena     State of Illinois Contract
      to Wexford   to Wexford   Amendment.
      10-10-17     10-10-17
      Request 12   Request 12
      p. 498       p. 506
191   Subpoena     Subpoena     2018 State of Illinois
      to Wexford   to Wexford   Contract Renewal of
      10-10-17     10-10-17     Healthcare Services.
      Request 12   Request 12
      p. 11298     p. 11310


                                                                    53
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 64 of 409 PageID #:13833

 Ex.    BegBates      EndBates         Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
192    RFP#5_W       RFP#5_W       Contract for Services
       exford        exford        between Illinois
       Contracts     Contracts     Healthcare and Family
       000001        000293        Services Illinois Dept. of
                                   Corrections and Wexford
                                   Health Sources, Inc. 2006-
                                   05-001.
193    RFP#5_W       RFP#5_W       2011 Contract Between
       exford        exford        Wexford and IDOC.
       Contracts     Contracts
       000294        000559
194    Response      Response      Quarterly Reconciliation
       to Eleventh   to Eleventh   Report - Wexford Health
       Motion to     Motion to     Sources - 10/1/15 to
       Compel        Compel        12/31/15 - Stateville RC
       000390        000390        Correctional Center.
195    Response      Response      Quarterly Reconciliation
       to Eleventh   to Eleventh   Report - Wexford Health
       Motion to     Motion to     Sources - 10/1/15 to
       Compel        Compel        12/31/15 - Stateville
       000391        000391        Correctional Center.
196    Response      Response      Quarterly Reconciliation
       to Eleventh   to Eleventh   Report - Wexford Health
       Motion to     Motion to     Sources - 1/1/16 to
       Compel        Compel        3/31/16 - Stateville RC
       000392        000392        Correctional Center.
197    Response      Response      Quarterly Reconciliation
       to Eleventh   to Eleventh   Report - Wexford Health
       Motion to     Motion to     Sources - 1/1/16 to
       Compel        Compel        3/31/16 - Stateville
       000392        000392        Correctional Center.
198    Response      Response      Illinois State Legislature
       to Eleventh   to Eleventh   FY 2016 Narrative
       Motion to     Motion to     Statement.
       Compel        Compel
       000394        000431
                                                                      54
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 65 of 409 PageID #:13834

 Ex.    BegBates      EndBates          Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
199    Response      Response      Illinois State Legislature
       to Eleventh   to Eleventh   FY 2015 Narrative
       Motion to     Motion to     Statement.
       Compel        Compel
       000431        000451
200    Response      Response      Illinois State Legislature
       to Eleventh   to Eleventh   FY 2016 Narrative
       Motion to     Motion to     Statement.
       Compel        Compel
       000453        000473
201    Response      Response      Illinois State Legislature
       to Eleventh   to Eleventh   FY 2017 Narrative
       Motion to     Motion to     Statement.
       Compel        Compel
       000474        000492
202    Response      Response                                   Spreadsheets of quarterly
       to Eleventh   to Eleventh                                payments / reconciliations
       Motion to     Motion to                                  due to Wexford for each
       Compel        Compel                                     facility for FY 2011.
       000512        000538
203    Response      Response      IDOC Fiscal Year 2011
       to Eleventh   to Eleventh   ISL Narrative.
       Motion to     Motion to
       Compel        Compel
       000539        000583
204    Response      Response                                   Spreadsheets of quarterly
       to Eleventh   to Eleventh                                payments / reconciliations
       Motion to     Motion to                                  due to Wexford for each
       Compel        Compel                                     facility for FY 2012.
       000584        000613
205    Response      Response      IDOC Fiscal Year 2012
       to Eleventh   to Eleventh   ISL Narrative.
       Motion to     Motion to
       Compel        Compel
       000614        000684

                                                                       55
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 66 of 409 PageID #:13835

 Ex.    BegBates      EndBates        Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
206    Response      Response                                Spreadsheets of quarterly
       to Eleventh   to Eleventh                             payments / reconciliations
       Motion to     Motion to                               due to Wexford for each
       Compel        Compel                                  facility for FY 2013.
       000685        000713
207    Response      Response      IDOC Fiscal Year 2013
       to Eleventh   to Eleventh   ISL Narrative.
       Motion to     Motion to
       Compel        Compel
       000714        000779
208    Response      Response                                Spreadsheets of quarterly
       to Eleventh   to Eleventh                             payments / reconciliations
       Motion to     Motion to                               due to Wexford for each
       Compel        Compel                                  facility for FY 2014.
       000780        000805
209    Response      Response      IDOC Fiscal Year 2014
       to Eleventh   to Eleventh   ISL Narrative.
       Motion to     Motion to
       Compel        Compel
       000806        000851
210    Response      Response                                Spreadsheets of quarterly
       to Eleventh   to Eleventh                             payments / reconciliations
       Motion to     Motion to                               due to Wexford for each
       Compel        Compel                                  facility for FY 2015.
       000852        000877
211    Response      Response                                Spreadsheets of quarterly
       to Eleventh   to Eleventh                             payments / reconciliations
       Motion to     Motion to                               due to Wexford for each
       Compel        Compel                                  facility for FY 2016.
       000878        000905
212    Response      Response                                Spreadsheets of quarterly
       to Eleventh   to Eleventh                             payments / reconciliations
       Motion to     Motion to                               due to Wexford for each
       Compel        Compel                                  facility for FY 2017.
       000906        000933

                                                                     56
                        Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 67 of 409 PageID #:13836

 Ex.    BegBates      EndBates      Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
213    Response      Response                              Responses to ISL
       to Eleventh   to Eleventh                           questions for FY 2017.
       Motion to     Motion to
       Compel        Compel
       000934        000952
214    Response      Response    IDOC Fiscal Year 2018
       to Eleventh   to Eleventh ISL Narrative.
       Motion to     Motion to
       Compel        Compel
       000953        001014
215    Response      Response                              Financial spreadsheets.
       to Eleventh   to Eleventh                           Filename "High Level All
       Motion to     Motion to                             Sites Pymnts vs Inv Q1 to
       Compel        Compel                                Q4 FY15."
       001015        001019
216    Response      Response                              Various spreadsheets.
       to Eleventh   to Eleventh                           Filename "IDOC
       Motion to     Motion to                             Appropriation 05-1-15 to
       Compel        Compel                                7-30-15."
       001020        002332
217    Response      Response                              Various financial
       to Eleventh   to Eleventh                           spreadsheets. Filename
       Motion to     Motion to                             "IL HFS - Summary -
       Compel        Compel                                CY1-5."
       002333        002340
218                                                        Password-protected Excel
                                                           spreadsheet information
                                                           regarding bills paid from
                                                           the IDOC hospital
                                                           appropriations fund and
                                                           which were processed for
                                                           payment between 7/1/09
                                                           and 6/30/18. The
                                                           password for this
                                                           document is
                                                           IDOCclaims10_18. This
                                                                  57
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 68 of 409 PageID #:13837

Ex.   BegBates   EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                     is responsive to the
                                                     Plaintiffs’ Eleventh
                                                     Motion to Compel.
219                                                  Cover email from Kevin
                                                     Lovellette to Camille
                                                     Bennett and others
                                                     attaching password-
                                                     protected Excel
                                                     spreadsheet information
                                                     regarding bills paid from
                                                     the IDOC hospital
                                                     appropriations fund and
                                                     which were processed for
                                                     payment between 7/1/09
                                                     and 6/30/18.
220                                                  Email from John Hayes to
                                                     Camille Bennett
                                                     confirming that "the
                                                     spreadsheet you attached
                                                     covers all paid
                                                     hospitalization claims
                                                     through the time period in
                                                     the spreadsheet." The
                                                     spreadsheet refers to the
                                                     password-protected Excel
                                                     spreadsheet information
                                                     regarding bills paid from
                                                     the IDOC hospital
                                                     appropriations fund and
                                                     which were processed for
                                                     payment between 7/1/09
                                                     and 6/30/18 produced on
                                                     2/14/18.
221                                                  Excel file of spreadsheets
                                                     spanning FY10-FY18

                                                             58
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 69 of 409 PageID #:13838

Ex.   BegBates   EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                     showing medical
                                                     expenditures.
222   RTP#5_ES RTP#5_ES                              Email chain between
      I 0285848 I 0285849                            Marna Ross and Louis
                                                     Shicker re questions and
                                                     FYI's.
223   RTP#5_ES RTP#5_ES                              Email from Lisa Moss /
      I 0279438 I 0279454                            Louis Shicker to several re
                                                     Health Services Quarterly
                                                     meeting 03-02-11.
                                                     Attaches 3/2/11 Quarterly
                                                     Health Services Meeting
                                                     minutes.
224   RTP#5_ES RTP#5_ES                              Email from Steven Meeks
      I 0218301 I 0218339                            to several re Sheridan
                                                     Caseload. Attachment
                                                     Sheridan updated MD line
                                                     scheduled appts.xls.
225   RTP#5_ES RTP#5_ES                              Email from Louis Shicker
      I 0169997 I 0170005                            to several re Mortality
                                                     conferences. Attachments
                                                     Mortality Conference
                                                     Reports July 31 and June
                                                     30.
226   RTP#5_ES RTP#5_ES                              Email chain involving
      I 0130886 I 0130886                            Doug Mote, Victor
                                                     Calloway, Marna Ross
                                                     and others re Dr. Obaisi,
                                                     infirmary admits, medical
                                                     permits, etc.
227   RTP#5_ES RTP#5_ES                              Email from Louis Shicker
      I 0068580 I 0068585                            to several re Mortality
                                                     Reviews. Attachment
                                                     mortality conference
                                                     February 5, 2016.docx.

                                                            59
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 70 of 409 PageID #:13839

 Ex.    BegBates    EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
228    IDOC        IDOC                                 Chain of emails involving
       Update      Update                               Amber Allen, Louis
       001020      001021                               Shicker and others re
                                                        timeliness of UIC
                                                        appointments.
229    IDOC        IDOC                                 Chain of emails involving
       Update      Update                               Cheri Laurent, Louis
       000922      000923                               Shicker and others re
                                                        Dental.
230    IDOC        IDOC                                 Chain of emails involving
       Update      Update                               Louis Shicker, Juliana
       000843      000858                               Chan, Marna Ross and
                                                        others re Pontiac - Missing
                                                        HCV and HIV doses.
231    IDOC        IDOC                                 Email chain involving
       Update      Update                               Louis Shicker, Hector
       003350      003352                               Garcia, Cheri Laurent and
                                                        others re Denials for
                                                        Stateville CC.
232    RTP#5_ES RTP#5_ES                                Email chain involving
       I 0095723 I 0095724                              Steven meeks, Lisa
                                                        Prather, Kelly Moeller and
                                                        others re Wexford MD
                                                        hours.
233    RTP#5_ES RTP#5_ES                                Email from Althea
       I 0096355 I 0096361                              Williams to Lisa Prather,
                                                        Michael Dempsey and
                                                        Steven Meeks re Office of
                                                        Health Services Meeting
                                                        Minutes 1/20/17.
                                                        Attachment Office of
                                                        Health Services 1/20/17
                                                        teleconference minutes.
234    RTP#5_ES RTP#5_ES                                Email from Lois Lindorff
       I 0095934 I 0095937                              to several re Directors

                                                               60
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 71 of 409 PageID #:13840

Ex.   BegBates   EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                     report. Attachment
                                                     Directors report.doc.
235   RTP#5_ES RTP#5_ES                              Email chain involving
      I 0097341 I 0097342                            Donald Mills, Jackie
                                                     Mitchell, Walter
                                                     Nicholson, Steven Meeks,
                                                     Camile Lindsay and others
                                                     re Murphy M42534.
236   RTP#5_ES RTP#5_ES                              Email involving Cindy
      I 0048190 I 0048192                            Hobrock, Mark Williams
                                                     and Lois Lindorff re
                                                     Nursing assignments
                                                     2017. Attachment 3/8/17
                                                     memorandum to nursing
                                                     staff re nursing
                                                     assignments.
237   RTP#5_ES RTP#5_ES                              Email chain involving
      I 0381134 I 0381135                            Joseph Ssenfuma, Michael
                                                     Dempsey, Melissa
                                                     Badowski and others re
                                                     Issues at Pontiac.
238   RTP#5_ES RTP#5_ES                              Email from Mike
      I 0246166 I 0246166                            Atchison to Gladyse
                                                     Taylor, Kimberly Butler,
                                                     Kim Hugo and Edwin
                                                     Bowen re Western Illinois
                                                     infirmary conditions.
239   RTP#5_ES RTP#5_ES                              Email from Lois Lindorff
      I 0245613 I 0245613                            to Cindy Hobrock and
                                                     Tina Jepsen re Repair.
240                                                  Email chain involving
                                                     James Reinhart, Theodore
                                                     Chung, Emily Mattison
                                                     and others re Epars for
                                                     IDOC Health Services.

                                                            61
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 72 of 409 PageID #:13841

 Ex.    BegBates EndBates           Title (if available)       Description (if no title)   Defendants' Objections   Plaintiffs' Responses
241    RTP#5_ES RTP#5_ES                                     Email chain involving
       I 0055519 I 0055540                                   Eric Dailey, Jan Bryan,
                                                             Nick Little and others re
                                                             Wexford draft language
                                                             changes. Attachments
                                                             contract change requests
                                                             3-9-11.doc and Exhibit IV
                                                             Wexford Health Revision
                                                             #2.doc.
242                                                          Emails from Eric Dailey
                                                             to Jan Bryan, Bryan
                                                             Gleckler Pat Frueh re
                                                             Threshold reconciliation
                                                             and phone call with Nick
                                                             Little this morning.
                                                             Contains handwritten
                                                             notes.
243    RTP#5_ES RTP#5_ES                                     Email chain involving
       I 0257067 I 0257067                                   Kim Hugo, George Penny
                                                             and others re Infection
                                                             control nurse.
244    RTP#5_ES RTP#5_ES                                     Email chain involving
       I 0107873 I 0107877                                   Cindy Hobrock, Tracey
                                                             Titus and Brent Gibson re
                                                             Studies for QI.
245    RTP#5_ES RTP#5_ES                                     Email from Shawn Cates
       I 0114274 I 0114274                                   to Clara Charron, Louis
                                                             Shicker, Lisa Johnson and
                                                             Cindy Hobrock re Logan
                                                             infirmary call light
                                                             system.
246    Subpoena     Subpoena     IDOC Facilities Lacking a
       to Wexford   to Wexford   Permanent Medical
       10-10-17     10-10-17     Director from 7/1/15 to
       Request 16   Request 16   11/26/17.
       p. 550       p. 550
                                                                     62
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 73 of 409 PageID #:13842

 Ex.    BegBates EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
247    RTP#5_ES RTP#5_ES                                Email chain involving Le
       I 0319588 I 0319594                              Chen, Jared Brunk, Sam
                                                        Yi and others re Series
                                                        2016-12 Agency
                                                        Acknowledgment Letter.
248                                                     Illinois Medical Vacancy
                                                        report with ASR's as of
                                                        6/18/18 [sent directly to
                                                        Dr. Puisis by Nicholas
                                                        Staley on 6/18/18].
249    RTP#5_He   RTP#5_He   IDOC AD 04.03.100
       althcare   althcare   effective 9/1/13 re
       Manageme   Manageme   Offender Medical
       nt_IDOC    nt_IDOC    Records.
       000064     000069
250    RTP#5_He   RTP#5_He   IDOC AD 04.03.100
       althcare   althcare   Amendment effective
       Manageme   Manageme   3/1/14 re Offender
       nt_IDOC    nt_IDOC    Medical Records.
       000070     000070
251    RTP#5_U    RTP#5_U    IDOC AD 04.03.101
       PDATED_    PDATED_    effective 6/1/17 re
       ADs &      ADs &      Offender Physical
       IDs_IDOC   IDs_IDOC   Examination.
       000376     000383
252    RTP#5_He   RTP#5_He   IDOC AD 04.03.102
       althcare   althcare   effective 9/1/02 last
       Manageme   Manageme   amended 1/1/12 re Dental
       nt_IDOC    nt_IDOC    Care for Offenders.
       000079     000084
253    RTP#5_U    RTP#5_U    IDOC AD 04.03.103
       PDATED_    PDATED_    effective 6/1/17 re
       ADs &      ADs &      Offender Health Care
       IDs_IDOC   IDs_IDOC   Services.
       000384     000390

                                                                63
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 74 of 409 PageID #:13843

 Ex.    BegBates    EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
254    RTP#5_He    RTP#5_He    IDOC AD 04.03.104
       althcare    althcare    effective 5/1/13 re
       Manageme    Manageme    Evaluations of Offenders
       nt_IDOC     nt_IDOC     with Gender Identity
       000093      000097      Disorders.
255    RTP#5_He    RTP#5_He    IDOC AD 04.03.105
       althcare    althcare    effective 10/1/14 re
       Manageme    Manageme    Chronic Illnesses.
       nt_IDOC     nt_IDOC
       000097      000101
256    RTP#5_U     RTP#5_U     IDOC AD 04.03.108
       PDATED_     PDATED_     effective 9/1/17 re
       ADs &       ADs &       Response to Medical
       IDs_IDOC    IDs_IDOC    Emergencies.
       000390      000394
257    RTP#5_He    RTP#5_He    IDOC AD 04.03.109
       althcare    althcare    effective 9/1/02 re Living
       Manageme    Manageme    Will.
       nt_IDOC     nt_IDOC
       000107      000109
258    RTP#5_He    RTP#5_He    IDOC AD 04.03.110
       althcare    althcare    effective 8/1/10 re Control
       Manageme    Manageme    of Medications and
       nt_IDOC     nt_IDOC     Medical Instruments.
       000110      000115
259    RTP#5_He    RTP#5_He    IDOC AD 04.03.111
       althcare    althcare    effective 9/1/02 re Control
       Manageme    Manageme    of Medications and
       nt_IDOC     nt_IDOC     Medical Instruments in
       000116      000118      Transition Centers.
260    RTP#5_He    RTP#5_He    IDOC AD 04.03.112
       althcare    althcare    effective 9/1/02 re
       Manageme    Manageme    Offender Medical and
       nt_IDOC     nt_IDOC     Dental Services at
       000119      000121      Transition Centers.

                                                                   64
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 75 of 409 PageID #:13844

 Ex.    BegBates    EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
261    RTP#5_He    RTP#5_He    IDOC AD 04.03.115
       althcare    althcare    effective 2/1/14 re HIV
       Manageme    Manageme    Disease.
       nt_IDOC     nt_IDOC
       000122      000128
262    RTP#5_He    RTP#5_He    IDOC AD 04.03.116
       althcare    althcare    effective 9/1/02 re
       Manageme    Manageme    Bloodborne Pathogens.
       nt_IDOC     nt_IDOC
       000129      000136
263    RTP#5_He    RTP#5_He    IDOC AD 04.03.120
       althcare    althcare    effective 9/1/02 re
       Manageme    Manageme    Offender Infirmary
       nt_IDOC     nt_IDOC     Services.
       000137      000140
264    RTP#5_He    RTP#5_He    IDOC AD 04.03.121
       althcare    althcare    effective 9/1/02 re
       Manageme    Manageme    Treatment Protocols.
       nt_IDOC     nt_IDOC
       000141      000143
265    RTP#5_He    RTP#5_He    IDOC AD 04.03.123
       althcare    althcare    effective 9/1/12 amended
       Manageme    Manageme    12/1/13 re Offender
       nt_IDOC     nt_IDOC     Contact Lenses.
       000144      000146
266    RTP#5_He    RTP#5_He    IDOC AD 04.03.125
       althcare    althcare    effective 4/1/07 re Quality
       Manageme    Manageme    Improvement Program.
       nt_IDOC     nt_IDOC
       000147      000157
267    RTP#5_He    RTP#5_He    IDOC AD 04.03.135
       althcare    althcare    effective 9/1/02 re
       Manageme    Manageme    Employee Use of Health
       nt_IDOC     nt_IDOC     Care Services.
       000158      000160

                                                                   65
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 76 of 409 PageID #:13845

 Ex.    BegBates    EndBates       Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
268    RTP#5_He    RTP#5_He    IDOC AD 04.03.140
       althcare    althcare    effective 9/1/02 re
       Manageme    Manageme    Training and Counseling
       nt_IDOC     nt_IDOC     on Communicable
       000161      000163      Diseases.
269    RTP#5_He    RTP#5_He    IDOC AD 05.07.101
       althcare    althcare    effective 11/1/05 re Adult
       Manageme    Manageme    Process.
       nt_IDOC     nt_IDOC
       000164      000168
270    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.102
       althcare    althcare    effective 1/1/12 re Dental
       Manageme    Manageme    Care.
       nt_Big      nt_Big
       Muddy       Muddy
       000117      000122
271    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.103
       althcare    althcare    effective 8/1/15 re Health
       Manageme    Manageme    Care Services for
       nt_Big      nt_Big      Offenders.
       Muddy       Muddy
       000123      000131
272    RTP#5_U     RTP#5_U     Big Muddy ID 04.03.104
       PDATED_     PDATED_     effective 12/1/16 re
       ADs &       ADs &       Evaluation of Offenders
       IDs_Big     IDs_Big     with Gender Identification
       Muddy       Muddy       Problems.
       000016      000021
273    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.106
       althcare    althcare    effective 8/1/1 re Hunger
       Manageme    Manageme    Strike or Self Injurious
       nt_Big      nt_Big      Behavior.
       Muddy       Muddy
       000138      000143



                                                                  66
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 77 of 409 PageID #:13846

 Ex.    BegBates    EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
274    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.108
       althcare    althcare    effective 4/1/16 re
       Manageme    Manageme    Response to Medical
       nt_Big      nt_Big      Emergencies.
       Muddy       Muddy
       000163      000167
275    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.110
       althcare    althcare    effective 4/1/15 re Control
       Manageme    Manageme    of Medications and
       nt_Big      nt_Big      Medical Instruments.
       Muddy       Muddy
       000168      000175
276    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.115
       althcare    althcare    effective 3/1/15 re HIV
       Manageme    Manageme    Disease.
       nt_Big      nt_Big
       Muddy       Muddy
       000176      000182
277    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.116
       althcare    althcare    effective 10/1/09 re
       Manageme    Manageme    Bloodborne Pathogens.
       nt_Big      nt_Big
       Muddy       Muddy
       000183      000188
278    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.120
       althcare    althcare    effective 8/1/08 re
       Manageme    Manageme    Infirmary Services.
       nt_Big      nt_Big
       Muddy       Muddy
       000189      000194
279    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.121
       althcare    althcare    effective 10/1/13 re
       Manageme    Manageme    Treatment Protocols.
       nt_Big      nt_Big
       Muddy       Muddy
       000195      000197
                                                                   67
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 78 of 409 PageID #:13847

 Ex.    BegBates    EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
280    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.125
       althcare    althcare    effective 5/1/14 re Quality
       Manageme    Manageme    Improvement Programs.
       nt_Big      nt_Big
       Muddy       Muddy
       000198      000207
281    RTP#5_He    RTP#5_He    Big Muddy ID 04.03.140
       althcare    althcare    effective 10/1/11 re
       Manageme    Manageme    Training and Counseling
       nt_Big      nt_Big      on Communicable
       Muddy       Muddy       Diseases.
       000208      000209
282    RTP#5_He    RTP#5_He    Dixon ID 04.03.103
       althcare    althcare    effective 8/1/14 re
       Manageme    Manageme    Offender Health Care
       nt_Dixon    nt_Dixon    Services.
       000088      000104
283    RTP#5_He    RTP#5_He    Dixon ID 04.03.104
       althcare    althcare    effective 6/1/13 re
       Manageme    Manageme    Evaluation of Offenders
       nt_Dixon    nt_Dixon    with Gender Identification
       000104      000112      Disorders.
284    RTP#5_He    RTP#5_He    Dixon ID 04.03.108
       althcare    althcare    effective 7/1/15 re
       Manageme    Manageme    Response to Medical
       nt_Dixon    nt_Dixon    Emergencies.
       000113      000122
285    RTP#5_He    RTP#5_He    Dixon ID 04.03.110
       althcare    althcare    effective 9/1/11 re Control
       Manageme    Manageme    of Medications and
       nt_Dixon    nt_Dixon    Medical Instruments.
       000123      000133
286    RTP#5_He    RTP#5_He    Dixon ID 04.03.115
       althcare    althcare    effective 3/1/14 re HIV
       Manageme    Manageme    Disease.

                                                                   68
                    Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 79 of 409 PageID #:13848

Ex.    BegBates   EndBates      Title (if available)       Description (if no title)   Defendants' Objections   Plaintiffs' Responses
      nt_Dixon    nt_Dixon
      000134      000142

287   RTP#5_He    RTP#5_He   Dixon ID 04.03.116
      althcare    althcare   effective 10/1/13 re
      Manageme    Manageme   Bloodborne Pathogens.
      nt_Dixon    nt_Dixon
      000143      000151
288   RTP#5_He    RTP#5_He   Dixon ID 04.03.120
      althcare    althcare   effective 5/1/14 re
      Manageme    Manageme   Offender Infirmary
      nt_Dixon    nt_Dixon   Services.
      000152      000161
289   IDOC        IDOC       Dixon ID 04.03.121
      UPDATE      UPDATE     effective 9/1/15 re
      001426      001428     Treatment Protocols.
290   IDOC        IDOC       IL River ID 04.03.102
      UPDATE      UPDATE     effective 11/1/15 re Dental
      001220      001226     Care for Offenders.
291   IDOC        IDOC       IL River ID 04.03.103
      UPDATE      UPDATE     effective 11/1/15 re
      001274      001283     Offender Health Care
                             Services.
292   IDOC        IDOC       IL River ID 04.03.108
      UPDATE      UPDATE     effective 6/1/15 re
      001306      001311     Response to Medical
                             Emergencies.
293   IDOC        IDOC       IL River ID 04.03.115
      UPDATE      UPDATE     effective 4/1/14 re HIV
      001356      001363     Disease.
294   IDOC        IDOC       IL River ID 04.03.120
      UPDATE      UPDATE     effective 11/1/15 re
      001415      001422     Infirmary Services.
295   IDOC        IDOC       IL River ID 04.03.125
      UPDATE      UPDATE     effective 5/1/13 re Quality
      001435      001445     Improvement Program.
                                                                 69
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 80 of 409 PageID #:13849

 Ex.    BegBates    EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
296    RTP#5_U     RTP#5_U     IL River ID 04.03.110
       PDATED_     PDATED_     effective 7/1/17 re Control
       ADs &       ADs &       of Medications and
       IDs_IRCC    IDs_IRCC    Medical Instruments.
       000081      000089
297    RTP#5_U     RTP#5_U     IL River ID 04.03.116
       PDATED_     PDATED_     effective 10/1/12 re
       ADs &       ADs &       Bloodborne Pathogens.
       IDs_IRCC    IDs_IRCC
       000100      000109
298    RTP#5_U     RTP#5_U     IL River ID 04.03.121
       PDATED_     PDATED_     effective 10/1/02 re
       ADs &       ADs &       Treatment Protocols.
       IDs_IRCC    IDs_IRCC
       000145      000150
299    RTP#5_U     RTP#5_U     IL River ID 04.03.140
       PDATED_     PDATED_     effective 10/1/02 re
       ADs &       ADs &       Training and Counseling
       IDs_IRCC    IDs_IRCC    on Communicable
       000164      000168      Diseases.
300    IDOC        IDOC        Lawrence ID 04.03.103
       UPDATE      UPDATE      effective 8/1/14 re
       001074      001081      Offender Health Care
                               Services.
301    IDOC        IDOC        Lawrence ID 04.03.108
       UPDATE      UPDATE      effective 6/1/15 re
       001096      001102      Response to Medical
                               Emergencies.
302    IDOC        IDOC        Lawrence ID 04.03.115
       UPDATE      UPDATE      effective 3/1/14 re HIV
       001118      001123      Disease.
303    IDOC        IDOC        Lawrence ID 04.03.116
       UPDATE      UPDATE      effective 4/1/13 re
       001132      001138      Bloodborne Pathogens.



                                                                   70
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 81 of 409 PageID #:13850

 Ex.    BegBates    EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
304    IDOC        IDOC        Lawrence ID 04.03.121
       UPDATE      UPDATE      effective 10/1/15 re
       001157      001161      Treatment Protocols.
305    RTP#5_U     RTP#5_U     Logan ID 04.03.103
       PDATED_     PDATED_     effective 7/13/17 re Health
       ADs &       ADs &       Care Services for
       IDs_Logan   IDs_Logan   Offenders.
       000008      000015
306    IDOC        IDOC        Logan ID 04.03.104
       UPDATE      UPDATE      effective 5/15/13 re
       001086      001091      Evaluations of Offenders
                               with Gender Identification
                               Problems.
307    RTP#5_U     RTP#5_U     Logan ID 04.03.108
       PDATED_     PDATED_     effective 9/5/17 re
       ADs &       ADs &       Response to Medical
       IDs_Logan   IDs_Logan   Emergencies.
       000016      000022
308    RTP#5_He    RTP#5_He    Logan ID 04.03.110
       althcare    althcare    effective 11/10/11 re
       Manageme    Manageme    Control of Medications /
       nt_Logan    nt_Logan    Syringes / Needles /
       000053      000059      Medical Instruments.
309    RTP#5_He    RTP#5_He    Logan ID 04.03.115
       althcare    althcare    effective 8/15/11 re HIV
       Manageme    Manageme    Disease.
       nt_Logan    nt_Logan
       000060      000066
310    RTP#5_He    RTP#5_He    Logan ID 04.03.116
       althcare    althcare    effective 8/15/10 re
       Manageme    Manageme    Bloodborne Pathogens.
       nt_Logan    nt_Logan
       000067      000073
311    RTP#5_He    RTP#5_He    Logan ID 04.03.120
       althcare    althcare    effective 3/9/16 re
       Manageme    Manageme
                                                                   71
                     Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 82 of 409 PageID #:13851

Ex.    BegBates   EndBates        Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
      nt_Logan    nt_Logan    Offender Infirmary
      000074      000078      Services.

312   RTP#5_He    RTP#5_He    Logan ID 04.03.121
      althcare    althcare    effective 9/9/09 re
      Manageme    Manageme    Treatment Protocols.
      nt_Logan    nt_Logan
      000079      000081
313   RTP#5_U     RTP#5_U     Menard ID 04.03.103
      PDATED_     PDATED_     effective 5/1/16 re
      ADs &       ADs &       Offender Health Care
      IDs_Menar   IDs_Menar   Services.
      d 000001    d 000013
314   RTP#5_U     RTP#5_U     Menard ID 04.03.104
      PDATED_     PDATED_     effective 5/1/13 re
      ADs &       ADs &       Evaluations of Offenders
      IDs_Menar   IDs_Menar   with Gender Identification
      d 000014    d 000019    Disorders.
315   RTP#5_U     RTP#5_U     Menard ID 04.03.108
      PDATED_     PDATED_     effective 4/1/17 re
      ADs &       ADs &       Response to Medical
      IDs_Menar   IDs_Menar   Emergencies.
      d 000029    d 000037
316   RTP#5_U     RTP#5_U     Menard ID 04.03.110
      PDATED_     PDATED_     effective 4/1/17 re Control
      ADs &       ADs &       of Medications and
      IDs_Menar   IDs_Menar   Medical Instruments.
      d 000038    d 000055
317   RTP#5_U     RTP#5_U     Menard ID 04.03.115
      PDATED_     PDATED_     effective 3/1/14 re HIV
      ADs &       ADs &       Disease.
      IDs_Menar   IDs_Menar
      d 000056    d 000063



                                                                  72
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 83 of 409 PageID #:13852

 Ex.    BegBates    EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
318    RTP#5_U     RTP#5_U     Menard ID 04.03.116
       PDATED_     PDATED_     effective 9/1/15 re
       ADs &       ADs &       Bloodborne Pathogens.
       IDs_Menar   IDs_Menar
       d 000064    d 000073
319    RTP#5_U     RTP#5_U     Menard ID 04.03.120
       PDATED_     PDATED_     effective 5/1/15 re
       ADs &       ADs &       Offender Infirmary
       IDs_Menar   IDs_Menar   Service.
       d 000074    d 000081
320    RTP#5_U     RTP#5_U     Menard ID 04.03.121
       PDATED_     PDATED_     effective 10/1/14 re
       ADs &       ADs &       Treatment Protocols.
       IDs_Menar   IDs_Menar
       d 000082    d 000084
321    RTP#5_U     RTP#5_U     Stateville ID 04.03.103K3
       PDATED_     PDATED_     effective 6/1/17 re
       ADs &       ADs &       Offender Health Care
       IDs_NRC     IDs_NRC     Services.
       000009      000018
322    RTP#5_U     RTP#5_U     Stateville ID 04.03.104K3
       PDATED_     PDATED_     effective 2/1/17 re
       ADs &       ADs &       Evaluation of Offenders
       IDs_NRC     IDs_NRC     with Gender Identification
       000027      000030      Problems.
323    RTP#5_U     RTP#5_U     Stateville ID 04.03.108
       PDATED_     PDATED_     effective 9/1/17 re
       ADs &       ADs &       Response to Medical
       IDs_NRC     IDs_NRC     Emergencies.
       000035      000038
324    RTP#5_U     RTP#5_U     Stateville ID 04.03.110
       PDATED_     PDATED_     effective 6/1/17 re Control
       ADs &       ADs &       of Medications and
       IDs_NRC     IDs_NRC     Medical Instruments.
       000051      000058

                                                                   73
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 84 of 409 PageID #:13853

 Ex.    BegBates     EndBates        Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
325    RTP#5_U      RTP#5_U      Stateville ID 04.03.115
       PDATED_      PDATED_      effective 11/1/16 re HIV
       ADs &        ADs &        Disease.
       IDs_NRC      IDs_NRC
       000075       000082
326    RTP#5_U      RTP#5_U      Stateville ID 04.03.116
       PDATED_      PDATED_      effective 11/1/16 re
       ADs &        ADs &        Bloodborne Pathogens.
       IDs_NRC      IDs_NRC
       000095       000100
327    RTP#5_U      RTP#5_U      Stateville ID 04.03.120
       PDATED_      PDATED_      effective 2/1/17 re
       ADs &        ADs &        Offender Infirmary
       IDs_NRC      IDs_NRC      Services.
       000104       000106
328    RTP#5_U      RTP#5_U      Stateville ID 04.03.121K3
       PDATED_      PDATED_      effective 4/1/17 re
       ADs &        ADs &        Treatment Protocols.
       IDs_NRC      IDs_NRC
       000115       000118
329    RTP#5_U      RTP#5_U      Pontiac ID 04.03.108
       PDATED_      PDATED_      effective 2/1/16 re
       ADs &        ADs &        Response to Medical
       IDs_Pontia   IDs_Pontia   Emergencies.
       c 000014     c 000018
330    RTP#5_U      RTP#5_U      Pontiac ID 04.03.110
       PDATED_      PDATED_      effective 6/1/15 re Control
       ADs &        ADs &        of Medications and
       IDs_Pontia   IDs_Pontia   Medical Instruments.
       c 000019     c 000034
331    RTP#5_U      RTP#5_U      Pontiac ID 04.03.115
       PDATED_      PDATED_      effective 3/1/14 re HIV
       ADs &        ADs &        Disease.
       IDs_Pontia   IDs_Pontia
       c 000035     c 000041

                                                                     74
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 85 of 409 PageID #:13854

 Ex.    BegBates     EndBates        Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
332    RTP#5_U      RTP#5_U      Pontiac ID 04.03.116
       PDATED_      PDATED_      effective 3/1/14 re
       ADs &        ADs &        Bloodborne Pathogens.
       IDs_Pontia   IDs_Pontia
       c 000042     c 000050
333    RTP#5_U      RTP#5_U      Pontiac ID 04.03.120
       PDATED_      PDATED_      effective 3/1/14 re
       ADs &        ADs &        Offender Infirmary
       IDs_Pontia   IDs_Pontia   Services.
       c 000051     c 000055
334    RTP#5_U      RTP#5_U      Pontiac ID 04.03.121
       PDATED_      PDATED_      effective 3/1/14 re
       ADs &        ADs &        Treatment Protocols.
       IDs_Pontia   IDs_Pontia
       c 000056     c 000058
335    RTP#5_U      RTP#5_U      Pontiac ID 04.03.103
       PDATED_      PDATED_      effective 7/1/17 re
       ADs &        ADs &        Offender Health Care
       IDs_Pontia   IDs_Pontia   Services.
       c 000059     c 000071
336    RTP#5_U      RTP#5_U      Hill ID 04.03.108
       PDATED_      PDATED_      effective 10/1/17 re
       ADs &        ADs &        Response to Medical
       IDs_Hill     IDs_Hill     Emergencies.
       000011       000018
337    RTP#5_U      RTP#5_U      Hill ID 04.03.121
       PDATED_      PDATED_      effective 3/1/12 re
       ADs &        ADs &        Treatment Protocols.
       IDs_Hill     IDs_Hill
       000019       000021
338    RTP#5_U      RTP#5_U                                 Big Muddy signed
       PDATED_      PDATED_                                 reconciliations FY16-
       Wexford      Wexford                                 FY18.
       Recon_Big    Recon_Big
       Muddy        Muddy
       000022       000041
                                                                   75
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 86 of 409 PageID #:13855

 Ex.    BegBates    EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
339    RTP#5_U     RTP#5_U                              Centralia signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Ce    Recon_Ce
       ntralia     ntralia
       000001      000012
340    RTP#5_U     RTP#5_U                              Decatur signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_De    Recon_De
       catur       catur
       000001      000012
341    RTP#5_U     RTP#5_U                              Dixon signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY17.
       Recon_Dix   Recon_Dix
       on 000018   on 000024
342    RTP#5_U     RTP#5_U                              E. Moline signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Eas   Recon_Eas
       t Moline    t Moline
       000001      000013
343    RTP#5_U     RTP#5_U                              Graham signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Gra   Recon_Gra
       ham         ham
       000001      000012
344    RTP#5_U     RTP#5_U                              Hill signed reconciliations
       PDATED_     PDATED_                              FY16-FY17.
       Wexford     Wexford
       Recon_Hil   Recon_Hil
       l 000015    l 000023



                                                                76
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 87 of 409 PageID #:13856

 Ex.    BegBates    EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
345    RTP#5_U     RTP#5_U                              IL River signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_IR    Recon_IR
       CC 000016   CC 000026
346    RTP#5_U     RTP#5_U                              Jacksonville signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Jac   Recon_Jac
       ksonville   ksonville
       000001      000012
347    RTP#5_U     RTP#5_U                              Kewanee signed
       PDATED_     PDATED_                              reconciliations FY18.
       Wexford     Wexford
       Recon_Ke    Recon_Ke
       wanee       wanee
       000001      000003
348    RTP#5_U     RTP#5_U                              Lawrence signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_La    Recon_La
       wrence      wrence
       000001      000012
349    RTP#5_U     RTP#5_U                              Lincoln signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Lin   Recon_Lin
       coln        coln
       000001      000012
350    RTP#5_U     RTP#5_U                              Logan signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Lo    Recon_Lo
       gan         gan
       000017      000027


                                                                77
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 88 of 409 PageID #:13857

 Ex.    BegBates     EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
351    RTP#5_U      RTP#5_U                              Menard signed
       PDATED_      PDATED_                              reconciliations FY16-
       Wexford      Wexford                              FY18.
       Recon_Me     Recon_Me
       nard         nard
       000018       000027
352    RTP#5_U      RTP#5_U                              Pinckneyville signed
       PDATED_      PDATED_                              reconciliations FY16-
       Wexford      Wexford                              FY18.
       Recon_Pin    Recon_Pin
       ckneyville   ckneyville
       000001       000012
353    RTP#5_U      RTP#5_U                              Pontiac signed
       PDATED_      PDATED_                              reconciliations FY16-
       Wexford      Wexford                              FY18.
       Recon_Po     Recon_Po
       ntiac        ntiac
       000027       000053
354    RTP#5_U      RTP#5_U                              Robinson signed
       PDATED_      PDATED_                              reconciliations FY16-
       Wexford      Wexford                              FY17.
       Recon_Ro     Recon_Ro
       binson       binson
       000001       000009
355    RTP#5_U      RTP#5_U                              Shawnee signed
       PDATED_      PDATED_                              reconciliations FY16-
       Wexford      Wexford                              FY18.
       Recon_Sha    Recon_Sha
       wnee         wnee
       000001       000012
356    RTP#5_U      RTP#5_U                              Sheridan signed
       PDATED_      PDATED_                              reconciliations FY16-
       Wexford      Wexford                              FY18.
       Recon_She    Recon_She
       ridan        ridan
       000001       000013
                                                                 78
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 89 of 409 PageID #:13858

 Ex.    BegBates    EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
357    RTP#5_U     RTP#5_U                              Stateville signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Sta   Recon_Sta
       teville     teville
       000005      000028
358    RTP#5_U     RTP#5_U                              SW Illinois signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_SW    Recon_SW
       ICC         ICC
       000001      000012
359    RTP#5_U     RTP#5_U                              Taylorville signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Ta    Recon_Ta
       ylorville   ylorville
       000001      000012
360    RTP#5_U     RTP#5_U                              Vandalia signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Va    Recon_Va
       ndalia      ndalia
       000001      000013
361    RTP#5_U     RTP#5_U                              Vienna signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_Vie   Recon_Vie
       nna         nna
       000001      000007
362    RTP#5_U     RTP#5_U                              Western signed
       PDATED_     PDATED_                              reconciliations FY16-
       Wexford     Wexford                              FY18.
       Recon_We    Recon_We
       stern       stern
       000001      000010
                                                                79
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 90 of 409 PageID #:13859

 Ex.    BegBates     EndBates     Title (if available)     Description (if no title)    Defendants' Objections   Plaintiffs' Responses
363    Subpoena     Subpoena                             Illinois - Fill Rate History
       to Wexford   to Wexford                           spreadsheets Jan-May
       10-17-17     10-17-17                             2018.
       Request 15   Request 15
       p. 11076     p. 11080
364    Subpoena     Subpoena                             Mortality worksheet of
       to Wexford   to Wexford                           Mitchell.
       10-17-17     10-17-17
       Request 11   Request 11
       p. 11269     p. 11271
365    Subpoena     Subpoena                             Mortality worksheet of
       to Wexford   to Wexford                           Eisenberg.
       10-17-17     10-17-17
       Request 11   Request 11
       p. 11272     p. 11275
366    Subpoena     Subpoena                             Mortality worksheet of
       to Wexford   to Wexford                           Varela.
       10-17-17     10-17-17
       Request 11   Request 11
       p. 11267     p. 11268
367    Subpoena     Subpoena                             Morbidity survey report of
       to Wexford   to Wexford                           Varela.
       10-17-17     10-17-17
       Request 11   Request 11
       p. 11266     p. 11266
368    Subpoena     Subpoena                             Mortality worksheet and
       to Wexford   to Wexford                           mobidity survey report of
       10-17-17     10-17-17                             Baggett.
       Request 11   Request 11
       p. 11276     p. 11278
369    Subpoena     Subpoena                             Mortality worksheet and
       to Wexford   to Wexford                           mobidity survey report of
       10-17-17     10-17-17                             Washington.
       Request 11   Request 11
       p. 11279     p. 11284

                                                                 80
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 91 of 409 PageID #:13860

 Ex.    BegBates     EndBates     Title (if available)    Description (if no title)    Defendants' Objections         Plaintiffs' Responses
370    Subpoena     Subpoena                             Discipline report for Dr.
       to Wexford   to Wexford                           Obaisi.
       10-17-17     10-17-17
       Request 5    Request 5
       p. 11556     p. 11562
371    Subpoena     Subpoena                             Discipline report for Dr.
       to Wexford   to Wexford                           Sood.
       10-17-17     10-17-17
       Request 5    Request 5
       p. 11573     p. 11576
372    Subpoena     Subpoena                             Discipline report for Dr.
       to Wexford   to Wexford                           Trost
       10-17-17     10-17-17
       Request 5    Request 5
       p. 11577     p. 11584
373    Subpoena     Subpoena                             Audited Financial
       to Wexford   to Wexford                           Statements (Proposal
       10-17-17     10-17-17                             Exhibit #4 to Wexford
       Request 13   Request 13                           bid).
       p. 12274     p. 12305
374    Subpoena     Subpoena                             Email chain involving        401 and 403: Defendants       401, 402: This email, sent
       to Wexford   to Wexford                           Trey Childress, Nick         object to this document as    by Deputy Governor Trey
       10-17-17     10-17-17                             Little, Darius Holmes,       not relevant because it       Childress to Wexford, is
       Request 29   Request 29                           Shannis Stock-Jones and      does make not any issue       relevant for two reasons.
       p. 12306     p. 12309                             others re IDOC               that is of consequence to     First, it shows awareness
                                                         Psychiatric Staffing         the litigation in this case   of the part of the Office of
                                                         Needs.                       more probable or less         the Governor that
                                                                                      probable than without it.     Wexford is violating its
                                                                                                                    contract and that these
                                                                                                                    violations harm the
                                                                                                                    Illinois prison population.
                                                                                                                    Although the violation in
                                                                                                                    question pertains for lack
                                                                                                                    of psychiatric staffing
                                                                                                                    (with resultant mental
                                                                                                                    health backlogs), the
                                                                 81
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 92 of 409 PageID #:13861

Ex.   BegBates     EndBates      Title (if available)    Description (if no title)   Defendants' Objections      Plaintiffs' Responses
                                                                                                              healthcare contract is
                                                                                                              comprehensive (that is, it
                                                                                                              includes both physical and
                                                                                                              mental health services), so
                                                                                                              the contract that is being
                                                                                                              violated is the same
                                                                                                              contract at issue in this
                                                                                                              case. Second, however, it
                                                                                                              is more evidence that
                                                                                                              Defendants have
                                                                                                              disregarded the physical
                                                                                                              healthcare needs of the
                                                                                                              IDOC population while
                                                                                                              paying at least some
                                                                                                              attention and making
                                                                                                              some effort to improve
                                                                                                              mental health. (Plaintiffs
                                                                                                              are aware of no such
                                                                                                              communications from the
                                                                                                              Office of the Governor
                                                                                                              chiding Wexford for
                                                                                                              failing to provide
                                                                                                              physician staffing), thus
                                                                                                              reinforcing Plaintiffs'
                                                                                                              claim that Defendants are
                                                                                                              deliberately indifferent to
                                                                                                              the medical and dental
                                                                                                              needs of IDOC prisoners.
                                                                                                              Defendants do not explain
                                                                                                              what their FRE 403
                                                                                                              objection is.
375   DALEY00      DALEY00 Packet 2 - Corizon Health
      0001         1572       Pricing Proposal.
376   Subpoena     Subpoena                             PDF titled "Medical
      to Wexford   to Wexford                           backlogs 1/8/18."
      10-17-17     10-17-17
                                                               82
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 93 of 409 PageID #:13862

Ex.    BegBates    EndBates      Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
      Request 21   Request 21
      p. 9094      p. 9095

377   Subpoena     Subpoena                             PDF titled "Medical
      to Wexford   to Wexford                           backlogs 3/12/18."
      10-17-17     10-17-17
      Request 21   Request 21
      p. 9096      p. 9097
378   Subpoena     Subpoena                             PDF titled "Medical
      to Wexford   to Wexford                           backlogs 4/9/18."
      10-17-17     10-17-17
      Request 21   Request 21
      p. 9099      p. 9100
379   Subpoena     Subpoena                             PDF titled "Medical
      to Wexford   to Wexford                           backlogs 5/14/18."
      10-17-17     10-17-17
      Request 21   Request 21
      p. 9102      p. 9103
380   Subpoena     Subpoena                             PDF titled "Staffing
      to Wexford   to Wexford                           vacancies 1/8/18."
      10-17-17     10-17-17
      Request 21   Request 21
      p. 9095      p. 9095
381   Subpoena     Subpoena                             PDF titled "Staffing
      to Wexford   to Wexford                           vacancies 3/12/17."
      10-17-17     10-17-17
      Request 21   Request 21
      p. 9098      p. 9098
382   Subpoena     Subpoena                             PDF titled "Staffing
      to Wexford   to Wexford                           vacancies 4/9/18."
      10-17-17     10-17-17
      Request 21   Request 21
      p. 9101      p. 9101



                                                               83
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 94 of 409 PageID #:13863

 Ex.    BegBates     EndBates     Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
383    Subpoena     Subpoena                             PDF titled "Staffing
       to Wexford   to Wexford                           vacancies 5/14/18."
       10-17-17     10-17-17
       Request 21   Request 21
       p. 9103      p. 9103
384    RTP#5_U      RTP#5_U                              Backlog data tracker
       PDATED_      PDATED_                              2016-2017.
       Backlogs     Backlogs
       &            &
       Vacancies    Vacancies
       000020       000035
385    RTP#5_U      RTP#5_U                              PDF titled "Lippert
       PDATED_      PDATED_                              Monthly Call Notes"
       Wexford      Wexford                              showing backlogs and
       Docs         Docs                                 vacancies.
       000001       000008
386    RTP#5_U      RTP#5_U                              Staffing vacancies tracker
       PDATED_      PDATED_                              2016-2017.
       Backlogs     Backlogs
       &            &
       Vacancies    Vacancies
       000036       000053
387    RTP#5_U      RTP#5_U                              Big Muddy FY18
       PDATED_      PDATED_                              reconciliation update.
       Wexford      Wexford
       Recon_Big    Recon_Big
       Muddy        Muddy
       000021       000021
388    RTP#5_U      RTP#5_U                              Dixon FY18 reconciliation
       PDATED_      PDATED_                              update.
       Wexford      Wexford
       Recon_Dix    Recon_Dix
       on 000016    on 000017
389    RTP#5_U      RTP#5_U                              IL River FY18
       PDATED_      PDATED_                              reconciliation update.
       Wexford      Wexford
                                                                 84
                     Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 95 of 409 PageID #:13864

Ex.   BegBates EndBates         Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
      Recon_IR Recon_IR
      CC 000015 CC 000015

390   RTP#5_U     RTP#5_U                              Pontiac FY18
      PDATED_     PDATED_                              reconciliation update.
      Wexford     Wexford
      Recon_Po    Recon_Po
      ntiac       ntiac
      000026      000026
391   RTP#5_U     RTP#5_U                              Stateville FY18
      PDATED_     PDATED_                              reconciliation update.
      Wexford     Wexford
      Recon_Sta   Recon_Sta
      teville     teville
      000003      000004
392   RTP#5_U     RTP#5_U                              Hill FY18 reconciliation
      PDATED_     PDATED_                              update.
      Wexford     Wexford
      Recon_Hil   Recon_Hil
      l 000014    l 000014
393   RTP#5_U     RTP#5_U                              Logan FY18
      PDATED_     PDATED_                              reconciliation update.
      Wexford     Wexford
      Recon_Lo    Recon_Lo
      gan         gan
      000016      000016
394   RTP#5_U     RTP#5_U                              Menard FY18
      PDATED_     PDATED_                              reconciliation update.
      Wexford     Wexford
      Recon_Me    Recon_Me
      nard        nard
      000017      000017
395   RTP#5_U     RTP#5_U                              Staffing vacancies tracker
      PDATED_     PDATED_                              2016-2018.
      Backlogs    Backlogs
      &           &
                                                               85
                     Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 96 of 409 PageID #:13865

Ex.    BegBates   EndBates      Title (if available)    Description (if no title)    Defendants' Objections   Plaintiffs' Responses
      Vacancies   Vacancies
      000001      000019

396   RTP#5_U     RTP#5_U                              Big Muddy signed
      PDATED_     PDATED_                              reconciliations FY14-
      Wexford     Wexford                              FY16.
      Recon_Big   Recon_Big
      Muddy       Muddy
      000001      000020
397   RTP#5_U     RTP#5_U                              Dixon signed
      PDATED_     PDATED_                              reconciliations FY14-
      Wexford     Wexford                              FY16.
      Recon_Dix   Recon_Dix
      on 000001   on 000015
398   RTP#5_U     RTP#5_U                              Hill signed reconciliations
      PDATED_     PDATED_                              FY14-FY16.
      Wexford     Wexford
      Recon_Hil   Recon_Hil
      l 000001    l 000013
399   RTP#5_U     RTP#5_U                              IL River signed
      PDATED_     PDATED_                              reconciliations FY14-
      Wexford     Wexford                              FY16.
      Recon_IR    Recon_IR
      CC 000001   CC 000014
400   RTP#5_U     RTP#5_U                              Logan signed
      PDATED_     PDATED_                              reconciliations FY14-
      Wexford     Wexford                              FY16.
      Recon_Lo    Recon_Lo
      gan         gan
      000001      000015
401   RTP#5_U     RTP#5_U                              Menard signed
      PDATED_     PDATED_                              reconciliations FY14-
      Wexford     Wexford                              FY16.
      Recon_Me    Recon_Me
      nard        nard
      000001      000016
                                                               86
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 97 of 409 PageID #:13866

 Ex.    BegBates     EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
402    RTP#5_U      RTP#5_U                              Pontiac signed
       PDATED_      PDATED_                              reconciliations FY14-
       Wexford      Wexford                              FY16.
       Recon_Po     Recon_Po
       ntiac        ntiac
       000001       000025
403    RTP#5_U      RTP#5_U                              Stateville signed
       PDATED_      PDATED_                              reconciliation 1st quarter
       Wexford      Wexford                              FY15.
       Recon_Sta    Recon_Sta
       teville      teville
       000001       000002
404    RTP#5_U      RTP#5_U                              Adjusted Service
       PDATED_      PDATED_                              Requested (ASRs) for
       Equipment    Equipment                            equipment at
       Upgrades_    Upgrades_                            Stateville/NRC.
       NRC          NRC
       000001       000011
405    RTP#5_U      RTP#5_U                              Declaration of Michelle
       PDATED_      PDATED_                              Grimsley re upgrade
       Equipment    Equipment                            equipment and record
       Upgrades     Upgrades                             retention at Logan.
       000065       000066
406    RTP#5_U      RTP#5_U                              Declaration of Mary Ellen
       PDATED_      PDATED_                              Grennan re contract
       Wexford      Wexford                              monitoring reports at
       Monitoring   Monitoring                           NRC.
       _NRC         _NRC
       000001       000002
407    RTP#5_U      RTP#5_U                              Declaration of Ken Harris
       PDATED_      PDATED_                              re budget analysis records
       Budget_N     Budget_N                             at NRC.
       RC 000001    RC 000001




                                                                 87
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 98 of 409 PageID #:13867

 Ex.    BegBates     EndBates   Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
408    RTP#5_U      RTP#5_U                             Adjusted Service
       PDATED_      PDATED_                             Requested (ASRs) for
       Equipment    Equipment                           equipment at IL River.
       Upgrades_    Upgrades_
       IRCC         IRCC
       000001       000021
409    RTP#5_U      RTP#5_U                             Declaration of John E.
       PDATED_      PDATED_                             Smith re budget
       Budget_IR    Budget_IR                           information at IL River.
       CC 000001    CC 000001
410    RTP#5_U      RTP#5_U Office of Health Services
       PDATED_      PDATED_ Meeting Minutes 3/3/16.
       OHS QM       OHS QM
       Reports      Reports
       000006       000013
411    Subpoena     Subpoena                            PDFs of spreadsheets for
       to Wexford   to Wexford                          each facility titled "Bi-
       10-10-17     10-10-17                            weekly vacancy backlog
       Request 21   Request 21                          report blank."
       & 44 p.      & 44 p.
       581          608
412    Subpoena     Subpoena                            Staffing vacancy
       to Wexford   to Wexford                          spreadsheets dated
       10-10-17     10-10-17                            10/17/16 to 12/11/17.
       Request 21   Request 21
       & 44 p.      & 44 p.
       623          636
413    Subpoena     Subpoena                            CVs of doctors and
       to Wexford   to Wexford                          dentists (according to PDF
       10-17-17     10-17-17                            filenames, some of these
       Request 3    Request 3                           doctors and dentists are
       p. 637       p. 857                              from IL River,
                                                        Pinckneyville, Western IL
                                                        and Pontiac facilities).



                                                               88
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 99 of 409 PageID #:13868

 Ex.    BegBates     EndBates        Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
414    RTP#5_U      RTP#5_U                                  Declaration of of Kyle
       PDATED_      PDATED_                                  (Lynn) Robinson re
       Equipment    Equipment                                equipment at Big Muddy.
       Upgrades     Upgrades
       000059       000060
415    RTP#5_U      RTP#5_U                                  Declaration of Amber
       PDATED_      PDATED_                                  Allen re equipment at
       Equipment    Equipment                                Dixon.
       Upgrades     Upgrades
       000061       000061
416    RTP#5_U      RTP#5_U                                  Invoices for equipment at
       PDATED_      PDATED_                                  Pontiac.
       Equipment    Equipment
       Upgrades     Upgrades
       000062       000064
417    Subpoena     Subpoena     Medical and dental staff
       to Wexford   to Wexford   employed at IDOC
       10-10-17     10-10-17     facilities from 7/1/15 to
       Request 1    Request 1    11/22/17.
       p. 520       p. 548
418    Subpoena     Subpoena                                 Email chain involving
       to Wexford   to Wexford                               Cheri Laurent, Gladyse
       10-10-17     10-10-17                                 Taylor, Catherine Larry
       Response     Response                                 and others re PEARL.
       28 p. 496    28 p. 498
419    RTP#5_U      RTP#5_U                                  Health care equipment
       PDATED_      PDATED_                                  upgrade list since June
       Equipment    Equipment                                2016 (facility unknown).
       Upgrades     Upgrades
       000001       000001
420    RTP#5_U      RTP#5_U                                  Adjusted Service
       PDATED_      PDATED_                                  Requested (ASRs) for
       Equipment    Equipment                                equipment at
       Upgrades     Upgrades                                 Stateville/NRC.
       000001       000010

                                                                    89
                     Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 100 of 409 PageID #:13869

 Ex.    BegBates   EndBates      Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
421    RTP#5_U     RTP#5_U                              PDF titled "Budget
       PDATED_     PDATED_                              analysis & reconciliation
       Equipment   Equipment                            for June 2016 to present."
       Upgrades    Upgrades
       000011      000011
422    RTP#5_U     RTP#5_U                              Adjusted Service
       PDATED_     PDATED_                              Requested (ASRs) for
       Equipment   Equipment                            dental equipment at
       Upgrades    Upgrades                             Dixon.
       000012      000013
423    RTP#5_U     RTP#5_U                              Adjusted Service
       PDATED_     PDATED_                              Requested (ASRs) for
       Equipment   Equipment                            equipment at Big Muddy.
       Upgrades    Upgrades
       000014      000016
424    RTP#5_U     RTP#5_U                              Adjusted Service
       PDATED_     PDATED_                              Requested (ASRs) and
       Equipment   Equipment                            invoices for equipment at
       Upgrades    Upgrades                             Pontiac.
       000017      000020
425    RTP#5_U     RTP#5_U                              Adjusted Service
       PDATED_     PDATED_                              Requested (ASRs) for
       Equipment   Equipment                            optical equipment at
       Upgrades    Upgrades                             Dixon and equipment at
       000021      000024                               Logan.
426    RTP#5_U     RTP#5_U                              Adjusted Service
       PDATED_     PDATED_                              Requested (ASRs) and
       Equipment   Equipment                            invoices for equipment at
       Upgrades    Upgrades                             Pontiac.
       000025      000056
427    RTP#5_U     RTP#5_U                              Adjusted Service
       PDATED_     PDATED_                              Requested (ASRs) for
       Equipment   Equipment                            optical equipment at
       Upgrades    Upgrades                             Dixon.
       000057      000057

                                                               90
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 101 of 409 PageID #:13870

 Ex.   BegBates     EndBates          Title (if available)    Description (if no title)      Defendants' Objections      Plaintiffs' Responses
428                              Illinois Commission on                                     802: Defendants object    801: This outside report is
                                 Criminal Justice and                                       based on hearsay.         offered not for the truth of
                                 Sentencing Reform - The                                                              its contents but as
                                 Prison Letter Report,                                                                evidence that Defendants
                                 Adler University.                                                                    were aware of complaints
                                                                                                                      about IDOC healthcare
                                                                                                                      (Defendants received this
                                                                                                                      report).
429    RTP#5_U      RTP#5_U                                  Spreadsheet titled "ASR
       PDATED_      PDATED_                                  Log Redacted."
       Equipment    Equipment
       Upgrades_    Upgrades_
       IDOC         IDOC
       000001       000092
430    RTP#5_ES     RTP#5_ES                                 Email from Jared Brunk to
       I 0578274    I 0578300                                Jennifer Lokaitis re FY16
                                                             Budget Summary
                                                             Workbook. Attachment
                                                             FY16 summary
                                                             workbook.xlsx.
431    RTP#5_ES RTP#5_ES                                     Email from Gladyse
       I 0294034 I 0294084                                   Taylor to several re
                                                             Comprehensive
                                                             Healthcare QA 3/27/17.
                                                             Attachment Health Care
                                                             RFP Questions/Answers
                                                             2017.
432    RFP          RFP                                      Illinois - Fill Rate History
       Materials    Materials                                - Staffing Vacancies and
       000046       000046                                   Fill Rates May 2014-Feb
                                                             2017.
433    Subpoena     Subpoena                                 Discipline report for Ruth
       to Wexford   to Wexford                               Brown.
       10-10-17     10-10-17
       Request 5    Request 5
       p. 11534     p. 11539
                                                                     91
                      Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 102 of 409 PageID #:13871

 Ex.    BegBates     EndBates     Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
434    Subpoena     Subpoena                             Discipline report for Dr.
       to Wexford   to Wexford                           James.
       10-10-17     10-10-17
       Request 5    Request 5
       p. 11549     p. 11545
435    RTP#5_ES     RTP#5_ES                             Email from Marna Ross to
       I 0473211    I 0473212                            Louis Shicker re
                                                         Questions and FYIs.
436    RTP#5_ES RTP#5_ES                                 Email chain involving
       I 0394008 I 0394009                               Laura MacQueen, Robin
                                                         Rose and others re CQI.
437                                                      Email chain involving
                                                         Louis Shicker, Stephen
                                                         Ritz and others re
                                                         Offender Bahler, Daniel
                                                         R27604.
438    RTP#5_ES RTP#5_ES                                 Email chain involving
       I 0048808 I 0048810                               Nigel Vinyard, George
                                                         Penny, Kim Hugo, Steven
                                                         Meeks, Cindy Hobrock
                                                         and others re C-PAPs /
                                                         Medical Equipment.
439    RTP#5_ES RTP#5_ES                                 Email chain involving
       I 0048806 I 0048807                               George Penny, Cindy
                                                         Hobrock, Steven Meeks
                                                         and others re C-PAPs /
                                                         Medical Equipment.
440    RTP#5_ES RTP#5_ES                                 Email from Michael
       I 0049806 I 0049809                               Dempsey to Steven Meeks
                                                         and Kim Hugo re UIC
                                                         College of Nursing
                                                         Meeting Minutes 1/30/17.
                                                         Attachment UIC College
                                                         of Nursing Meeting
                                                         Minutes 1/30/17.

                                                                92
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 103 of 409 PageID #:13872

 Ex.    BegBates EndBates       Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
441    RTP#5_ES RTP#5_ES                               Email chain involving
       I 0049968 I 0049972                             Jared Brunk, Louis
                                                       Shicker, Cindy Hobrock,
                                                       Natalie Northern and
                                                       others re HELP!
442    RTP#5_ES RTP#5_ES                               Email chain involving
       I 0052220 I 0052223                             Jared Brunk, David
                                                       Gomez, Louis Shicker,
                                                       Tina Jepsen and others re
                                                       East Moline and Wexford.
443    RTP#5_ES RTP#5_ES                               Email chain involving
       I 0050820 I 0050822                             Jason Garnett, Louis
                                                       Shicker, Mike Atchison
                                                       and others re Hill CC
                                                       Medical Back log.
444    RTP#5_ES RTP#5_ES                               Email from Louis Shicker
       I 0085489 I 0085490                             to Gladyse Taylor, Bryan
                                                       Gleckler and others re
                                                       Medical Director
                                                       Vacancies.
445    RTP#5_ES RTP#5_ES                               Email chain involving
       I 0095486 I 0095486                             Steven Meeks, Arthur
                                                       Funk and others re Dr.
                                                       James.
446    RTP#5_ES RTP#5_ES                               Email chain between
       I 0095599 I 0095600                             Steven Meeks and Lisa
                                                       Prather re Diagnosis.
447                          2017 Request for
                             Proposal.
448    RTP#5_ES RTP#5_ES                               Email chain involving
       I 0098877 I 0098878                             Lisa Prather, Steven
                                                       Meeks and others re
                                                       Chronic Clinic Data.
449    RTP#5_ES RTP#5_ES                               Email chain involving
       I 0118711 I 0118717                             Lisa Prather, Mary

                                                               93
                       Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 104 of 409 PageID #:13873

Ex.   BegBates      EndBates       Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                          Johnson and Louis
                                                          Shicker re Y90 radiation.
450   RTP#5_ES RTP#5_ES                                   Email chain between
      I 0127411 I 0127412                                 Marna Ross and Doug
                                                          Mote re Adrian Bryant /
                                                          NRC medical records.
451   RTP#5_ES RTP#5_ES                                   Email chain involving
      I 0101731 I 0101735                                 Steven Meeks, Lisa
                                                          Bishop, Cindy Hobrock,
                                                          Juliana Chan and others re
                                                          Dodd K03306.
452   RTP#5_ES RTP#5_ES                                   Email chain involving
      I 0101921 I 0101923                                 Steven Meeks, Gail Walls,
                                                          Lisa Prather, Kim Hugo
                                                          and others re Donzell
                                                          Harris.
453   RTP#5_ES RTP#5_ES                                   Email chain between
      I 0042897 I 0042898                                 Becky Sudbrink and Louis
                                                          Shicker re lack of
                                                          practitioner coverage.
454   RTP#5_ES RTP#5_ES                                   Email chain involving
      I 0163285 I 0163288                                 Steven Meeks, Michael
                                                          Dempsey, Lisa Prather
                                                          and others re ASR on
                                                          beds.
455   Response      Response                              Quarterly Reconciliation
      to Eleventh   to Eleventh                           Reports for 2Q and 3Q for
      Motion to     Motion to                             Stateville and NRC.
      Compel        Compel
      000390        000393
456   RTP#5_ES      RTP#5_ES                              Email chain involving
      I 0464760     I 0464764                             Gail Walls, Kim Hugo,
                                                          Lisa Prather, Steven
                                                          Meeks and Michael
                                                          Dempsey re Menard HCU
                                                          - Admin.
                                                                 94
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 105 of 409 PageID #:13874

 Ex.    BegBates EndBates      Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
457    RTP#5_ES RTP#5_ES                              Email from Timothy
       I 0183659 I 0183660                            Chamberlain to several re
                                                      Death summary Caradine
                                                      (R56618). Attachment
                                                      11/21/16 Death Summary
                                                      of Caradine.
458    RTP#5_ES RTP#5_ES                              Email from Louis Shicker
       I 0188147 I 0188184                            to Kim Hugo, Cindy
                                                      Hobrock, Lisa Prather and
                                                      Joseph Ssenfuma re For
                                                      your files. Attachments
                                                      several death reviews and
                                                      mortality conference
                                                      reports.
459    RTP#5_ES RTP#5_ES                              Email from Shellie Yeates
       I 0147069 I 0147092                            to Joseph Ssenfuma re
                                                      Stateville PBR FY16.
                                                      Attachment Office of
                                                      Performance Based
                                                      Standards FY16
                                                      Performance Based
                                                      Review Report for
                                                      Stateville and NRC,
                                                      10/5/15 - 10/9/15.
460    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0290095 I 0290097                            Kim Hugo, Joseph
                                                      Ssenfuma, Mike Atchison
                                                      and others re Stateville
                                                      HCU.
461    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0285137 I 0285139                            Louis Shicker, Cheri
                                                      Laurent, Roderick
                                                      Matticks, Cindy Hobrock
                                                      and others re Dr. Kayira.



                                                              95
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 106 of 409 PageID #:13875

 Ex.    BegBates EndBates      Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
462    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0173531 I 0173534                            Dede Short, Michael
                                                      Dempsey, Sandra Funk,
                                                      Michael Melvin and
                                                      others re A10465.
463    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0365710 I 0365712                            Steven Meeks, Jackie
                                                      Mitchell, Michael
                                                      Dempsey and others re
                                                      CMT assistance for IYC-
                                                      Joliet.
464    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0185217 I 0185219                            Cindy Hobrock, Kimberly
                                                      Smith, Lisa Mincy and
                                                      others re MD issues.
465    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0052467 I 0052469                            Jared Brunk, LaShonda
                                                      Hunt, Christine Brown
                                                      and others re Medical
                                                      director hours.
466    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0369899 I 0369901                            Michael Dempsey, Kim
                                                      Hugo, Louis Shicker, Phil
                                                      Martin and others re
                                                      Notification of death.
467    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0285826 I 0285827                            Christine Brown, Lisa
                                                      Prather, Louis Shicker and
                                                      others re Ortega Angel
                                                      N33333.
468    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0047598 I 0047599                            Louis Shicker, Eric
                                                      Dailey, Bryan Gleckler
                                                      and others re Vacant
                                                      Wexford Positions.

                                                             96
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 107 of 409 PageID #:13876

 Ex.    BegBates EndBates      Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
469    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0592948 I 0592951                            Joanna Kemmeren, Joseph
                                                      Ssenfuma, Amber Allen,
                                                      Kim Hugo and others re
                                                      Update - reportable
                                                      incident - Dixon
                                                      Correctional Center -
                                                      Offender Transport via
                                                      ambulance - Hilliard,
                                                      Wilbur C00287.
470                                                   Email from Louis Shicker
                                                      to Arthur Funk and others
                                                      re Offender Bahler, Daniel
                                                      R27604.
471    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0257008 I 0257010                            Michael Dempsey, Steven
                                                      Meeks, Kim Hugo, Tina
                                                      Jepsen and others re Death
                                                      review policy - Spurlock
                                                      M25641 - death at East
                                                      Moline.
472                                                   Meeting Minutes from
                                                      Quality Improvement
                                                      Meeting - NRC [Word
                                                      document produced
                                                      without Bates numbers on
                                                      3/18/18 via email].
473    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0073974 I 0073977                            Michael Dempsey,
                                                      Kimberly Butler, Thomas
                                                      Lehman, Joe Ebbitt and
                                                      others re Sood at Hill.




                                                             97
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 108 of 409 PageID #:13877

 Ex.    BegBates EndBates      Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
474    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0184180 I 0184187                            Michael Dempsey, Steven
                                                      Meeks, Kim Hugo, Lisa
                                                      Prather and others re
                                                      Lawrence Correctional
                                                      Center Concerns.
                                                      Attachments email
                                                      Lawrence CC summary of
                                                      September 2016 infirmary
                                                      audit, 434 9-28-16 DON
                                                      ALLender.doc.
475                                                   Extracted pages from
                                                      "death charts" of Venice
                                                      Davis R37227 [produced
                                                      without Bates numbers on
                                                      3/7/18 via email].
476    RTP#5_ES RTP#5_ES                              Email chain between Lois
       I 0117065 I 0117067                            Lindorff, Louis Shicker
                                                      and Cindy Hobrock re
                                                      Scan from a Xerox
                                                      WorkCentre. Attachment
                                                      appeal from offender re
                                                      prosthetic foot held
                                                      together with tape.
477    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0583462 I 0583464                            Michael Dempsey, Charlie
                                                      Weikel, Erin Johnson,
                                                      Tina Jepsen and others re
                                                      Requested Information.
                                                      Attachment 5/12/17 East
                                                      Moline Correctional
                                                      Center Weekly Report.
478                                                   Email from Angelia Bruns
                                                      to Louis Shicker and Lisa
                                                      Prather re Requested
                                                      information from PNKCC.
                                                             98
                  Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 109 of 409 PageID #:13878

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                     Attachment June 2015
                                                     denials/not approved for
                                                     Pinckneyville Correctional
                                                     Center.
479                                                  Email from George Penny
                                                     to Louis Shicker, Lisa
                                                     Prather and Nigel Vinyard
                                                     re four denials.
                                                     Attachments non-
                                                     approved medical special
                                                     service referral requests.
480                                                  Email chain involving
                                                     Louis Shicker, Lisa
                                                     Prather, Gail Walls,
                                                     Annette Rodgers and
                                                     others re Dr. Trost call
                                                     lines. Attachment
                                                     spreadsheet of offenders
                                                     scheduled at least 3 times
                                                     before being seen by Dr.
                                                     Trost.
481                                                  Email from Louis Shicker
                                                     to Daniel Towne, Marna
                                                     Ross and Lisa Prather re
                                                     [no subject]. Attachment
                                                     RFP sub-committee
                                                     contract language
                                                     enhancements upgraded &
                                                     enforceable target
                                                     performances.
482                                                  Email from Louis Shicker
                                                     to Daniel Towne, Marna
                                                     Ross, Cindy Hobrock and
                                                     Lisa Prather re [no
                                                     subject]. Attachment

                                                            99
                  Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 110 of 409 PageID #:13879

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                     Outcome studies -
                                                     samples.

483   RTP#5_ES RTP#5_ES                              Emails between Camile
      I 0077607 I 0077608                            Lindsay, Gladyse Taylor,
                                                     Jared Brunk and John
                                                     Baldwin re Wexford RFP.
484   RTP#5_ES RTP#5_ES                              Emails and meeting
      I 0583091 I 0583139                            reminders involving
                                                     Michael Dempsey, Charlie
                                                     Weikel, Erin Johnson and
                                                     others re IDOC and UIC
                                                     Engagement. Attachments
                                                     3/16/17 OHS Quarterly
                                                     PowerPoint presentation
                                                     and OHS strategic plan.
485   RTP#5_ES RTP#5_ES                              Email chain involving
      I 0594383 I 0594384                            Joseph Ssenfuma, Mary
                                                     Ellen Grennan, Jackie
                                                     Hammond and others re
                                                     Med errors cart H-M.
486   RTP#5_ES RTP#5_ES                              Emails between Lori
      I 0622767 I 0622768                            Smalley, Lisa Johnson,
                                                     Angel Wilson, Shelith
                                                     Hansbro and Kim Hugo re
                                                     Staffing.
487                                                  Emails between Tina
                                                     Jepsen, Marna Ross, Louis
                                                     Shicker and Amber Allen
                                                     re Ochoa N92393.
488                                                  Emails between Amber
                                                     Allen and Louis Shicker re
                                                     Michael Anderson
                                                     B53225.


                                                            100
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 111 of 409 PageID #:13880

 Ex.   BegBates   EndBates     Title (if available)    Description (if no title)    Defendants' Objections          Plaintiffs' Responses
489                                                   Email chain involving        403: Defendants object to     401, 402: This July 2015
                                                      Louis Shicker, Lisa          the admission of this         email chain shows, in
                                                      Prather, Arthur Funk and     document based on the         heightened degree,
                                                      Shannis Stock-Jones re       fact any probative value is   internal IDOC
                                                      PNCK.                        substantially outweighed      dissatisfaction with the
                                                                                   by the danger of unfair       care provided by Wexford
                                                                                   prejudice to the              physicians and
                                                                                   Defendants.                   responsiveness of
                                                                                                                 Wexford managers to
                                                                                                                 problems identified by
                                                                                                                 IDOC, including the
                                                                                                                 awareness of the agency
                                                                                                                 Medical Director
                                                                                                                 (Shicker) of same and his
                                                                                                                 own dissatisfaction
                                                                                                                 (vividly illustrated). Since
                                                                                                                 Wexford is still in place
                                                                                                                 more than 3 years later, it
                                                                                                                 is evidence of defendants'
                                                                                                                 deliberate indifference. In
                                                                                                                 addition, as further
                                                                                                                 evidence of deliberate
                                                                                                                 indifference, it shows
                                                                                                                 internal IDOC awareness
                                                                                                                 that Dr. Shah, the
                                                                                                                 physician whose care was
                                                                                                                 in question, had made
                                                                                                                 very poor clinical
                                                                                                                 judgments. Dr. Shah is
                                                                                                                 one of the providers
                                                                                                                 identified by the Second
                                                                                                                 Court-Appointed Expert
                                                                                                                 as involved in preventable
                                                                                                                 mortality and, to the best
                                                                                                                 of Plaintiffs' current


                                                             101
                  Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 112 of 409 PageID #:13881

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)    Defendants' Objections        Plaintiffs' Responses
                                                                                                               knowledge, is still
                                                                                                               employed within IDOC.
490                                                  Email from Angela Crain
                                                     to Louis Shicker, Lisa
                                                     Prather, Gail Walls and
                                                     Nichole Lewis re Offender
                                                     R29550
491                                                  Email chain involving        401: Defendants object       401, 402: This January
                                                     Maria Peterson, Louis        based on relevance as an     2015 email chain is
                                                     Shicker, Dede Short and      inquiry with another         relevant not just for the
                                                     others re Inquiry from the   state's prison system does   question but especially for
                                                     Illinois Department of       not make an issue of         the answer: the inquiry
                                                     Corrections.                 consequence to this          from IDOC to certain
                                                                                  litigation more or less      other state departments is
                                                                                  probable than without it.    about 2 principal
                                                                                                               recommendations made in
                                                                                                               the December 2014
                                                                                                               Shansky report: that all
                                                                                                               physicians be board
                                                                                                               certified or residency
                                                                                                               trained in primary care
                                                                                                               fields, and that LPNs
                                                                                                               (licensed practical nurses)
                                                                                                               NOT be permitted to
                                                                                                               conduct sick call. It is
                                                                                                               now 4 years later and
                                                                                                               IDOC has not changed its
                                                                                                               physician qualification
                                                                                                               requirements and persists
                                                                                                               in the use of LPNs, despite
                                                                                                               the explanation in the
                                                                                                               Shansky report as to why
                                                                                                               these changes are essential
                                                                                                               and despite knowing that
                                                                                                               other states agree with
                                                                                                               these requirements; it is
                                                            102
                  Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 113 of 409 PageID #:13882

Ex.   BegBates   EndBates     Title (if available)    Description (if no title)      Defendants' Objections        Plaintiffs' Responses
                                                                                                                 therefore evidence of
                                                                                                                 deliberate indifference.
492                                                  Email chain involving
                                                     Louis Shicker, Lisa
                                                     Prather, Gail Walls,
                                                     Annette Rodgers and
                                                     others re Dr. Trost call
                                                     lines.
493                                                  Emails between Lisa            401 and 403: Defendants      401, 402: This email
                                                     Prather, Louis Shicker,        object based on relevance    (between agency Medical
                                                     Cindy Horbrock and             as this particular inquiry   Director Shicker and his 3
                                                     Marna Ross re [how long        on document retention        regional coordinators)
                                                     are sites required to retain   does not make an issue of    shows defendants' cavalier
                                                     QI information before          consequence to this          attitude to the
                                                     destroying?].                  litigation more or less      maintenance of core
                                                                                    probable than without it.    system records (both
                                                                                    Further, any probative       portions of the medical
                                                                                    value the email may have     records and quality
                                                                                    is substantially             improvement records).
                                                                                    outweighed by the danger     No one in this core group
                                                                                    of unfair prejudice to the   has any idea how long
                                                                                    Defendants.                  these records need to be
                                                                                                                 kept. It is therefore
                                                                                                                 evidence of deliberate
                                                                                                                 indifference.
494                                                  Email chain involving
                                                     Amy Williams, Louis
                                                     Shicker, Lisa Prather,
                                                     Christine Brown and
                                                     others re Update on
                                                     McMahon B88072.
495                                                  Email chain involving
                                                     Louis Shicker, Ralph
                                                     Gauen and others re
                                                     Enteritis.

                                                            103
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 114 of 409 PageID #:13883

 Ex.   BegBates   EndBates      Title (if available)       Description (if no title)   Defendants' Objections     Plaintiffs' Responses
496                                                      Email chain involving
                                                         Lois Lindorff, Louis
                                                         Shicker and others re
                                                         Wexford denial of Boost.
497                                                      Email chain involving
                                                         Lois Lindorff, Ruth
                                                         Brown, Kayleigh Matus
                                                         and others re Hill NF
                                                         request Boost. Attachment
                                                         NAN Nutritional
                                                         Supplement Request.
498                                                      Email from Lois Lindorff
                                                         to Louis Shicker, Marna
                                                         Ross and others re
                                                         Wexford denial of Boost.
499                                                      Email chain involving
                                                         Ruth Brown, Louis
                                                         Shicker, Lois Lindorff and
                                                         others re Hill NF request
                                                         Boost.
500                                                      Email chain involving
                                                         Cindy Hobrock, Lisa
                                                         Prather, Marna Ross,
                                                         Louis Shicker and others
                                                         re Branch M36257 -
                                                         Boost.
501                          Medical Problems of State                                 802: Defendants object   902(5), 201(b)(2): self-
                             and Federal Prisoners and                                 based on hearsay.        authenticating official
                             Jail Inmates, 2011-12,                                                             publication; court may
                             USDOJ Office of Justice                                                            take judicial notice
                             Programs Bureau of
                             Justice Statistics.




                                                                104
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 115 of 409 PageID #:13884

 Ex.   BegBates   EndBates     Title (if available)    Description (if no title)   Defendants' Objections   Plaintiffs' Responses
502                                                   Letter from Bill Edley,
                                                      IDOC Chief of
                                                      Administration to Daniel
                                                      Conn, Wexford VP and
                                                      CFO re Notice concerning
                                                      IDOC staffing issues.
                                                      Attached Wexford
                                                      Program Adjustment
                                                      Computation dated
                                                      3/31/06.
503                                                   Letter from Tony Small,
                                                      IDOC CFO to Daniel
                                                      Conn, Wexford VP and
                                                      CFO re Notice concerning
                                                      IDOC staffing issues,
                                                      medical director and
                                                      nursing vacancies.
504                                                   Letter from Eric Dailey,
                                                      Office of Healthcare
                                                      Purchasing to Nickolas
                                                      Little, Wexford VP of
                                                      Compliance and Business
                                                      Affairs re ongoing
                                                      Administrative Directive
                                                      violations. Attachment
                                                      spreadsheet of recurring
                                                      AD violations.
505    RTP#5_ES RTP#5_ES                              Email chain involving
       I 0590641 I 0590643                            Joseph Ssenfuma, Michael
                                                      Melvin, Jared Brunk,
                                                      Steven Meeks and others
                                                      re Pontiac CC.
506    RPT#5_ES RPT#5_ES                              Email chain involving
       I 0594414 I 0594414                            Joseph Ssenfuma, Kim
                                                      Hugo, Miles Sherwin and


                                                             105
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 116 of 409 PageID #:13885

Ex.    BegBates   EndBates      Title (if available)      Description (if no title)   Defendants' Objections     Plaintiffs' Responses
                                                         others re NRC negative
                                                         pressure rooms.

507    RTP#5_ES RTP#5_ES                                 Email chain involving
       I 0595522 I 0595524                               Victor Calloway, Joseph
                                                         Ssenfuma, Kim larson and
                                                         others re MRSA log
                                                         update.
508    RTP#5_ES RTP#5_ES                                 Email chain involving
       I 0215383 I 0215384                               Amber Allen, Joseph
                                                         Ssenfuma, Diana Sanders
                                                         and others re Optometry.
509    RTP#5_ES RTP#5_ES                                 Email chain involving
       I 0409353 I 0409354                               Joseph Ssenfuma, Kimg
                                                         Hugo, Mary Ellen
                                                         Grennan and Michael
                                                         Dempsey re Grant
                                                         A64188.
D510                         Demonstrative -                                          901: Defendants object   1006: these are charts
                             Aggregate Medical Errors                                 based on lack of         compiled from
                             at Dixon April 2015-April                                foundation.              voluminous records
                             2017 (CQIs).                                                                      (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D511                         Demonstrative -                                          901: Defendants object   1006: these are charts
                             Aggregate Medical Errors                                 based on lack of         compiled from
                             at Logan January 2013-                                   foundation.              voluminous records
                             March 2017 (CQIs).                                                                (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
                                                                106
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 117 of 409 PageID #:13886

 Ex.   BegBates   EndBates      Title (if available)      Description (if no title)    Defendants' Objections     Plaintiffs' Responses
D512                         Demonstrative -                                          901: Defendants object    1006: these are charts
                             Aggregate Chronic Clinic                                 based on lack of          compiled from
                             Backlog at Menard                                        foundation.               voluminous records
                             December 2013-April                                                                (Defendants' continuous
                             2018 (CQIs).                                                                       quality improvement
                                                                                                                reports); Plaintiffs will
                                                                                                                provide a witness to
                                                                                                                explain method of
                                                                                                                compilation if required
D513                         Demonstrative - CQI                                      901: Defendants object    1006: these are charts
                             Availability Chart January                               based on lack of          compiled from
                             2014-February 2018                                       foundation.               voluminous records
                             (CQIs).                                                                            (Defendants' continuous
                                                                                                                quality improvement
                                                                                                                reports); Plaintiffs will
                                                                                                                provide a witness to
                                                                                                                explain method of
                                                                                                                compilation if required
D514                         Demonstrative -                                          901: Defendants object    1006: these are charts
                             Aggregate Dental                                         based on lack of          compiled from
                             Backlogs at Big Muddy                                    foundation.               voluminous records
                             January 2013-April 2017                                                            (Defendants' continuous
                             (CQIs).                                                                            quality improvement
                                                                                                                reports); Plaintiffs will
                                                                                                                provide a witness to
                                                                                                                explain method of
                                                                                                                compilation if required
D515                         Demonstrative - Dental                                   901: Defendants object    1006: these are charts
                             Backlogs at Dixon in                                     based on lack of          compiled from
                             Weeks August 2015-April                                  foundation.               voluminous records
                             2017 (CQIs).                                                                       (Defendants' continuous
                                                                                                                quality improvement
                                                                                                                reports); Plaintiffs will
                                                                                                                provide a witness to
                                                                                                                explain method of
                                                                                                                compilation if required
                                                                107
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 118 of 409 PageID #:13887

 Ex.   BegBates   EndBates      Title (if available)     Description (if no title)    Defendants' Objections     Plaintiffs' Responses
D516                         Demonstrative - Dental                                  901: Defendants object    1006: these are charts
                             Backlog at Hill September                               based on lack of          compiled from
                             2015-January 2018                                       foundation.               voluminous records
                             (CQIs).                                                                           (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D517                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Aggregate Dental Backlog                                based on lack of          compiled from
                             at Logan January 2015-                                  foundation.               voluminous records
                             March 2017 (CQIs).                                                                (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D518                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Aggregate Dental Backlog                                based on lack of          compiled from
                             at Menard January 2013-                                 foundation.               voluminous records
                             April 2018 (CQIs).                                                                (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D519                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Aggregate Dental                                        based on lack of          compiled from
                             Backlogs at Big Muddy,                                  foundation.               voluminous records
                             Menard and Logan                                                                  (Defendants' continuous
                             January 2013-April 2018                                                           quality improvement
                             (CQIs).                                                                           reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
                                                               108
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 119 of 409 PageID #:13888

 Ex.   BegBates   EndBates      Title (if available)     Description (if no title)    Defendants' Objections     Plaintiffs' Responses
D520                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Medication Errors at Big                                based on lack of          compiled from
                             Muddy January 2016-                                     foundation.               voluminous records
                             April 2017 (CQIs).                                                                (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D521                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Medication Errors at                                    based on lack of          compiled from
                             Dixon April 2015-April                                  foundation.               voluminous records
                             2017 (CQIs).                                                                      (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D522                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Medication Errors at Hill                               based on lack of          compiled from
                             September 2015-January                                  foundation.               voluminous records
                             2018 (CQIs).                                                                      (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D523                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Medication Errors at                                    based on lack of          compiled from
                             Illinois River October                                  foundation.               voluminous records
                             2015-December 2017                                                                (Defendants' continuous
                             (CQIs).                                                                           quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
                                                               109
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 120 of 409 PageID #:13889

 Ex.   BegBates   EndBates      Title (if available)    Description (if no title)    Defendants' Objections     Plaintiffs' Responses
D524                         Demonstrative -                                        901: Defendants object    1006: these are charts
                             Medication Errors at                                   based on lack of          compiled from
                             Logan March 2015-March                                 foundation.               voluminous records
                             2017 (CQIs).                                                                     (Defendants' continuous
                                                                                                              quality improvement
                                                                                                              reports); Plaintiffs will
                                                                                                              provide a witness to
                                                                                                              explain method of
                                                                                                              compilation if required
D525                         Demonstrative -                                        901: Defendants object    1006: these are charts
                             Medication Errors at                                   based on lack of          compiled from
                             Pontiac April 2013-March                               foundation.               voluminous records
                             2017 (CQIs).                                                                     (Defendants' continuous
                                                                                                              quality improvement
                                                                                                              reports); Plaintiffs will
                                                                                                              provide a witness to
                                                                                                              explain method of
                                                                                                              compilation if required
D526                         Demonstrative - MRSA                                   901: Defendants object    1006: these are charts
                             Diagnoses at Big Muddy                                 based on lack of          compiled from
                             January 2013-September                                 foundation.               voluminous records
                             2017 (CQIs).                                                                     (Defendants' continuous
                                                                                                              quality improvement
                                                                                                              reports); Plaintiffs will
                                                                                                              provide a witness to
                                                                                                              explain method of
                                                                                                              compilation if required
D527                         Demonstrative - MRSA                                   901: Defendants object    1006: these are charts
                             Cases at Dixon January                                 based on lack of          compiled from
                             2013-April 2017 (CQIs).                                foundation.               voluminous records
                                                                                                              (Defendants' continuous
                                                                                                              quality improvement
                                                                                                              reports); Plaintiffs will
                                                                                                              provide a witness to
                                                                                                              explain method of
                                                                                                              compilation if required
                                                              110
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 121 of 409 PageID #:13890

 Ex.   BegBates   EndBates      Title (if available)        Description (if no title)    Defendants' Objections     Plaintiffs' Responses
D528                         Demonstrative - MRSA                                       901: Defendants object    1006: these are charts
                             Cases at Hill September                                    based on lack of          compiled from
                             2015-January 2018                                          foundation.               voluminous records
                             (CQIs).                                                                              (Defendants' continuous
                                                                                                                  quality improvement
                                                                                                                  reports); Plaintiffs will
                                                                                                                  provide a witness to
                                                                                                                  explain method of
                                                                                                                  compilation if required
D529                         Demonstrative - MRSA                                       901: Defendants object    1006: these are charts
                             Cases at Illinois River July                               based on lack of          compiled from
                             2014-November 2017                                         foundation.               voluminous records
                             (CQIs).                                                                              (Defendants' continuous
                                                                                                                  quality improvement
                                                                                                                  reports); Plaintiffs will
                                                                                                                  provide a witness to
                                                                                                                  explain method of
                                                                                                                  compilation if required
D530                         Demonstrative - MRSA                                       901: Defendants object    1006: these are charts
                             Cases at Logan January                                     based on lack of          compiled from
                             2013-September 2017                                        foundation.               voluminous records
                             (CQIs).                                                                              (Defendants' continuous
                                                                                                                  quality improvement
                                                                                                                  reports); Plaintiffs will
                                                                                                                  provide a witness to
                                                                                                                  explain method of
                                                                                                                  compilation if required
D531                         Demonstrative - MRSA                                       901: Defendants object    1006: these are charts
                             Cases at Menard January                                    based on lack of          compiled from
                             2013-April 2018 (CQIs).                                    foundation.               voluminous records
                                                                                                                  (Defendants' continuous
                                                                                                                  quality improvement
                                                                                                                  reports); Plaintiffs will
                                                                                                                  provide a witness to
                                                                                                                  explain method of
                                                                                                                  compilation if required
                                                                  111
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 122 of 409 PageID #:13891

 Ex.   BegBates   EndBates      Title (if available)      Description (if no title)    Defendants' Objections     Plaintiffs' Responses
D532                         Demonstrative - MRSA                                     901: Defendants object    1006: these are charts
                             Diagnoses at Pontiac April                               based on lack of          compiled from
                             2013-April 2017 (CQIs).                                  foundation.               voluminous records
                                                                                                                (Defendants' continuous
                                                                                                                quality improvement
                                                                                                                reports); Plaintiffs will
                                                                                                                provide a witness to
                                                                                                                explain method of
                                                                                                                compilation if required
D533                         Demonstrative -                                          901: Defendants object    1006: these are charts
                             Optometry Backlog at                                     based on lack of          compiled from
                             Dixon January 2013-April                                 foundation.               voluminous records
                             2017 (CQIs).                                                                       (Defendants' continuous
                                                                                                                quality improvement
                                                                                                                reports); Plaintiffs will
                                                                                                                provide a witness to
                                                                                                                explain method of
                                                                                                                compilation if required
D534                         Demonstrative -                                          901: Defendants object    1006: these are charts
                             Optometry Backlog at Hill                                based on lack of          compiled from
                             in Weeks September                                       foundation.               voluminous records
                             2015-January 2018                                                                  (Defendants' continuous
                             (CQIs).                                                                            quality improvement
                                                                                                                reports); Plaintiffs will
                                                                                                                provide a witness to
                                                                                                                explain method of
                                                                                                                compilation if required
D535                         Demonstrative -                                          901: Defendants object    1006: these are charts
                             Optometry Backlog at Hill                                based on lack of          compiled from
                             September 2015-January                                   foundation.               voluminous records
                             2018 (CQIs).                                                                       (Defendants' continuous
                                                                                                                quality improvement
                                                                                                                reports); Plaintiffs will
                                                                                                                provide a witness to
                                                                                                                explain method of
                                                                                                                compilation if required
                                                                112
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 123 of 409 PageID #:13892

 Ex.   BegBates   EndBates        Title (if available)   Description (if no title)    Defendants' Objections      Plaintiffs' Responses
D536                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Optometry Backlog at                                    based on lack of          compiled from
                             Illinois River October                                  foundation.               voluminous records
                             2015-February 2018                                                                (Defendants' continuous
                             (CQIs).                                                                           quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D537                         Demonstrative - Routine                                 901: Defendants object    1006: these are charts
                             Physicals Backlog at HIll                               based on lack of          compiled from
                             September 2015-January                                  foundation.               voluminous records
                             2018 (CQIs).                                                                      (Defendants' continuous
                                                                                                               quality improvement
                                                                                                               reports); Plaintiffs will
                                                                                                               provide a witness to
                                                                                                               explain method of
                                                                                                               compilation if required
D538                         Demonstrative - Non-                                    901: Defendants object    1006: these are charts
                             Shansky Facilities                                      based on lack of          compiled from
                             Contract Violations for                                 foundation.               voluminous records
                             2017 (Contract                                                                    (Defendants' contract
                             Monitoring).                                                                      monitoring reports for the
                                                                                                               Wexford contract);
                                                                                                               Plaintiffs will provide a
                                                                                                               witness to explain method
                                                                                                               of compilation if required
D539                         Demonstrative -                                         901: Defendants object    1006: these are charts
                             Comparison of Key                                       based on lack of          compiled from
                             Positions Between April-                                foundation.               voluminous records
                             June in 2015 and 2017                                                             (Defendants' contract
                             (Contract Monitoring).                                                            monitoring reports for the
                                                                                                               Wexford contract);
                                                                                                               Plaintiffs will provide a
                                                                                                               witness to explain method
                                                                                                               of compilation if required
                                                               113
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 124 of 409 PageID #:13893

 Ex.   BegBates   EndBates       Title (if available)      Description (if no title)    Defendants' Objections      Plaintiffs' Responses
D540                         Demonstrative - Shansky                                   901: Defendants object    1006: these are charts
                             Facilities Contract                                       based on lack of          compiled from
                             Violations for 2017                                       foundation.               voluminous records
                             (Contract Monitoring).                                                              (Defendants' contract
                                                                                                                 monitoring reports for the
                                                                                                                 Wexford contract);
                                                                                                                 Plaintiffs will provide a
                                                                                                                 witness to explain method
                                                                                                                 of compilation if required
D541                         Demonstrative - Vacancy                                   901: Defendants object    1006: these are charts
                             Durations at Dixon                                        based on lack of          compiled from
                             (Contract Monitoring).                                    foundation.               voluminous records
                                                                                                                 (Defendants' contract
                                                                                                                 monitoring reports for the
                                                                                                                 Wexford contract);
                                                                                                                 Plaintiffs will provide a
                                                                                                                 witness to explain method
                                                                                                                 of compilation if required
D542                         Demonstrative - Vacancy                                   901: Defendants object    1006: these are charts
                             Durations at Hill (Contract                               based on lack of          compiled from
                             Monitoring).                                              foundation.               voluminous records
                                                                                                                 (Defendants' contract
                                                                                                                 monitoring reports for the
                                                                                                                 Wexford contract);
                                                                                                                 Plaintiffs will provide a
                                                                                                                 witness to explain method
                                                                                                                 of compilation if required
D543                         Demonstrative - Vacancy                                   901: Defendants object    1006: these are charts
                             Durations at Pontiac                                      based on lack of          compiled from
                             (Contract Monitoring).                                    foundation.               voluminous records
                                                                                                                 (Defendants' contract
                                                                                                                 monitoring reports for the
                                                                                                                 Wexford contract);
                                                                                                                 Plaintiffs will provide a
                                                                                                                 witness to explain method
                                                                                                                 of compilation if required
                                                                 114
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 125 of 409 PageID #:13894

 Ex.   BegBates   EndBates      Title (if available)     Description (if no title)    Defendants' Objections      Plaintiffs' Responses
D544                         Demonstrative - Vacancy                                 901: Defendants object    1006: these are charts
                             Durations at Stateville                                 based on lack of          compiled from
                             (Contract Monitoring).                                  foundation.               voluminous records
                                                                                                               (Defendants' contract
                                                                                                               monitoring reports for the
                                                                                                               Wexford contract);
                                                                                                               Plaintiffs will provide a
                                                                                                               witness to explain method
                                                                                                               of compilation if required
D545                         Demonstrative - Vacancy                                 901: Defendants object    1006: these are charts
                             Durations at Menard                                     based on lack of          compiled from
                             (Contract Monitoring).                                  foundation.               voluminous records
                                                                                                               (Defendants' contract
                                                                                                               monitoring reports for the
                                                                                                               Wexford contract);
                                                                                                               Plaintiffs will provide a
                                                                                                               witness to explain method
                                                                                                               of compilation if required
D546                         Demonstrative - Vacancy                                 901: Defendants object    1006: these are charts
                             Durations at Big Muddy                                  based on lack of          compiled from
                             River (Contract                                         foundation.               voluminous records
                             Monitoring).                                                                      (Defendants' contract
                                                                                                               monitoring reports for the
                                                                                                               Wexford contract);
                                                                                                               Plaintiffs will provide a
                                                                                                               witness to explain method
                                                                                                               of compilation if required
D547                         Demonstrative - Contract                                901: Defendants object    1006: these are charts
                             Monitoring Report                                       based on lack of          compiled from
                             Availability for 2017 All                               foundation.               voluminous records
                             Facilities (Contract                                                              (Defendants' contract
                             Monitoring).                                                                      monitoring reports for the
                                                                                                               Wexford contract);
                                                                                                               Plaintiffs will provide a
                                                                                                               witness to explain method
                                                                                                               of compilation if required
                                                               115
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 126 of 409 PageID #:13895

 Ex.   BegBates   EndBates       Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
548                          IDOC's Answers to
                             Plaintiffs' Second Set of
                             Interrogatories.
549                          Defendants' Response to
                             Plaintiffs' First Requests
                             for Admission.
550                          IDOC's Supplemental
                             Answers to Plaintiffs'
                             Second Set of
                             Interrogatories.
551                          Expert Report of Dr. Marc
                             F. Stern.
552                          [RESERVED] Final
                             Report of the Second
                             Court-Appointed Expert
                             Dr. Puisis.
553                          Notice of Rule 30(b)(6)
                             Deposition.
554                          Notice of Rule 30(b)(6)
                             Deposition (Brunk).
555                          Notice of Rule 30(b)(6)
                             Deposition (Taylor).
556                          Amended Notice of Rule
                             30(b)(6) Deposition to the
                             Office of the Governor.
557                          Subpoena to Testify at a
                             Deposition in a Civil
                             Action (Daley).
558                          Amended Notice of
                             Deposition of Cheri
                             Laurent.
559                          Notice of Deposition of
                             Dr. Stephen Ritz.
560                                                       Email from John Howard
                                                          Association to Louis
                                                          Shicker re JHA's Report
                                                                 116
                  Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 127 of 409 PageID #:13896

Ex.   BegBates   EndBates     Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                     on Stateville Northern
                                                     Reception &
                                                     Classification Center
561                                                  Email from John Howard
                                                     Association to Louis
                                                     Shicker re JHA's Report
                                                     on Pontiac Correctional
                                                     Center
562                                                  Email from John Howard
                                                     Association to Louis
                                                     Shicker re Special Report
                                                     - Overcrowded,
                                                     Underresourced, and Ill-
                                                     Conceived: Logan
                                                     Correctional Center
                                                     2013/14
563                                                  Email from John Howard
                                                     Association to Louis
                                                     Shicker re JHA's Report
                                                     on Dixon Correctional
                                                     Center
564                                                  Email from John Howard
                                                     Association to Louis
                                                     Shicker re JHA's Report
                                                     on Stateville Correctional
                                                     Center
565                                                  Email from John Howard
                                                     Association to Louis
                                                     Shicker re JHA's Report
                                                     on Graham Correctional
                                                     Center
566                                                  Email from John Howard
                                                     Association to Louis
                                                     Shicker re JHA's Report
                                                     on Big Muddy River
                                                     Correctional Center
                                                            117
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 128 of 409 PageID #:13897

 Ex.   BegBates   EndBates      Title (if available)     Description (if no title)   Defendants' Objections   Plaintiffs' Responses
567                                                     Email from John Howard
                                                        Association to Louis
                                                        Shicker re JHA's Report
                                                        on Pontiac Correctional
                                                        Center
568                                                     Email from John Howard
                                                        Association to Louis
                                                        Shicker re JHA's Report
                                                        on Vandalia Correctional
                                                        Center
569                          John Howard Association
                             Monitoring Visit to Big
                             Muddy River Correctional
                             Center 2013.
570    IDOC       IDOC                                  Email chain involving
       UPDATE     UPDATE                                Louis Shicker, John Maki
       002525     002525                                and others re Special
                                                        Report - Overcrowded,
                                                        Underresourced, and Ill-
                                                        Conceived: Logan
                                                        Correctional Center
                                                        2013/14
571    RTP#5_ES RTP#5_ES                                Email chain involving
       I 0088441 I 0088443                              Louis Shicker, Joseph
                                                        Yurkovich and others re
                                                        Vacancy List Request.
                                                        Attachment 4/20/15 memo
                                                        from Louis Shicker to
                                                        Assistant Director Garnett
                                                        re current Wexford
                                                        vacancy situation of
                                                        Medical Directors, DONs
                                                        and other key positions
572    RTP#5_ES RTP#5_ES                                Email chain involving
       I 0579871 I 0579874                              Michael Dempsey, Camile
                                                        Lindsay, Gail Walls and
                                                               118
                   Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 129 of 409 PageID #:13898

Ex.    BegBates   EndBates       Title (if available)       Description (if no title)     Defendants' Objections   Plaintiffs' Responses
                                                           others re Reportable
                                                           Incident - Menard
                                                           Correctional Center -
                                                           Death of Offender Locke,
                                                           Leroy K76869
573    RTP#5_ES RTP#5_ES                                   Email chain involving
       I 0570186 I 0570209                                 Gladyse Taylor, Bryan
                                                           Gleckler, Sean Killian and
                                                           others re CCA Project -
                                                           Dashboard. Attachments
                                                           141125 Department
                                                           Template vF(1).pptx;
                                                           IDOC Transition Report
                                                           2014 12 08.docx; DOC
                                                           Federal Grants -
                                                           Overview.xls; Overview
                                                           Information for Transition
                                                           Team.xlsx
574                          Unasked Questions,
                             Unintended
                             Consequences: Fifteen
                             Findings and
                             Recommendations of
                             Illinois' Prison Healthcare
                             System. A Special Report
                             by the John Howard
                             Association.
G575                                                       OHS Staffing Spreadsheet
                                                           Excel files sent directly to
                                                           Dr. Puisis by Nicholas
                                                           Staley on 6/18/18. "Dr.
                                                           Puisis, Per your request,
                                                           please find attached IDOC
                                                           staffing spreadsheets for
                                                           the Northern Region of
                                                           Illinois. I will be sending
                                                                  119
                  Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 130 of 409 PageID #:13899

Ex.   BegBates   EndBates      Title (if available)      Description (if no title)   Defendants' Objections   Plaintiffs' Responses
                                                       two other emails with the
                                                       Central and Southern
                                                       Region spreadsheets.
                                                       Please also note that these
                                                       do not include Wexford
                                                       staffing. I am currently
                                                       waiting on that
                                                       documentation from
                                                       Wexford."
576                         CV of Ronald Mark
                            Shansky, MD
577                         CV of Michael Puisis, MD
578                         CV of Catherine M. Knox,
                            MN, RN, CCHP-RN
579                         CV of Madeleine
                            LaMarre, MN, FNP-BC
580                         CV of John Michael Raba,
                            MD
581                         CV of Jay D. Shulman
582                                                    IDOC FOIA response
                                                       enclosing photos of Andre
                                                       Mamon's head at Menard
                                                       Correctional Center on or
                                                       around March or April
                                                       2018.




                                                              120
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 131 of 409 PageID #:13900




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 DON LIPPERT, et al.,                       )
                                            )
                    Plaintiffs,             )   No. 10-cv-4603
       v.                                   )
                                            )   Judge Jorge L. Alonso
 JOHN BALDWIN, et al.,                      )   Magistrate Judge Susan E. Cox
                                            )
                    Defendants.             )

                          FINAL PRETRIAL ORDER
                    EXHIBIT 4—DEFENDANTS’ EXHIBIT LIST




                                        1
               Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 132 of 409 PageID #:13901




                                                                                                              If objection,
Ex.    Bates No.       Date            Description of exhibit               Plaintiffs’ Objections          asserted basis of
                                                                                                              admissibility
                                 Any and all of Plaintiffs’ Exhibits
                                 not objected to by Defendants.
1     RTP#5         7/24/2018    UIC Nursing Contract
      UPDATED
      UIC Nursing
      Contract
      000001-7
2     None.         1/26/2018    Excel Spreadsheet of Medical          Foundation (relies on underlying   FRE 803(6)
      Produced in                Expenditures for IDOC                 material not produced; not self-
      response to                FY2010-FY2018                         explanatory)
      Second
      Deposition of
      Jared Brunk


3     None.         5/2018                                             Foundation (relies on underlying   FRE 803(6)
      Produced in                                                      material not produced; not self-
                                 Excel Spreadsheet of Offsite
      response to                                                      explanatory)
                                 Medical Visits by Inmate for
      Subpoena to
                                 2017-4/2018.
      Wexford
      10-17-17
4     Wexford       5/23/2018    Wexford Medical Guidelines for
      11641-11984                Illinois
5     Wexford       5/1/2017     Wexford Pharmacy Guidelines
      11985-12132                (Global)
6     Wexford       12/19/2016   Wexford Utilization Management
      12133-12168                Guidelines (Illinois)
7     Wexford       6/29/2017    Wexford Medical, Psychiatry, and
      12169-12234                Dental Staff Orientation Program




                                                                2
              Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 133 of 409 PageID #:13902




                                                                                                          If objection,
Ex.    Bates No.       Date           Description of exhibit            Plaintiffs’ Objections          asserted basis of
                                                                                                          admissibility
8     RTP#5         6/8/2012    Wexford Pharmacy Policies and
      UPDATED                   Procedures (Illinois) – Attorney
      Treatment                 Eyes Only Designation can be
      Protocols                 disregarded
      IRCC
      000980-1132
9     None.         11/3/2014   IDOC Response to Shanksy
                                Report
10    None.         9/2018      Excel Spreadsheet of ASR log for   Foundation (relies on underlying   FRE 803(6)
                                FY2019                             material not produced; not self-
                                                                   explanatory)
11    None.         8/13/2018   Rebuttal Report by Dr. Owen
                                Murray to Plaintiffs’ Expert
                                Report by Dr. Marc Stern




                                                            3
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 134 of 409 PageID #:13903




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 DON LIPPERT, et al.,                             )
                                                  )
                      Plaintiffs,                 )   No. 10-cv-4603
        v.                                        )
                                                  )   Judge Jorge L. Alonso
 JOHN BALDWIN, et al.,                            )   Magistrate Judge Susan E. Cox
                                                  )
                      Defendants.                 )

                              FINAL PRETRIAL ORDER
                        EXHIBIT 5—PLAINTIFFS’ WITNESS LIST

WILL CALL:

       1.     Dr. Marc Stern (Plaintiffs’ expert).

       2.     Dr. Michael Puisis (Second Court-Appointed Expert).

        3.      Dr. Jack Raba (physician; member of Second Court-Appointed Expert’s
investigative team).

        4.      Madie LaMarre (RN; member of Second Court-Appointed Expert’s
investigative team).

        5.      Dr. Jay Shulman (dentist; member of Second Court-Appointed Expert’s
investigative team).

       6.     John Baldwin (Director of Illinois Department of Corrections [IDOC]).

       7.     Dr. Steven Meeks (Agency Medical Director, IDOC).

       8.     Gladyse Taylor (Assistant Director, IDOC).

       9.     Jared Brunk (Chief Financial Officer, IDOC).

       10.    Don Lippert (named plaintiff and class representative; Lawrence Correctional
Center).

       11.    Debra Pattison (named plaintiff and class representative; Logan Correctional
Center).




                                              1
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 135 of 409 PageID #:13904




       12.    Milam Martin (named plaintiff and class representative; Big Muddy River
Correctional Center).

MAY CALL:

        1.      Catherine M. Knox (RN; member of Second Court-Appointed Expert’s
investigative team).

         2.    Dr. Ronald Shansky (First Court-Appointed Expert).

         3.    Dr. Michael Dempsey (former acting IDOC agency medical director).

         4.    Trey Childress (Deputy Governor).

       5.      Lewis Rice (named plaintiff and class representative; Menard Correctional
Center).

       6.      Ezell Thomas (named plaintiff and class representative; Pontiac Correctional
Center).

         7.    Dr. Wallace F. Strow (IDOC dentist; employed by Wexford Health Sources,
Inc.).

         8.    Dr. Jackie Mitchell (IDOC dentist; employed by state).

         9.    Victoria McCue (class member; Decatur Correctional Center).

         10.   Afton Ferris (class member; Logan Correctional Center).

         11.   Andre Mamon (class member; Menard Correctional Center).

         12.   Ashley Johnson (class member; Logan Correctional Center).

         13.   Pearl Tuma (class member; Logan Correctional Center).

         14.   Robert Boyd (class member; Dixon Correctional Center).

         15.   Eric Langham (class member; Hill Correctional Center).

       16.     Joseph Ssenfuma (regional coordinator, northern region, IDOC Office of Health
Services).

       17.     Lisa Prather (regional coordinator, southern region, IDOC Office of Health
Services).




                                               2
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 136 of 409 PageID #:13905




       18.     Lisa Johnson (acting regional coordinator, central region, IDOC Office of Health
Services; Health Care Unit Administrator, Logan Correctional Center).

       19.    Kim Hugo (Agency Medical Coordinator, IDOC).




                                               3
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 137 of 409 PageID #:13906




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 DON LIPPERT, et al.,                                )
                                                     )
                        Plaintiffs,                  )   No. 10-cv-4603
        v.                                           )
                                                     )   Judge Jorge L. Alonso
 JOHN BALDWIN, et al.,                               )   Magistrate Judge Susan E. Cox
                                                     )
                        Defendants.                  )

                              FINAL PRETRIAL ORDER
                       EXHIBIT 6—DEFENDANTS’ WITNESS LIST

WILL CALL

       1.      Steven Meeks, M.D., Defendant. As Medical Director for the Office of Health
Services of the Illinois Department of Corrections Dr. Meeks will testify regarding the healthcare
system in the IDOC.

       2.      James Baldwin, Defendant. Director of the Illinois Department of Corrections.
Mr. Baldwin will testify regarding his role in overseeing the IDOC and his duties involving the
provision of healthcare in the IDOC.

       3.       Gladyse Taylor, Assistant Director of the Illinois Department of Corrections. Ms.
Taylor will testify regarding her duties as they relate to the provision of healthcare in the IDOC.
Ms. Taylor will also testify as to the RFPs regarding healthcare vendors and Electronic Medical
Records.

       4.       Mary Kline, Health Services Coordinator, Southern Region of the Illinois
Department of Corrections. Ms. Kline will testify as to the healthcare provided in the prisons
located in the Southern Region.

       5.       Lisa Johnson, Health Services Coordinator, Central Region of the Illinois
Department of Corrections. Ms. Kline will testify as to the healthcare provided in the prisons
located in the Central Region.

        6.     Joseph Ssenfuma, Quality Assurance and Infectious Disease Coordinator; and
Health Services Coordinator, Northern Region of the Illinois Department of Corrections. Mr.
Ssenfuma will testify as to as to the healthcare provided in the prisons located in the Northern
Region. Mr. Ssenfuma will also testify regarding his job duties as Quality Assurance and
Infectious Disease Coordinator for IDOC.




                                                 1
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 138 of 409 PageID #:13907




       7.     Kimberly Hugo, Agency Medical Coordinator for the Illinois Department of
Corrections. Ms. Hugo will testify as to her role overseeing the provision of healthcare in IDOC.

       8.      Anita Bazile-Sawyer, Chief of Programs for the Illinois Department of
Corrections. Ms. Bazile-Sawyer will testify regarding her role in overseeing the provision of
healthcare in IDOC.

        9.      Cheri Laurent, Vice President of Special Contracts for Wexford. Ms. Laurent
will testify regarding her role in assisting the vice president of operations on a day-to-day basis
with running the operations under the contract for providing healthcare to the IDOC.

       10.      Stephen Ritz, Corporate Medical Director, Utilization Management for Wexford.
Dr. Ritz will testify as to Wexford’s collegial review process in Illinois.

         11.   Elaine Gedman, Executive Vice President and Chief Administrative Officer for
Wexford. Ms. Gedman will testify regarding recruiting efforts by Wexford to fill vacancies in
Illinois. Ms. Gedman will also testify regarding Wexford staffing in IDOC facilities, including
number of positions and vacancies.

       12.      Dr. Arthur Funk, Regional Medical Director, Northern Region, for Wexford. Dr.
Funk will testify as to regional medical issues, management structure, and the criticisms leveled
by Drs. Shansky and Puisis.

        13.   Dr. Rod Matticks, Regional Director for Wexford. Dr. Matticks will testify as to
regional medical issues, management structure, and the criticisms leveled by Drs. Shansky and
Puisis.

       14.      Nick Little, Vice President Strategic Contracting and Compliance forWexford.
Mr. Little will testify as to the contract between Wexford and IDOC, including contract
requirements and reconciliation.

       15.    Shannis Stock-Jones, Vice President of Operations, Illinois, for Wexford. Ms.
Stock-Jones will testify as to the current operations of Wexford in Illinois.

       16.     Dr. Tom Lehman, Corporate Medical Director, Utilization Management &
Clinical Services for Wexford. Dr. Lehman will testify as to the oversight of the quality of
medical care provided in Illinois.

       17.     TBD, the current medical treaters of the named Plaintiffs.

       18.     TBD, Dentist for Wexford.

       19.     Any and all Witnesses on Plaintiffs’ witness list not listed here are may call
witnesses.




                                                  2
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 139 of 409 PageID #:13908




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 DON LIPPERT, et al.,                         )
                                              )
                      Plaintiffs,             )   No. 10-cv-4603
        v.                                    )
                                              )   Judge Jorge Luis Alonso
 JOHN BALDWIN, et al.,                        )   Magistrate Judge Susan E. Cox
                                              )
                      Defendants.             )

                           FINAL PRETRIAL ORDER
               EXHIBIT 7—PLAINTIFFS’ DEPOSITION DESIGNATIONS

2015-10-20 Dep. of Nicolette Duffield

116: 4-24
117: 1-8

2017-07-25 Dep. of Steven Meeks

5: 18-20                24: 1-24              43: 1-24                64: 1-19
7: 13-24                25: 1-5; 24           44: 1-2; 14-24          67: 8-24
8: 1-24                 26: 1-18; 22-24       45: 1-24                68: 1-5
9: 1-24                 27: 1-6; 21-24        46: 1-24                71: 14-21
10: 1-11                28: 1-22              47: 1-9; 24             72: 17-22
11: 2-17; 24            30: 6-20              48: 1-5; 17-24          73: 7-24
12: 1-24                31: 2-21              49: 1-24                74: 1-15
13: 1-19; 24            32: 3-11; 16-20       50: 1-24                78: 18-24
14: 1-24                33: 1-18              51: 1-5; 23-24          79: 1-24
15: 1-24                37: 20-24             52: 1-3; 7-15           80: 1-16
16: 1; 20-24            38: 1-23              53: 12-16               88: 4-12
18: 17-24               39: 23-24             55: 13-19               95: 1-10
20: 12-23               40: 1-24              60: 7-24                98: 19-24
22: 8-24                41: 1-18              62: 13-24               99: 1
23: 1-24                42: 3-13              63: 1-24

2017-09-19 Dep. of Lisa Prather

5: 13-25                12: 23-25             17: 8-22                24: 18-24
6: 1-25                 13: 1-7               19: 13-17               25: 1-4; 9-18
8: 11-16; 21-25         14: 6-23              20: 4-16                26: 16-25
9: 1-25                 15: 23-25             21: 11-13               27: 1-18
10: 1-13                16: 4-15              22: 11-14               28: 6-16



                                          1
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 140 of 409 PageID #:13909




41: 10-16; 19-25      46: 1-10                49: 17-19               67: 1-6
42: 1-9               47: 21-25               57: 2-19                69: 3-10
45: 22-25             48: 1-2                 66: 7-11; 19-25

2017-09-28 Dep. of Joseph Ssenfuma

4: 1-24               17: 2-24                34: 1                   73: 18-24
5: 1-16               18: 18-22               36: 5-7                 74: 1-19
6: 14-17; 24          21: 22-24               39: 12-16               84: 1-3
7: 19-24              22: 1-2                 42: 1-4; 19-22          85: 2-20
8: 1-10; 24           23: 15-24               43: 6-14                86: 1-5; 16-18; 23-24
9: 1-24               24: 1-23                54: 10-12               87: 1-5
10: 3-24              29: 1-24                63: 11-20               95: 19-21
11: 1-8               30: 1-24                65: 7-16                96: 3-24
12: 10-20             31: 1-9                 66: 1-24                97: 1-5
13: 2-6; 13-20        32: 10-12; 18-24        67: 21-24               98: 6-9
16: 5-14              33: 1-6; 22-24          68: 1-2; 12-16          107: 10-21

2018-01-31 Dep. of Jared Brunk

23: 13-25             34: 1-22                48: 1-2                 79: 8-16; 22-25
24: 1-6; 20-25        36: 9-14                54: 4-19                80: 1-12; 16-18
25: 1-10              37: 8-24                74: 6-17                83: 19-25
31: 2-25              39: 15-25               75: 10-20               84: 1-2
32: 1-4; 15-17; 25    40: 1-5                 76: 2-6; 16-18; 24-25
33: 1-8; 19-25        47: 21-25               77: 1-6

2018-01-31 30(b)(6) Dep. of Jared Brunk

5: 12-17              24: 1-18                42: 1-24                86: 1-6; 9-18
7: 14-25              25: 1-17                43: 5-25                89: 12-23
8: 1                  28: 4-14                44: 1                   94: 12-13; 18-25
18: 13-19             35: 23-25               70: 18-21               95: 1-25
19: 3; 10-25          36: 1-4                 77: 14-25               96: 15-20; 24-25
20: 1-25              37: 14-17               78: 1-3                 97: 1
21: 1-25              40: 17-25               79: 12-20               101: 1-7
23: 17-25             41: 1; 23-25            85: 17-25               102: 1-23

2018-02-01 Dep. of Gladyse Taylor

4: 12-16              11: 1-13; 18-20         26: 6-9; 21-24          34: 18-24
6: 6-24               12: 7-8; 11-14          27: 1-12                35: 1
7: 1-24               13: 10-15               29: 17-24               44: 15-17
8: 23-24              15: 4-24                30: 1-24                49: 21-24
9: 1-24               18: 1-24                31: 1; 6-24             50: 1-24
10: 23-24             19: 1-7                 32: 1-2                 51: 1-24



                                          2
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 141 of 409 PageID #:13910




52: 1-4               63: 1-6               69: 1-24
62: 13-24             68: 2-24              70: 1

2018-04-04 Dep. of John Baldwin

5: 18-24              24: 1-21              39: 1-3; 20-24     63: 1-21
6: 1-21               25: 1-20              40: 1; 9-18        65: 2-24
7: 4-15               26: 1-6               41: 3-10           66: 1-5
9: 4-24               27: 6-19              45: 23-24          67: 13-24
10: 1-24              28: 19-24             46: 1-24           68: 1-7
11: 7-14              29: 1-24              47: 1-24           70: 3-15; 21-24
14: 4-11              30: 1-12              48: 1-15           71: 1-21
15: 7-24              31: 10-18             49: 7-24           72: 5-17
16: 1-22              33: 7-18              55: 8-19           76: 15-23
17: 6-12; 19-24       34: 2-24              57: 2-24           77: 4; 17-23
18: 1-24              35: 1-24              58: 1-7; 14-23     83: 5-10
19: 1; 9-14           36: 1-19              59: 3; 7-24        85: 11-24
20: 21-23             37: 20-24             60: 1-13           86: 1-21
22: 8-11              37: 20-24             61: 1-21
23: 16-24             38: 3-24              62: 1-24

2018-04-05 Dep. of Trey Childress

4: 8-9; 13-15         9: 8-24               19: 20-23          35: 1-9
8: 14-24              10: 1-15              20: 12-22

2018-04-11 Dep. of Kim Hugo

5: 6-9; 15-25         19: 1-7               38: 1-6            59: 17-25
6: 1-2                25: 11-20             40: 8-25           60: 1-13
7: 16-25              26: 1-25              41: 1-13           69: 3-25
8: 1-4; 17-25         27: 1-11              44: 9-17           70: 1; 12-22
9: 1-25               30: 23-25             54: 12-19
10: 1-12              31: 1-2               55: 5-25
18: 24-25             37: 20-25             56: 1-7

2018-04-19 Dep. of Cheri Laurent

5: 15-24              13: 1-22              50: 5-13           69: 1-10
6: 1-13               43: 5-10; 15-24       51: 6-17           71: 1-4
7: 10-22              44: 1-24              52: 15-24          92: 1-11
8: 2-12; 15-17        45: 1-24              53: 1-5            104: 6-24
9: 12-18              46: 1; 9-15           65: 2-24           105: 1-22
10: 4-24              47: 4-14              66: 1; 15-24       106: 3-24
11: 1-8; 20-24        48: 3-5               67: 1-4            107: 1-8; 19-22
12: 1-2; 15-24        49: 1-21              68: 23-24          125: 14-17



                                        3
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 142 of 409 PageID #:13911




2018-04-27 30(b)(6) Dep. of Stephen Ritz

4: 8-12                38: 1-13                   59: 1; 23-24            85: 1-2
8: 10-23               39: 13-24                  60: 1-3                 90: 17-24
10: 22-24              40: 1-8; 16-24             64: 3-24                91: 1-17
11: 1-20               41: 1                      65: 1-24                99: 6-24
15: 20-24              42: 1-24                   66: 1-14                100: 1-24
16: 1-14               43: 1-2                    67: 1-4                 101: 1-6
17: 12-16              44: 24                     68: 17-24               103: 2-15
26: 21-24              45: 1-2                    69: 1-5; 10-16          114: 20-24
27: 1-24               46: 19-24                  71: 8-11                115: 1-7; 13-20
28: 1-10               47: 1-5; 21-24             72: 13-24               116: 21-24
30: 5-15               48: 1-2                    73: 1-15                117: 1-24
34: 1-24               55: 15-20                  76: 19-24               125: 13-18
35: 1-7                56: 6-13                   77: 1-9
36: 14-24              57: 1-23                   83: 18-23
37: 1-24               58: 21-24                  84: 5-8; 13-24

2018-05-09 Dep. of Ellen Holzman Daley

16: 19-24              18: 1-24                   20: 1-23
17: 1-24               19: 1-24

2018-05-31 Dep. of Jared Brunk

20: 21-24              31: 1-5; 8                 45: 1-13; 16-18         72: 1-5; 17-24
21: 1-13               34: 16-24                  46: 1-6; 11-12; 16-18   73: 3; 15-17; 20-22
23: 16-20              35: 1-21                   48: 7-24                74: 11-20
24: 5-19               36: 1; 12-14               49: 1                   78: 7-24
25: 1-24               40: 16-24                  60: 15-24               79: 1-5; 19-24
26: 1-2; 10-24         41: 1-24                   66: 19-24               80: 1-10; 13-15
28: 10-24              42: 1-24                   67: 1-23                91: 20-24
29: 1-7; 14-18         43: 1-5; 16-18             70: 1-9                 92: 1-3; 8-15
30: 5-12; 21-24        44: 9-24                   71: 18-24               95: 1-6

2015-12-29 Dep. of Salvador Godinez (Lippert v. Godinez, No. 13-cv-1434 (N.D. Ill.))

Page 46

4      A.     …Now, you know, I haven’t seen the recent
5             John Howard reports or reports that were out there that
6             may have crossed my desk. They may have brought that
7             to -- to the reader’s attention but not seeing that I
8             can’t say I recall it, to be very honest with you.
14     Q.     Did you -- You mentioned John Howard. The



                                              4
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 143 of 409 PageID #:13912




15          reports that they issued, and I’ve seen a few that
16          they’ve issued regarding Stateville, was it your common
17          practice to read the reports that John Howard issued?
18    A.    I would say yes.
19    Q.    About how -- Well, I can narrow the
20          question.
21          Would that apply to the time frame from 2011
22          to 2014?
23    A.    I would say yes.
24    Q.    And why would you read those reports?

Page 47

1     A.    It’s an obvious answer, but it’s a report
2           about a facility that I’m in charge of that comes under
3           me why wouldn’t I read that report.
4     Q.    And if you read about any unsafe living
5           conditions in the John Howard report what would you do
6           with that information?
7     A.    I would absolutely wonder whether or not
8           before I read that someone had briefed and debriefed
9           with that group and taken action and developed a plan
10          of action.
11          I mean by the time I would get that report
12          steps would have already been taken. My only question
13          is have those steps been taken.
14    Q.    And how would you find that out?
15    A.    Through my chief of public safety would
16          bring it down and then being told that, A, there was a
17          plan, they had briefed it; they had done A, B, and C
18          and because, if I’m not mistaken, there’s -- we did
19          follow-up reports to those.
20    Q.    What are those follow-up reports?
21          I mean they were done by the department of
22          corrections or John Howard?
23    A.    No. We were following up to the report of
24          the John Howard. We are either contesting what they

Page 48

1           were saying or agreeing with what they were saying and
2           developing a plan of action of those that we agreed
3           with that action is needed on.
4     Q.    And those would be written?
5     A.    I believe so. Yeah.
6     Q.    Well, were you involved in putting together



                                            5
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 144 of 409 PageID #:13913




7               the follow-up reports?
8        A.     No.
9        Q.     Who was?
10       A.     I would think at the local level the warden
11.             would be and the deputy director of that region.
12       Q.     How do you know that -- Or -- Or did you
13              ever verify whether anybody did put together any
14              follow-up reports?
15       A.     I wouldn’t. My office would.
16       Q.     Who in your office would?
17       A.     Public safety. Chief of operations.
18       Q.     And how would -- Or would they share with
19              you whether or not a follow-up report had been made?
20       A.     Not necessarily unless there was -- I think
21              the only way would be like a disciplinary would be done
22              against somebody for not following up.
23       Q.     And if a problem was identified in the John
24              Howard report and the follow-up report or plan of

Page 49

1               action was then made by your office wat it anybody’s
2               job to monitor if the problem was actually getting
3               better
4        A.     Yeah. Again, chief of operations because
5               he’s over the that warden.

2016-02-08 Dep. of Wendy Olsen-Foxon (Williams v. Wexford, No. 14-cv-327 (N.D. Ill.))

Page 7

13       Q.     Have you been working for IDOC then the
14              last 15 years more or less?
15       A.     17 years. 15 years as a med tech.

Page 71

5        Q.   Do you recall ever saying to
6             Mr. Williams something to the effect of, an inmate
7             has to be pretty much dying before Wexford would
8             do anything to help?
9        A.   I don't recall saying something
10            like that or that.
11       Q.   Would you agree with that statement
12            that I said though?
13       MR. MARUNA: Object.



                                                6
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 145 of 409 PageID #:13914




14    THE WITNESS: I don't want to answer that.
15    MR. SWEIS: Counsel, how do you want to
16    handle that? Are you directing her not to answer?
17    MS. LUTZKE: I'm not directing her not to
18    answer. She can answer the question if she
19    wants to.
20    THE WITNESS: I would really prefer not
21    to because.
22    BY MR. SWEIS:
23    Q.     At least tell me why you wouldn't
24           want to answer the question.

Page 72

1     A.     Because I've had too many of my patients
2            pass away because of cheap -- changing -- making
3            things cheap, lowering costs, not getting sent out
4            for three, four months when they have cancer, not
5            being diagnosed until they are stage 4. That's
6            why. Lantis being taken away from the diabetics
7            who it's working for. So there.




                                             7
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 146 of 409 PageID #:13915




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 DON LIPPERT, et al.,                       )
                                            )
                    Plaintiffs,             )
       v.                                   )   No. 10-cv-4603
                                            )
 JOHN BALDWIN, et al.,                      )   Judge Jorge L. Alonso
                                            )   Magistrate Judge Susan E. Cox
                                            )
                    Defendants.             )

                         FINAL PRETRIAL ORDER
            EXHIBIT 8—PLAINTIFFS’ PROPOSED FINDINGS OF FACT
                  AND CONCLUSIONS OF LAW (REDACTED)




                                        i
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 147 of 409 PageID #:13916




                                                    TABLE OF CONTENTS

I.         INTRODUCTION .............................................................................................................. 1

II.        STAFFING, VACANCIES AND LEADERSHIP ........................................................... 15

      A.     Summary and Background ............................................................................................. 15
      B.     Vacancies ....................................................................................................................... 16
      C.     Leadership Vacancies ..................................................................................................... 27
      D.     Other Issues Compounding Staffing and Vacancy Problems ........................................ 32
      E.     Lack of Staffing Analysis ............................................................................................... 34

III.       QUALITY OF PRACTITIONERS................................................................................... 35

IV.        SANITATION, SPACE, EQUIPMENT ........................................................................... 38

V.         MEDICAL RECORDS ..................................................................................................... 42

VI.        MEDICAL RECEPTION (INTAKE) ............................................................................... 47

VII.       NURSING SICK CALL (ACCESS TO SERVICES) ...................................................... 55

VIII.      CHRONIC DISEASE MANAGEMENT ......................................................................... 60

IX.        URGENT AND EMERGENT CARE .............................................................................. 69

X.         SCHEDULED OFFSITE SERVICES AND OTHER SPECIALTY CARE .................... 72

XI.        INFIRMARY CARE ........................................................................................................ 81

XII.       MEDICATION ADMINISTRATION.............................................................................. 89

XIII.      INFECTION CONTROL (NO RELIABLE SYSTEM FOR OVERSIGHT)................... 94

XIV. DENTAL PROGRAM ...................................................................................................... 98

XV.        FAILURE TO IMPLEMENT OR FOLLOW QUALITY IMPROVEMENT
           PROGRAMS................................................................................................................... 104

XVI. MORTALITY AND END-OF-LIFE CARE .................................................................. 112

XVII. NAMED PLAINTIFFS’ EXPERIENCES ...................................................................... 116

      A.     The Stern Report .......................................................................................................... 118


                                                                       ii
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 148 of 409 PageID #:13917




   B.       The Stern Report: Quality of nursing decision-making and care ................................. 119
   C.       The Stern Report: Quality of practitioner decision-making and care .......................... 120
   D.       The Stern Report: Errors and problems in continuity of care ...................................... 120
   E.       The Stern Report: Errors and problems in non-urgent episodic care ........................... 121
   F.       The Stern Report: Errors and problems in urgent and emergent episodic care............ 122
   G.       The Stern Report: Errors and problems in chronic disease management .................... 123
   H.       The Stern Report: Errors and problems in infirmary care ............................................ 124
   I.       The Stern Report: Scheduled offsite services .............................................................. 125
   J.       The Stern Report: Dental program ............................................................................... 126
   K.       The Stern Report: Errors and problems in medical records ......................................... 126
   L.       The Stern Report: Errors and problems with pharmacy and medication
            administration ............................................................................................................... 126
   M.       The Stern Report: “Capstone” stories .......................................................................... 127
   N.       The Stern Report: Other systemic conclusions reached by Dr. Stern .......................... 130

XVIII. DEFENDANTS’ KNOWLEDGE OF SYSTEMIC MEDICAL AND DENTAL CARE
       FAILURES ..................................................................................................................... 132

   A.       The John Howard Association Reports ........................................................................ 132
   B.       The 2016 Logan GIPA Report ..................................................................................... 144
   C.       The 2016 Adler Report ................................................................................................. 145

XIX. INTERNAL COMPLAINTS ABOUT SYSTEMIC MEDICAL AND DENTAL
     PROBLEMS ................................................................................................................... 146

XX.       AWARENESS OF PROVIDER INCOMPETENCE AND LACK OF WEXFORD
          OVERSIGHT .................................................................................................................. 163

XXI. FAILURE TO IMPLEMENT THE RECOMMENDATIONS DEFENDANTS
     ACCEPTED FROM THE 2014 SHANSKY REPORT .................................................. 174

XXII. FAILURE TO IMPLEMENT INITIATIVES TO IMPROVE HEALTHCARE THAT
      DEFENDANTS THEMSELVES HAVE PRIORITIZED ............................................. 185

XXIII. DEFENDANTS FAIL TO MONITOR THEIR VENDOR OR PENALIZE IT WHEN
       THEY KNOW IT FAILS TO MEET CONTRACT REQUIREMENTS ....................... 190

XXIV. PROPOSED CONCLUSIONS OF LAW ....................................................................... 203

   A.       Objective Component—Serious Medical Needs And Conditions Causing Harm ....... 204
   B.       Subjective Component—Deliberate Indifference To Serious Medical Needs And To
            Risk Of Harm Posed By Health Care Deficiencies ...................................................... 211
   C.       Conclusion.................................................................................................................... 215


                                                                    iii
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 149 of 409 PageID #:13918




I.      INTRODUCTION

        1.      The Illinois Department of Corrections (IDOC) operates 27 prisons throughout the

State of Illinois. As of August 31, 2018, these facilities housed 39,709 prisoners, of whom 2,197

were incarcerated in the two women’s prisons and the remaining 37,512 in male facilities.

        2.      This case was filed in July 2010 by Don Lippert, then a prisoner at Stateville

Correctional Center (CC), pro se and on his own behalf. [Dkt. 1.] Mr. Lippert, an insulin-dependent

diabetic, complained of the healthcare he had received in the Illinois Department of Corrections

(IDOC). [Id; Dkt. 742-1 ¶ 14.]

        3.      In October 2011, court-appointed counsel filed an amended complaint on behalf of

Mr. Lippert and a class of prisoners in the Illinois Department of Corrections (IDOC) with physical

healthcare needs. [Dkt. 39.]

        4.      The Defendants in this case are the Governor of the State of Illinois, the Director

of IDOC, and the IDOC Medical Director (sometimes also called “Chief of Health Services”), in

their official capacities.

        5.      Since 2010, the Directors or acting Directors of IDOC have been Gladyse Taylor

(Acting Director September 2010 – April 2011; June 16, 2015 – August 13, 2015); Salvador

Godinez (May 2, 2011 – March 2, 2015); Bryan Gleckler (Acting Director March 3, 2015 – March

15, 2015); Donald Stolworthy (Acting Director March 16, 2015 – June 15, 2015); and John R.

Baldwin (August 14, 2015 – present).

        6.      Since 2010, the agency Medical Directors of IDOC have been Dr. Louis Shicker

(2010 – June 2016); Dr. Michael Dempsey (acting) (June 2016 – November 2016), and Dr. Steven

Meeks (November 2016 – present).




                                                 1
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 150 of 409 PageID #:13919




       7.       In December 2013, the parties requested that the Court appoint Dr. Ronald Shansky

under Federal Rule of Evidence 706 to investigate and report on IDOC physical healthcare. 1 [Dkt.

240.] At the time, the parties had participated for several months in settlement negotiations under

the supervision of the magistrate judge, and believed that “the appointment of an independent

expert [would] facilitate a prompt resolution of the putative class claims.” [Id. ¶ 3.] Among other

qualifications, Dr. Shansky had served as the agency Medical Director for IDOC for several years

in the 1980s and 1990s. [Id. ¶ 5.]

       8.       The Agreed Order Appointing Expert provided that Dr. Shansky “will assist the

Court in determining whether the Illinois Department of Corrections . . . is providing health care

services to the offenders in its custody that meet the minimum constitutional standards of

adequacy.” [Dkt. 244 ¶ 1a.] It further provided that “[t]he Expert will investigate all relevant

components of the health care system except for [those] that relate exclusively to mental health,”

and that “[i]f systemic deficiencies in IDOC health care are identified by the Expert, he will

propose solutions for consideration by the parties and the court.” [Id.]

       9.       Dr. Shansky assembled a team of correctional healthcare experts to assist him in

this task: another physician (Dr. Karen Saylor); a nursing expert (Larry Hewitt, R.N.); and a dentist

(Karl Meyer, D.D.S.). [Dkt. 339 p. 3.] An additional physician (Dr. Joe Goldenson) assisted Dr.

Saylor with the mortality reviews. [Id. p. 5.]

       10.      Dr. Shansky and his team visited eight IDOC prisons, including three reception

centers (Northern Reception Center [NRC], which is IDOC’s main reception center; Logan CC,

the principal women’s prison; and Menard CC), three maximum-security facilities (Stateville CC;

Pontiac CC; and Menard), and one prison with a special geriatric unit (Dixon CC). [Id. pp. 3-4.]


1
 A class action on behalf of IDOC prisoners with mental health needs was already proceeding in the United
States District Court for the Central District of Illinois (Rasho v. Walker, No. 07-1298-MMM).


                                                   2
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 151 of 409 PageID #:13920




Dr. Shansky explained that his team wanted to review facilities with such “special responsibilities”

because “[i]t has been our experience that when a system is able to meet constitutional standards

at the most challenged institutions, it is very likely to meet constitutional standards at the less

challenging facilities. The converse, however, in our experience has not proven to be true.” [Id. p.

4.]

       11.     The Shansky team also visited two medium security prisons, Hill CC and Illinois

River CC, and pursued a variety of investigative strategies, which included interviews of staff and

inmates, observations of the care provided, review of system-wide policies and procedures and

comparison to actual practices, review of meeting minutes, and review of selected medical records,

including death records. [Id. pp. 5, 251, 288.]

       12.     Dr. Shansky delivered a draft report to the parties in August 2014. [Dkt. 742-1 ¶

19.] After both Plaintiffs and Defendants had submitted comments, Dr. Shansky issued the Final

Report of the Court-Appointed Expert (hereafter “Shansky Report” or “First Expert Report”) in

December 2014. [Id.; Dkt. 339.] The Shansky Report is over 400 pages long and consists of (i) an

overview of findings with respect to leadership and staffing and fifteen major services; (ii)

individual reports on each of the eight facilities visited with more detailed findings in each of these

subject areas; and (iii) the mortality reviews. [Dkt. 339.]

       13.     The Shansky Report identified a total of fifteen areas of systemic deficiency in

IDOC physical healthcare (leadership and staffing, including physician qualifications; clinic space

and sanitation; reception processing; intrasystem transfer; medical records; nursing sick call;

chronic disease management; medication administration; unscheduled (urgent/emergent) services;

scheduled offsite services; infirmaries; infection control; the dental program; mortality reviews;

and continuous quality improvement. [Dkt. 339, passim.] The overview of findings concludes:




                                                  3
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 152 of 409 PageID #:13921




        From the eight site visits, the interviews with staff and inmates, the review of
        institutional documents, the review of medical records, including death records and
        mortality reviews, we have concluded that the State of Illinois has been unable to
        meet minimal constitutional standards with regards to the adequacy of its health care
        program for the population it serves.

[Id. p. 45.] The report offers numerous recommendations as to each of the identified areas of

deficiency. [Id., passim.]

        14.     On March 31, 2015, the magistrate judge reported that the parties were unable to

reach a settlement and the settlement referral was closed. [Dkt. 309.] During the period of the

Shansky investigation and subsequent settlement negotiations, only limited discovery had taken

place. [Dkt. 297 pp. 2-3 (¶ 2(B)).] Thereafter, active discovery resumed, and Plaintiffs filed their

motion for class certification on December 8, 2015. [Dkt. 394.] The motion was fully briefed as

of April 18, 2016. [Dkt. 469.] On April 28, 2017, the Court certified a class pursuant to Fed. R.

Civ. P. 23(b)(2) of “all prisoners in the custody of the Illinois Department of Corrections with

serious medical or dental needs.” [Dkt. 534.]

        15.     In September 2017, citing inter alia the passage of time since the Shansky Report, 2

Plaintiffs moved for the reappointment of Dr. Shansky pursuant to FRE 706 to perform an update

on his 2014 investigation on medical and dental care within IDOC. [Dkt. 567.] Defendants

objected to the reappointment of Dr. Shansky. [Id. ¶ 11.] On October 25, 2017, the Court appointed

a different expert pursuant to FRE 706, Dr. Michael Puisis. [Dkt. 583; Dkt. 576-1 pp. 8-9; Dkt.

593.] Dr. Puisis was appointed over Defendants’ objection, although Defendants had initially

raised Dr. Puisis as an alternative to Dr. Shansky. [Dkt. 576-1 pp. 8-9.]




2
  Plaintiffs also asserted that Defendants had been unable to produce a properly informed Fed. R. Civ. P.
30(b)(6) witness as to what, if anything had changed in the delivery of medical and dental care within IDOC
since the issuance of the Shansky Report. [Dkt. 567 ¶¶ 4-6, 9.]


                                                    4
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 153 of 409 PageID #:13922




        16.     Like Dr. Shansky, Dr. Puisis had served as an agency Medical Director for IDOC.

[Id.]

        17.     The order appointing Dr. Puisis, entered on December 8, 2017, directed him to

“investigate the IDOC [medical and dental] care system as it currently exists and determine

whether any of the systemic deficiencies identified by the first court-appointed expert in this

matter, Dr. Ronald Shansky, and set forth in the Final Report of the Court-Appointed Expert issued

in December 2014 [ ] currently exist within IDOC.” [Dkt. 593 ¶ 1(a).] The order further directed

Dr. Puisis to report on any additional systemic deficiencies within IDOC medical or dental care

should he identify any such additional deficiencies, but to “focus primarily on the deficiencies

within IDOC health care reported in the Shansky Final Report.” [Id.]

        18.     Dr. Puisis also assembled a team of correctional healthcare experts to assist him in

this task, the members of which were entirely different from the members of the Shansky team: a

physician, Dr. Jack Raba MD; two nursing experts, Madie LaMarre MN, FNP-BC, and Catherine

Knox MN, RN, CCHP-RN; and a dentist, Jay Shulman DMD, MSPH (hereafter, the “Puisis team”

or “Second Expert team.”) [Puisis SR 3 p. 2.] The Second Expert team reviewed system-wide

documents such as Administrative Directives, policies, and other documents such as budgets,

staffing documents, quality improvement meeting minutes, and reports as well as a sample of

health records, including death records. [Id. pp. 2-3.] The Puisis team also interviewed key players

within IDOC (including Wexford personnel) and performed site visits at five of the eight prisons



3
  Throughout this document, “Puisis SR” refers to the Second Court-Appointed Expert Team’s Statewide
Summary Report Including Review of Statewide Leadership and Overview of Major Services. Other
sections of the report collection include facility-specific reports (Logan (“Puisis LOG”), Stateville (“Puisis
STA”), Dixon (“Puisis DIX”), Menard (“Puisis MEN”), Northern Reception and Classification Center
(“Puisis NRC”); Mortality Reviews (“Puisis MR”); and patient death records (“Puisis MR Patients”). These
sections are described in more detail in ¶ 16, infra. All sections were filed with the Court on November 14,
Dkt. 767.


                                                      5
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 154 of 409 PageID #:13923




previously reviewed by the Shansky team, namely the three reception centers (NRC; Logan CC;

and Menard CC), two of the three maximum-security facilities (Stateville CC and Menard), and

Dixon CC. [Id. p. 5.] The Puisis team had the option of performing site visits to the remaining

three prisons visited by the Shansky team, but concluded after visiting the five prisons listed that

further visits were not necessary, as they would not substantially change their conclusions as to

the state of medical and dental care in IDOC. [Tr. T. Puisis.]

       19.     Dr. Puisis delivered an interim report to the parties on the team’s likely conclusions

on May 8, 2018, after site visits to four prisons (NRC; Stateville; Logan; and Dixon). [Tr. T. Puisis;

Dkt. 718 ¶ 8.] As summarized by Defendants in an early June filing, Dr. Puisis reported at that

meeting that “the overall medical care provided at the IDOC facilities he visited had deteriorated

since Dr. Shanksy visited them, and that the IDOC health care system still had systemic

deficiencies.” [Dkt. 718 ¶ 9.] The draft Puisis team report was delivered to the parties for comment

on August 13, 2018. After both Plaintiffs and Defendants had submitted comments, Dr. Puisis

issued the Final Report of the Second Court-Appointed Expert (hereafter “Puisis Report” or

“Second Expert Report”) on October 15, 2018. The Puisis Report is approximately 1200 pages

long and consists of (i) a Statewide Summary Report including key findings, a review of statewide

medical operations, a statewide overview of major services, and recommendations; (ii) individual

reports on each of the five facilities visited with more detailed findings as to those prisons; and

(iii) the mortality reviews. [Dkt. 767.]

       20.     The Puisis team noted some improvements in a handful of areas (some

improvements in nursing sick call; improvements in some aspects of intake procedures and

intrasystem transfer; and modest improvements at some sites in space and sanitation). In general,

however, the Puisis team concluded that, as to the fifteen areas of systemic deficiency reported by




                                                  6
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 155 of 409 PageID #:13924




the Shansky team in 2014, IDOC healthcare was either no better or in fact worse in 2018. [Puisis

SR, passim.] The first of the Report’s “Key Findings” states:

       Overall, the health program is not significantly improved since the First Court
       Expert’s report. Based on record reviews, we found that clinical care was extremely
       poor and resulted in preventable morbidity and mortality that appeared worse than
       that uncovered by the First Court Expert.

[Puisis SR p. 9.] The Second Expert Report also criticizes certain additional areas that were not

extensively addressed by the First Expert Report (such as the organizational structure of IDOC

healthcare and its subordination to custody control), or were not found wanting by the First Expert

Report (medication administration). [Id. pp. 13-21, 79-84.]

       21.     In addition to the conditions described and expert opinions offered in the Shansky

and Puisis Reports, during the course of this case, Defendants and their healthcare contractor,

Wexford Health Sources, Inc. (“Wexford”) have produced thousands of pages of reports, manuals,

directives, and other non-email documents, and over 500,000 pages of emails. 4 Some of the

documentation collected in discovery dates back to the mid-2000s. Plaintiffs took two dozen

depositions of Defendants and Wexford, including twelve Fed.R.Civ.P. 30(b)(6) depositions.

Finally, Plaintiffs have proffered a report by correctional healthcare expert Dr. Marc Stern, the

former agency healthcare director for the State of Washington Department of Corrections, which

analyzes the medical records and care provided to the five named plaintiffs still in IDOC custody

as of summer 2018, using an analytic framework derived from the Shansky Report. [P551 5.] As a

rebuttal expert to Dr. Stern, Defendants proffered Dr. Owen Murray of Texas. Defendants offered

no expert testimony or report to rebut either the Shansky Report or the Puisis Report.



4
  At least half and maybe as many as 2/3rds of the emails are duplicates. Defendants produced more than
90% of the emails in pdf format, making de-duplication (and an accurate count of duplicates) difficult.
5
  References to Plaintiffs’ Trial Exhibits have a prefix of “P” (for Plaintiffs) and “G” (for Group).
References to Defendants’ Trial Exhibits have a prefix of D (for Defendants).


                                                  7
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 156 of 409 PageID #:13925




        22.       Among the discovery documents produced by Defendants was a report they had

commissioned as to their healthcare services, which was issued in July 2016—midway between

the 2014 Shansky Report and the 2018 Puisis Report. [P21.] This report was prepared by a branch

of the National Commission on Correctional Health Care (NCCHC) known as NCCHC Resources,

Inc. or NRI, to “assess operational policies and practices for five selected prisons within the Illinois

correctional system” and “recommend how the state may transform the system of delivering health

care to inmates . . .” [P21 p. 1.] -------------------------------------------------------------------------------

---------------------------------------------------------------------------------------------------------------------

---------------------------------------------------------------------------------------------------------------------

------------------------- [P65; P21, passim.] The NRI team performed site visits to five IDOC prisons

in April/May 2016—Menard CC; Pontiac CC; Logan CC; Stateville CC; and Dixon CC. [P21 p.

5.] The report states that the NRI reviewed health care operations at each of the five sites. [Id. p.

6.]

        23.       The principal business of NCCHC is accrediting correctional healthcare programs,

and its business model depends on receiving annual fees from accredited facilities. [Tr. T. Puisis,

Stern.] The NRI Report notes multiple “operational challenges [in IDOC] identified by the NRI

team that are having a significant impact on the ability to provide timely and constitutionally

adequate health care.” [P21 pp. 4-9.]

        24.       In addition, in 2016 and again in 2017, Defendants put out Requests for Proposal

(RFPs) for a new comprehensive healthcare contract for IDOC. [P64; P447.] Both RFPs were

withdrawn without a new contract being awarded, but the 2017 RFP was withdrawn after two

complete proposals had been submitted, one by the current vendor Wexford Health Sources, Inc.

and another by Corizon Health (a/k/a Corizon LLC), another private for-profit vendor. The two




                                                         8
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 157 of 409 PageID #:13926




RFPs and related correspondence were produced by Defendants, and Plaintiffs obtained the

responses to the 2017 RFP in discovery from Wexford and the State Procurement Office. The

purpose of Defendants in issuing the RFPs was to provide constitutional healthcare to the Illinois

prison population. [Tr. T. Taylor.]

       25.     Since May 2011, Wexford Health Sources, Inc., has been providing healthcare

personnel and services at all IDOC prisons. Prior to the 2011 contract, Wexford had a 2005 contract

to provide services at most though not all IDOC facilities, and Wexford has been providing

services to IDOC since 1992. [P172.]

       26.     The 2011 contract had a five-year initial term and could be renewed thereafter for

not more than another five years. [P18 § 1.2.] In 2016, IDOC renewed the contract for one year;

in 2017, it did the same; in 2018, it renewed the contract for a further three years, bringing it to the

end of the total possible ten-year term. Each renewal has been memorialized in a short document

which contains some limited modifications to the original 2011 contract. [P87; P114; P191.]

       27.     Wexford is privately-held, for profit corporation (a closely held corporation)

organized under the laws of the State of Pennsylvania and headquartered in Pittsburgh,

Pennsylvania. Wexford is a wholly-owned subsidiary of The Bantry Group, also a closely-held,

for-profit corporation organized under the laws of the State of Florida.

       28.     Throughout IDOC, as of 2018, Wexford provides some 65% of the healthcare

workers; the remaining 35% are state employees.

       29.     The state “side” of the system is headed up by the agency Medical Director or Chief

of Health Services (currently Dr. Meeks). Three “regional” medical coordinators (one each for the

northern, central, and southern regions of Illinois) and an agency medical coordinator report to Dr.




                                                   9
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 158 of 409 PageID #:13927




Meeks; none of these is a physician. Each prison also has a Health Care Unit Administrator

(HCUA) who is a state employee.

       30.     Currently, dialysis services are provided at three facilities by NaphCare. University

of Illinois at Chicago provides laboratory services statewide and statewide management of HIV

and hepatitis C patients with anti-viral medication via telemedicine. Wexford Health Sources

provides the remaining medical, dental, vision, and pharmacy services. [Puisis SR p. 13.]

       31.     On the Wexford “side,” by contract, Wexford is supposed to provide each prison

with a physician “Medical Director.” Some prisons also have staff physicians as well; most of

these are also Wexford employees, as are the vast majority of the dentists, physician assistants,

nurse practitioners, and Directors of Nursing (DONs) throughout IDOC. The remaining healthcare

employees—RNs, LPNs, physical therapists, dental hygienists, radiology technicians, and

others—may be either Wexford or state employees. In 2017, Defendants determined to reorganize

RN staffing so that either Wexford RNs or state RNs would be clustered at any given prison (rather

than having a combination of the two). Nevertheless, healthcare personnel at each of the IDOC

prisons remains composed of both state and Wexford employees.

       32.     Wexford is solely responsible for discipline and termination of its employees. No

state employee, including the IDOC Director or the agency Medical Director, can fire or direct the

firing of a Wexford employee.

       33.     Each IDOC prison provides basic healthcare services. Theoretically, each prison

has at least one physician on site, as well as nursing staff, dental staff, and other medical support

staff. Samples for basic screenings (blood, urine, etc.) are taken at each prison and sent off-site for

analysis; most prisons also have medical x-ray equipment (the x-rays are also sent for off-site

reading). Basic dental services (x-rays, extractions) are also provided on site, although some




                                                  10
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 159 of 409 PageID #:13928




prisons do not have dental hygienists and thus do not provide routine cleanings to their population.

Access to medical services is provided via nurse “sick call,” for which prisoners are typically

charged a $5 “co-pay.” Prisoners with certain “chronic” healthcare problems especially prevalent

among prison populations—Hepatitis C, diabetes, asthma/COPD, hypertension/cardiac, and

HIV/AIDS—are enrolled in “chronic clinics” and seen at regular intervals. All IDOC prisons also

contain an infirmary. The “intake” centers (reception and classification centers) also perform initial

healthcare screenings of each prisoner entering IDOC. All prisoners are supposed to receive a

periodic physical examination (every five years for those under30, every three years for those

under 40, every two years for those 40 or older), as well as a dental check-up every two years.

[P251 § II(F)(1)(b); P252 § II(F)(3)(a).] Some prisons also provide dialysis services.

        34.     Emergency treatment, hospitalization, specialty consultations, and all but the

simplest surgical procedures must be obtained outside IDOC. IDOC has an agreement with the

University of Illinois medical center (UIC) for UIC to provide a certain amount of free care to

IDOC in the form of 216 inpatient hospital admissions and 2160 outpatient visits each year. Only

prisoners from Stateville CC/NRC, Dixon CC, Pontiac CC, and Sheridan CC may participate in

this program.

        35.     Under the Wexford contract, Wexford is responsible for the cost of all outside

consultations and services, including hospital services, 6 with the following exceptions: (i) it is not

responsible for the costs of UIC consultations or admissions up to the “free” care threshold of 216

inpatient hospital admissions and 2160 outpatient visits; and (b) it is only responsible for the costs

of all other outside consultations and services if, on an annual basis, they exceed a certain threshold



6
  Wexford must “[p]rocess and pay claims for all: (a) inpatient hospital services; (b) outpatient hospital
services; (c) hospital emergency room care services; and (d) non-institutional provider services. [P18 §
2.2.1.5.]


                                                   11
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 160 of 409 PageID #:13929




set out in the contract, the “Annual Hospitalization Utilization Threshold.” [P18, §§ 2.2.3.7; 3.1.2;

3.1.2.1.] The Annual Hospitalization Utilization Threshold is a relatively low amount—in contract

year 1 (2011), it was $5,855,442; in contract year 10 (2021), it will be $7,552,971. [Id., §§ 3.1.2.1;

3.3.] Assuming 40,000 prisoners in IDOC custody, in contract year 8 (2018), the set amount

($7,264,237) comes to a little over $180 per prisoner. Costs assessed against the threshold are

based on the “billed rate” and not on the (lower) rate that the State actually pays.

        36.     Wexford’s principal obligation under the 2011 contract is to provide staff. A

substantial part of the contract consists of staffing schedules and “Schedule Es,” which are

schedules for each prison of the types of staff positions Wexford is to fill, how many hours of

service as to each of these positions Wexford is to fill on a weekly basis, the hourly rate to be paid

by IDOC as to each of these positions, and the days and times during the week during which the

services are to be provided. 7 Over time, these schedules have been modified by ASRs (adjusted

service requests) and by provisions in the contract renewals. Wexford is also responsible for

purchasing healthcare supplies and equipment, subject to reimbursement by IDOC.

        37.     During the period of the 2011 contract, Wexford has never provided all of the staff

it is supposed to provide per the contract. During the period from January 2017 to April 2018, for

instance, the “fill rate” (the percentage of staff hours Wexford is obliged to provide under the

current staffing obligations), was never higher than 88.2% and dropped as low as 79.7%. [P363.]

In April 2018 it stood at 81%. [Id.]

        38.     Wexford’s other principal responsibilities under the contract are to comply with

IDOC Administrative Directives; to maintain proper records and treatment plans; to pay

subcontractors on time; and to provide reports as requested by IDOC.


7
 E.g., the schedules may provide that there is to be a physician assistant/nurse practitioner Monday-Friday,
8am-4pm, at a particular prison, for which IDOC will pay Wexford $[x] per hour.


                                                    12
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 161 of 409 PageID #:13930




       39.      Certain aspects of Wexford’s performance are tracked by IDOC on a facility-by-

facility basis in a “monthly contract monitoring” report. As described in the Puisis Report:

      The HCUA is the only IDOC staff that is specifically assigned for formal contract
      monitoring. HCUAs are provided a spreadsheet to use for this purpose. There are
      five performance targets that are assessed. The performance targets are:

       •     Whether all hours in the contract are fulfilled
       •     Whether all bills have been paid timely
       •     Whether there has been any Court finding of deliberate indifference
       •     Whether administrative directives have been complied with
       •     Whether Wexford met provisions of the contract.

[Puisis SR p. 17.] There is no review of clinical care included in this reporting. [Id.] For many

years, these reports have found that Wexford has failed to provide IDOC with the personnel

required under the contract.

       40.      Both the NRI Report (the IDOC-commissioned study) and the Puisis Report note

basic problems with the overall organizational structure of the IDOC healthcare system. The NRI

report states, “[e]ffective management of a system with many complexities starts with good

leadership. . .” [P21 at 000007.] It notes as among the “operational challenges identified by the

NRI team that are having a significant impact on the ability to provide timely and constitutionally

adequate health care”:

             1. Lines of authority that appear neither well-delineated nor effective

        . . . A variety of factors contribute to the lack of effective oversight and
        accountability within each facility:

                a) State employees attempting to monitor and supervise vendor employees
                   without direct line authority to counsel or discipline

                b) Vendor site managers focusing solely on vendor employees . . .

        The flawed lines of authority significantly contribute to the operational
        inconsistencies, lack of accountability, and ineffective oversight . . .

             2. Unclear method for staffing of state and vendor personnel


                                                13
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 162 of 409 PageID #:13931




         This unusual staffing plan is difficult to cleanly and clearly define; it presents many
         gaps in communication and functions, starting at the top levels of administration
         and running down the staffing levels. . .

         It is not considered best practice to have multiple levels of internal management
         among key players, such as mental health directors and health care managers. In
         the current structure, the medical and dental staff report to the health care unit
         administrator (HCUA), who then reports to the assistant warden of programs . . .
         This assistant warden thus takes on the role of spokesperson for the clinical areas
         of the operation. Assistant wardens generally lack appropriate clinical or health care
         experience or education. . . .

[P21 at 000008.] The Puisis Report states:

        Currently, the IDOC medical program table of organization is not organized on a
        medical model. Governance of the IDOC medical program is subordinated to
        custody leadership on a statewide level and at the facility level. The health
        authority8 is the Chief of Programs and Support Services, and is an ex-warden. . .

[Puisis SR p. 13.]

        The Wexford staff are supervised by Wexford employees who are not under
        supervision of the HCUA. . .

[Id. p. 15.]

        41.     Prisoners have a higher incidence of health needs than the general population.

        42.     The Bureau of Justice Statistics of the U.S. Department of Justice reports that

almost half of state and federal prisoners and jail inmates have had a chronic medical condition,

compared to 31% of the general population. [P501 at 3 (Table 1).] 9 Over 30% of prisoners had

high blood pressure/hypertension; almost 10% had heart-related problems; and almost 15% had

asthma. [Id.] Over 24% of prisoners had multiple chronic conditions. [Id. at 8 (Table 4).]




8
  [Footnote in original:] A health authority is a person responsible for health care services. This person
arranges for all levels of health care and ensures that all levels of service are provided, and that care is
accessible, timely, and of good quality.
9
  “Chronic conditions” include cancer, high blood pressure, stroke-related problems, diabetes, heart-related
problems, kidney-related problems, arthritis, asthma, and cirrhosis of the liver. [P501 at 1.]


                                                    14
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 163 of 409 PageID #:13932




       43.     While 4.8% of the general population reported having had an infectious disease,

21% of prisoners reported having had one. [Id. at 3 (Table 1).] Incidences of tuberculosis or

hepatitis B or C respectively were some 10 and 15 times higher among prisoners than in the general

population. [Id.]

       44.     As of IDOC’s most recent annual report, for fiscal year 2017, 56% of prisoners

were African-American, compared to 14.6% of the general population of Illinois based on U.S.

Census data.

       45.     1% of IDOC prisoners were college graduates. 1% had completed only sixth grade.

39% had not completed high school.

       46.     An October 2017 report from the Pew Charitable Trusts on state prison health care

across the country reported that the State of Illinois ranks in the bottom tier of states in the amount

it spends on prison health care (both medical and mental health care). In FY 2015, Illinois spent

$3,619 per prisoner on health care; the 49-state median (49 states had supplied data) was $5,720.

The highest-spending state was California, at $19,796 per prisoner. [P19 p. 8 (Figure 2).]

       47.     Illinois has one of the most crowded prison systems in the United States.

II.    STAFFING, VACANCIES AND LEADERSHIP

       A.      Summary and Background

       48.     The systemic deficiencies of IDOC physical healthcare start at the most basic level:

the number of people available to provide medical and dental care. Illinois also ranks in the bottom

tier of states in the number of healthcare positions per prisoner. This is coupled with chronic, long-

standing vacancies in healthcare positions, including critical health leadership positions, as

catalogued by the First and Second Experts, the IDOC-commissioned NRI Report, and

Defendants’ own internal documents. Administrative demands placed by the vendor Wexford on




                                                  15
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 164 of 409 PageID #:13933




its employees further reduce the number of worker hours available to meet prisoner healthcare

needs. Defendants have performed no analysis to determine how many staff they actually need to

provide care for their prisoner population.

       49.     Even fully staffed, IDOC would have fewer prison healthcare workers than most

other states in the U.S. The October 2017 report from the Pew Charitable Trusts on state prison

health care reported that, of the 43 states that submitted usable data, in FY 2015 Illinois ranked

second-to-last among the states in the number of health professional FTEs (full time equivalents)

per 1,000. At 19.1 FTEs per 1000 prisoners, Illinois barely outranked Oklahoma, at 18.6, and was

far below the 43-state median of 40.1 FTEs per 1000. [P19 pp. 101-02, Table C.7.]

       50.     Although IDOC has added mental health staff positions since FY 2015, the number

of physical healthcare staff positions has remained (virtually) unchanged. [P18 at 000381-409

(Schedule Es/Annual Hours); P179 (Schedule Es/Annual Hours).] The Second Court-Appointed

Expert reported that, even with the population decline in IDOC between 2015 and 2018, Illinois

would still rank in the bottom 10 states in its number of healthcare staff per prisoner. [Puisis SR p.

28 n. 61.]

       B.      Vacancies

       51.     IDOC’s low per capita healthcare staff numbers are coupled a long history of

vacancies in existing positions. Internal documents reflect that Wexford was hired in part to help

solve IDOC’s staffing problems, but Wexford has not solved the problem. [P468.]

       52.     In 2014, the First Expert singled out vacancies as a critical issue affecting access to

medical and dental care in IDOC. One of the first recommendations of the Shansky Report was

that “IDOC . . .develop and implement a plan which addresses facility-specific critical staffing




                                                 16
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 165 of 409 PageID #:13934




needs by number and key positions and a process to expedite hiring of staff when the critical level

has been breached.” [Dkt. 339 p. 10.]

       53.     In 2016, the IDOC-commissioned NRI Report also concluded that, among the

multiple IDOC “operational challenges . . . that are having a significant impact on the ability to

provide timely and constitutionally adequate health care” were “[n]umerous staff vacancies and

leaves of absence.” [P21 p. 9.]

       54.     In 2018, the Puisis Report states:

       . . . [V]acancy rates were higher than noted in the First Court Expert’s report. Staff
       vacancy rates are very high.

[Puisis SR p. 9; emphasis added.]

       55.     The Second Expert Report calculated that “Wexford has an 18% vacancy rate for

its 718.6 employees and IDOC had a 29% vacancy rate for its 401 employees. These are very high

vacancy rates and compound a very low staffing level, making staffing a critical problem

statewide. This was confirmed by HCUAs at sites we visited.” [Id. p. 28.] Further:

       We compared facility staffing for mutually visited facilities. In 2014, the First Court
       Expert determined that for the five facilities we visited there were 303.41 budgeted
       positions, an 18% vacancy rate, and 25 staff per 1000 inmates.

                                               ****

       For the same five sites we visited, there were 405.05 budgeted positions. There were
       99 vacancies. This is a very large vacancy rate which makes it difficult to effectively
       operate a health program. Four of the five facilities we visited had unacceptable
       vacancy rates. We note several key differences in the staffing differences between
       2014 and 2018. The population in the five facilities we reviewed decreased by 2177
       (18%). The number of positions increased by 101.64 (33%). The staff per 1000
       inmates increased by 16 (64%). But the vacancy rate increased by from 18% to
       23.5%, a 30% increase.

[Id. pp. 28-29.]

       56.     The Puisis team found that nursing shortages are especially high:




                                                 17
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 166 of 409 PageID #:13935




       Four of five facilities we visited had significant vacancy rates, as high as 42%, which
       are mostly nursing staff. Almost every HCUA told us that there were insufficient
       nursing staff. This was confirmed in the deposition of the Agency Medical
       Coordinator, who noted that over the past several years there have been nursing
       shortages at SCC, Pontiac, Decatur, Graham, Southwestern, and MCC. 10

[Id. p. 29.]

        57.     IDOC internal documents have been reporting vacancies for years. Until recently,

Defendants’ data collection methods have made it difficult to assemble a system-wide overview

of vacancies. Information collected at the facility level was not aggregated into a system-wide

report, and state and Wexford vacancies were—and still are—reported separately. However, based

upon the facility-level contract monitoring reports, which catalog Wexford vacancies, certain long-

running vacancies can be tracked as far back as 2005 for the eight prisons visited in 2014 by the

Shansky team and Big Muddy River CC. 11 [G159, passim.]

        58.     On July 7, 2005, a physician position at Pontiac became vacant. On September 1,

2006, the Medical Director position at Hill became vacant, followed by the Medical Records

Director position on December 1.

        59.     On June 27, 2007, the Nursing Supervisor position at Pontiac was vacated. It was

filled again on August 31, after being open for sixty-five days. On July 1, an LPN position, and

office coordinator position, the Nursing Supervisor position, and the Director of Nursing positions

at Menard all became vacant. On July 27, a PA/NP position at Hill was also vacated.

        60.     On January 1, 2008, an LPN position at Hill became vacant. On March 31, the

Medical Director vacancy was filled after 577 days. The position was vacated again on October 7.

On April 18, the Director of Nursing position became vacant. It was filled on June 30, after a



10
  [Footnote in original:] Deposition of Kim Hugo, Agency Medical Coordinator pp. 25-31, April 11, 2018.
11
  Defendants did not produce complete, system-wide sets of contract monitoring reports to Plaintiffs except
for certain (not all) months in 2017.


                                                    18
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 167 of 409 PageID #:13936




seventy-three-day vacancy, but it was vacated again on September 1. On April 24, the Medical

Records Director vacancy was filled after being open for 510 days. It was also vacated a second

time on June 20, after being filled for only fifty-six days.

       61.     On January 4, the Nursing Supervisor position at Pontiac became vacant again,

after being filled for three months. On May 8, an RN position was also vacated, followed by the

Director of Nursing position on June 28.

       62.     On October 1, the Medical Director position at Menard became vacant. It remained

vacant for sixty days before being filled on November 20.

       63.     On January 1, 2009, The Medical position at Menard was vacated again. It was

filled on September 30 after 272 days. On May 31, the Director of Nursing position was also filled

after a 700-day vacancy which started in July, 2007.

       64.     On January 8, the Director of Nursing position at Pontiac was filled after a 129-day

vacancy. The vacant NP/PA position was also filled on April 1 after a 614-day vacancy. The

Medical Director position was filled on June 22, after a 367-day vacancy. The vacant LPN position

was filled on September 30, after 638 days. The Medical Director position was filled the same day,

after a 358-day vacancy.

       65.     On March 30, the Nursing Supervisor vacancy at Pontiac was filled after being

open for 451 days, but the position was vacated again on July 10. On May 31, the Director of

Nursing vacancy was also filled after 337 days. On June 6, a PA/NP position became vacant. A

dental hygienist position also became vacant on December 1. It was filled on December 31.

       66.     On January 1, 2010, the Medical Director position at Menard was vacated after

being filled for only three months. It was filled again on January 31, was vacated a second time on

September 1, and was filled again on September 31. On September 1, a dental hygienist position




                                                  19
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 168 of 409 PageID #:13937




and the Director of Nursing position also became vacant. The dental hygienist position was filled

on December 31 after 121 days.

       67.     On June 1, the Director of Nursing position at Pontiac was vacated after being filled

for just over a year. It was filled again on July 1. The position was vacated two more times in 2010,

on September 1 and November 1, and remained open for a month each time. The vacant PA/NP

position was filled on August 31 after a 451-day vacancy. The Nursing Supervisor vacancy was

also filled on November 30 after 508 days.

       68.     On January 1, 2011, a PA/NP position was again vacated. It was filled on January

31. On August 1, the Medical Records Director position, Nursing Supervisor position, and a dentist

position were all vacated. The Medical Records Director vacancy was filled on August 31, the

Nursing Supervisor position was filled on November 30 after a 121-day vacancy, and the dentist

positon was filled on December 31 after a 152-day vacancy.

       69.     On May 1, the physical therapist position at Dixon was vacated. On May 15, a staff

assistant position was vacated. The physical therapist position at Big Muddy was also vacated on

May 15.

       70.     On May 31, the Director of Nursing, Nursing Supervisor, and vacant LPN and

office coordinator positions at Menard were filled. The Director of Nursing position had been

vacant for 272 days. The Nursing Supervisor, LPN, and office coordinator positions had been

vacant for 1430 days, since May, 2007. On December 1, the Medical Director position and a dentist

position were both vacated.

       71.     On January 1, 2012, an RN position at Menard became vacant. It was filled on

January 31. On the same day, the vacant dentist position was filled after being vacant for sixty-

one days. On September 1, a PA/NP position was vacated. It was filled on November 30 after a




                                                 20
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 169 of 409 PageID #:13938




ninety-day vacancy. On October 1, a dentist position became vacant again. It was filled on October

31. On November 30, the Medical Director position was filled after being vacant for a year to the

day.

       72.     On November 1, both the Medical Records Director and Nursing Supervisor

positions at Pontiac became vacant. Both were filled on November 30.

       73.     On January 31, 2013, the vacant staff assistant position at Dixon was filled after

being open for 627 days, since May, 2011. On April 14, the Nursing Supervisor position at

Stateville became vacant. On April 16, the optometrist position and a dental assistant position at

the same facility were also vacated.

       74.     On January 1, 2014, an RN position at Stateville became vacant. On March 31, the

vacant optometrist and Nursing Supervisor positions were both filled after being open for 349 days

and 351 days respectively. On July 13, the Medical Director position was vacated. On December

15, a dentist position was also vacated.

       75.     On March 18 the physical therapist assistant position at Big Muddy became vacant.

It was filled on May 31, seventy-four days later. The physical therapist position was filled on the

same day. It had been vacant for 1141 days, since May, 2011. On August 14, the Director of

Nursing position was vacated.

       76.     On March 27, the Nursing Supervisor position at Pontiac became vacant. The

recreational therapist position also became vacant on November 5. On September 1, both the

recreational therapist position and the staff assistant position at Dixon became vacant.

       77.     On September 9, a physician position at Menard was vacated. On October 31, the

vacant physical therapist position and physical therapist assistant position were both filled. Both

positions had been vacant since 1998. However, two more vacancies for a physical therapist and




                                                21
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 170 of 409 PageID #:13939




physical therapist assistant opened up the very next day. An RN position also became vacant on

December 12.

       78.     On January 30, 2015, the Director of Nursing vacancy at Big Muddy was filled

after 170 days. On July 1, the position was again vacated. It was filled for the second time on

August 31.

       79.     On February 10, an RN position at Hill became vacant. It was filled on May 31

after being open for 110 days. An LPN position also became vacant on February 15 and was filled

on April 30 after seventy-four days. On June 30, a PA/NP position was again vacated, followed

by an RN position on September 15. On November 1, the Director of Nursing, physical therapist,

and physical therapist assistant positions were all vacated.

       80.     On February 23, the Medical Records Director position at Pontiac became vacant.

It was filled on July 31 after 158 days. On the same day, the Nursing Supervisor position was filled

after a 491-day vacancy. On December 14, an LPN position became vacant.

       81.     On March 15, the Medical Director position at Dixon was vacated. It was filled on

June 30 after being empty for 107 days. On May 31, a CNA position became vacant. It was filled

on Jun 30. On July 21, a PA/NP position as vacated and was filled on November 30. The physical

therapist vacancy was filled on the same day after being vacant for 1674 days, since May, 2011.

       82.     On April 15, an LPN position at Stateville was vacated. On July 30, the Medical

Records Director position also became vacant. On September 30, the dental assistant vacancy was

filled, followed by the dentist vacancy on November 30. The positions had been vacant for 897

days and 350 days respectively.

       83.     On May 1, a PA/NP position at Menard became vacant. It was filled on July 31. On

May 31, the RN vacancy was also filled after being open for 170 days. On August 31, an RN




                                                 22
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 171 of 409 PageID #:13940




position again became vacant. It was filled ninety-one days later on November 30. The optometrist

position was vacated on December 16.

       84.     On January 1, 2016, a CNA position at Stateville became vacant. A second CNA

position was vacated on May 1. One of the positions was filled on July 31. On June 11, the

optometrist position became vacant. It was filled on October 30 after being open for 141 days. On

June 30, the vacant LPN position and Medical Records Director positions were filled after being

open for 442 days and 336 days respectively. However, another LPN vacancy opened up on

November 1.

       85.     On February 28, an RN position at Dixon was vacated, followed by the optometrist

position on May 6, the Nursing Supervisor position on June 4, and an LPN position on June 30.

On July 31, the recreational therapist position and a staff assistant position, which had both been

vacant for 699 days, since September, 2014, were filled. Those positions both became vacant again

two months later on September 30. A physician position was also vacated that day.

       86.     On March 31, the optometrist position at Menard was filled after being open for

106 days. On May 1, the Medical Records Director position and a staff assistant position were

both vacated. They were filled again ninety-one days later, on July 31. On November 1, a PA/NP

position became vacant. On December 31, the physical therapist assistant vacancy was filled. It

had been open for 791 days, since November, 2014.

       87.     On April 1, an LPN position was vacated at Big Muddy. It was filled on November

30 after 243 days. On November 14, an RN position became vacant.

       88.     On April 30, the vacant LPN position and recreational therapist position at Pontiac

were filled after vacancies of 138 days and 542 days respectively. However, the recreational

therapist position was vacated again a month later, on May 30. The Director of Nursing position




                                                23
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 172 of 409 PageID #:13941




was also vacated the same day. Two LPN positions became vacant on July 13 and August 1. One

of them was filled on September 30. A CNA position was also vacated on December 1.

       89.     On May 30, the vacant LPN position at Hill was filled after a 211-day vacancy.

However, another LPN position opened up the very next day.

       90.     On January 1, 2017, an LPN position at Big Muddy was vacated. It was filled again

on January 31. The Director of Nursing position became vacant on June 15 and was filled on July

31. The vacant RN position, which had been open for 228 days, was filled June 30.

       91.     On January 1, the Director of Nursing position at Hill also became vacant. It was

filled on May 31 after a 150-day vacancy. On July 16, a radiology tech position was vacated. It

was filled on December 31 after a vacancy of 168 days. The physical therapist vacancy, which had

been open for 699 days, since November, 2015, was filled on September 30. On December 31, the

vacant LPN, PA/NP, physical therapist assistant, and RN positions were filled after vacancies of

579, 915, 791, and 838 days respectively.

       92.     On January 1, the optometrist position at Pontiac was vacated. It was filled again

on February 1. On the same day, a physician position, which had been vacant for 4227, since July,

2005, was filled. On February 28, the CNA vacancy was filled after being open for 89 days, the

recreational therapist vacancy was filled after 274 days, and the Director of Nursing vacancy was

also filled after 274 days. On May 1, the recreational therapist position was vacated again. It was

filled for a second time on December 31, this time after a 244-day vacancy. On August 31, an RN

position that had been vacant since May, 2008 was filled after 3402 days. On December 31, the

vacant LPN position was also filled after 536 days.

       93.     On February 28, an LPN position at Menard was vacated, followed by a physical

therapist assistant position on March 1, and the Medical Director position on March 16. The




                                                24
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 173 of 409 PageID #:13942




physical therapist assistant position was filled on March 31, as was a PA/NP vacancy that had been

open for 150 days. The Medical Director position was filled August 31 after 168 days. The LPN

position was filled September 30 after 214 days. Additionally, the physical therapist position

vacated in November, 2014 was filled on July 31 after 1003 days, and the physician vacancy,

which had been open since September, 2014, was filled after 1124 days.

       94.     On February 28, the vacant staff assistant position was Dixon was filled after a 151-

day vacancy. The optometrist position was filled the same day after a vacancy of 298 days. On

May 12, the Medical Director position became vacant. It was filled again on July 31 after eighty

days. It was vacated a second time on September 1, only a month later, and filled again on

September 30. The radiology tech position, which had been vacant 575 days since February, 2016,

was filled on August 31. On December 31, the vacant LPN, physician, recreational therapist and

Nursing Supervisor positions were filled after vacancies of 549 days, 479 days, 457 days, and 575

days respectively.

       95.     On April 1, the Medical Records Director position at Stateville was vacated. It was

filled on April 30, vacated again on June 1, filled a second time on June 30, vacated again on

August 1, and filled a third time on August 31. A pharmacy tech position became vacant on July

31 and was filled on November 30 after a 122-day vacancy. A CNA position became vacant on

December 1, as did the Nursing Supervisor position. Both positions were filled on December 31,

along with a second vacant CNA position, which had been open 730 days, an LPN position, which

had been open for 425 days, and RN position, which had been open for 1460 days, and the Medical

Director position, which had been open for 1267 days, since July, 2014.

       96.     Staffing shortages significantly impede the delivery of medical and dental services

within IDOC.




                                                25
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 174 of 409 PageID #:13943




        97.     The Second Expert Report provides examples of the problems faced at particular

sites. At Dixon CC, it reports:

       There are 93.8 health care employees. There are 19 (20%) vacancies. Three staff are
       on long-term leave of absence. If these are added to the vacancies, the effective
       vacancy rate is 23%. This is a significant vacancy rate and contributes to an
       inadequate program. More than half of the state vacancies (52%) are RN positions.
       There are more RN vacancies now than there were in 2014 . . .

       . . . The infirmary unit is understaffed with nurses and nursing assistants. The
       geriatric unit on the third floor has people who should be on the infirmary and require
       a higher level of nursing care than is now being provided. These units attract elderly
       patients from all IDOC facilities, yet these units have insufficient staff to provide
       care at a necessary level based on our review of services on that unit. Inmates provide
       considerable assistance on these units. Services that require health trained personnel
       are either not provided or are provided at a level inadequate for the designed purpose
       of these units.

[Puisis DIX p. 9.] At Stateville CC, the Puisis Report observes:

       All three key leaders believe that staffing shortages are their number one problem.
       All staff at SCC can be shared with NRC. The amount of time SCC staff work at
       NRC is determined on an ad hoc basis by negotiation and discussion between the
       NRC and SCC HCUAs. 12 Based on a discussion with the HCUA, the staffing at SCC
       includes 98 positions with 24 (24%) vacant positions and nine on leave of absence
       or injured. The effective vacancies total 33 (34%). This extraordinarily high vacancy
       rate is made worse by having to share staff with NRC, which results in prioritizing
       assignments to avoid crises as opposed to ensuring that all needed work is done. . .

[Puisis STA p. 8.]

        98.     Two different IDOC data sets—one showing Wexford vacancies, the other showing

state vacancies—from June 2018 show system-wide vacancy rates even higher than those reported

in the Second Expert Report.



12
  Back in 2014, the First Expert team had described problems caused by the shared staff between these two
large IDOC facilities. Because Stateville and NRC are considered a single facility for staffing purposes,
they share a nursing staff, who are shuttled between the two facilities. Stateville nurses are sent to NRC to
assist with intake and to fill in for nurses who call in sick. “As a result, Stateville is chronically out of
compliance with established policy for the timely completion of sick call, periodic physical examinations,
chronic illness clinics and timely administration of medication.” [Dkt. 339 p. 52.] In 2014 as in 2018, the
nursing vacancy rate was also very high.


                                                     26
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 175 of 409 PageID #:13944




       99.      On June 18, 2018, IDOC reported that, of 759 positions currently required of

Wexford under the contract (including Amended Service Requests [ASRs]), 122 were vacant—16

percent. When employees on leaves of absence were added (30), the percentage of staff required

by the contract but not on site rose to 20 percent, or one-fifth of the contractually-required

workforce. [P248 (provided to Dr. Puisis).] 13

       100.     In the same month (June 2018) IDOC also reported that, of some 414 State

healthcare positions, 118 were vacant, and 28 others were held by employees on some form of

leave. Thus some 28 percent of State positions were vacant, and with leaves of absence, the total

percentage of State-provided workers not actually on site to provide healthcare or healthcare unit

services was close to one-third of the total. 14

       C.       Leadership Vacancies

       101.     In 2014, the First Expert team found that “[l]eadership is a problem at virtually all

the facilities we visited.” The reported leadership issues included many vacant leadership

positions. [Dkt. 339 p. 6.]

       102.     “Without a strong and effective leadership team,” the Shansky Report stated, “a

program is much less able to identify the causes of systemic problems and to effectively address

those problems by implementing appropriate targeted improvement strategies.” [Dkt. 339, pp. 5-

6.]




13
   Without rounding, the numbers were: 758.767; 121.593; 30.15. These counts exclude the Elgin Treatment
Facility (also reported in the document) and “Travelling Medical Directors.”
14
   These counts exclude positions dedicated solely to mental health services. [The Wexford and State
numbers from these documents cannot be aggregated to illustrate the total number of medical and dental
care workers missing from the system because the contractually-required Wexford employees include a
substantial number of mental health workers, and these were not separately identified on the June 18 data
run.]


                                                   27
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 176 of 409 PageID #:13945




        103.     Defendants have been and are unable to maintain complete leadership teams at their

critical institutions.

        104.     From July 1, 2015 to November 26, 2017, for example, there were (in total) 5,089

days during which a total of 19 IDOC prisons had no permanent Medical Director (although the

Wexford contract requires a Wexford-supplied Medical Director at every prison). [P246.]

        105.     Danville CC had no permanent Medical Director for 425 days during this period;

Hill CC was without a permanent Medical Director for 510 days; Lawrence CC lacked one for 482

days; Southwestern CC for 753 days; and NRC—the major IDOC intake center—for 348 days.

These are some—but not all—of the longest gaps in permanent Medical Director coverage during

the 29-month period between July 2015 and late November 2017. [Id.] Since there are 27 facilities

total in the IDOC prison system, this also means that 70 percent of the prisons lacked permanent

Medical Directors for at least some period during these 29 months. [Id.]

        106.     At the time of the Puisis team investigation in 2018, they found that, “[o]f the 26

Medical Directors statewide, 8.5 (33%) are vacant. This is an enormous vacancy rate for this key

leadership position.” [Puisis SR p. 20; emphasis added.] Further, “Of the 78 leadership positions

(Medical Director, DON, and HCUA) at the 26 facilities, 16.5 (21%) are vacant. . .” [Id. p. 21.]

        107.     Overall, the Puisis team found that, compared to 2014, “physician leadership” at

the five facilities visited “is worse.” [Id. p. 12.] The Second Expert Report observes that “Physician

staffing in IDOC is very poor. The Vice President of Operations for Wexford could not remember

the last time there was a full physician staff. . .” [Id. p. 26.]

        108.     Between July 1, 2015 and November 26, 2017, on twenty-two (22) percent of the

total days during which Wexford was to supply permanent Medical Directors, there were no




                                                    28
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 177 of 409 PageID #:13946




permanent Medical Directors in place; the Second Expert team deemed this “an unacceptable

vacancy rate.” [Id.; P246.]

       109.    In addition to vacancies of Medical Directors, the Second Expert team noted that

all five facilities they had visited were also missing a staff physician. [Puisis SR p. 27.]

       110.    The Second Expert team was also critical of Wexford’s partial solution to physician

vacancies, the “Travelling Medical Directors”:

       Because of vacancies, physicians are moved from site to site as “Traveling Medical
       Directors.” One of the facilities we investigated, NRC, had a Traveling Medical
       Director. This individual did not participate meaningfully in quality improvement,
       did not show any evidence of oversight of the medical program, and had clinical
       issues.

[Id. pp. 26-27.]

       111.    In 2018 as in 2014, the Court-appointed experts found that vacancies in some

leadership positions put additional burdens on the staff in positions that are filled; staff are

overworked and spread thin.

       112.    Stateville CC provided one set of examples. In 2014, the Shansky team found a

leadership vacuum at Stateville CC exacerbating “overwhelming access problems” and stemming

in part from the fact that Stateville and NRC shared a single Health Care Unit Administrator

(HCUA) who was also “chronically absent and takes extended Leaves of Absence.” [Dkt. 339 p.

53.] The resulting leadership vacuum contributed to the “underdevelopment of the Stateville health

care program” and the “fail[ure] to identify or develop a strategy that address the overwhelming

access problems” at the institution. [Id.]

       113.    In 2018, the Puisis team found that, although the Shansky recommendation that

Stateville have a dedicated HCUA had been implemented, that “improvement is negated by the




                                                  29
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 178 of 409 PageID #:13947




lack of a Medical Director . . .” [Puisis STA p. 6.] The Medical Director had died; was then

replaced by the NRC Medical Director, who then resigned. [Id. pp. 6-7.] In addition:

       Nursing supervision is significantly deficient. There are two nurse supervisor
       positions. One supervisor is on leave of absence and the other recently left service,
       making both positions effectively vacant. . . [T]here is no evening or night
       supervision. Having staff work without supervision is not an acceptable situation. .
       .

[Puisis STA p. 7; emphasis added.]

       114.     At Dixon CC, in the view of the Second Expert team, leadership vacancies had

unquestionably caused harm:

       The frequent changes and lack of primary care trained physicians appears to have
       continued since the First Court Expert’s report. . . . [The] lack of qualified physicians
       has resulted in a significant absence of quality of medical leadership and physician
       coverage. Based on chart reviews and death reviews we performed, we identified
       preventable morbidity and mortality, which will be described later in this report. The
       lack of adequate and qualified physician coverage is causing harm and is the single
       most important factor in preventable morbidity and mortality in our opinion.

[Puisis DIX pp. 8.]

       115.     Finally, by 2018, the gaps in leadership noted by the Shansky team at the facility

level had spread to the Office of Health Services as well. The Puisis Report states:

       Two of three of the Regional Coordinator positions are currently vacant and filled
       on an acting basis by HCUAs who are still responsible for managing their facility.
       While an HCUA filling in as a Regional Coordinator on short-term basis is
       reasonable, longer than 60-90 days is likely to result in reduced effectiveness at the
       HCUA’s home facility…

[Puisis SR p. 15.]

       116.     As with vacancies generally, IDOC internal documents catalog the issues of

leadership team vacancies over the years. In March 2014, Dr. Shicker emailed IDOC’s CFO and

its general counsel, inter alia:

        I just want to report to you that so far Wexford has made no head way in filling the
        following key positions:



                                                  30
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 179 of 409 PageID #:13948




              1.       Medical Director at Dixon
              2.       Staff Physician at Dixon
              3.       NP at Dixon
              4.       Medical Director at Lincoln
              5.       NP at Logan [ ]
              6.       Medical Director at Robinson
              7.       Medical Director at Vienna
              8.       Medical Director at Illinois River
              9.       NP at Vienna
              10.      NP at E Moline
              11.      NP at Danville
       In addition the Medical Director at Sheridan is not working out and will need to
       either be terminated or changed to a staff physician AND the Medical Director at
       NRC will likely be terminated soon.

       Any advice on how we proceed with their inability to fill these vacancies—it is
       affecting medical care. Thank[] you.

[P167 at 0037001-2.]

       117.   In notes for a July 31st 2015 “Cases Discussed at Mortality Conference,” Dr.

Shicker also commented on a death at Dixon CC:

      The main areas of concern with the care of this offender surround approach to certain
      medical conditions and appropriate work up for those conditions. . . The site
      providers. . . did not look into the condition to see if there was an underlying
      problem. . .There was no ultrasound or CT done. In addition his diagnosis of
      Hepatitis C does not appear to have followed the work up recommended by IDOC
      guidelines . . . Comment: This case represents some of the problems Dixon has had
      by not having a steady Medical Director.

       118.   In 2016, Defendants started to require a monthly report from Wexford that

catalogued vacancies in key positions; this report is discussed on a monthly call among key IDOC

and Wexford staff which is known as the “Lippert call.”

       119.   In May 2018, the list of Wexford vacancies in the “Lippert call” report, in what Dr.

Shicker had described as “key positions,” was as follows:

              1.       Medical Director at Kewanee
              2.       Medical Director at NRC (Northern Reception Center)


                                                31
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 180 of 409 PageID #:13949




                 3.     Medical Director at Pinckneyville
                 4.     Medical Director at Pontiac
                 5.     Medical Director at Vandalia
                 6.     Medical Director at Vienna
                 7.     Medical Director at Western Illinois
                 8.     Staff physician at Dixon (.20)
                 9.     Staff physician at Menard
                 10.    PA or NP at East Moline (.40)
                 11.    PA or NP at Lawrence (.55)
                 12.    PA or NP at Menard
                 13.    PA or NP at NRC (.50)
                 14.    PA or NP at Pontiac (.25)
                 15.    PA or NP at Murphysboro (.40)
                 16.    Dentists at Menard (2.00)
                 17.    Dentist at Robinson
[P383.]

       D.        Other Issues Compounding Staffing and Vacancy Problems

          120.   A variety of other issues compound the core healthcare staffing and vacancy

problems in IDOC.

          121.   If staff are Wexford employees, they may also be tasked with significant

administrative responsibilities that diminish the time they spend on core healthcare functions.

          122.   At Pontiac, the Shansky team reported that “the Director of Nursing also functions

as the medical contractor site manager” which “leaves little time for her to actively function as a

Director of Nursing.” [Dkt. 339 p. 179.] At Illinois River Correctional Center (IRCC), the HCUA

was on extended leave, and the Medical Director position was vacant. [Id. p. 252.] The Director

of Nursing held the responsibilities of the missing HCUA, and was also Wexford’s designated site

manager, all of which “substantially take away from her ability to focus on and manage the needs

of the health care unit.” [Id. p. 254.] “With the additional absence of both the Medical Director

and clinical hours, there appear to be significant delays with regard to chronic care visits and other

clinical assessments. It does not appear that there is adequate clinical oversight.” [Id. p. 253.] The



                                                 32
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 181 of 409 PageID #:13950




lack of clinical oversight contributed to “several highly problematic cases . . . that resulted in actual

harm to patients.” [Id. p. 252.]

        123.    The Puisis team also observed that state staff may have more responsibilities than

they have time to perform them. At Logan, the HCUA “similar to the First Court Expert findings,

has too many responsibilities. She is the HCUA . . ., is filling in as the IDOC Central Regional

Coordinator, is the [Logan] Continuous Quality Improvement Coordinator, covers as the infection

control nurse[,] and also provides some nurse supervision. It is not possible to effectively manage

all these responsibilities.” [Puisis LOG p. 6.] “The staff physician position has not been filled for

some time. . . The failure to fill the physician position . . . overburdens the Medical Director . . .”

[Puisis LOG p. 7.] At Dixon, the HCUA, while capable, “lacks nursing supervisors and a consistent

Medical Director, and therefore the program still does not have adequate medical leadership . . .

The HCUA serves as the CQI coordinator, supervisor of medical records, infection control

coordinator, and act as a supervisory nurse . . .One person is incapable of effectively performing

in all these roles.” [Puisis DIX p. 7.]

        124.    A further problem in IDOC healthcare staffing is the rate of chronic absence and

sick leave. This was noted in the Shansky Report, and also in the IDOC-commissioned NRI

Report. [Dkt. 339 p. 6; P21 at 000009.] According to NRI, the challenge of “staff vacancies and

leaves of absence” was connected to additional problems, specifically recruitment: “Recruiting

qualified health care professionals, already challenging, becomes more so when the environment

includes low morale . . . and lack of effective leadership.” [P21 at 000009.]

        125.    “While the reason for the number of employees on leave of absence was not

evident,” the NRI Report observed, “it is an issue that must be seriously examined as it also has

had a negative impact on the health care operation.” [Id.]




                                                   33
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 182 of 409 PageID #:13951




        126.   Finally, the Second Expert Report notes that the problems of leadership vacancies

are compounded by a high rate of turnover:

       Of 33 physicians listed on a 9/19/14 report by Wexford, only 18 (54%) are still
       working three and a half years later. The inability of Wexford to hire and retain
       qualified physicians is a serious problem . . . There has been no formal analysis of
       this that we could find.

[Puisis SR p. 27; emphasis in original.]

       E.      Lack of Staffing Analysis

       127.    In 2014, one of the first recommendations of the Shansky Report was that “IDOC

[must] develop and implement a plan which addresses facility-specific critical staffing needs by

number and key positions and a process to expedite hiring of staff when the critical level has been

breached.” [Dkt. 339 p. 10.]

       128.    The Puisis Report states:

       The IDOC does not have a staffing plan that is sufficient to implement IDOC policies
       and procedures. The staffing plan does not incorporate a staff relief factor.

       Custody staffing has also not been analyzed to determine if there are sufficient
       custody staff to permit adequate medical care.

[Puisis SR p. 9.]

       129.    The Second Court-Appointed Expert that current staffing is not based on any

analysis or, if it was, the sources of that analysis could not be determined:

       The Wexford component of staffing is memorialized in a contract document called
       a Schedule E. Based on interviews with senior leadership of Wexford and IDOC, we
       could not determine who is responsible for developing staffing levels found in the
       Schedule E. . . . it is our opinion that the Schedule E does not reflect actual staffing
       need, as it does not appear based on any staffing analysis we could identify after
       discussions with health leadership who we thought would be responsible for this
       document.

       No one we spoke with has responsibility for determining if total staff (state and
       Wexford) is adequate. . . .




                                                 34
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 183 of 409 PageID #:13952




[Id. p. 30.]

        130.   At Stateville CC, where an “extraordinarily high vacancy rate is made worse by

having to share staff with NRC,” the Second Expert team found that “[d]espite these staffing

deficiencies, there is no staffing plan that addresses actual needs at SCC. The current official

Schedule E is not up to date. None of the existing leadership staff has participated in developing

the Schedule E or existing staffing pattern at this facility.” [Puisis STA p. 8.]

        131.   At Dixon CC, the Puisis team concluded that, due to the needs of the infirmary and

geriatric populations there, “there are insufficient numbers of budgeted positions in the nursing

categories even if vacancies were filled.” [Puisis DIX p. 9.]

        132.   At Logan CC, the Puisis team reported that “There were 10 pregnant women at

LCC at the time of the Experts’ visit. The charts of four currently pregnant women were reviewed.

Two have very high-risk pregnancies . . .”; “[i]n summary, the provider staffing is not adequate to

provide the volume of clinical work at this large women’s facility and reception center. In the

absence of the OB-GYN provider, there are no providers trained to provide prenatal care.” [Puisis

LOG p. 68.]

III.    QUALITY OF PRACTITIONERS

        133.   The next critical systemic issue identified by the First Expert and Second Expert

and their teams was the poor quality of healthcare practitioners in IDOC—in the particular, the

poor quality of doctors, who were often facility Medical Directors responsible for the medical

programs at each prison.

        134.   The Shansky Report “found clinician quality to be highly variable. . .” [Dkt. 339 p.

6.] Facilities were often staffed by clinicians who were “underqualified to practice the type of

medicine required of the position,” i.e., primary care. “[T]here have been a disproportionate




                                                  35
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 184 of 409 PageID #:13953




number of preventable negative outcomes related to primary care services provided by non-

primary care trained physicians.” [Id. p. 9.]

        135.    “The vendor, Wexford, fails to hire properly credentialed and privileged

physicians. This appears to be a major factor in preventable morbidity and mortality, and

significantly increases risk of harm to patients within the IDOC. This results from ineffective

governance.” [Puisis SR p. 10.] Further:

         Credentialing information provided by Wexford shows that only six (20%) of the
         physicians are board certified in a primary care field. Because physicians typically
         work alone in these facilities, experience alone is no guarantee that performance
         will improve to be consistent with current standards of care. We document multiple
         preventable deaths in the mortality review section of this report. It is our opinion
         that poorly credentialed physicians contribute significantly to those preventable
         deaths.

[Id. p. 22.]

        136.    “. . . [T]he only review of credentials is to verify that the doctor has a license, and

that their training, board certification, or disciplinary history is not part of credentialing review.”

[Id. p. 21 citing testimony of Ssenfuma.] In the 1980’s, IDOC incorporated a standard from the

Joint Commission on Accreditation of Healthcare Organizations (JCAHO) into their

administrative directives requiring that all physicians have one-time primary source verification

of their credentials (a requirement to verify training). The requirement remains in the AD but no

such verification now takes place. [Id. p. 26.]

        137.    The First and Second Expert Reports cite numerous examples of cases in which the

quality of clinical care was poor and resulted in avoidable harm to patients. At Menard CC, the

Shansky Report noted: “None of the physicians is trained in a primary care field. The Medical

Director is a general surgeon who has no prior correctional health care experience and is also new

to the facility. The two additional physicians were trained in ophthalmology and general surgery,




                                                  36
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 185 of 409 PageID #:13954




respectively.” [Dkt. 339 p. 330.] The report described one case in which “failure to identify and

appropriately manage a common primary care condition (diabetic foot ulcer) lead to actual harm

to the patient (amputation).” [Id.]

       138.    “As an example” of poor physician quality, the Puisis Report states:

       . . . [W]e noted one physician at [Stateville CC] who was a surgeon and not primary
       care trained who, for six months, was following an infirmary patient who had
       dementia. His entire note for 19 consecutive patient evaluations consisted of the
       statement, “No specific complaint, no change, dementia, continue same care.”

       The patient was ultimately hospitalized for a cardiopulmonary condition but because
       the doctor failed to evaluate the hospital record it wasn’t clear why the patient was
       hospitalized. Ultimately, the patient developed metastatic colon cancer not
       diagnosed until the patient had advanced disease. For almost a year following
       hospitalization, the doctor wrote the following note repeatedly, “No specific
       complaint, no change, dementia, post colectomy for metastatic ca [cancer]. Continue
       same care.”

       This repeated note was written during a time when the patient experienced falling
       repeatedly, developed incontinence, developed pustular otitis, and severe
       malnutrition and dehydration. . .

[Puisis SR pp. 40-41.]

       139.    Wexford does not even require a typed cv from its practitioners for the file—many

are handwritten [e.g., P413 pp. 39, 47, 57, 104, 125, 196, 220.]

       140.    In 2014, the Shansky team identified a physician practicing at Hill CC—the

Medical Director there—as particularly problematic. Two deaths that had occurred at Hill were

described as “extremely problematic, [involving] avoidable delays in diagnosis and treatment . .

.” [Dkt. 339 p. 289.] As to one case, the Report summarizes:

       The lapses in care in this case are multiple and disturbing. This patient presented
       with massive splenegomaly back in January 2013. While liver disease can cause
       enlargement of the spleen, there are only a few conditions that cause this degree of
       enlargement, with malignancy being the most common cause. It took four months
       to obtain the first appropriate imaging test . . . When that test suggested the need for
       more detailed imaging by CT scan, that recommendation was ignored . . . . Even
       when the patient presented as clinically unstable with severe hypoxia, the doctor did



                                                 37
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 186 of 409 PageID #:13955




        not send the patient out until he was pressed to do so. In our opinion, this can only
        be construed as deliberate indifference.

[Id. p. 322.] In the other case, the Report states:

        The blatant disregard for this patient’s obvious symptoms of serious illness is
        stunning. The lapses in care are so numerous and egregious it is hard to know where
        to start. Perhaps at the onset of symptoms, which took three months to finally result
        in a visit with the physician? But alas, at that visit and multiple visits to follow, the
        doctor either disregarded or failed to recognize the constellation of symptoms that
        were highly indicative of malignancy. . . . In any event, despite the patient’s repeated
        earnest cries for help, including several instances wherein he was essentially stating
        “I think I have cancer,” his symptoms were brushed off by the doctor until the
        repeated presentation of this dying man could no longer be ignored.

[Id. p. 320.]

        141.    Four years later, the Puisis team found this physician still practicing in IDOC, and

involved in one of the twelve preventable deaths identified by the Second Expert. [Puisis MR pp.

54-57.] This physician’s training was in radiology. [Id.]

        142.

        In a review of 33 death records, we found 276 episodes of care with inadequate
        history; 249 episodes of inadequate examination; and 228 episodes in which a
        therapeutic plan was inadequate. . . [T]his . . . is a problem of physician quality.

[Puisis SR p. 41.] As of the time of the Second Expert team’s visit to NRC in February 2018, this

doctor was the recently appointed “travelling” Medical Director of NRC, IDOC’s largest intake

facility. [Puisis NRC p. 9.]

IV.     SANITATION, SPACE, EQUIPMENT

        143.    In 2014, the Shansky team found that “[c]linic space, sanitation and equipment are

problematic” at all but one of the facilities they visited. [Dkt. 339 p. 10.] “There were examples at

each facility of either no identified clinic space to poorly equipped clinic space that provides no

patient privacy . . ..” [Id. p. 17.] Medical areas were ill-equipped (SCC, DCC, PCC, MCC), lacking

privacy (SCC, DCC, PCC, MCC) or appropriated for other purposes (NRC). [Id. pp. 10-12, 96,



                                                  38
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 187 of 409 PageID #:13956




214.] At Pontiac Correctional Center, the “exam rooms” in each cell house are “mostly converted

bathrooms and storage rooms [with] old and dilapidated equipment . . ..” [Id. p. 175.] At Menard,

“the South Lower cell house sick call room had no sink for hand washing.” “Much of the [dental]

equipment was old, corroded, and badly worn. . . . Non-functional equipment was not out of the

norm.” [Id. pp. 39, 334.] At PCC, inmates performed janitorial duties with “no orientation to the

health care unit or proper cleaning and sanitation procedures, blood-borne pathogen training or

communicable disease training.” [Id. pp. 179-80.] At IRCC, there was no clinic space in the unit

that houses inmates in segregation. [Id. p. 11.]

       144.     The problems of ill-equipped space and aging equipment were compounded by

repeated lapses in sanitary procedures. “In regard to sanitation,” states the First Expert Report,

“there are issues across the system. . . . [E]xamination tables and stools, infirmary mattresses and

stretchers [had] cracked and torn impervious outer coatings which do not allow for the items to be

properly cleaned . . . In each instance, there had been no work order submitted to repair the item

and no request submitted for purchase of new items.” Further, “[Many] facilities are not using a

paper barrier . . . on the examination tables, nor was there evidence of wiping down the

examination table with a sanitizing liquid/spray between patients . . . .”; “Across all sites, infirmary

linens were not been appropriately laundered and sanitized . . ..” [Dkt. 339 at 12, 35.]

       145.     The same problems were found in dental procedure areas: at the NRC intake dental

exam, the Report notes, “[a]rea disinfection and clinician hygiene between patients was very poor.

. .”; “[Dental area c]abinetry and countertops were usually badly worn, corroded or rusted, broken

and not up to contemporary standards for disinfection”; “In several institutions, proper [dental]

sterilization flow was not in place.” [Dkt. 339 pp. 38-40.]




                                                   39
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 188 of 409 PageID #:13957




       146.    In 2018, the Second Expert team found similar conditions. “Sanitation,

maintenance, and equipping health care units is not standardized. Many clinical areas are

inadequately sanitized.” [Puisis SR p. 10.] Further:

       The experts inspected the physical plants and equipment in the medical care areas at
       the NRC, SCC, Dixon, LCC, and MCC. Overall, we found problems with nurse sick
       call rooms, infirmary spaces, and examination rooms in all facilities we visited. The
       dialysis unit at SCC is inadequate and needs renovation. . .

[Id. p. 33.] Conditions at NRC were particularly problematic:

       NRC has established nurse sick call rooms on the first floor of each of the three tiered
       cell houses. These rooms are also used by providers to perform intake physical
       examinations that were deferred during the intake process. Nurses commonly do sick
       call interviews cell by cell through closed [cell] doors, moving some patients to the
       sick call rooms, which have a few plastic chairs or four bolted metal chairs with
       shackles. The sick call rooms do not have examination tables or desks, and all
       clinical equipment is carried in the during sick call session. Not all rooms have sinks
       or soap and paper towels. The sinks were dirty and the floors poorly scrubbed. In
       this condition, these rooms are unacceptable for the performance of nurse sick call
       or provider intake physical examinations.

[Id. p. 33.] At Dixon CC:

       Dixon primarily provides nurse sick call in two dedicated and two part-time rooms
       in the centralized health care unit (HCU). . . One nurse sick call room in the HCU
       had two desks and two exam tables; this room lacked any auditory and visual
       privacy. The other three rooms did not have examination tables. Only two of the four
       rooms had sinks. . . .

[Id.] Logan CC has space deficiencies: “ . . .[T]here were times when there were not enough exam

rooms to meet the nurse sick call needs of the women at LCC,” [Id. p. 34] and at Menard CC:

       . . . Some rooms were well maintained, others had cracked and peeling paint,
       uncovered electrical outlets and ceiling vents, boxes cluttering the exam area, and
       records and supplies stacked on exam tables during clinical sessions. One of the
       exam areas did not have a sink. Not all of the areas were properly equipped; some
       lacked oto-ophthalmoscopes, oximeters, peak flow testing mouthpieces, blood sugar
       testing devices, automated external defibrillators, and other supplies. One of the
       exam rooms in the East cell house was cramped by the presence of correctional
       items, including three large file cabinets, water damaged cardboard boxes, and an
       ancient refrigerator with a totally rusted door. . .




                                                 40
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 189 of 409 PageID #:13958




[Id.]

        147.   Equipment upgrade request paperwork produced by Defendants likewise shows a

system unable to provide for safety and sanitation, with a cumbersome process causing extended

delays for even modest items. A request from Illinois River CC for three medication carts says:

“The carts currently in use are worn out. Maintenance has fixed them as many times as they can

be fixed. We have multiple worker compensation claims over the accidents that have happened

using the old carts. . . .” [P408 at 000001]; at Stateville: “The dental department Siemens Sirona

x-ray machine tube has blown out. Three weeks prior the x-ray unit stopped exposing x-ray film.

. . . The x-ray machine was manufactured in May 2000. The tube head for this machine is no longer

available. . .”; “We have two (2) dental drills that are over 20 years old and unable to be repaired.

. .” [P404 at 000005, 000010]; at Dixon, a request for a dental vacuum and pump states, “Vacuum

is down to one that is operable and is almost 30 years old. . .” [P422 at 000012]; At Big Muddy

River, a request for a dental autoclave: “The Autoclave—is not working. The unit stopped working

again within months of being repaired. The unit has been sent out for repair 3 times in the last 12

months . . . The Autoclave is required to sterilize dental equipment . . .” [P423 at 000015.]

        148.   Finally, there is the request for purchase of “one (1) Phillips Headstart AED

battery” requested because “The AED [ ] at Logan is in need of a new battery—the old one is not

holding at charge. . . . The AED is a critical life-saving piece of medical equipment that must be

functioning 24/7.” This request, at a cost of $234.00, is dated 12/29/16; had to be first approved

by Wexford; is then approved by the correctional center on 1/11/17; and finally approved by IDOC

CFO Jared Brunk on 1/23/17. [P425.]

        149.   The consensus that supplies and facilities are a significant problem in IDOC

includes not just the First and Second Expert teams but also the 2016 NRI review team. Among




                                                 41
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 190 of 409 PageID #:13959




the “operational challenges” noted in the IDOC-commissioned NRI report “that are having a

significant impact on the ability to provide timely and constitutionally adequate health care,” the

report cites “Apparent lack of basic supplies and adequate facilities for health care,” at the

five prisons visited by the NRI team. [P21 at 000009; emphasis in original.] As one example, the

report observes:

       On a related note, at one facility, signs in the bathrooms cautioned staff to be sparing
       in their use of paper towels as there was no extra supply. This raises concern about
       the potential for infection control issues if staff members cannot properly wash and
       dry their hands.

[Id. at 000010.]

V.     MEDICAL RECORDS

       150.     A complete and usable record-keeping system is essential to adequate healthcare.

As explained by Plaintiffs’ expert Dr. Marc Stern:

       Health professionals must record all significant health care information about a
       patient in a medical record. The medical record is the primary tool for the multitude
       of health professionals caring for a patient to communicate with one another. The
       record must be complete and clear so that each user of the record can easily and
       accurately determine what is already known about the patient and what care has
       already been delivered to the patient. To be complete, all care givers must document
       all significant information, and all this documentation must actually be in the record.
       These are fundamental and universal principles for the provision of health care. If
       the medical record is not complete and clear, health care providers make decisions
       and provide care in a vacuum, resulting in errors. . . In the absence of a complete and
       clear medical record there cannot be safe patient care.

[P551 pp. 27-28.]

       151.     The 2011 Wexford contract requires complete, accurate, and legible records:

“2.2.3.13 Medical Records: Vendor shall keep complete and accurate medical records for all

offenders.” “2.2.3.13.2 Vendor shall ensure that medical records are complete and . . . contain

accurate legible entries . . .” [P18 at 000303.] IDOC healthcare records do not meet these basic

requirements.



                                                 42
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 191 of 409 PageID #:13960




       152.    In 2014, the Shansky team found that “[t]he quality of the medical records was poor

at most of the facilities we visited.” [Dkt. 339 p. 15.] “In many instances, important information

was missing from the health records, such as the MARs [Medication Administration Records]

from the last several months. There were blanks on the MARs at virtually every facility.” [Id.]

Due to “disorganized and dysfunctional” recordkeeping, clinicians are ill-informed and therefore

“less able to make the appropriate clinical decisions.” [Id. p. 16.]

       153.    Further, due to the use of handwritten notes, “most notes contained very little

information with respect to symptom histories . . . physical exams or medical decision making,”

and “the handwriting of one or more providers was so illegible that it rendered the notes all but

useless to anyone other than the author.” [Id.]

       154.    Some facilities had additional record-keeping problems. At NRC, “nothing was

properly filed no matter how long the patients were housed there.” [Id.] The facility used a “drop

file” procedure, meaning that “documents are not fastened chronologically in specific sections;

instead each document is placed loosely between the cardboard covers,” making it likely that

important information will not be located. The lack of logging and tracking exacerbated the

problem. [Id. pp. 99-100.]

       155.    At Dixon CC, records “were overstuffed and in dire need of thinning,” creating “an

obstacle to the efficient delivery of care.” The First Expert team found that “current reports and

MARs are often missing,” and “found piles of MARs dating back for months in the medical records

department,” making it nearly impossible to monitor medication compliance. [Id. p. 134.] Illinois

River CC had similar recordkeeping issues. [Id. p. 256.]




                                                  43
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 192 of 409 PageID #:13961




       156.     At Logan CC, the Shansky team “encountered large piles of loose filing stacked in

the inside cover of most charts.” [Id. pp. 16, 211.] “Drop filing is used in the infirmary, even for

the chronic admissions, thus rendering the charts in nearly complete disarray.” [Id. p. 231.]

       157.     Four years later, in 2018, the Puisis team noted one improvement: “[Logan CC] has

corrected the problems with drop filing.” [Puisis SR p. 37.] However:

       With that exception, there has been no improvement. We found several additional
       significant problems. These include:

         •    With the exception of MCC, charts are so large that they frequently come apart,
              making the record extremely difficult to use. This promotes loss of documents.
         •    Record rooms are too small to accommodate all records. Therefore, additional
              storage space is necessary, making finding an older document extremely
              cumbersome.
         •    Record rooms are not secure and therefore violate administrative directives and
              fail to follow Illinois Department of Human Services guidelines on protection
              of the medical record.
         •    There is not a standardized tracking system in place to sign out a record.
         •    Any staff member can access the records room and pull and re-file records.
              This promotes loss of records and does not safeguard confidentiality or use by
              unauthorized persons.
         •    Access to a medical record for use during clinical encounters is not universal.
         •    Data for use in quality improvement is obtained manually. This makes
              measurement of health care processes extremely cumbersome.
         •    We noted inability of the IDOC to find all documents in mortality records sent
              to us.
         •    Records of on-site dialysis are maintained separately from the IDOC medical
              records and the medical record fails to contain updated information about what
              is occurring in dialysis.

[Puisis SR pp. 37-38; emphasis added.]

       158.     As had been true in 2014, in 2018 the Second Expert team found the worst problems

with record filing and record maintenance at NRC, the principal IDOC intake facility:

       The NRC record room was the worst of all facilities. Everyone had access to the
       record room. Any staff member could pull and refile records they used. Paper
       documents were not in a pressboard folder and sometimes were merely stapled
       together or in piles. When a pile of record documents was removed from the room,
       there was no indication where the record was. In chart reviews we conducted, it
       appeared that many documents were missing.


                                                 44
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 193 of 409 PageID #:13962




[Puisis SR p. 39.]

       159.    The paper record system in place throughout most of IDOC is impractical for a

system of its size and population, and causes obvious, well-known, and recurring problems. As

the Puisis Report explains:

       A correctional health program generates large volumes of paper. Infirmaries, mental
       health units, the health request process, and administration of medication are
       hospital-like with respect to the volume of paperwork that is generated. As a result,
       inmates who remain incarcerated for a long period of time generate massive paper
       medical records. Three problems ensue. One problem is that there is no place to store
       all the paper record volumes so that they are easily accessible. A second problem is
       that the paper record documents come apart, making use of the record extremely
       cumbersome. The third problem is that the current volume of documents often does
       not contain all documents necessary to provide care. This can result in physicians
       acting without complete information about the patient. This is particularly true
       because of the frequency of changes in physician staff.

       Almost all inmates with chronic illness or with mental health problems have multiple
       volume files, easily in the thousands of pages per inmate. Record rooms in the prison
       facilities do not have the capacity to store all volumes of the record. As a result, most
       of the volumes of records are placed in storage someplace on the grounds . . . The
       most current volume of a record often does not contain a key test result, consultation
       report, hospital summary, or diagnostic test result that is necessary to understand the
       progress of the patient. . . [C]lerks have to go to the storage unit to find the document.
       This delay is not workable if a provider is with the patient. . . .

       Also, the paper medical records frequently come apart. All paper documents are two-
       hole punched and held together by a plastic binding clip. The plastic clip is glued to
       a pressboard binder that is used for covers of the record. . . The thinning process is
       standardized except for when to initiate the thinning process. . . By IDOC rules,
       certain documents are carried forward to the current volume. The carry-forward
       documents often do not include critical test reports, consultation reports, or other
       clinical information that is critical to understanding the patient’s diagnosis or
       therapeutic plan. . .

[Puisis SR pp. 38-39.]

       160.    Among the problems exacerbated by a paper record system are lapses in continuity

of care during intrasystem transfers [Dkt. 339 pp. 14-15, 55, 99, 180-81, 254-56], as well as

problems in continuity of care when patients are sent to outside providers and then returned to the



                                                  45
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 194 of 409 PageID #:13963




prison: “The inability to obtain consultation reports and hospital reports appears to be a long-

standing system wide problem. This is a significant patient safety issue.” [Puisis SR p. 10.] In sum:

       The paper medical record system creates significant barriers to delivery of safe
       health care, including inaccessibility of prior reports and prior diagnostic tests. The
       current paper medication administration records are inconsistently filled out, filed,
       or able to be viewed by clinicians. The paper record also makes monitoring health
       care processes exceedingly difficult. An electronic medical record is needed.

[Puisis SR p. 10.]

       161.    Defendants’ rebuttal expert Dr. Owen Murray, responding to Dr. Stern, opined that

most of the problems identified by Dr. Stern would be solved by the implementation of an

electronic medical record:

       The paper health record system currently used by IDOC has inherent flaws as is
       common with all paper record systems. Our reviewers were consistent in their
       agreement with Dr. Stern regarding the impact on healthcare process that are created
       by the use of a paper record system. Dr. Stern’s report is replete with his concerns
       regarding missing encounter dates and times, required fields being empty, signatures
       and credentials being illegible, appointment scheduling, and what at times appears
       to be missing clinical information. These are all common maladies associated with
       the use of a paper health record. . .

[D11 p. 2.] The Texas prison system, for which Dr. Murray works, had put an electronic medical

records system in place in 1999, within a period of 18 months.

       162.    The need for an electronic medical record is not news to IDOC. Defendants have

intended for many years to replace their paper healthcare record system. The 2011 Wexford

contract required the implementation of EMR throughout IDOC. [P18 at 000374-76 (§ 7.7.4).]

       163.    The project was abandoned for unexplained reasons after EMR had been put in

place at the two women’s prisons (Logan CC and Decatur CC). However, even at those two

prisons, record-keeping problems persist:

       The record was incompletely implemented; the electronic medication administration
       record was not implemented . . . [In addition, at Logan CC], there were some serious
       problems with the electronic record. This record defaults vital signs from the last



                                                 46
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 195 of 409 PageID #:13964




       vital signs obtained. The record will automatically present vitals in a note from
       months previous if no more recent vital signs were done. This is dangerous and
       should be stopped, as it is a patient safety issue.

[Puisis SR p. 38.]

VI.     MEDICAL RECEPTION (INTAKE)

        164.    Healthcare services in IDOC begin at the system’s reception and classification

centers, which process arriving prisoners. By far the largest of these is NRC (Northern Reception

Center), which at the time of the Puisis team’s visit in early 2018 received 307 new prisoners each

week. [Puisis NRC p. 2.] By contrast, Menard CC, the men’s reception and classification facility

for the southern region, received 86 new prisoners each month in spring 2018. [Puisis MEN p. 20.]

        165.    Both the Shansky team and the Puisis team visited three of the four IDOC reception

and classification centers—NRC, Menard CC, and Logan CC (the principal women’s prison,

which also serves as the women’s intake center). 15

        166.    “[T]he medical reception process is designed to identify acute and chronic medical

problems along with acute and chronic mental health problems, as well as any potential

communicable diseases and any other special needs.” [Dkt. 339 p. 12.]:

       The purpose of doing a comprehensive medical intake is not just to identify the needs
       but to insure that those needs are appropriately addressed. [P]roblems [may arise]
       with both the identification and the follow through . . . When either type of problem
       occurs, this creates an avoidable liability for the patient.

In other words, it exposes the patient to an unnecessary risk of harm. [Id. pp. 12-13.]

        167.    In 2014, the First Expert team found both kinds of problems—both of identifying

needs and of follow-through. [Id.]




15
  The fourth reception and classification center is Graham CC, which serves as the men’s intake center for
the central region.


                                                   47
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 196 of 409 PageID #:13965




       168.    Intake procedures regularly failed to identify even routine medical and dental

problems or identify them timely, and that there were long delays in healthcare intake processing,

especially at NRC.

       169.    At NRC, it could take over a month to process patients through reception. [Id. p.

13.]

       170.    The intake forms in use failed “to elicit [information] regarding current symptoms

as is standard in most systems.” [Id.; emphasis added.] Further, there was “no process to insure

that TB test results, blood test results and any other tests are integrated along with the history and

physical into a problem list and plan for each problem.” [Id. pp. 13, 96.]

       171.    Dental screening was deficient as well: “[E]gregious deficiencies were observed at

the NRC during the [dental] screening exam. . . .” [Id. p. 38.]

       172.    Medical records were “dysfunctional,” making it difficult for clinicians “to utilize

and identify available clinical information” and thereby respond in a “clinically appropriate”

manner. [Id. p. 13.]

       173.    At NRC and Logan CC, patients from Cook County Jail did not arrive with medical

records, hampering the reception process. The facility received “only an emailed list of

medications from Cook County Jail for inmates being transferred, but no other records,” and even

this was “not typically available to the staff at the time of the intake screening or physical exam.”

[Id. pp. 96, 214-15.]

       174.    Chronic care was neglected: “We looked at a random sample of 10 charts of patients

who were detained at [NRC] for more than 60 days. Five of the 10 patients had chronic health

issues, yet none had been enrolled in the chronic care program or had his chronic disease intake

evaluation . . ..” [Id. p. 99; emphasis added.]




                                                  48
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 197 of 409 PageID #:13966




       175.    Finally, at all three facilities, the Shansky team’s record review found numerous

examples of failure to follow up on patients who entered with serious issues indicated in their test

results or medical histories. [Id. pp. 98, 334-35, 215-16.]

       176.    In 2018, as to NRC specifically, the Second Expert team found that healthcare

intake had worsened over the four years since the First Expert team’s review:

       Based on a comparison of conditions as identified in the First Court Expert’s Report,
       we find that conditions appear to have deteriorated. We find that NRC is not
       providing adequate medical care to patients. There are systemic issues that present
       ongoing serious risk of harm to patients and result in preventable morbidity that
       could also result in mortality.

[Puisis NRC p. 3; emphasis added.]

       177.    As to the intake process system-wide, there were multiple issues. Although the

Puisis team found non-systemic improvements in intake timing (improvements in “the timeliness

of completion of the medical reception process at some facilities (NRC and Logan) but not

uniformly [] (Menard CC),” substantial issues remained:

       The reception process does not ensure a thorough initial medical evaluation that will
       correctly identify all of a patient’s problems in order to develop an appropriate
       therapeutic plan. Follow up of abnormal findings was inconsistent. Laboratory tests
       and other studies needed for an initial evaluation of a patient’s chronic illnesses are
       inconsistently obtained.

[Puisis SR p. 10.] Further:

       Visual acuity testing is inaccurately performed and yields inaccurate results. Staff
       incorrectly read Tuberculin skin tests and inconsistently record results in the health
       record. HIV opt-out testing is inconsistently performed. Intake evaluations
       uniformly lack adequate history, and physical examinations are cursory. Providers
       do not consistently perform adequate assessments or order labs tests necessary to
       determine the patient’s disease control. Providers often omit or change a patient’s
       medications upon arrival without clinical indication. Nurses do not consistently
       initiate a medication administration record when giving patients stock medication in
       the reception area. Provider medical reception orders are inconsistently carried out.
       Provider follow up of abnormal reception laboratory tests is not consistently and
       timely performed.




                                                 49
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 198 of 409 PageID #:13967




[Puisis NRC p. 4.]

       178.    The defects in the intake forms themselves noted in 2014 by the First Expert team

remained unaddressed:

       The IDOC Offender Medical History form is limited with respect to chronic diseases
       and does not include COPD, thyroid, kidney, liver, autoimmune diseases, or cancer.
       Importantly, as noted in the previous Court Expert report, the form also does not
       include a section for review of systems (e.g., chest pain, shortness of breath,
       abdominal pain, blood in stool, difficulty with urination, etc.) that are typically
       included in a comprehensive history and physical examination. This poses a risk that
       important medical diagnoses or symptoms of serious illness will be missed . . .

[Puisis SR p. 44.] Further, HIV testing, contrary to CDC recommendation, is (due to AD

requirements), effectively “opt-in,” meaning that people who should be tested are not.

       179.    As to medications:

       Clinicians usually ordered medications on the day of arrival; however, in some cases
       they did not provide continuity of care with respect to patients’ chronic disease
       medications, either omitting or changing medications (e.g., insulin types) without
       documenting a clinical indication. Medication Administration Records (MARs) did
       not consistently reflect that the patients received the medications.

[Id. pp. 44-45.]

       180.    The finding as to dental intake remained the same:

       The dental program has not changed materially since the First Expert’s Report. It
       represents a substantial departure from accepted professional treatment standards
       and is not minimally adequate.

[Puisis NRC p. 6.]

       181.    Chronic care also remained deficient. The Second Expert team found that NRC

fails to evaluate individuals with chronic illnesses timely; and that medical providers did not timely

address abnormal lab test results and did not complete the initial chronic disease form when seeing

patients at the first follow-up visit. [Puisis SR pp. 44-45.]




                                                  50
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 199 of 409 PageID #:13968




        182.    Notes and record-keeping are deficient and problem lists are incomplete; diabetic

care “fails to provide basic screening tests and vaccines that are recommended in [IDOC

guidelines]; and “there are unacceptable delays in obtaining specialty consultations and diagnostic

tests,” plus “[p]atients with problems which appeared to be beyond the expertise of NRC providers

were not referred for specialty care.” [Puisis NRC p. 41] “We could only estimate the number of

persons with chronic illness who are not tracked, but it appears to be more than the majority of

patients.” [Id. p. 42; emphasis added.]

        Because patients with chronic illness are not tracked, many are not followed for their
        chronic illness even when they remain at the facility for extended periods of time.
        The provider notes for patients with chronic illness are deficient. They lack adequate
        history, reasons for modifying treatment plans, and have inadequate physical
        examinations. Diabetes care, in particular, is not provided consistent with
        contemporary standards of care. There were significant gaps on medication records,
        making it appear that inmates do not receive ordered medications for their chronic
        illnesses. Patients with problems beyond the expertise of NRC providers were not
        referred for appropriate consultation.

[Id. p. 5.]

        The care of diabetics was uniquely problematic. Without regard to the level of
        control or other needs of the patient, all insulin-requiring diabetics have their
        community or previous facility insulin types and dosages changed to twice a day
        NPH dosing accompanied by twice a day capillary blood glucose (CBG) testing. 16
        Because patients have individual needs, this one-size-fits-all protocol has risks of
        deterioration of diabetes control and disrupts the continuity of care. Microalbumin-
        creatinine ratio, lipid profile, and HbA1C are not consistently drawn at the first
        provider visit as directed in the IDOC Office of Health Services Diabetes Treatment
        Guidelines (March 2016). Only one of the five diabetic charts reviewed had a
        HbA1C lab done, one had an order for this test, and three did not have an order or
        results in the chart.

[Id. p. 43.]

        183.    Defendants themselves, in the course of their reviews of compliance with

Administrative Directives, have documented failures in chronic care. In May 2016, NRC’s


16
  [Footnote in original:] These are point of care finger stick blood glucose tests that civilian diabetics
perform themselves but in correctional facilities are often performed by nurses.


                                                   51
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 200 of 409 PageID #:13969




external IDOC review found it “Non-Compliant” with Administrative Directive 04.05.105. The

findings included the following: “In 100% of the sample reviewed, Hepatitis C Clinic was not held

every six months in June and December”; “In 100% of the sample reviewed, General Medicine

[clinic] was not held every six months in May and November”; “In 100% of the sample reviewed,

Hypertension Clinic was not held every six months in March/April and September/October”; “In

62% of the sample reviewed, the Diabetes Clinics were not held every four months in April,

August, and December.” [P459.]

       184.   Finally, follow-up, including referral to outside providers, remained problematic.

Among the cases illustrating this issue in the Second Expert Report were the following:

      This patient was admitted to NRC on 11/30/17. Physical exam on admission noted,
      “c/o pain in right great toe with discoloration.” MD note: Right big toe ulcer with
      foul smell, surrounding erythema. The problem list noted: Diabetic R big toe ulcer,
      dime size, black x two months. Diagnoses: Diabetes, HTN, hyperlipidemia, renal
      insufficiency. MD ordered daily dressing changes, Rocephin 500mg/D. Intake lab:
      Syphilis/RPR 1:128. No dressing change log was found in medical. There is
      documentation that this patient’s black toe was not evaluated or dressed as ordered
      until 12/5/17, when RN noted “in pain” and sent the patient to MD for evaluation.
      The right big toe was black with foul smell and erythema. He was sent to St. Joseph
      Hospital, was diagnosed as having right toe gangrene with abscess, his toe was
      amputated, he received treatment for sepsis, and he was discharged to NRC on
      12/22/17 on IV antibiotics. On 12/22/17, he was admitted to the infirmary. The RN
      admission noted: IV antibiotics, UIC podiatry and vascular clinic referrals in one to
      two weeks. The MD infirmary admission note was written on 1/2/18, 11 days after
      admission. Post-hospitalization: Right big toe abscess/gangrene with sepsis, PICC
      line on IV antibiotics, angiography showed PVD, Meds Glipizide, Metformin,
      Lisinopril. On 12/5/17, RN note, “seen by MD, CPM.” On 1/7/18, RN: red, swelling
      bottom of foot. 1/10/18, MD noted CPM [continue present management], but there
      was no physical exam. On 1/22/18, laboratory tests showed WBC 6.4, creatinine
      0.87, RPR 1:64. On 1/27/18, five weeks after returning from a complicated
      hospitalization, the surgical (probably vascular) consultation was still pending and
      the podiatry appointment had not been scheduled. On 1/29/18, treatment for latent
      syphilis was finally ordered.

      The pre-hospitalization care at NRC was deficient. The intake provider should have
      directly sent this diabetic with a black, foul smelling ulcer on his toe to the ED for
      emergency consultation and assessment for gangrene and osteomyelitis. NRC’s
      failure to change dressings and re-evaluate the ulcer for seven days after reception



                                               52
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 201 of 409 PageID #:13970




      minimized any opportunity to prevent amputation. The delay in transferring this
      patient to the ED contributed to the development of sepsis and jeopardized his life.
      The intake lab test identified syphilis; treatment should have been started during the
      seven days prior to hospitalization. Upon return to NRC, his abnormal syphilis test
      was not flagged for treatment and he was not treated until 1/29/18 (five weeks after
      his return from the hospital). The abnormal lab should have been quickly identified
      and treatment initiated immediately after his admission to the infirmary on 12/22/17.
      The infirmary physician clearly neglected to review the patient’s previous test results
      upon admission to the infirmary. During his infirmary stay, the provider never once
      commented on the status of the amputation wound site nor documented an
      examination of his feet. As a post-hospital return, the physician should have been
      initially writing progress notes at least three times a week. Provider notes were only
      written weekly. His post-hospital course was neglectful. Five-and-a half weeks after
      his return to NRC, he still had not been seen by a podiatrist and a vascular surgeon
      as recommended on 12/22/17. During his infirmary stay, the provider never
      commented on the control of the patient’s diabetes. HbA1C, microalbumin-
      creatinine ratio, retinal screening, and an examination of the other foot was not
      documented in the progress notes. Pneumococcal vaccination was not offered or
      administered. At every stage of this patient’s care the standards of care in the
      community were not followed.

[Puisis NRC pp. 59-60.]

      Another patient had a history of pancreas and kidney transplants but the reason for
      these transplants was never identified or documented in the medical record. History
      of the patient’s illness was substandard. This patient had several consultations but
      because the reports were not available in the medical records, the providers at NRC
      failed to understand what the patient’s clinical condition was and also failed to
      understand the status of the patient’s conditions. We also could not determine the
      status of this patient because of lack of consultant reports. This places the patient at
      risk of harm. Because consultant reports are not filed in the medical record, when
      this patient transfers, subsequent providers will not understand how to care for this
      patient, who will be at risk of harm. The patient also had a hemoglobin of 12.7 on
      10/5/17, which dropped to 8.9 on 12/21/17. This significant drop in hemoglobin was
      unnoticed and was not being monitored; it indicated a significant risk to the patient
      yet was unnoticed. The patient also was being treated for high blood lipids but was
      not being monitored for this condition.

      We also note that in review of these records, the organization of the medical records
      was so poor that it was extremely difficult to discover what was happening to the
      patient. This was similar to the finding of the First Court Expert. Papers were merely
      placed in a folder, not sorted by type of document or placed in chronologic order.
      For larger records, examination of the record was so difficult that use of the record
      for routine care in a busy clinic would not be possible.

[Puisis NRC pp. 55-56.]



                                                53
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 202 of 409 PageID #:13971




          185.     While receipt of records had in some places improved, what was done with the

information was still deficient and resulted in avoidable harm.

          Record review showed that county jails forwarded medical transfer information that
          was available to health care staff at the time of arrival. However, NRC providers
          did not document that they reviewed the information and, in some cases, missed
          important medical diagnoses (e.g., prostate cancer, pancreatic cancer, pulmonic
          valve regurgitation) or medications for high blood pressure (e.g.,
          hydrochlorothiazide). One such error resulted in death.

          We noted two cases in mortality reviews that included significant problems with
          failing to review transfer information or to take an adequate history. In one case, a
          provider failed to take an adequate history of a patient in the midst of getting valve
          replacement for a congenital anomaly. 17 The provider made the wrong diagnosis,
          failed to contact the patient’s civilian doctor, and even failed to read a letter in the
          IDOC medical record from the patient’s civilian doctor. As a result of this failure,
          the patient’s planned surgery was never done, his condition was unrecognized in
          IDOC for six months, and the patient died from complications of his heart condition
          without having obtained surgery. Another patient from Logan was at Cook County
          Jail and was sent to Stroger Hospital for a pancreatic mass. A biopsy was non-
          diagnostic but the mass was strongly suggestive of pancreatic cancer and follow up
          was recommended. 18 The doctor at Logan presumed that the patient had a benign
          pancreatic mass and no follow up was initiated for five months. Pain medication
          history was also not taken and the patient was placed on inadequate doses of pain
          medication and suffered in pain over the last five months of her life.

[Puisis SR pp. 42-43.]

          186.     The failures in medical reception are intertwined with other systemic deficiencies,

some (such as problems with medication administration) not found in the First Expert’s review.

          187.     “NRC has inadequate staffing. There is a 42% vacancy rate, which is

extraordinarily high.” [Puisis NRC p. 3.] Due to inadequate security staffing and lockdowns, sick

call requests cannot be submitted confidentially; they are also not collected regularly, and “are not

triaged within 24 hours and nurses do not indicate the urgency of follow up evaluations.” [Puisis

NRC p. 4.]


17
     [Footnote in original:] Mortality Review Patient #2.
18
     [Footnote in original:] Mortality Review Patient #20.


                                                      54
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 203 of 409 PageID #:13972




          188.   “Medication administration is impaired because of lack of sufficient cooperation

by security staff, which appears to be due to insufficient custody staff. Nurses do not administer

medication consistent with accepted nursing practice. Administration is not hygienic. Nurses do

not appropriately confirm the identity of the patient receiving medication. Doors are not opened

for medication administration and nurses pass medication through cracks in the door and do not

adequately visualize patients to confirm their identity. Nurses do not document on the medication

administration records at the time they administer the medication to the patient. . . The nursing

medication room is dirty, cluttered and disorganized.” [Puisis NRC p. 5.]

          189.   At Logan CC and at NRC, there were problems with equipment, supplies, and

sanitation: Logan lacked a microscope to diagnose vaginal infections; at NRC, scales were not

calibrated; eye exams take place 10 feet from the chart rather than 20; mineral deposits from the

water causes buildup that makes “disinfection difficult, if not impossible.” In general, “Exam

tables did not have paper to use as a barrier between patients and there was no schedule of

sanitation and disinfection activities. Exam rooms were dirty and in some cases filthy.” [Puisis SR

p. 43.]

VII.      NURSING SICK CALL (ACCESS TO SERVICES)

          190.   Access to prison healthcare services, even for many urgent/emergent needs, occurs

through “sick call.” To access sick call, prisoners must submit written requests, which are collected

(sometimes by custodial staff) and reviewed by healthcare staff; at some facilities they may also

sign up on a sick call log. With some exceptions, prisoners in IDOC must pay a $5 co-pay to access

sick call.

          191.   The IDOC-commissioned NRI report states that “access to care is the essential

baseline feature of any effective . . . health care system”; prisoners “must be able to gain timely




                                                 55
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 204 of 409 PageID #:13973




access to those professionals who are legally, ethically, and morally responsible for their overall

well-being.” [P21 at 000007.]

        192.    In 2014, Dr. Shansky’s team found that “[n]ursing sick call ranges from

problematic to significantly broken throughout the system, in that one or more of the elements

required of a professional sick call encounter are missing.” [Dkt. 339 p. 16.] These elements

included the availability of sick call request slips and a confidential means to submit them; private

and appropriately equipped clinical spaces; execution of sick call by registered nurses and in

accord with the policies and procedures of the IDOC Office of Health Services; attention to “all

of a patient’s complaints, or, at a minimum, prioritizing the complaints”; and an effective tracking

system [Id. pp. 16-17.]

        193.    The First Expert Report also criticized IDOC’s practice of having sick call carried

out by staff who were not registered nurses, because only RNs are trained and certified to provide

the kind of “independent assessment” that is required at sick call. This “increases the potential for

harm to the patients as well as legal liability for the State.” [Id. p. 8.] “At every facility, a sick call

process has been established which allows for non-registered nurses to conduct sick call . . ..” Such

a practice produces “a significantly reduced likelihood of an appropriate diagnosis and an

appropriate plan and this increases the potential for harm to the patients.” [Id. p. 17.] Dr. Shansky

observed that LPNs lack appropriate training to perform independent assessments, and only RNs

are permitted to so under the Illinois Nurse Practice Act. [Id. p. 17.]

        194.    At DCC, “it was difficult to impossible to evaluate sick call because a Sick Call

Log has not been developed or maintained.” [Id. pp. 18, 134.] Sick call requests slips were

processed in a way that subjected them to multiple breaches of confidentiality before they arrived

in the hands of medical personnel. [Id. p. 135.] Once medical staff reviewed a sick call request slip




                                                    56
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 205 of 409 PageID #:13974




and scheduled the patient for a visit, the original slip was destroyed, making it impossible to know

whether the request was reviewed and the inmate evaluated in the appropriate time frame. [Id. pp

134-35.] At the medical visit, “medical staff only permit[] a patient to voice one concern at an

encounter despite multiple concerns listed on the sick call request.” [Id. p. 18.] Finally, security

staff “frequently and arbitrarily” cancelled sick call encounters, impeding access to care and

delaying treatment. [Id.]

       195.    At PCC, a Correctional Medical Technician (CMT)—who might be an LPN or a

certified EMT, but not an RN—toured each cell house daily. “Inmates voice their complaints to

the CMT through either an open cell-front barred door or a solid door.” The CMT could then

“immediately refer the inmate to the physician or mid-level provider, refer the inmate for nurse

sick call or use an approved Office of Health Services treatment protocol to treat the inmate.” [Id.

p. 181.] Since inmates remained in their cells, they did not receive physical exams, and vital signs

were not always taken. Dr. Shansky found that these practices violated the Illinois Nurse Practice

Act and that “access to health care is delayed due to inappropriate assessment.” [Id.]

       196.    At LCC, nursing sick call was particularly problematic in X-House, which housed

reception, segregation, and maximum security inmates. In response to requests slips, an LPN or

RN went to an inmate’s cell and spoke to them through a solid metal door, compromising the

patient’s confidentiality and precluding a physical examination. “No appropriate assessment and

corresponding appropriate examination is conducted.” [Id. pp. 216-17.] Dr. Shansky observed

similar problems for prisoners in segregation at IRCC. [Id. p. 256.]

       197.    The Second Expert team was similarly critical: “Overall, we find that IDOC lacks

an adequate system for access to care through nursing sick call, creating a systemic risk of harm




                                                57
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 206 of 409 PageID #:13975




to patients. The findings at NRC were particularly egregious, in part due to lockdown of the

population 24 hours a day, and warrants immediate attention.” [Puisis SR p. 48.]

       198.    In addition to irregularities in access to nursing sick call throughout the facilities

reviewed by the Second Expert team, the Second Expert Report, like the First Expert Report, was

critical of the fact that LPNs are not used within the scope of practice during sick call. “Thus, some

IDOC patients do not receive evaluations by health care staff licensed to perform independent

assessments. This increases the risk of harm to patients.” [Puisis SR pp. 49; emphasis in original.]

       199.    “In addition,” the Puisis team observes, “we found that nurse to provider referrals

are not made when clinically indicated, and when made are not timely performed.” [Id.]

       200.    Problems noted elsewhere with physical space (for examination and

confidentiality), sanitation and equipment, and record-keeping also rendered access to care via

sick call problematic in the view of the Second Expert team. [Puisis SR pp. 48-51.]

       201.    At specific facilities, the Second Expert team noted additional issues, as follows:

       Dixon CC

       Other problems identified by the First Court Expert remain and there are new
       problems. Sick call requests are still not filed in the medical record. Nurse
       documentation is inconsistent or absent, and did not consistently give an indication
       of the assessment or plan of care. Quality review of nurse performance is not done.
       Medical records are not available in X house; patients there are seen without a
       medical record. Provider follow up on nurse referrals was not timely. Segregation
       inmates only have access to sick call once a week. We noted that care of dental
       patients with pain have their pain addressed inconsistently by medical staff until a
       dentist can evaluate the patient. This process should be standardized so that pain is
       timely addressed.

[Puisis DIX p. 4.]

       Stateville CC

       Problems with sick call identified in the First Court Expert’s report that are still
       evidenced include:




                                                 58
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 207 of 409 PageID #:13976




        •   Nurses do not adequately assess or document evaluation of inmate health
            complaints.
        •   Inmates who were referred from nurse sick call were not seen or not seen timely
            by providers. Providers failed to follow up at intended intervals and treatment
            orders were not completed.

       In addition, we had several additional findings:

        •   LPNs continue to be assigned to conduct sick call even though the stated
            practice at SCC is to assign RNs.
        •   Security practices in segregation do not provide sufficient privacy for patients
            during the sick call encounter.
        •   Nurses do not refer patients to providers in accordance with IDOC Treatment
            Protocols and do not document the urgency of the referral (e.g., urgent, routine).

[Puisis STA p. 20.]

       202.    At Logan, the Second Expert team found ongoing problems with timely access to

care, as well as failure to comply with Illinois law by permitting LPNs to perform assessments

which is out of the scope of their licensure and increases the risk of harm to patients. [Puisis LOG

pp. 18-20.] In addition, some patients who need a medical diagnosis are evaluated only by a nurse

and not by a provider, resulting in, among other issues, medications being ordered without a

diagnosis having been made. In some cases there was also no record that the medications had been

received. [Puisis LOG pp. 20-21.]

       203.    At NRC, “In summary,” the Puisis Report states:

       . . . the basic components of a system to access health care are not in place and
       patients do not have timely access to care for their serious medical needs. The
       practice of 24 hour lockdown is a serious obstacle to access to care. Inmates do not
       have the means to timely and confidentially submit their health requests. When
       submitted, staff does not timely respond. Patients are seen by CMT/LPNs who are
       not licensed to perform independent assessments, and therefore exceed their scope
       of practice whenever they perform independent assessments. Patients are not
       examined in a clinical setting with adequate lighting, equipment, supplies, and
       access to handwashing. Finally, nurse to provider referrals are not made when
       clinically indicated, and when made, they are not timely.




                                                 59
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 208 of 409 PageID #:13977




[Puisis NRC p. 40.] There were also overlapping problems of lack of staff and lack of competent

staff. In one example given, the report states:

        This 37-year-old man arrived at NRC on 12/22/17. His medical history includes
        obesity, sleep apnea, hypertension, and opioid dependence. The patient submitted an
        undated piece of paper that said, “Blood in stools, please help.” An unknown person
        wrote “refused” without date, signature and credentials. On 1/17/18, an RN saw the
        patient for constipation. The patient reported that on 1/16/18 that his stools were dark
        red and soft. The problem started in November 2017. The RN noted that he was
        being seen by GI and was previously scheduled for colonoscopy. The patients pulse
        was rapid (pulse=114/minute). The nurse documented a plan to refer the patient to
        the doctor if symptoms persisted for three days. On 1/19/18, a physician saw the
        patient for follow-up of his blood pressure (BP=153/113 mm Hg). The physician did
        not address the patient’s complaint of blood in his stools. We referred this record to
        the Director of Nurses for follow-up with the provider.

[Id.]

        204.    Finally, at Menard CC, the Second Expert team found ongoing problems of use of

LPNs, inadequate assessments and evaluations; failure to use the patient’s medical record. In

addition, providers did not see patients referred from sick call timely, as in the following instances:

        Referrals to providers were appropriately generated for each of the 15 sick call
        encounters reviewed, but only three were seen within 48 hours. One patient was
        referred after being seen for smoke inhalation; he was not seen by a provider for 11
        days. Another was seen by the nurse for epigastric pain. The provider was called and
        ordered medication and follow up in the chronic care clinic. His next chronic care
        appointment was five months in the future. Another patient was seen by a nurse after
        having a seizure. The nurse practitioner was contacted and directed that the patient
        be seen the next day. The expected appointment did not take place and was never re-
        scheduled. One patient complained of a possible ankle fracture. The nurse contacted
        a provider by telephone, who ordered x-rays of the ankle, a splint, and a lay-in. The
        patient had a severe sprain and was not seen by a provider for two weeks. Patients
        such as these are at risk of deterioration when medical attention is untimely . . .

[Puisis MEN p. 25.]

VIII. CHRONIC DISEASE MANAGEMENT

        205.    Chronic disease management is a critical part of prison healthcare because of the

high rates of chronic illness in prisoner populations. [P501.] In addition to the problems in chronic




                                                  60
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 209 of 409 PageID #:13978




disease care observed by both the Shansky and Puisis teams in IDOC intake, both the First and

Second Court Experts concluded that routine management of chronic illness throughout IDOC put

prisoners at risk.

        206.    The First Expert team identified multiple problems with chronic disease

management. “With regard to policy,” the Shansky Report states, “the most important and

overarching problem is a ‘cookie cutter’ approach to chronic disease management [which] dictates

that all patients are. . . arbitrarily seen only three times a year regardless of how well or poorly”

their disease is controlled. This “only makes sense (and is safe) if patients’ diseases are in good

control. If not, then patients are exposed to the cumulative organ damage caused by inadequately

controlled chronic disease.” [Dkt. 339 p. 19.]

        207.    The result was a careless and risky approach to managing life-threatening

conditions: “At every facility we visited, we encountered cases of patients with poorly controlled

chronic disease going month without any active management of their disease process.” “[W]e

noted multiple instances in which patients experienced medication discontinuity for a variety of

reasons, yet this went unrecognized and [] unaddressed . . ..” [Dkt. 339 pp. 19, 23.]

        208.    Defendants’ policies and protocols for specific diseases also put prisoners at

needless risk, in the Shansky team’s view. “[T]here is no IDOC Treatment Guideline for HIV,

there is only the Wexford Health HIV AIDS infection Control Policy, which does not require that

facility providers follow the HIV patients . . .. [T]hese patients were managed solely . . . via

telemedicine . . ..” [Dkt. 339 pp. 19-20.] “The HIV virus readily develops resistance mutations

when medications are not taken exactly as prescribed. . . . We encountered numerous examples of

patients going for days, weeks or months without their medications . . . and these treatment

interruptions went unnoticed by the local providers.” [Id. p. 20.] Similarly:




                                                 61
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 210 of 409 PageID #:13979




       With regard to the management of pulmonary disease, the treatment guideline is
       seriously deficient, in that it only addresses the treatment of asthma and not of other
       obstructive lung diseases such as COPD and chronic bronchitis, which are common
       and important causes of morbidity and mortality in the U.S., and the treatment of
       which differs in important ways from the treatment of asthma.

[Dkt. 339 p. 20.]

       209.     As to diabetes, the First Expert team found fundamental failures to acknowledge

the difference between Type 1 and Type 2 diabetes, as well as failures to recognize the need for

individualized approaches to management of insulin regimes. [Id. p. 21.] These treatment policy

gaps were exacerbated by the lack appropriate medical training the Shansky team noted for many

facility providers.

       210.     In 2016, the IDOC-commissioned NRI Report articulated the same criticism as to

the overall management of the chronic care schedule in IDOC as had the Shansky Report:

        The chronic care clinic schedule is based on the calendar, but it should be provider
        driven and based on clinical need. The mandatory schedule has historically resulted
        in the providers defaulting to the month that is identified for each chronic condition.
        This system has been shown to create the following problems:

        i.     Providers tend to not order a chronic care follow-up visit based on patient
               needs; rather, they use the calendar schedule to dictate the timing and
               frequency of follow-up.
        ii.    Providers address only one chronic condition at a time, even when multiple
               chronic conditions are present. . . This results in fragmented chronic care
               and unnecessary patient escort.
        iii.   The calendar schedule leads to waste of resources. . . .

[P21 at 000012.]

       211.     In 2018, the Second Expert team found the same triad of problems with chronic

care identified by the First Expert still present in IDOC, namely (i) poor management of

scheduling; (ii) deficient guidelines for disease management; and (iii) physicians who could not

be relied upon to manage the common chronic diseases of a prison population.




                                                 62
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 211 of 409 PageID #:13980




       212.    Like the Shansky Report and the NRI Report, the Puisis Report criticized the

inflexible chronic clinic schedule for creating patient hazards:

       The chronic disease system promotes fragmentation of care and fails to adequately
       address all of a patient’s problems from the perspective of the patient. Patient
       problems are lost to follow up or are not addressed in the context of a patient’s
       complement of diseases.

                                                ****

       Four years ago, the First Court Expert found that most of the IDOC chronic care
       clinics addressed only a single disease and were conducted every four to six months.
       We found chronic care clinic schedules were unchanged. . . The schedule for these
       clinics is inflexible and not based on the degree of control of a patient’s illness.

       Failure to manage patients based on the degree of control of their illness has the
       potential to harm patients, as patients are evaluated on a fixed schedule irrespective
       of the degree of control of their illness. Therefore, persons who need greater
       attention because their disease is poorly controlled may not receive it.

[Puisis SR pp. 10, 53.]

       213.    The inflexibility in chronic clinic scheduling was not just “inefficient, wasteful, and

potentially harmful,” in the Puisis team’s view, but creates the following additional risks for

patients:

       The practice of seeing patients in disease specific chronic illness clinics encourages
       providers to ignore the implications of any one disease on another disease and to
       ignore the multitude of drug-drug interactions that exist in the practice of medicine.
       Many chronic illnesses are clinically interrelated. Metabolic syndrome, for example,
       is a condition that consists of obesity, diabetes, high blood lipids, and hypertension.
       Yet in the IDOC, each of these diseases (diabetes, high blood lipids, and
       hypertension) may be evaluated in a separate chronic clinic. In the IDOC, these
       disease specific clinics also do not include documentation that the provider
       evaluating the patient is aware of the patient’s other clinical conditions. Each
       individual illness is documented on a separate medical record document, which
       makes it impossible to obtain a unified perspective with respect to therapeutic
       treatment planning. . .

[Puisis DIX p. 29.]




                                                 63
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 212 of 409 PageID #:13981




        214.    As noted four years earlier by the First Expert, in 2018 IDOC chronic care still fails

to address some chronic conditions at all:

        A single chronic disease clinic (General Medicine Clinic) is used as a vehicle to
        manage all diseases other than disease specific chronic illness clinics. But we found
        that there are many diseases that are not managed in IDOC chronic clinics and
        therefore are unmonitored. This included patients with cirrhosis, cancer, heart
        failure, substance abuse, and rheumatoid arthritis as examples. . . .

        Also, some diseases are monitored in a clinic that is inappropriate for their
        condition. As an example, chronic obstructive pulmonary disease (COPD) is a
        common respiratory condition affecting about five percent of the population and is
        the third-ranked cause of death in the United States. 19 IDOC treats COPD in the
        asthma clinic and utilizes identical forms and nomenclature for control and
        management as if COPD were the same disease as asthma. They are not the same
        disease . . . The First Court Expert commented on this but there has been no
        modification to guidelines, forms, or management practices . . .

[Puisis SR p. 54.]

        215.    As the First Expert had likewise found in 2014, in 2018 the Puisis team found IDOC

chronic care guidelines to be out of date:

        The chronic care disease guidelines need to be updated. Alternatively, contemporary
        existing guidelines by major specialty organizations should be used in lieu of IDOC-
        specific chronic care guidelines. These specialty organization guidelines are
        periodically updated and are based on latest scientific evidence. For the Office of
        Health Services to attempt to duplicate these guidelines is unrealistic.

        The Administrative Directive for periodic examination 20 is inconsistent with current
        standards of preventive care. 21 Inmates are therefore not offered all preventive
        services that are typically offered to individuals in the community. The most
        important missed preventive care is colorectal cancer screening in individuals over
        50 years of age.

[Puisis SR pp. 10-11.]




19
    [Footnote in original:] UpToDate, Chronic obstructive pulmonary disease: Definition, clinical
manifestations, diagnosis, and staging.
20
   [Footnote in original:] Offender Physical Examination; Illinois Department of Corrections Administrative
Directive 04.03.101.
21
   [Footnote in original:] As exemplified by the US Preventive Services Task Force Recommendations.


                                                    64
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 213 of 409 PageID #:13982




       216.    As to specific chronic conditions, the Second Expert team noted problems with the

management of Hepatitis C (only 3% “of the nearly 10,500 hepatitis C patients incarcerated in the

IDOC between 2010 and 2016 were offered and received” the currently available “short-course

regimens of medications that result in a high percentage of cures”; currently only 10 patients were

receiving the therapy); diabetes (“The care of many diabetics was found to be flawed and put

patients at risk for hypo and hyperglycemia, and ultimately for end organ damage”; the “system

wide failure of the providers to differentiate treatment differences between type I or type II

diabetes and the IDOC universal practice of treating all diabetics on insulin with the same regimen

of medications” puts patients at risk); patients on anti-coagulation therapy (“[p]atients on Vitamin

K antagonist anticoagulation medication (warfarin) were rarely well controlled”); and overall with

the management of prescribed medications (“failure of the chronic care providers to routinely

monitor patient compliance with prescribed medication put the patient at notable risk for

overprescribing and needlessly increasing medications dosages”) and monitoring of weight loss

(“[w]eight loss in correctional settings is an ominous sign”). [Puisis SR pp. 54-55.]

       217.    In the Menard report, the Second Expert team explained in further detail the many

flaws they found in the management of Hepatitis C within IDOC:

       When treatment of hepatitis C is deferred and when there is active virus present,
       there is a risk of ongoing harm to the patient and ongoing monitoring of liver disease
       is recommended. 22 Yet, except for continuing to obtain an APRI level, providers in
       hepatitis C clinic do not monitor for cirrhosis or its complications or other possible
       complications of hepatitis C infection. When patients develop cirrhosis, it is
       recommended that they receive a baseline EGD to screen for varices and every-six-
       month ultrasound or CT scan screening to evaluate for hepatocellular cirrhosis. This
       is seldom done, even when patients have significantly elevated APRI levels. We note
       that in four death reviews of patients at various facilities who died of complications
       of hepatitis C, the patients were not monitored with EGD, ultrasound or for their

22
  [Footnote in original:] HCV Guidance: Recommendations for Testing, Managing, and Treating Hepatitis
C; Last Updated May 24, 2018, American Association for the Study of Liver Diseases and Infectious
Diseases Society of America as found at https://www.hcvguidelines.org/sites/default/files/full-guidance-
pdf/HCVGuidance_May_24_2018a.pdf.


                                                  65
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 214 of 409 PageID #:13983




       ascites. 23 One example at MCC was a patient who had APRI levels indicative of
       cirrhosis as early as 2012, but the patient failed to receive endoscopy until August
       of 2015. 24 The patient did not have screening for hepatocellular carcinoma until May
       of 2015. At that time, a liver mass was found on a CT scan but was not timely worked
       up. . . The patient ultimately died of complications of his cirrhosis (hepatocellular
       carcinoma) without ever having a diagnosis of the liver mass . . .

[Puisis MEN pp. 29-30.]

        218.    These unsound practices were further compounded, in the Second Expert team’s

view, by a barrier to treatment created by Wexford utilization management:

        The IDOC hepatitis C guideline states that workup of all hepatitis C positive
        patients, including the decision to refer to the UIC Liver Telemedicine Clinic, will
        be the sole responsibility of the IDOC providers at each individual IDOC facility. 25
        This does not occur, as Wexford has inserted an additional utilization barrier into
        this process. When the APRI is elevated above 1.0 or above 0.7 with low platelet
        counts or albumin, facility physicians are to refer patients to a Wexford corporate
        internist who makes the decision on whether to refer the patient to UIC.

                                                   ****

        Based on mortality records and on case reviews we performed, it appears that
        referral to the Wexford corporate hepatitis C internist is significantly delayed. . .

[Puisis MEN p. 30.]

        219.    Taken together, the Puisis team found that these barriers to care created low

treatment numbers and risky delays in treatment:

       In April 2018, 134 men were on the Hepatitis Report maintained by the chronic care
       nurse. Only one (0.7%) had completed hepatitis C treatment. This is consistent with
       statewide data that shows that approximately 2.9 patients are treated per facility per
       year. 26 Another 12 (9.0%) were in the process of being worked up. Even though
       IDOC guidelines 27 mandate testing of HCV viral load on all patients, 17 (12%) of
       the 134 hepatitis C patients have not yet had their HCV RNA viral load tested. 87.3%
       of the hepatitis C patients have not yet had a fibroscan performed, even though the
       IDOC Hepatitis C Guidelines mandate that all patients have fibroscans done as part

23
   [Footnote in original:] Patients #6, 12, 23, and 28 in Mortality Reviews.
24
   [Footnote in original:] Patient #23 Mortality Reviews.
25
   [Footnote in original:] Hepatitis C Guidelines, December 2017.
26
   [Footnote in original:] Data we received from UIC is that for the three years 2015 through 2017 inclusive,
227 patients were treated for hepatitis C. This is approximately 2.9 patients per facility per year.
27
   [Footnote in original:] Hepatitis C Guidelines December 2017.


                                                     66
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 215 of 409 PageID #:13984




         of their initial evaluation. IDOC restricts HCV treatment to patients with APRI score
         greater than or equal to 1.0 or with APRI scores between 0.7 and 0.99 with additional
         abnormal labs and high risk conditions, or advanced liver disease. This threshold
         limits the number of patients who are eligible for treatment. The process of accessing
         UIC also has considerable barriers. These barriers limit the numbers of patients
         treated and cause unnecessary delays in treatment that harm patients.

[Puisis MEN p. 31.]

         220.    The Puisis team’s Menard CC report also details basic problems with IDOC

management of heart disease and diabetes, in particular as to appropriate medication management:

         The primary and secondary prevention of arteriosclerotic cardiovascular disease
         (ASCVD) provided was not in alignment with current national and IDOC standards.
         The providers did not even once calculate patients’ 10-year ASCVD risk score,
         which would have assisted them in determining the proper preventive medication
         and dosage. Patients were prescribed low intensity HMG-CoA reductase
         medications (statins) when high-intensity statins at higher dosages were indicated.
         Non-statin anti-hyperlipidemia (niacin, gemfibrozil) were prescribed without any
         documented clinical justification; these categories of medication have limited impact
         on the prevention or progression of cardiovascular disease. The providers
         concomitantly order 70/30 insulin and sliding scale short acting insulin before meals.
         The simultaneous use of these two types of short acting insulin puts diabetic patients
         at risk for hypoglycemic attacks. . .

[Id. p. 32.]

         221.    Finally, the Second Expert team noted that IDOC fails to provide “a number of

nationally recommended preventive and screening interventions that are designed to prevent

certain chronic illnesses,” including pneumococcal and meningococcal vaccines, and colon cancer

screenings whose lack “is resulting in preventable deaths and avoidable morbidity in the IDOC.”

[Puisis SR p. 57.]

         222.    As with other aspects of physical healthcare within IDOC, problems of provider

quality—including ability to recognize medical needs—and record-keeping and record

management vexed chronic clinic care, in the view of the Second Expert team. At Logan CC, they

noted:




                                                  67
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 216 of 409 PageID #:13985




       The care provided to a number of patients with chronic illnesses had deficiencies.
       The providers did not consistently document the rationale for clinical decisions,
       including the selection of medications, changes in medications, and modification of
       medication dosages. It was difficult to understand the reasoning for the treatment
       regimens that were being provided to some patients. Some patients needed specialty
       consultation but did not receive it. Consultants recommended additional diagnostic
       studies for a patient but there was no documentation in the medical record that these
       tests were ordered and there was no documented clinical rationale for not proceeding
       with the recommendations. Some patients were treated with medications without
       appropriate indication. . . .

[Puisis LOG pp. 57-58.]

       223.    At Stateville CC, the Second Expert team likewise found deficiencies in the record

and in clinical judgment in chronic care cases:

       The providers’ documentation in the medical record was extremely brief, commonly
       illegible, and seldom contained pertinent clinical information needed to clarify and
       understand the state of a patient’s chronic illness or justify a change in the treatment
       plan. The experts found it extremely difficult to track the status of a patient’s chronic
       illness and to comprehend the reasons for a modification of treatment. . .

       Most of the chronic care patients had completed problem lists. However, four (31%)
       of the 13 charts reviewed were found to be missing important diagnoses on the
       problem, list including hypertension, hepatitis C, amputated thumb post human bite,
       and diabetic foot ulcer. . .

[Puisis STA p. 27.]

       224.    Further at Stateville CC, the Puisis team found that “[a]ll 13 (100%) of the patient

records had problems identified in the provision of care.” [Id. p. 28.] These included failure to

follow IDOC’s own chronic care guideline for asthma; a patient who was prescribed a statin dose

“inadequate” for his “level of cardiovascular risk,” and was also “given a diagnosis of hepatitis C,

yet there were no tests done to support this diagnosis”; a diabetic patient for whom “CBG logs

from October 2017 through January 2018 documented elevated glucose levels that were not

consistent with the control indicated by the HbA1Cs; this important clinical discrepancy was not

discussed at any of the diabetes clinics. This indicates that the diabetes chronic care providers are




                                                  68
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 217 of 409 PageID #:13986




not regularly, if at all, reviewing the CBG tests or the MARs during the clinic sessions”; and an

epileptic patient

       . . . with uncontrolled seizures and multiple repeat sub-therapeutic Dilantin levels
       [who] was not being adequately treated. Physicians initially doubted that he was
       having seizures, then failed to expeditiously switch him from KOP to Watch-Take
       administration after repeated nursing notes documented non-compliance with his
       KOP medications. The four-month delay in changing the mode of medication
       administration jeopardized this patient’s health. Even after Watch-Take medications
       were finally initiated, the drug level was not therapeutic, but no clinical action was
       taken (increased dose or new medication) . . .

[Puisis STA pp. 28-33.]

       225.    In the view of the Second Expert team, “The poor training and qualifications of

physicians was the most important deficiency that resulted in significant morbidity and mortality

with respect to managing chronic illness:

       The deficiencies . . . included not understanding how to diagnose or manage certain
       chronic illnesses, failure to timely or appropriately manage patients whose disease
       was not well controlled, failure to monitor key tests or other variables with respect
       to disease management, failure to identify or properly manage red-flag or other
       critical abnormalities involving chronic illness, failure to consistently document the
       rationale for clinical decisions and diagnoses in the chronic care patient progress
       notes, failure to document adequate histories, physical examinations or therapeutic
       treatment plans, failure to incorporate specialty recommendations with respect to
       management of chronic illness into a unified therapeutic treatment plan, failure to
       refer for specialty care when indicated, and failure to monitor medication
       management is a safe manner. . .

[Puisis SR p. 52.]




IX.    URGENT AND EMERGENT CARE

       226.    The First Expert team found that nurses and clinicians failed to identify when

patients required emergency room services and/or hospitalization; that patients were not

appropriately assessed upon return from the emergency department or hospital, and that records




                                                69
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 218 of 409 PageID #:13987




of offsite care were not obtained, and that there were lapses in patient follow-up by a primary care

clinician once the patient returned to the prison.

       227.    One example came from Menard CC, “a 63-year-old man . . . died on 2/11/14 of

complications following several cardiac arrests. . . . He was found to have hypertension in 2011,

but blood pressure checks were discontinued by the MD . . . . He was not started on medication.”

When he “presented with chest pain, shortness of breath, and hypertension” in September 2013,

[h]e was given a dose of clonidine and placed in the infirmary . . . No ECG was ordered. In fact,

no other work-up or treatment was ordered.” In January 2014, he again presented with shortness

of breath and chest pain; he was treated with antibiotics. After admission to the infirmary, he was

finally sent to a hospital ER, where he “was admitted with [congestive heart failure] and

subsequently suffered several cardiac arrests and ultimately died.” “It is not appropriate to treat a

hypertensive urgency in a prison infirmary,” the Expert Report states. “[T]he patient should have

been sent to the outside [hospital] back in September when he initially presented with these

symptoms. It is likely that his cardiac condition would have been recognized then . . . thereby

substantially reducing his risk of death.” [Dkt. 339 at 364-65.]

       228.    In 2018, the Puisis team stated:

       Our findings are unchanged from those of the First Court Expert. Among charts
       reviewed . . . we found numerous instances of incomplete nursing assessments and
       failure to contact a higher-level clinician, 28 patients returning without records from
       the offsite provider, 29 failure to assess patients upon their return from offsite care, 30
       and lack of appropriate follow up by the primary care provider.

[Puisis SR p. 60.] Further:



28
   [Footnote in original:] Dixon Urgent/Emergent Patients #1-3; MCC Urgent/Emergent Patient #1; Sick
Call Patients #1-2; Specialty Consultations and Hospitalization Patient #6.
29
    [Footnote in original:] SCC Urgent/Emergent Patient #1; DCC Urgent/Emergent Patient #2; MCC
Urgent/Emergent Patient #1; Specialty Consultations and Hospitalization Patients #6-9.
30
   [Footnote in original:] SCC Urgent/Emergent Patients #1-3; DCC Urgent/Emergent Patients #2-3.


                                                   70
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 219 of 409 PageID #:13988




       The review of 33 deaths corroborates the findings from the review of records of
       patients seen for urgent or emergent conditions. Errors made in urgent/emergent
       services provided to patients who later died included the failure by nurses to refer to
       a higher-level clinician, 31 failure to recognize patient instability and the need for
       hospitalization,32 patients who were returned to the facility for whom the record of
       offsite care was never obtained or reviewed, 33 and patients who did not receive
       adequate follow up and implementation of recommendations.

[Id. pp. 61-62.]

        229.    At Menard CC, the Second Expert team found:

       . . . [T]he deficiencies in Urgent/Emergent Care were similar in frequency and type
       to those reported by the First Court Appointed Expert. These include absence of
       important information from the hospital, inadequate assessments by nursing staff,
       untimely physician follow up, and failure to monitor or intervene. We found many
       additional deficiencies, including inappropriate denials of care by the Wexford
       utilization physician, failure to review or complete recommendations of consultants,
       ignorance of the status or therapeutic plan recommended by consultants, and failure
       to follow up on abnormal test results. Several episodes of care were grossly and
       flagrantly unacceptable, sufficient to typically result in peer review of the clinician
       caring for the patient.

[Puisis MEN p. 51.] Similarly, the Dixon CC report summarizes multiple cases of patients who

should have been sent to the ER but were not; who returned from the hospital but did not have the

relevant reports reviewed; and other life-threatening (or life-ending) failures. [Puisis DIX pp. 47-

58.] The care of some of these patients is described by the Puisis Report as constituting

“incomprehensible practice” [id. p. 53] or “grossly and flagrantly unacceptable” [id. pp. 52, 54,

57]. Similar issues of incomplete or inaccurate diagnoses, failure to acknowledge urgent/emergent

problems, inaccurate documentation, and failure to attend to information that was available in

documentation, were observed at Logan CC and Stateville CC as well. [Puisis LOG pp. 24-29;

Puisis STA pp. 39-48.] As to six records of hospitalization reviewed at Stateville, the report notes:

       We noted clinical management problems in all six records reviewed, including
       significant preventable or possibly preventable harm and risk of harm to patients

31
   [Footnote in original:] See Mortality Review Patients #1, 7, 14, 15, 18, 23, 25 and 30.
32
   [Footnote in original:] See Mortality Review Patients #7-9, 13, 17-19, 21-23, 25, 28-29, 32-33.
33
   [Footnote in original:] See Mortality Review Patients #6, 9, 17, 21, 28.


                                                    71
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 220 of 409 PageID #:13989




       who had delayed hospitalization, delayed specialty care, or lack of primary care of
       their underlying medical conditions. The lack of appropriate treatment of their
       underlying medical conditions resulted in deterioration and harm (myocardial
       infarction, stroke, and colon cancer) that was preventable if their conditions were
       treated appropriately. There appears to be a significant knowledge and practice
       deficit with respect to managing primary care problems . . .

[Id. p. 42.]

        230.    Finally, at NRC, the lack of a tracking log for patients sent for urgent/emergent

services meant that it was impossible even to assess those services. [Puisis NRC p. 51.]

X.      SCHEDULED OFFSITE SERVICES AND OTHER SPECIALTY CARE

        231.    Specialty care is needed when a patient requires a special service or consultation

that is unavailable at the facility.

        232.    In IDOC, specialty care is subject to Wexford “utilization management.” The

Wexford utilization management process requires a facility Medical Director who believes a

specialty consultation or service is needed to consult with a Wexford corporate physician located

in Pittsburgh in a process referred to as “collegial review.” The Second Expert Report describes

the Puisis team’s observations of “collegial review” as follows:

        The collegial review is a phone conference call attended by a utilization physician
        in Pittsburgh, the facility Medical Director, and the scheduling clerk from the
        facility.. . .

        We listened in on one of these collegial review conference calls and spoke to staff
        about the calls at other sites. The calls are brief. . . The call we witnessed had no
        clinical collegial discussion . . .

[Puisis SR p. 63.]

        233.    The collegial review calls are “brief” because the Wexford corporate physician who

is assigned to Illinois typically reviews some 200 cases each week. He has limited documentation

on each case. The “collegial review” can result in approval of the request; denial of the request; or

a requirement that more information be supplied to support the request. If the request is denied, an



                                                 72
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 221 of 409 PageID #:13990




“alternate treatment plan” for care that can be provided within the facility’s capacities is required

(e.g., an analgesic and exercise instead of orthopedic surgery).

        234.   Typically the specialty services which are the subject of utilization management

review are offsite services, but certain on-site procedures and non-formulary medications or

products must also be approved by Wexford utilization management.

        235.   In 2014, the First Expert Team catalogued a litany of problems in specialty services:

       During our review of records, we found breakdowns in almost every area, starting
       with delays in identification of the need for the offsite services, delays in obtaining
       an authorization number, delays in being able to schedule an appointment timely,
       delays in obtaining offsite paperwork, and delays or the absence of any follow-up
       visit with the patient.

[Dkt. 339 at 29; emphasis added.]

        236.   Four years later, the Second Expert team found no positive change in scheduled

offsite services: “There was no improvement since the First Court Expert’s report.” [Puisis SR p.

63.]

        237.   Like the Shansky team, the Puisis team found problems with extended delays in

obtaining needed care, coupled with the absence of any timetables according to which care was to

be obtained:

       The IDOC-Wexford contract has no specifications with respect to timeliness of
       specialty care. There is no administrative directive (AD) on specialty care, including
       timeliness of care. AD 04.03.103 Offender Health Care Services describes the
       requirements of obtaining specialty care. With the exception of a requirement that
       the vendor Utilization Management Unit will review all referrals within five working
       days, there are no timelines associated with obtaining specialty care. None of the
       facilities tracked timeliness of specialty consultations. Dixon did perform a one-time
       study of timeliness of UIC consultations, which showed significant delays.

[Id. p. 64.]

        238.   According to the Puisis team, the “one-time study” performed at Dixon CC, in April

2017, showed that “[t]he average time to see a consultant was as follows:



                                                 73
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 222 of 409 PageID #:13991




               •   239 days for gastroenterology
               •   225 days for rheumatology
               •   187 days for urology
               •   179 days for neurology
               •   175 days for orthopedic surgery
               •   172 days for radiology
               •   147 days for oncology
               •   137 days for pain clinic
               •   134 days for endocrinology
               •   133 days for infectious disease
               •   100 days for cardiology

[Puisis DIX p. 60.]

       239.    Similarly, at Stateville CC, the Puisis team found long delays in obtaining offsite

procedures, including, “for the 55 gastroenterology consults completed in 2016 and 2017,” an

average time from referral to consultation of approximately 6 months. [Puisis STA p. 49; emphasis

in original.] “We note that since the referral dates are not accurately stated, these delays may be

even longer. Some of these delays were for diagnostic studies which would result in harm if not

timely accomplished.” [Id.]

       240.    The Puisis team found that, as with other areas of IDOC healthcare, record-keeping

was poor, making evaluation of the timeliness of referrals and services difficult:

       Each site had a tracking log detailing the benchmark dates of specialty care. None
       of the tracking logs was complete and some were inaccurate. Tracking logs were
       similar but not standardized. These tracking logs were under Wexford management
       . . . At [Menard] CC, 44% of referrals in 2017 did not have a referral date documented
       on the tracking log and only 53% had the date the appointment was completed
       documented. . . at [Stateville] CC for a period in January of 2017, 60 consultations
       were documented as being completed before the referral was made. . . .

[Puisis SR p. 64.] In addition, over a three-month period at Stateville CC, “22 (7%) of 321 collegial

reviews were documented as occurring before the date of referral. This is not possible . . .” [Puisis

STA p. 49.]




                                                 74
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 223 of 409 PageID #:13992




       241.    Deficiencies in specialty care records also impaired the provision of healthcare and

created patient safety risks, in the view of the Puisis team:

       Medical records we reviewed did not consistently contain documentation of all
       benchmark events including referral, collegial review, alternate treatment plans,
       appointment, or follow up . . .

       We also noted that a significant number of consultations occur without evidence of
       a report. 34 The IDOC refers patients to consultants and to hospitals, but when those
       consultations and hospitalizations are completed, the IDOC does not obtain a report
       of the consultation or hospitalization in a significant number of these referrals. This
       is a patient safety risk. When a report is not present, the providers will be unaware
       of other recommended testing or consultations, and will be unaware of the consultant
       or hospital findings that have a significant impact on therapeutic plans.

[Puisis SR pp. 64-65.]

       242.    The Second Expert team reported Defendants’ explanation as to why records of

outside procedures were not routinely obtained—namely, that IDOC does not control outside

providers—but based upon their own experience, the team members did not accept that

explanation as valid. IDOC or its vendor have agreements with the outside providers and, in the

Puisis team’s view, obtaining reports should be part of the contractual understanding:

       . . . [T]he IDOC has taken a position that they have no control over consultants or
       outside hospitals, and therefore obtaining a report is beyond the IDOC’s control. . .
       This is a serious problem. In our experience managing contract medical services and
       a county-managed health program, we have always been able to negotiate with
       consultants and hospitals timely access to consultant and hospital reports. We view
       this as a failure of the vendor to perform . . .

[Puisis SR pp. 66-67.]

       243.    At NRC, the Puisis team’s record review revealed not just poor documentation

throughout the process, but also a pattern of failing to implement the recommendations of outside

consultants which also posed risks to patients, in the team’s view:


34
  [Footnote in original:] As an example, on 33 mortality review records, there were 137 episodes when
records were unavailable from offsite specialty care or hospital care. This included both specialty
consultation reports and hospital discharge summaries.


                                                 75
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 224 of 409 PageID #:13993




       We also looked at specialty care follow-up to assess whether providers are carrying
       out the consultant’s recommendations or documenting why they did not follow the
       recommendation. We found that specialty care is poorly documented in the medical
       record despite being required by the IDOC ADs. We reviewed seven patients who
       had 22 consultations and one hospitalization. Of the 22 consultations we found only
       14 (63%) referral forms, only three (14%) collegial reviews, and only nine (41%)
       approvals in the medical record. Of the 22 consultations that occurred, only eight
       (36%) included a formal consultant report. Some consultations had a few brief lines
       written on the referral form giving recommendations, but these did not include
       information about the status of the patient and did not include a report of the
       evaluation. Particularly problematic was that 19 recommendations of consultants
       were not reviewed or carried out. Given that there were 19 recommendations not
       carried out in seven patients, there is a serious problem with clinical follow up of
       specialty appointments that represents a significant risk of harm to patients. These
       represent underutilization or not conducting necessary specialty care.

[Puisis NRC p. 53.]

       244.    The Second Expert team also concluded that there was a widespread pattern of

underutilization of specialty services which contributed to patient harm and mortality:

       A major but unmonitored problem with specialty care is underutilization. The First
       Court Expert found the same problem and described it as delays in perceiving a need
       for the service. This can occur when physicians are unaware that a specialty
       procedure or consultation is necessary or when the utilization process is so
       restrictive that providers fail to refer because they feel that it will not be approved.
       We were unable to specifically identify the cause in the IDOC but have definitively
       identified that it occurs. On the 33 death records reviewed, we noted 95 instances
       when a procedure should have been requested but was not, and 81 instances where
       specialty consultations should have been requested but were not. This is a large
       number of unrecognized specialty care referral in just 33 patients and demonstrates
       significant underutilization. . . We view this deficiency as a result of improperly
       trained physicians and a learned process of not requesting care. This lack of referral
       places patients at risk of harm and has caused preventable morbidity and mortality.
       This is a systemic problem that appears at all facilities we investigated. . . .

[Puisis SR pp. 64-65; emphasis added.]

       245.    As with many other problems throughout IDOC healthcare, the Second Expert team

targeted poor physician quality as a root cause which, in the case of specialty care, combined with

the utilization management process to create underutilization:




                                                 76
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 225 of 409 PageID #:13994




        A significant problem with [collegial review] is [Medical Director training] . . .
        [T]here are many Medical Directors who have not been trained on when to
        appropriately refer for consultation. We found this problem repeatedly in record
        reviews. . .

        Patients are not consistently referred for specialty care when it is warranted. We
        view this as a problem of hiring unqualified physicians and as a problem of the
        utilization process itself.

[Puisis SR pp. 10, 63.]

        246.    Among the many examples of harm from underutilization due to physician failure

to refer was a case from Logan CC of a woman with history of mitral valve heart disease and

clusters of blisters on her feet:

        . . . [T]his patient again developed blisters on her feet on 1/11/18. Initially, a doctor
        ordered Diflucan, an antifungal agent, and metronidazole by phone order, without
        evaluation. The blisters worsened and eventually on 2/8/18 a doctor diagnosed “foot
        rot” between the toes. Vinegar soaks, metronidazole, Keflex, and fluconazole were
        ordered. None of these antibiotics or antifungal agents is typically used for initial
        treatment of skin and soft tissue infections which, in a prison, need to cover for
        MRSA.

        A doctor continued to treat the patient with multiple antibiotics and Diflucan, an
        anti-fungal agent, for over three months. During our tour we evaluated the patient,
        who had necrotic black tissue covering the webs between all the toes of her foot.
        We were told that the HCUA pressured the Medical Director to obtain an infectious
        disease consultation, which is scheduled for 5/1/18. The providers have not debrided
        the necrotic tissue, which needs to be removed until healthy tissue is present. The
        depth of the ulcerations on the feet has not been determined. If, after debridement,
        the wound probes to bone, then evaluation for osteomyelitis needs to be initiated.
        The patient should be treated with antibiotics appropriate for the type of infection
        and we agree with the infectious disease consultation, which should have been
        initiated earlier in the course of the infection and was only initiated at the urging of
        the HCUA.

[Puisis LOG pp. 35-36.]

        247.    Based on their investigation, the Second Expert team was sharply critical of the

utilization management/collegial review process as a barrier to patient care and a patient safety




                                                  77
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 226 of 409 PageID #:13995




hazard. Categorically, they stated that “The collegial review process of accessing specialty care is

a patient safety hazard and should be abandoned until patient safety is ensured.” [Puisis SR p. 10.]

          248.   A sample of records at one prison illustrated multiple hazards from failures to refer

which the Expert Team attributed to the collegial review process:

          . . . [T]his process should be abandoned to protect patient safety. In our limited chart
          reviews [at Logan CC], we identified four denials in a single patient for necessary
          care for multiple sclerosis without any documented collegial discussion of
          alternative plans, a delayed diagnosis of colon cancer that likely resulted in
          unnecessary spread of the colon cancer, failure to send a patient with necrotic foot
          lesions to a podiatrist or to thoroughly evaluate for osteomyelitis, failure to evaluate
          a diabetic patient with a draining ulcer over the tibia for MRI, bone biopsy, or
          infectious disease consultation to evaluate for osteomyelitis, and a failure to obtain
          pulmonary function testing in a patient with COPD.

[Puisis LOG pp. 32-33.] The Puisis team also reported that providers at Logan “were generally

critical of the utilization management program that served as a barrier to timely care.” [Puisis LOG

p. 57.]

          249.   IDOC internal documents likewise reflect difficult-to-understand denials of outside

services by Wexford utilization management, many of which were protested by facility healthcare

staff. Wexford utilization management denied:

             •   an orthopedic evaluation for a patient who had a “metallic screw
                 progressively protruding through the skin” [P487];

             •   a surgery for a patient who had injured his finger with subsequent “purulent
                 drainage and recurrent infections because it would not heal” [P488];

             •   surgery for a patient who had a staph infection and “multiple draining areas
                 on his right & left butt cheek as well as his coccyx . . . for several months”
                 (“THIS OFFENDER NEEDS SURGICAL INTERVENTION,” wrote the
                 nursing supervisor who reported this to Dr. Shicker and others. “Please help
                 he needs to be seen ASAP . . .”) [P490];

             •   a colonoscopy that had been requested by UIC for a patient in their care in
                 the HCV clinic [P451];




                                                    78
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 227 of 409 PageID #:13996




           •   a surgical consult for a patient with a “large disfiguring lipoma to back at
               head at neck—currently 16cm x 11cm and approximately 4 ½ cm in depth.
               Area is getting larger, pushing head forward, causing discomfort and mental
               issues” [P478];

           •   a surgical consult for a patient with a “large, firm keloid to right jaw 3 ½ cm
               x 3 ½ cm . . .Has drainage seeping around area. Prior drainage was foul
               smelling and purulent” [P478]; and

           •   an IV Venofer (iron sucrose) infusion recommended by a hematologist for a
               patient with severe anemia. [P479.]

In addition, in early 2015, the medical director at Sheridan appealed a utilization management

denial for “Boost” for a quadriplegic experiencing “skin breakdowns and multiple decub ulcers

[bedsores].” [P500.] “Dr. James feels this patient needs the Boost to increase his protein intake via

supplemental nutrition [f]or better wound healing,” the email stated. The response from Wexford’s

Dr. Ritz was to deny it again: “Does not meet medical necessity . . .” [Id.] Later the same year, the

staff at Hill were also denied Boost for a patient (“This is non-approved, per Dr. Ritz as there is

no evidence of inability to tolerate oral intake”). [P499.] “I’m not sure who they have been talking

to,” wrote the Hill HCUA to Shicker and others, “but this offender has not been able to keep solids

down for a week. . . He is terminal, losing weight, BP is 90/60.” [P496.] She subsequently reported

to Dr. Shicker and the Hill DON: “Update—today he was sent out to urologist and he ended up in

ER for IV fluid rehydration.” [P499.]

       250.    Finally, a January 2016 email from the HCUA at Hill CC forwards the record of a

utilization management denial from Dr. Ritz to Shicker and Hobrock. The record states: “11/24/15

COD BETWEEN DR. RITZ AND DR. SOOD ABOUT A PROSTHETIC REPAIR. REPAIR

NOT APPROVED. DOES NOT MEET CRITERIA FOR REPAIR.” The email from HCUA

Lindsdorff to Shicker/Hobrock says: “. . . we were advised during CQI that he was going to be put




                                                 79
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 228 of 409 PageID #:13997




back in collegial review and yet he has not. This offender’s prosthetic foot is held together with

tape. He needs a new foot.” [P476; emphasis added.]

       251.     The Second Expert team also concluded that the IDOC/UIC agreement which

provides for a certain amount of “free” specialty care for patients from certain prisons is

independently responsible for harmful delays in care:

       A special situation exists with respect to use of UIC for consultant care. Years ago,
       UIC negotiated to provide IDOC with a certain amount of free care . . . For a variety
       of reasons, these specialty consultations are delayed. At Dixon, consultations to UIC
       average six months to complete and range from 100 days for a cardiology
       consultation to 239 days for a gastroenterology consultation. These delays have
       resulted in morbidity and mortality, and place the patients at significant risk of harm.
       There is no process in practice to assess whether a patient’s condition needs earlier
       attention. Because the cost of UIC is free and the cost of alternate care is a cost borne
       by Wexford, there is significant incentive to send patients to UIC even if it results in
       delayed care.

[Puisis SR p. 67.]

       . . . Waiting for unacceptable time periods for free care when care needs to be
       performed more timely has harmed patients.

[Puisis SR p. 10.]

       252.     A study from Dixon CC, one of the prisons that participates in the UIC program,

assumed time frames for “urgent consults” of one week and “non-urgent consults” of eight weeks.

“None of these averages meet contract requirements,” the Puisis team noted, “and probably most

patients require an earlier appointment.” [Puisis DIX p. 60.] “We note in the mortality review

section that there were six death records from DCC reviewed and all six were preventable. Many

were related to lack of access to timely specialty care or other higher level services.” [Puisis DIX

p. 60 n. 72.]

       253.     Finally, the Puisis team also found a failure to recognize and address the need for

more urgent consultations when appointments could not be timely scheduled: “There did not




                                                  80
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 229 of 409 PageID #:13998




appear to be any effort to reschedule important consults to other centers so that timely care could

be obtained. We were told that past due appointments are managed by Wexford and discussed at

collegial reviews. We did not see evidence of this. . .” [Puisis STA p. 49.]

       254.    In summary, the Second Expert team concluded as to IDOC specialty care:

       Based on multiple record reviews, including mortality reviews, we have identified
       considerable morbidity and mortality associated with untimely or lack of referral for
       higher level of care. In review of 33 deaths, we found 93 episodes of care when a
       patient should have been referred to a hospital. Many of these delayed or failed
       hospital admissions contributed to patient death. . . .

[Puisis SR p. 68.]

XI.    INFIRMARY CARE

       255.    In 2014, the First Expert team found multiple problems with care in the system’s

infirmaries:

       Our review of infirmary care revealed deficiencies with regard to policy, practice
       and physical plant issues. In terms of policy, perhaps the most glaring is the lack of
       a description of the scope of services that can safely be provided in the infirmary
       setting. . .

[Dkt. 339 p. 32.]

       256.    Many infirmary patients should not have been in prison infirmaries at all:

       We encountered numerous examples of patients who were admitted to the infirmary
       with potentially or actually unstable conditions which should have been referred to
       a higher level of care (i.e., outside hospital). In several instances, this resulted in
       actual harm to the patients.

One case was a patient at Illinois River CC who had rapidly progressing paralysis, but was kept in

the infirmary for two weeks despite his requests to be sent to a hospital. When he finally was

transferred to a hospital ER, he was diagnosed with leukemia of the spine “and is now permanently

wheelchair bound.” [Id. pp. 32-33.]




                                                 81
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 230 of 409 PageID #:13999




        257.    Among the physical plant problems noted by the First Expert were that infirmary

beds may be in solid door cells with only a small window and no sight line to a nurses’ station or

anyone watching. Despite this, some infirmaries have no call system in place. “In the [Menard]

infirmary,” the Shansky team noted, “patients are padlocked in their rooms and life/safety issues

are a concern. . . . [T]here is no nurse call system.” [Id. p. 353.]

        258.    In 2018, the Second Expert team found the deficiencies in infirmary care noted by

the First Expert team unaddressed, starting with the lack of appropriate policy:

        The Offender Infirmary Services administrative directive [is] dated 9/1/2002. . . It
        has not been modified since the First Court Expert’s visit. There are still no written
        policies that provide guidance to the IDOC clinical staff on which conditions or
        level of instability exceed the capabilities of the infirmaries and should be promptly
        referred to a hospital. . .

[Puisis SR p. 69-70.]

        259.    As in 2014, in 2018 the Puisis team found the infirmaries housing high need

patients who, in their judgment, were not appropriately placed in such a setting:

        At the time of the Experts’ site visits, a high percentage of the patients in the
        infirmaries were physically and/or mentally impaired patients with dementia,
        traumatic brain injuries, advanced cardiovascular disease, and cerebrovascular
        disease. Many were incontinent of bladder and bowel and needed partial or full
        assistance with activities of daily living (ADLs), including toiletry, feeding, bathing,
        dressing, and transfers in and out of beds and chairs. This was especially true of the
        Dixon facility which includes a special mission of housing geriatric patients. . .

[Id. p. 70.]

        260.    Specifically at Dixon CC, the team noted:

        Nine of the individuals in the infirmary were designated as requiring assistance with
        activities of daily living (seven partial assistance, two with total care); thus 50% of
        the infirmary patient population were unable to fully care for themselves. Included
        in this non-independent group were individuals with metastatic cancer, dementia
        with contracted limbs, post CVA, advanced multiple sclerosis, and dementia. The
        RN on duty stated that all nine would be permanently housed in a skilled nursing
        facility if they were not incarcerated.




                                                   82
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 231 of 409 PageID #:14000




[Puisis DIX p. 66.]

          261.    However, Dixon is not the only IDOC prison with severely compromised and

geriatric patients in its infirmary. A list of Stateville infirmary patients from June 2016 (15 total)

included three with dementia (two unable to walk, one of whom also had “no English”); one who

had had a craniotomy with brain mass removal; three with cancer (lung; liver/pancreatic;

prostate/bladder);     one   with    seizures/shunt;     and   two   with    congestive    heart      failure

(CHF)/cardiomyopathy. They ranged in age from 50 to 79 years old. [P460.]

          262.    Likewise, the Second Expert team described the following patient in the infirmary

at Menard CC:

          The next patient is a 79-year-old with metastatic prostate cancer on heavy analgesia
          who was intermittently confused and had difficulty ambulating, who suffered a torn
          urethral meatus that was reported to have occurred when the patient (or another
          person) stepped on the tubing of the catheter that was dangling and laid on the floor.
          This could have been prevented with proper nursing management of the tube and
          bag. This patient is dying; there is no documentation that he has been considered for
          compassionate release from the IDOC. There is no documentation that this patient
          had ever been previously screened for colon cancer 35 during times prior to his
          metastatic cancer . . .

[Puisis MEN p. 66.]

          263.    As to deficiencies in physical plant and equipment in 2018, the Puisis team

catalogued the following at the sites they visited:

         NRC:

         NRC opened a 12-bed medical infirmary in 2016. The nursing station is in a
         converted storage closet with no sink, no electrical outlets, no phone, no computer,
         and only one desk for two to three nurses. . . . The monitoring panel in one of the
         two negative pressure isolation rooms was not operational. Even though the majority
         of the patients housed in the medical infirmary were chronically ill, and had clinical
         issues including frailty, disability, ambulation deficits, inability to provide self-care,
         or bladder or bowel incontinence, there were no adjustable hospital beds with safety
         rails in the infirmary. Many of the mattresses had torn covers and could not be
         properly sanitized. One patient with urinary incontinence had an uncovered porous
35
     [Footnote in original:] USPSTF Colon Cancer Screening 2016.


                                                    83
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 232 of 409 PageID #:14001




       foam egg crate cushion in lieu of a mattress that was odiferous, dirty, and could not
       be cleaned and sanitized. The weekly supply of clean linens was insufficient to meet
       the needs of the infirmary patient population of incontinent, diapered patient-inmates
       who frequently soil their sheets. The medical infirmary rooms were shabby and
       unacceptably dirty.

[Puisis SR p. 34.]

       Stateville CC:

       The SCC infirmary’s nursing station’s design does not allow direct line of sight of
       any of the 32 patient-inmate beds. Functional nurse call devices were in all of the
       two-bed rooms but not in the single bed medical rooms. The HEPA filters and
       negative pressure units in both the isolation rooms were non-functional; its filters
       and vents were clogged with dust. . . The head and leg sections [of the beds] could
       not be raised or lowered, beds had broken wire springs, and safety railings were
       broken [creating a] safety hazard for the staff and patients. The tub room had large
       cracks in the floor and no safety grab bars, rendering it unusable. The rooms were
       inadequately cleaned. . . . Elderly, physically and mentally impaired individuals who
       were unable to assist with cleaning their rooms had unacceptably dirty rooms. Only
       a single room [was] adequately clean. Flies, gnats, and cockroaches were noted in
       patient rooms and in the corridor.

[Id. pp. 34-35.]

       Dixon CC:

       Dixon’s [HCU’s] second and third floors contain the infirmary, ADA housing unit,
       and the geriatric housing unit. The building’s two elevators were broken; one had
       been disabled for a long time and the other had become non-operational on the day
       before the expert’s visit. . . . Most of the infirmary beds were functional, second-
       hand hospital beds . . . However, one patient with dementia had a broken bed with a
       middle section that sagged nearly to the floor. . . The ADA and geriatric units have
       fixed metal frame beds without adjustable sections with metal wire mattress
       supports. The wire mattress supports were commonly broken and replaced with
       strips of sagging tied bed sheets. . . . Peeling paint, cracked wall plaster, rusted, dusty
       vents, and poorly ventilated showers were noted on both floors. As throughout the
       entire health care building, floor tiles are cracked and loose; this is major safety
       hazard for staff and the at-high-risk-for-fall patient population.

[Id. p. 35.]

       Menard CC:

       Overall, the infirmary was clean and in good repair [but the] heavy doors to the
       patient rooms are kept locked with individual padlocks. This is a safety hazard



                                                   84
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 233 of 409 PageID #:14002




       because emergency evacuation of the infirmary would be significantly delayed due
       to correctional staff having to open each of the padlocks. These padlocked rooms are
       also a safety hazard because there are no nurse call devices in any of the infirmary
       rooms; patients who are able to ambulate have to bang on the doors to get medical
       attention. Patients unable to ambulate have to call for help. The nurse station is in an
       enclosed room that is not within sight or sound of the patient rooms. Twenty three
       of the 26 beds were low, fixed-position metal beds without safety railings or
       adjustable heights and head and leg sections. . . One patient with risk for falls slept
       on a mattress on the floor because there were no available beds with safety railings.
       [The anterooms to the] isolation rooms were cluttered and had overflowing waste
       bins. The shower room used by the infirmary’s chronically and acutely ill patients
       did not have safety grab bars; the ceiling vent in the shower rooms was clogged with
       lint and dirt.

[Id. pp. 35-36.]

       264.    Internal IDOC reports show similar issues. In a January 2017 Office of Health

Services meeting, the assistant warden at Big Muddy River CC is reported to have said: “The beds

in our institution are not acceptable. We put in ASRs and we were denied by Wexford without any

explanation. Offenders/patients are getting bed sores because we don’t have bedding supplies.”

[P233 at 0096357.]

       265.    In addition, the Second Expert team, in the infirmary context as elsewhere, found

that the lack of competency of the physicians was dangerous—especially so given the fragility of

the infirmary populations. The records created by these providers were deficient:

       With the exception of [Logan CC], the provider infirmary admission notes contained
       very limited history of the reason for admission, the diagnosis, any differential
       diagnoses, and only brief diagnostic and treatment plans. . . .[T]he provider progress
       notes were commonly illegible. . . Other than limited notes about the illness that
       prompted the infirmary admission, there was virtually no documentation or clinical
       updates about any of the patients’ other chronic illnesses . . . The provider progress
       notes during one [Stateville CC’s] infirmary patient’s seven month admission never
       commented, even once, on the status or control of his seizure disorder. . . The lack
       of informative, comprehensive provider notes that legibly addressed both the acute
       and chronic needs and illnesses of each infirmary patient put the health and safety
       of infirmary patients at risk. . .

[Puisis SR pp. 71-72.]




                                                 85
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 234 of 409 PageID #:14003




        266.      In the Stateville CC report, the Second Expert team explained the problem caused

by poor records in greater detail:

        The provider notes on the audited charts were extremely brief, commonly illegible,
        and contained little clinical information. The lack of comprehensive provider notes
        made it difficult to understand the patients’ current conditions and progress or
        deterioration. This created barriers to the delivery of adequate care for the nursing
        staff and providers who cover the unit when the infirmary provider is off duty. The
        quality and continuity of care provided in the infirmary did not meet the community
        standard of care. 36

[Puisis STA p. 53.]

        267.      In addition, in the opinion of the Second Expert team, the physicians did not

appropriately evaluate and refer out patients whose needs exceeded the capacities of IDOC

infirmary care:

        . . . [B]ased on record reviews, the current complement of Wexford physicians does
        not appear to appreciate when patients are unstable and require hospitalization. This
        places patients at significant risk of harm. . . .

[Puisis SR p. 70.]

        . . . There were multiple instances when the infirmary (and sick call and chronic
        care) providers failed to consult specialists when there were clear indications that
        clinical advice and assistance was needed. The infirmary providers either lacked the
        knowledge and competence to recognize that they needed clinical assistance or they
        were reluctant to seek outside consultation due to institutional culture and practice.
        ..

[Id. p. 75.]

Two of several examples, both Logan CC patients, are illustrative:

        [A] patient in the [Logan CC] infirmary with blackened toes due to frost bite was
        treated with an array of antibiotics but was not immediately referred to a podiatrist
        as is the standard of care in the community. Only after two months in the infirmary,

36
   [Footnote in original:] We refer also to Mortality Review Patient #9 for another example of this. Over
six months on the infirmary, a doctor wrote notes 19 times that stated, “No specific complaint, no change,
dementia, continue same care” despite the patient having multiple falls and being hospitalized for heart
failure. Then over a nine-month period, the same doctor wrote 30 notes stating, “No specific complaint. No
change. Dementia, post colectomy for metastatic ca [cancer]. Continue same care.” This was grossly and
flagrantly unacceptable evaluation for a person with significant illness.


                                                   86
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 235 of 409 PageID #:14004




        when her right large toe became gangrenous was she referred to a podiatrist. The
        podiatrist arranged for the toe to be surgically amputated. Immediate referral for
        podiatric consultation when the patient was admitted to the infirmary could
        potentially have prevented the need for the amputation.

        Another patient in the LCC infirmary had a history of recurrent DVT with
        pulmonary emboli and a chronic draining lower extremity leg ulcer. During her
        infirmary stay, the patient was treated with five different antibiotics in six different,
        confusing combinations. The working diagnosis appears to have been osteomyelitis
        but this was never noted in the provider’s treatment plan. . . . A definite workup for
        osteomyelitis . . . was never ordered. . . [T]his patient should have been hospitalized
        for definite diagnostic tests and intensive treatment. The failure to solicit specialty
        consultation during this patient’s six month stay in the LCC infirmary without
        resolution of her draining leg ulcer and the inexplicable combinations of antibiotics
        and antifungal agents reflected poor understanding of this patient’s possible
        diagnoses, and was incompetent.

[Id. pp. 76-77.]

        268.    At Dixon CC, the Second Expert team reported this troubling case:

        The next patient is an elderly patient with long standing dementia, history of pica, 37
        hypertension, upper and lower extremity contractures, and deep decubiti ulcers. He
        was thought to have Picks Disease (frontotemporal dementia). He has been housed
        in the infirmary for a number of years. The infirmary record reveals daily vital signs
        and nursing notes. He requires total care (feeding via gastric tube, bathing, diapers).
        His limbs are fully contracted, he remains in a fixed fetal position. He was observed
        being transferred to a tub by the CNA and a hospice worker. He has chronic
        decubitus ulcers (pressure sores) over his coccyx and left gluteus. These ulcers have
        required antibiotic treatment on at least two occasions in the past year (September
        2017 and October 2017). The wounds are now emitting a foul-smelling discharge
        and one was noted as deeply tunneling toward bone. The nurses write no less than
        daily progress notes. On 3/15/18, the nurses noted that the coccyx ulcer was foul
        smelling and on 3/20/18 the nurse wrote that one of the ulcers had a putrid smell
        and was tunneling. She requested a consult from the infirmary provider. On 3/21/18,
        the provider saw the patient, advised continued local wound care, and submitted a
        referral request to the wound care clinic at CGH Hospital in Sterling, IL. This was
        the only note written by the provider between 3/15/18 through 4/3/18. A single
        provider note in nearly three weeks for this permanent resident of the infirmary with
        an infective decubitus ulcer is not in compliance with the IDOC Offender Infirmary
        Services guidelines. 38 The extreme contractures and the recurrent pressure sores in
        this patient are strong indications that the past and current level of care in the DCC
        infirmary does not meet the community standard of care. Contractures are

37
   [Footnote in original:] Pica is an eating disorder typically defined as persistent eating of nonnutritive
substances.
38
   [Footnote in original:] Reference IDOC Policy 04.03.120 Offender Infirmary Services.


                                                    87
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 236 of 409 PageID #:14005




       preventable with ongoing physical therapy; decubitus ulcers are preventable with
       frequent repositioning of the patient in beds or wheel chair. The manifestation of
       these findings in this long-term patient indicates that the DCC infirmary is not able
       to provide a level of care that is expected to be provided in skilled nursing facilities.
       Once the patient started to develop contractures, he should have been transferred to
       a facility in the IDOC or in the community that could have provided the needed
       preventive care.

[Puisis DIX pp. 69-70.]

       269.    Overall findings as to the inadequacy of IDOC infirmary conditions and services

were repeated for Menard CC:

       The level of nursing staffing, the type and quality of the beds, and the diligence of
       the infirmary provider are not adequate to provide the level of care needed by
       patients who require skilled nursing services and monitoring of complicated
       conditions.

[Puisis MEN p. 63.]

       270.    In general, the Second Expert team emphasized that the problem of infirmary use

within IDOC is coupled with the related problem of the housing of aging prisoners. At Dixon CC,

they noted that the cases of patients discussed as well as the “other mentally and physically

impaired patients have clinical and nursing care needs that cannot be adequately met in IDOC

infirmaries.” [Puisis SR p. 71.] Further:

       We note that the IDOC acknowledges a lack of appropriate housing for the infirm
       and disabled elderly prisoners. . .

[Puisis DIX p. 66.]

       It was apparent that the IDOC is aware of the need for additional skilled nursing care
       facilities and geriatric care housing but has not taken action to address this problem.
       ...

       Housing of the elderly and disabled is inadequate. The IDOC needs to perform an
       assessment of its geriatric and disabled population to determine housing needs for
       this population…

[Puisis SR pp. 71, 11.]




                                                 88
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 237 of 409 PageID #:14006




       271.    At Big Muddy River Correctional Center, the prisoners call the care given in the

infirmary not “health care” but “death care.” [Tr. T. Martin.]

XII.   MEDICATION ADMINISTRATION

       272.    In 2014, the Shansky team found limited problems in IDOC medication

administration. This was not true in 2018, when the Puisis team performed its investigation and

concluded that there were “pervasive and systemic issues”:

       The methods of preparing and administering medications is not standardized across
       the system. There are pervasive and systemic issues with respect to administration
       of medication that place inmates at risk of harm. When these occur, there is no
       system to identify or correct the systemic problem.

[Puisis SR p. 11.]

       273.    The First Expert team did identify problems with medication continuity for chronic

care patients and delays in medication administration at NRC due to need for custody staff

presence.

       274.    The Second Expert team found medication administration problems that were many

and widespread: “We have additional findings that evidenced a far worse situation from the First

Court Expert’s report. We found systemic medication administration practices that are unsafe and

not consistent with community standards at every facility visited.” [Id. p. 79.]

       275.    These problems, in the Puisis team’s view were due to “minimal direction and

guidance about how medications are ordered and administered”; prescription processes that did

not conform to Illinois state law; orders that were “incomplete and documentation in the chart did

not indicate the reason or intended goal of treatment”; “orders which had not been transcribed onto

the MAR [medication administration record] or that were transcribed late”; and “instances of

nurses overwriting new orders over old orders on the MARS at every facility.” “This is alteration

of a legal record and should be ceased immediately.” [Id. pp. 80-81.]



                                                89
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 238 of 409 PageID #:14007




        276.    In addition, the Puisis team found method and process problems with medication

administration at each of the five prisons they reviewed:

        At all the facilities we visited, the process for medication administration was fraught
        with problems. None of the methods used to administer medication ensure that the
        five rights of medication administration are observed. These are the right patient,
        the right medication, the right dose, the right route, and the right time. . .

[Id. p. 81; emphasis in original.] These problems were coupled with others, in particular lack of

hand hygiene, and not accounting for missing inmates or arranging to administer the dose later.

[Id. p. 82.]

        277.    The Second Expert team catalogued specific deficiencies at each of the facilities,

starting with NRC, where:

           •    At medical reception, nurses administer medications to patients from a stock
                supply, but do not consistently initiate a medication administration record
                (MAR) and document that medications were administered to the patient.
           •    Medical records do not contain physician order forms for all ordered
                medications. 39
           •    The nursing medication room is dirty, cluttered, and disorganized. There is
                no schedule of sanitation and disinfection activities.
           •    Nurses transfer medications from a properly labeled pharmacy dispensed
                blister pack into a small white envelope that is not properly labeled.
           •    To prepare medications, nurses do not consistently compare the MAR
                against the medication blister pack to ensure that the medication matches the
                physician order; instead, nurses use white envelopes that are not properly
                labeled.
           •    The white envelopes are repeatedly used and not hygienic.
           •    Inmates are not requested to present their identification badges at the time
                of medication administration. 40
           •    Nurses pass medications to patients through a crack in the cell door, not the
                food ports.
           •    Inmates do not have cups to fill with water to take their medications.


39
   [Footnote in original:] Physicians write medication orders in two places: a physical examination form or
progress note, and a physician order form that is used to fax the order to the pharmacy. We found that some
records contained the medication order only on the progress note and there was no physician order form. It
is unclear whether the physician did not write the order on the physician order form or whether it was not
filed in the medical record.
40
   [Footnote in original:] There are typically two inmates to a cell. Inmate ID badges are posted in the
window of the cell rather than the inmate presenting his ID to a nurse.


                                                    90
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 239 of 409 PageID #:14008




             •    Neither officers nor nurses perform oral cavity checks.
             •    If inmates are out of cell at the time of medication administration there is no
                  procedure to go back later to administer the medication, even if it is a once
                  a day medication.
             •    Nurses do not document administration of medications onto a MAR at the
                  time they are administered.
             •    BosWell Pharmacy prints MARs for the following month for any
                  prescription written by the 15th of the month, requiring nurses to handwrite
                  MARs for all medications orders from the 16th to the end of the month,
                  creating an enormous nursing workload and increasing the risk of
                  transcription errors.
             •    Review of multiple MARs show numerous blank spaces, demonstrating that
                  nurses do not document the administration status of each medication dose.
             •    Monthly pharmacy/CQI audits throughout 2017 show pervasive and
                  systemic medication issues, including blanks on MARs, administering
                  medications beyond stop dates, and pharmacy and nursing medication
                  errors.
             •    Health care leadership has not developed or implemented an effective
                  corrective action plan to address the systemic medication issues.

[Puisis NRC pp. 62-63.]

          278.    The Second Expert team noted that the facility’s own CQI findings documented

many of these failings repeatedly:

         Continuous Quality Improvement (CQI) Minutes and audits performed in 2017 show
         systemic and pervasive problems with pharmacy and medication administration at
         NRC. 41 These include:

             •    Pharmacy dispensing errors
             •    Medication carts that are not clean
             •    Nurses preparing medications using medication envelopes (with incomplete
                  and incorrect information) instead of using the MAR, which is the legal
                  order for the medication, using the wrong envelope
             •    Failure to transcribe medication orders onto the MAR
             •    Medication blister packs not matching the MAR
             •    Missing medications
             •    Nurses not documenting on MARs following medication administration
             •    Nurses not documenting medication order stop dates onto the MAR and
                  administering medications beyond stop dates
             •    Shortages of sharps, insulin, and tramadol



41
     [Footnote in original:] NRC Annual CQI Report 2016-2017.


                                                    91
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 240 of 409 PageID #:14009




              •    Open insulin and Tubersol vials with no documented opening and expiration
                   dates
              •    Lack of timely tracking and response to medication errors

[Puisis NRC p. 67.] Despite this documentation of problems, the Puisis team found that NRC’s

CQI reporting underestimated the extent of the medication errors: “The 2016-2017 Annual CQI

report showed that pharmacy made 14 errors and nursing staff made 66 errors during the review

period. However, with respect to nursing performance, this is a gross underestimation of errors

when failure to document medication administration is included as an error of omission.” [Id.]

           279.    At Dixon CC, the Second Expert team found that “[m]edication administration has

apparently deteriorated since the First Court Expert report”:

           Medication administration at DCC is problematic and relies on outdated practices
           that are no longer considered safe from patient harm. These problem areas include:

               •   Handwritten and incomplete orders
               •   Inconsistent documentation by providers in the progress notes about the
                   decision to order medication and clinical rationale
               •   Handwritten transcription of orders to the MAR
               •   Late transcription of orders
               •   Pre-pouring medication
               •   Use of unsanitary envelopes to administer medications in the Special
                   Treatment Center 42 (STC)
               •   Not having the MAR available during medication administration in STC
               •   Not documenting administration of medication at the time it is given.

           Chronic disease patients are not monitored to ensure continuity in treatment. Their
           compliance with prescribed treatment is not assessed. Prescription end dates do not
           coincide with chronic clinic appointments and require patients to request renewals
           via sick call.

[Puisis DIX pp. 72-73.]

           280.    The Puisis team found particularly severe problems in the Dixon special treatment

unit, where:



42
     [Footnote in original:] This is a mental health unit at the DCC.


                                                       92
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 241 of 409 PageID #:14010




       . . . [o]nly 37% of the MARs selected for review were complete. Documentation of
       doses given, refused, or not available was missing from five of eight charts
       reviewed. This is extremely poor performance and calls into question the accuracy
       of the MARs. Contemporaneous charting on the MAR at the time of administration
       is considered the nursing standard of practice. DCC does not meet this standard of
       professional performance.

[Puisis DIX p. 77.]

       281.    At Logan CC, the Second Expert team actually witnessed unsanitary medication

administration practices as well as a nurse giving the wrong medications to a patient (who refused

them, saying they were not her medications) due, in the team’s view, to incomplete identification

practices and failure to have the MAR to hand. [Puisis LOG pp. 39-40.]

       282.    As to medical reception at Logan CC, the Second Expert team found: “[I]in 10 of

10 health records reviewed to assess the medical reception process, all records were missing some

MARs, including January and February 2018. In addition, several patient MAR’s showed that they

did not receive chronic disease medications, sometimes for months.” [Puisis LOG p. 40.]

Examples included:

           •   An HIV patient who arrived in 10/18/17. That patient’s December 2017
               MAR showed that she did not receive HIV medications. There was no
               January 2018 MAR in the record.

           •   A patient with hypothyroidism and hypertension arrived on 2/2/18. On
               2/3/18, a provider ordered the patient’s medications. Her February 2018
               MAR does not show that the patient received levothyroxine or Lisinopril.
               As of 4/23/18, there was no March 2018 MAR scanned into the record.

[Id. pp. 41-41.]

       283.    At Menard CC, in addition to the inadequate and potentially hazardous practices

observed at all sites, the Second Expert team found that:

       None of the MARs reviewed contained the signatures and initials of nurses who
       administered medication. This practice violates MCC’s own policy and procedure
       and demonstrates lack of supervision and oversight failure. We asked the HCUA if
       a signature sheet was maintained and were told that at one time a signature sheet


                                                93
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 242 of 409 PageID #:14011




       was kept but that it was not up to date. Therefore, it was not possible to identify any
       of the nurses who administered medication in the health record of a patient.

[Puisis MEN p. 70.]

       284.    As with other systemic problems noted by the two expert teams, the problems of

medication administration overlap with other deficiencies in the system, for instance, the chronic

care program and the problem of the medical record system: “We found many examples,” the

Puisis Report states, “of patients whose ordered medications were never provided, were delayed

starting, and were stopped because the patient had not been seen by a provider to renew

medication. . . [A]ppointments for chronic care are not scheduled to take place prior to expiration

of chronic disease medication orders. As a result, providers often reorder medications without

seeing the patient to conduct a clinical evaluation to determine whether the treatment plan should

be continued or changed, based upon the how well the patient’s chronic disease is controlled.”

Moreover, although “[f]acility policy and procedures direct that the MAR be available with the

medical record at the time of a chronic care provider visit. However, we saw no evidence that

current MARs were available at the time a patient saw a provider. We also saw no evidence that

providers review the MAR . . .” [Puisis SR p. 83.]

XIII. INFECTION CONTROL (NO RELIABLE SYSTEM FOR OVERSIGHT)

       285.    “Infection control,” the Second Expert report states,

       . . . is an essential element of an adequate health care system. The inmate population
       has a high prevalence of communicable and infectious diseases. Because of the high
       prevalence of communicable diseases, a highly functioning infection control
       program must be in place to identify, track, and assist in management of these
       illnesses.

[Puisis SR p. 84.] In addition to higher rates of tuberculosis, HIV infection, and hepatitis C in the

incarcerated population, “[t]he burden of sexually transmitted disease, MRSA, and scabies are also

typically higher in prison systems.” [Id.] Further:



                                                 94
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 243 of 409 PageID #:14012




          Conditions of confinement promote the spread of disease because of environmental
          conditions within the prisons. Inmates are housed in close quarters. . . [W]e spoke
          about how crowded the IDOC prisons are. The overcrowded conditions, particularly
          in antiquated facilities, promote transmission of multiple types of infections and
          contagious diseases. . . .

[Id.]

          286.     In 2014, the First Expert team concluded that, “Infection control is a moving target

across the system . . . .” “There is not . . . any IDOC oversight and management of a system-wide

infection control program.” [Dkt. 339 at 35-36; emphasis added.]

          287.     The Shansky team found a lack of responsible personnel designated for infection

control responsibilities; lack of training as to infection control procedures; failure to wash

infirmary bed linens at temperatures adequate to destroy germs; and failures to sanitize medical

and dental equipment and provide clear surfaces for patient exams.

          288.     In 2018, the Puisis team found:

          The systemic issues described in the First Court Expert Report still occur today.
          While there has been some improvement in the use of paper barriers on examination
          tables, little else has changed with regard to the infection control program.

[Puisis SR pp. 85-86.]

          289.     Among the problems observed by the Second Expert team were: lack of designated

personnel responsible for infection control, although “The IDOC has had numerous recent

outbreaks of contagious and infectious diseases,” including scabies and histoplasmosis; 43 lack of

schedules for routine sanitation and disinfection of health care areas; and multiple other problems

already discussed (insects in the Stateville infirmary; bird droppings in the Stateville

kitchen/dining area; faulty negative pressure rooms in infirmaries; and rusted, broken, or otherwise




43
     In 2015, Taylorville CC also had an outbreak of enteritis. [P495.]


                                                       95
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 244 of 409 PageID #:14013




deteriorated health care equipment). Facility CQI reports documented these problems, the Puisis

team noted, even while they remain unfixed. [Id. pp. 85-88.]

        290.    Further infection hazards catalogued by the Second Expert team included:

            •   The tuberculosis (TB) prevention and control program in IDOC is not
                effective.
            •   Negative pressure isolation rooms were either not functional or the monitor
                was not working at three of the five sites we visited.
            •   For hepatitis C, UIC has no role in managing hepatitis C patients before
                referral and after antiviral treatment and has no role in screening for these
                diseases. . . IDOC facility providers are responsible for that care but do not
                appear to know how to provide it.
            •   All five of the facilities visited report cases of culture positive Methicillin-
                resistant Staphylococcus Aureus MRSA) as is required by IDOC. However,
                only MCC tracks all skin and soft tissue infections . . .
            •   [T]here is no trending or analysis of infection control data.
            •   We found numerous examples of poor infection control practices on the part
                of health care professionals.
            •   [The] assignment of untrained and unvaccinated inmates to clean and
                sanitize health care areas exposes these inmates as well as patients receiving
                care to several infectious diseases with potentially serious health
                consequences, and is deliberately reckless.
            •   Water temperatures were not hot enough to effectively sanitize laundry from
                the infirmary at any facility we visited. 44

[Puisis SR pp. 87-90.]

        291.    The Second Expert team also noted risks associated with screening practices

common illnesses of incarceration populations including HIV, hepatitis C, and tuberculosis. [Id.

pp. 89.]

        292.    Overall, the Puisis team concluded that, “There is no active infection control

program. Infection control practices lack guidance from a physician with expertise in infection

control practices. This is evident in HIV testing, tuberculosis screening, and analysis of

surveillance practices.” [Id. p. 11.]


44
  [Footnote in original:] This is a violation of Department A.D 05.02.140, which requires a temperature of
165 degrees for washing linens.


                                                   96
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 245 of 409 PageID #:14014




       293.    Finally, the Second Expert team documented a host of specific infection control

hazards at each site visited, as follows:

       Dixon CC

           •   The floors and surfaces in the health care building, particularly the second
               and third floor, are dirty or have deteriorated to the extent that they are a
               medium for transmission of infectious disease.
           •   Inmate porters are allowed to work in the infirmary without being trained in
               proper cleaning procedures and personal protection.

[Puisis DIX p. 78.]

       Logan CC

           •   A number of the safety and sanitation deficiencies in the physical plant at
               LCC that have been reported, some repeatedly, since July 2017, including
               mold/mildew on ceilings and walls, failure to change ice machine filters,
               missing cold and hot water showers knobs, sinks that do not drain,
               infestations, and non-functional toilets in the housing areas. These problems
               constitute patient and staff safety, and infection control risks for patient-
               inmates and correctional and medical staff.
           •   There is no one formally assigned at LCC to the tasks of infection control.
           •   The three infirmary porters who were interviewed and whose medical
               records were reviewed had no documentation that they received the hepatitis
               B vaccination series or had been trained about blood borne pathogens prior
               to starting to provide sanitation services.
           •   The infirmary porters at LCC are not offered hepatitis A vaccination even
               though they will be cleaning the patient rooms and bathing areas where they
               will have a probability of the contact with fecal waste. . .

[Puisis LOG p. 43.] In addition:

       Inmate porters perform sanitation duties. There is no schedule of routine clinic
       sanitation, and disinfection activities are not consistently performed in clinical areas.
       During this site visit, the pharmacy floors and countertops were dirty. . . . The
       Wexford staff assistant who is responsible for the training of infirmary porters also
       was unable to provide documentation that the three porters had been trained or
       vaccinated. All infirmary porters must be trained and fully vaccinated prior to being
       assigned to duties in the infirmary, where there is higher risk of exposure to
       pathogens and a more frequent and higher degree of sanitation is needed.

[Puisis LOG p. 44.]

       Stateville CC


                                                  97
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 246 of 409 PageID #:14015




       Many infection control challenges and hazards were observed during our site visit at
       the facility. These are detailed in the section of this report on Clinic Space and
       Sanitation [including non-functional] Airborne Infection Isolation (AII) rooms [and]
       the practices of the hemodialysis program . . . Finally, a lack of barrier protection on
       reusable surfaces was observed throughout the health care areas. Fabric covered
       chairs and tables were torn and sometimes repaired with duct tape, paper covers were
       not available in one of the provider exam rooms, and patient care equipment was
       rusted and could not be cleaned. Environmental controls to prevent transmission of
       infection are inadequate and risk harm to patients cared for at SCC.

[Puisis STA pp. 60-61.]

XIV. DENTAL PROGRAM

       294.    The First Expert team concluded that IDOC dental care was comprehensively

deficient. “[R]ecords at each institution,” concluded the First Expert Report, “revealed that routine

care was almost always provided without a comprehensive examination, a treatment plan, a

documented periodontal assessment, a documented soft tissue examination, and without

[diagnostic imaging]. . . .As such, there is no real system in place to provide routine [dental care].”

[Dkt. 339 p. 38.]

       295.    The lack of routine dental care was coupled with painful delays in access to dental

procedures. The Wexford contract requires that “Vendor shall respond to dental emergencies

within 24 hours,” “evaluations must be provided within 14 days after the offender’s request for

routine care treatment” and “[u]rgent-painful cavities . . . must be treated within three (3) business

days,” but the Shansky team found that these time frames were routinely disregarded. “The lag

time between an Inmate Request Form for pain and alleviation of the pain was unacceptable. It

often took four or more days for urgent care patients to be seen. . . .” [Dkt. 339 p. 38; emphasis

added.]

       296.    In 2018, the Second Expert team found:




                                                  98
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 247 of 409 PageID #:14016




       Overall, the dental program has not improved since the First Expert Report. Dental
       care continues to be below accepted professional standards and is not minimally
       adequate. Examinations are inadequate and routine care is provided without
       intraoral x-rays, a documented periodontal assessment, and a treatment plan.
       Periodontal disease is rarely diagnosed and treated.

       There is no system wide capital replacement plan for dental equipment. As
       examples the panoramic x-rays taken at the R&C centers are inadequate and the x-
       ray devices are outdated.

       IDOC has no dentist on the Medical Director’s staff and the clinical oversight of the
       dental program is inadequate.

       Dental staffing is insufficient to provide adequate and timely care.

[Puisis SR pp. 11-12.]

       297.   The deficiencies found by the Puisis team included:

       Staffing shortages, vacancies, and failures to provide dental hygienists creating
       delays in care

       Facilities and equipment that have deteriorated since the First Court Expert’s Report

       Overall sanitation, sterilization, and safety that have deteriorated since the First
       Expert’s Report, primarily due to inadequate hand sanitation at NRC and [Menard]
       CC.

       Routine care is inadequate and is provided without adequate x-rays, periodontal
       assessment, and documented oral hygiene instruction and a sequenced treatment
       plan.

       The biennial examination, as currently performed, is of little clinical value.

       Access to prosthetics and onsite or offsite oral surgery are routed through an
       unqualified reviewer: Dr. Karanbir Sandhu, who is a part-time Wexford employee
       and is not specialist in prosthodontics or any other aspect of dentistry.

       Initial intake examinations that are inadequate and fail to include appropriate head,
       neck, and soft tissue assessments. The examination is by no means “complete”
       because it is too brief and not informed by intraoral x-rays, documented periodontal
       probing, and a consistently performed oral cancer screening. The deficiencies of this
       examination are particularly problematic, since it is used to classify treatment needs
       and determine treatment priority.




                                                99
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 248 of 409 PageID #:14017




       Urgent care was generally untimely, the record of the encounter is not properly,
       consistently completed in SOAP format, and the health history is not updated

       Policies, procedures, and program management are inadequate

       Documenting the health history of medically compromised patients remains
       inadequate. The health history form is too limited and omits conditions relevant to
       dental care, for example, anticoagulant therapy. There is insufficient room on the
       form for information. Health histories were not filled out or updated at the last visit
       in most charts.

       There was no documented periodontal assessment and request for follow-up for
       diabetics, which is particularly problematic given the relationship between
       periodontal disease and diabetes

       CQI studies were limited in scope and follow up with corrective action plans was
       lacking

       Dentists (unlike other practitioners) are not routinely peer reviewed. When they are,
       dental peer review as implemented by Wexford is poorly designed and does not
       therefore determine clinical quality

[Id. pp. 103-17.]

       298.    A sampling of these problems catalogued at the five sites visited by the Second

Expert team echo the universal problems throughout IDOC healthcare.

       299.    At Stateville CC, the Second Expert Report notes:

       Dr. Orenstein’s clinical progress notes are extremely difficult to read at best, and
       indecipherable at worst.

       Documenting the health history of medically compromised patients has deteriorated
       since the First Court Expert’s Report.

[Puisis STA pp. 71, 73.]

       300.    Also at Stateville, the Second Expert Report found that the practice of completing

a comprehensive dental examination on arriving prisoners, reported to be taking place in the NRI

Report in 2016, was not occurring in 2018. [Puisis STA p. 66.]

       301.    At Menard CC, the Second Expert Report notes:




                                                100
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 249 of 409 PageID #:14018




        . . .[S]taffing has deteriorated materially since the First Expert’s Report.

        We concur with the First Court Expert’s findings with respect to the inadequacy of
        the dental facilities and equipment. Moreover, they have not improved materially. .
        .

        Sanitation, safety, and sterilization have deteriorated since the First Court Expert’s
        Report. . . [W]e observed inadequate hand sanitation by the dentist between initial
        examination patients . . .

        Of 12 patients who were scheduled for extractions, the wait time ranged from seven
        to 41 days, with a median of 26 days . . . Of the 11 who were prescribed antibiotics,
        all but one (91%) waited more than 10 days. This is problematic, since the tooth
        should be extracted within the therapeutic window of the antibiotic, which for these
        patients was 10 days.

        Dental sick call has deteriorated since the First Court Expert’s Report. We concur
        with the findings of First Court Expert that dental sick call for urgent care issues is
        often untimely and the sick call triage system for dental problems is inadequate. . .

        . . . based on monthly dental reports from May 2017 to April 2018, [t]he wait time
        for fillings is more than 60 weeks (15 months), 45 higher than it has been since May
        2017. Moreover, with only one dentist available, the backlog will continue to grow.
        ...

[Puisis MEN pp. 76, 77, 82-85.]

        302.    At NRC, the Second Expert Report notes:

        Dental sanitation, safety, and sterilization have deteriorated since the First Expert’s
        Report . . .

        The sterilization area is in a small cluttered room contiguous with the dental clinic.
        Because the room has inadequate counter space, it is difficult to configure the area
        to accommodate sterilization flow from dirty to sterilized to storage (as noted by the
        First Expert). The ultrasonic cleaner sits between the sink and the autoclave. As
        noted by the First Court Expert, safety glasses were not always worn by patients,
        and warning signs were not posted where x-rays were being taken. 46



45
   [Footnote in original:] The First Court Expert reported that the routine care wait list was approximately
nine months long (see supra), which shows that the MCC dental program has deteriorated markedly since
then.
46
   [Footnote in original:] Occupational Safety and Health Standards—Toxic and Hazardous substances. 29
CFR 1910.1096(e)(3)(i). “Each radiation area shall be conspicuously posted with a sign or signs bearing
the radiation caution symbol and the words, CAUTION RADIATION AREA”. Emphasis in original.


                                                   101
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 250 of 409 PageID #:14019




        . . . While [the dentist’s] gloved hands did not always touch the patient, in
        approximately half the exams we observed, they touched the patient’s face, lips, or
        mouth. He did not change gloves between patients consistently. In fact, there were
        several instances where he examined a patient wearing the gloves he used to touch
        a previous patient’s mouth or face. He did not wash hands between patients because
        the exam room had no sink. 47
                                                    ****



        Our nursing expert observed the dentist perform initial exams on 2/1/18 and
        reported that he did not change gloves between patients. In fact, he did not have a
        box of gloves in the room.

        The Dental Sick Call Log from 10/3/17 through 1/22/18 contained 228 entries,
        approximately 90 percent of which stated pain or conditions that more likely than
        not were associated with pain. The median time from request to scheduled
        appointment 48 was two days. . .

        Among inmates whose request suggested a painful condition, one waited eight days,
        two waited seven days, seven waited six days, and nine waited five days to be
        scheduled. This is not time to treatment, which cannot be determined from the
        available data and is likely to be longer if patients are rescheduled.

        There is no triage process . . .

[Puisis NRC pp. 70, 72, 77, 80; emphasis in original.]

        303.    At Dixon CC, the Second Expert Report notes:

        Comprehensive care has not improved materially since the First Court Expert’s
        Report and remains inadequate. . .

        Of 12 records reviewed, none had a periodontal assessment documented. All but
        one had the treatment plan that consisted only of charting dental problems (primarily
        decay) with no mention of periodontal disease. In fact, the standard instrument pack
        for an examination contains a mirror and an explorer but lacks a periodontal
        probe. 49. . .

[Puisis DIX p. 86.]


47
   [Footnote in original:] Centers for Disease Control and Prevention. Summary of Infection Prevention
Practices in Dental Settings: Basic Expectations for Safe Care. Atlanta, GA: Centers for Disease Control
and Prevention, US Dept. of Health and Human Services; October 2016, p.7.
48
   [Footnote in original:] Since appointments were often rescheduled, the actual wait time for treatment for
those inmates was longer.
49
   [Footnote in original:] This is consistent with the dental program’s indifference to periodontal disease.


                                                   102
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 251 of 409 PageID #:14020




        304.    And finally at Logan CC, which is both a women’s prison and the women’s intake

center, the Second Expert Report notes:

        [At intake] [t]he dentist does not perform a thorough soft tissue examination. 50 For
        example, he does not visualize the lateral and posterior regions of the tongue, 51 a
        site of squamous cell carcinoma. This is especially important at LCC, since
        “[s]uspect lesions in females younger than the age of 50 years, with no history of
        alcohol or tobacco use, have a greater risk of malignant potential and often behave
        more aggressively. Lesions in this population of patients must be treated [and a
        fortiori, diagnosed] very quickly and aggressively.” 52 Performing a thorough soft
        tissue examination is critical at the initial examination, since unless the inmate
        requests care within two years, her next exam will be biennial. 53

[Puisis LOG p. 76.]

        305.    In a November 2016 email chain including Dempsey and Meeks, at that time the

new agency Medical Director] it was reported that Hill CC dental staff were “very concerned” by

a patient at Hill demanding to be sent to a periodontist “since they have not had a hygienist for

twenty years. . . The Dentist also advised that he has over 1800 patients and does not have time to

do cleanings. Again the brushes we provide are inadequate and we do not provide Dental hygiene

services at many of the facilities. This issue will continue to plague the Illinois Department of

Corrections because it is systematic deliberate indifference . . .” “You bring up a good point,”

responded Dr. Dempsey. “I will forward this to Dr. Meeks. . . “ [P463.]




50
    [Footnote in original:] Stefanac SJ. (“Evaluation of head and neck structures for evidence of tissue
abnormalities or lesions constitutes an important part of a comprehensive examination.”), p. 12. See also
Shulman JD, Gonzales CK. Epidemiology / Biology of Oral Cancer. In Cappelli DP, Mosley C, eds.
Prevention in Clinical Oral Health Care. Elsevier (2008) (“Regular, thorough intraoral and extraoral
examination by a dental professional is the most effective technique for early detection and prevention of
most oral cancers. […]”) p. 41.
51
   [Footnote in original:] Shulman and Gonzales, p. 31, Figure 3.7. This is generally done by holding the
anterior portion of the tongue with 2x2 gauze and reflecting the tongue with a mouth mirror. This is a
professional standard for an oral examination.
52
   [Footnote in original:] Shulman and Gonzales, p. 41.
53
   [Footnote in original:] This deficiency is compounded by the fact that dentists do not document soft tissue
examinations at biennial exams. See section on Comprehensive Care, supra.


                                                    103
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 252 of 409 PageID #:14021




XV.    FAILURE TO IMPLEMENT OR FOLLOW QUALITY IMPROVEMENT
       PROGRAMS

       306.    The IDOC-commissioned NRI Report states, “two critical attributes of a health care

system that provides constitutionally adequate health care are quality and consistency. To provide

appropriate, clinically necessary care, the system must be proactively administered, managed,

tracked, analyzed, and adjusted . . .” [P21 at 000007.]

       307.    In healthcare systems, including prison healthcare systems, the essential tracking

and analysis that is required for administration, management, and adjustment is done by quality

assurance or “continuous quality improvement” (CQI) programs. Effective performance review of

staff, especially physicians and other high-level providers, is also part of quality assurance.

       308.    The First Expert team found that IDOC’s CQI programs were completely

ineffective. “A well-run quality improvement program looks at or reviews every major service

provided at least annually,” the First Expert team wrote. [Dkt. 339 p. 43.] “We were unable to find,

in any of the eight institutions we reviewed, documentation of such measurement.” “In none of the

eight sets of minutes that we reviewed did we find anything remotely related to efforts to improve

the quality of the program.” [Id. p. 44; emphasis added.]

       309.    The Shansky team found that these deficiencies afflicted IDOC dental CQI as well.

“Most dental programs had no studies, assessments or subsequent improvements in place.” [Id. p.

39.]

       310.    As to performance review (“peer review”) of high-level providers, the First Expert

team also found that ineffective, since it consisted of Wexford physicians reviewing other Wexford

physicians. The Shansky Report opined that there is an inherent conflict of interest in corporate

employed physicians reviewing the work of corporate employed physicians, because a termination

decision is an expense to the corporation. [Dkt. 339 p. 9.]



                                                104
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 253 of 409 PageID #:14022




       311.    In 2018, the Second Expert team also found quality assurance programs throughout

IDOC ineffective. The Puisis Report states:

       The quality improvement program operates on a legacy system of principles that no
       one any longer understands or effectively implements. No one in the IDOC has
       experience or knowledge of contemporary quality improvement methodology and
       practice. The quality program is ineffective statewide.

[Puisis SR p. 11; emphasis added.]

       312.    As of April 2017, internal IDOC emails showed that, in fact, the only CQI manual

that could be located dated back to 1998, and there were few copies believed to be extant.

       313.    Among other defects, the Second Expert team observed that the CQI program had

no method “to identify problems for study” and “does not associate identified problems with

systemic processes” so that corrective action could be taken. [Puisis SR p. 11.] Further, the data

tracking needed for an effective CQI program was not in place: “Data for quality improvement is

obtained by manually counting events. Logs tracking processes of care are either not maintained

or maintained in a manner that the data is not easily useable.” [Id.]

       314.    Finally, in the opinion of the Puisis team, IDOC’s CQI program also failed to use

any standards by which to measure quality, and failed to evaluate clinical quality, “which

contributes to preventable morbidity and mortality.” [Id. p. 118.] Additional weaknesses included:

       None of the facilities investigated had anyone who had expertise or knowledge of
       CQI methodology or implementation. CQI coordinators at NRC, SCC, and MCC
       are medical records personnel. None had any experience or training in CQI and had
       no knowledge of how to implement a CQI program. They were named CQI
       coordinators apparently because they could manage the paperwork requirements . .
       .

       None of the facilities had a reasonable CQI plan. . .

       None of the facilities had a Medical Director who participated meaningfully in CQI
       work. . .




                                                105
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 254 of 409 PageID #:14023




       Quality of physician care was not included in any CQI studies. . . Mortality review
       is not performed.

       All facilities had difficulty in identification of their key problems . . .

       Many “studies” were in areas that would be expected to yield good results. These
       were meaningless studies, as there was no effort to improve the program; instead, a
       study was designed so that it yielded a good result.

[Id. pp. 118-20.]

       315.      Specific findings at some of the sites visited by the Second Expert team showed

additional problems rendering CQI ineffectual.

       316.      At NRC, the Puisis Reports state, “We identified new findings which include the

following:

             •   The “Traveling Medical Director” provides no leadership for the CQI effort.
             •   No one in NRC leadership is familiar with current CQI methodology, study
                 design, or data collection. . .
             •   The CQI coordinator has no training in CQI, does not understand how to
                 perform or lead CQI work, and is so busy that CQI work is a low priority.
             •   The NRC CQI plan is generic and does not detail a year-ahead view of their
                 CQI work. This is not a plan. The NRC and SCC CQI plans and Medical
                 Director’s reports are identical, indicating that these facilities are not yet
                 performing their own quality improvement.
             •   NRC is not compliant with multiple requirements of their CQI AD,
                 including:
                 o NRC does not maintain a CQI manual onsite.
                 o NRC does not monitor whether Wexford performs primary source
                     verification of its physicians working at NRC.
                 o NRC does not monitor offsite medical care for quality.
                 o NRC does not perform the number of studies in accordance with
                     requirements of the CQI AD.
                 o There are no studies that review the quality of medical care.
             •   NRC fails to use data in a manner that identifies problems.
             •   Data presented in several studies appeared unreliable.
             •   The CQI report presents statistical data which has little value from a quality
                 perspective.
             •   Half of the six studies NRC chose to perform were in areas where there were
                 no problems, thus yielding 100% audit results. While it is useful to know
                 areas that are working well, there were so many problem areas that attention
                 should be given to problem prone areas.



                                                  106
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 255 of 409 PageID #:14024




            •   The annual CQI report repeatedly documents errors in medication
                administration yet there was no attempt to discover why this was occurring.
            •   Wexford’s physician and physician assistant peer review differs
                significantly in comparison with our record reviews. We question its
                reliability.

[Puisis NRC pp. 85-86.]

        317.    The team further found that, based on the 2017 annual CQI minutes dated

September 26, 2017, the studies performed to meet the requirement of IDOC’s Administrative

Directive on CQI showed basic lack of understanding of what a quality assurance program is

supposed to achieve. “None of the outcome studies performed included an acceptable clinical

outcome. . . This demonstrates a lack of understanding of the meaning of outcome studies.”

[Puisis NRC p. 88.] In addition: “Two comments [in 2017 CQI minutes] were related to failure

of nurses to adequately document on the MAR and failure to appropriately administer

medications. These types of medication errors were reported almost every month, as recorded in

the annual CQI report. Despite statistically describing the problem, there were no studies or

analyses to determine a root cause of why so many errors are being made. This is poor CQI. . .”

[Puisis NRC p. 91.]

        318.    Similarly, at Dixon CC:

        Monthly CQI meeting minutes contain very little information. Most of the statistical
        data provided has no bearing on quality improvement. For example, while listing
        the number of persons seen in NP, physician, and nursing sick call is useful
        administratively, it gives no measure of the quality of those visits and gives no
        information as to whether there is a problem with these processes. The same could
        be said of most of the statistical information provided in this report. . .

[Puisis DIX p. 96.] Further, “CQI Minutes and the 2016 Annual Report show that communicable

disease data is collected and reported [but there] is minimal to no discussion of the meaningfulness

of the data reported. . .” [Id. pp. 78-79.]




                                                107
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 256 of 409 PageID #:14025




       319.    Finally, as to analysis of physician quality at Dixon CC, “The CQI program appears

to make no effort to evaluate the clinical quality of care. We heard complaints from IDOC custody

and IDOC health care leadership about the poor quality of physician care. We agree that physician

quality is poor, based on mortality reviews and chart reviews. Yet there was no evidence of the

CQI program monitoring for this.” [Id. p. 97.]

       320.    At Stateville CC, the Puisis team found:

      The CQI program at SCC was ineffective for the following reasons:

           •   The Annual CQI Plan has no goals or objectives related to problems areas at
               the facility.
           •   The Annual CQI Plan is a generic plan which is a word-for-word duplicate
               of the plan used at NRC, even though NRC and SCC are different facilities
               with different missions. The Annual CQI Plan failed to identify the
               upcoming year’s agenda of CQI work.
           •   Credential and privilege reviews of physicians are performed by nurses who
               do not have the capacity to review physician privileges.
           •   Review of credentials fails to include one-time primary source verification.
               The CQI coordinator and HCUA did not understand what primary source
               verification meant even though it is an administrative directive requirement.
           •   The Governing Body of the CQI committee consists of the Warden, an ex-
               warden, and the Agency Medical Director. Health trained staff are
               underrepresented on the CQI Governing Body.
           •   The CQI studies do not investigate quality of care or appropriateness of care
               even when this is required by administrative directives, for example with
               respect to offsite services.
           •   The leadership does not appear to understand the difference between
               outcome and process studies. Outcome studies were not based on a clinical
               outcome and most outcome studies appeared to be performance measures
               instead of outcome studies.
           •   Mortality review is not performed. Instead, a death summary is done by a
               physician involved in provision of care. This summary fails to include a
               critical review of the death and does not identify problems in order to prevent
               further mortality. Though we have found preventable deaths in our death
               reviews, there is no evidence that the system is attempting to identify
               problems so that these deaths can be prevented.
           •   Infection control data appears inaccurate.
           •   The Medical Director summary in the annual CQI report from NRC is an
               identical word-for-word duplicate of the Medical Director summary from
               SCC with the exception of a single sentence about NCCHC accreditation,



                                                 108
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 257 of 409 PageID #:14026




                which NRC is not engaged in. These are different facilities with different
                missions and should have a different summary by the Medical Director.
            •   While the concept of internal audits is sound and potentially useful, five of
                six audits did not include the reported findings. Also, these audits only focus
                on process issues and should also include quality of care.

       The purpose of SCC CQI was not to identify and solve problems in order to
       improve care. . . .

[Puisis STA pp. 76-77.]

        321.    As to the IDOC dental quality improvement program, the Second Expert team

found that CQI remained non-functional despite marginal improvements: “The dental CQI

program has improved marginally since the First Court Expert’s Report but remains inadequate.”

[Puisis SR p. 116.] Some of the inadequacies identified were:

        CQI studies were limited in scope and follow up with corrective action plans was
        lacking. For example, the 2016-2017 SCC CQI Report described study of
        compliance with the charting at the initial examinations at NRC. Among the
        findings from the NRC charts were that 62% had no charting of pathology, with the
        remainder having only a partial charting. . . However, we were not provided with
        any corrective action plans.

        The [Logan] CC 2017 Annual Governing Body Report described a quality
        improvement study on “[t]he time frames for dentures start to finish including
        healing. Is it within 3 months?” There were neither recommendations nor a planned
        follow up. The study was, at best, trivial. Given the inadequacy of the clinical
        aspects of the dental program described in this report, a ‘study’ of how long it takes
        to fabricate a denture ignores far more relevant issues, such as inadequate health
        histories, inadequate diagnosis of periodontal disease, and failure to use intraoral
        x-rays.

[Id.; emphasis added.]

        322.    In addition, the Second Expert team found there is a systemic lack of reliable

clinical oversight and peer review processes for medical professionals. “Peer review is a means to

monitor the quality of physician and other provider care, and thereby protects patient safety,” but

“Wexford and the IDOC fail to monitor physician care in a manner that protects patient safety.”

[Id. pp. 10, 23.]



                                                 109
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 258 of 409 PageID #:14027




        323.     All IDOC Medical Directors, and virtually all staff physicians and dentists, are

Wexford employees. For physicians, including Medical Directors, the peer review process consists

of Wexford doctors reviewing other Wexford doctors. Defendants do not receive the Wexford peer

reviews; they only receive a notification of the review that does not state the results.

        324.     Thus, “[t]he only monitoring of clinical performance of the physicians is Wexford

peer review, in which Wexford physicians monitor other Wexford physicians. Many of these

physicians are unqualified to practice primary care medicine. We found that these peer reviews

are ineffective . . .” [Id. p. 18.]:

        The first type of peer review which is performed by Wexford is a structured
        questionnaire performed by one Wexford physician on another Wexford physician.
        We noted at one facility that a general surgeon performed the peer review of the
        primary care work of a nuclear radiologist. It is our opinion that this type of
        performance evaluation is defective and unlikely to result in meaningful evaluation,
        as neither doctor is adequately trained to practice primary care and would not be
        able to know when care was adequate.

        Also, the peer review that is done is so poor that it is unlikely to identify problems.
        The Wexford peer review consists of a review of 10 single episodes of care for five
        areas of service. For each of these areas of service there are a series of questions
        ranging from 10 to 15. Some of the questions are not relevant to clinical quality,
        such as:

            •    Is the handwriting legible?
            •    Is the signature with professional designation legible?
            •    Is the patient enrolled in all relevant clinics?
            •    Are all medications written on a script?
            •    Does the clinic include pertinent vital signs?

[Id. pp. 23-24.]

        325.     The Second Expert team further noted that a second type of “peer review” typically

done in the community “when a member of the medical staff may have committed a serious gross

or flagrantly unacceptable error or exhibits a serious character or behavior problem” and may need




                                                 110
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 259 of 409 PageID #:14028




to be evaluated for reduction of privileges or referral to a medical board, does not appear to be

performed in IDOC at all. [Id. p. 23.]

        326.    For Wexford-employed dentists, there is no regular peer review process at all,

although such review is a recommendation of NCCHC.

        327.    Likewise, the Puisis Report notes, “There is no meaningful monitoring of nurse

quality of care.” [Id. p. 10.]

        328.    Finally, in 2018, the Puisis team found that Defendants’ mortality review process

remained ineffective and inadequate.

        329.    The Second Expert team reported that IDOC claimed that the regional coordinators

perform mortality review, but the team was never provided copies of these reviews. In any event,

“[t]hese reviews, if done, are insufficient as mortality review.” “The Regional Coordinators are

nurses and would not be able to effectively review physician care or identify it if was adequate or

inadequate.” Further: “Wexford does not perform mortality review; instead, it performs a death

summary, which is a non-critical summary of the death. This is done by the Medical Director of

the site who is often the same doctor who cared for the patient and who often was responsible for

the incompetent care.” [Id. p. 102.]

        330.    As of January 2017, IDOC did not even have its own policy on mortality reviews.

[P471.]

        331.    In 2016, the IDOC-commissioned NRI Report also recommended that IDOC

“[d]evelop and use a robust continuous quality improvement program to thoroughly review and

analyze operational process concerns identified in this report.” [P21 000013.]




                                               111
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 260 of 409 PageID #:14029




XVI. MORTALITY AND END-OF-LIFE CARE

       332.    As part of their review of IDOC medical care, both the First and the Second Expert

teams reviewed deaths within IDOC.

       333.    In 2014, the First Expert team reviewed 52% of the non-violent deaths in IDOC

from January 1, 2013 to June 1, 2014, plus two additional deaths from 2010. They applied an

analytic taxonomy developed in Plata v. Brown, which sets out 14 different categories of “lapses

in care”: a lapse of care is when “a clinician has committed a significant departure from the

standard of care that a reasonable and competent clinician would not have committed under the

same or similar circumstances.” These categories include “failure to recognize “clinical ‘red

flags’”; “failure to identify and appropriately react to abnormal test results”; “[p]racticing outside

the scope of one’s professional capacity”; “[d]elay or failure in emergency response.” [Dkt. 339

pp. 42, 376, 402.]

       334.    The Shansky team found “one or more significant lapses in care in 60% of the

cases” they reviewed. “This is an unacceptably high rate of deviations from the standard of care.”

Further, of the cases with “significant lapses,” 89% “had more than 1 lapses.” [Dkt. 339 p. 376.]

       335.    The First Expert Report also criticized the procedure used by the State Defendants

to review deaths, which in most cases permitted Wexford doctors to review the deaths that had

occurred on their own watch, without any oversight by the State Defendants. In most of these

cases, this system had failed to identify any problems at all. [Dkt 339 at 42-43.]

       336.    Like the Shansky team, in 2018 the Puisis team found significant problems in their

review of mortalities. The Second Expert Report states:

       There were 174 deaths in 2016 and 2017.We intended to review 89 death records
       but because of time limitations we were only able to review 33 (19%) deaths from
       12 facilities, which is a sample of 46% of the IDO facilities. Eleven of 33 deaths
       were preventable. Eight of 33 were possibly preventable. Nineteen (58%) of the 33



                                                 112
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 261 of 409 PageID #:14030




        deaths reviewed were either preventable or possibly preventable. This is an
        extraordinary number of preventable or possibly preventable deaths and speaks to
        the ongoing serious harm to patients from care in the IDOC. We do not assert that
        this sample can be extrapolated to the entire population. However, even if there were
        only 19 preventable or possibly preventable deaths out of the 174 deaths that would
        be 11% of the deaths, which is still a very high number. Our findings confirmed the
        First Court Expert’s report that none of the death summaries identified any
        problems. All of the death summaries were performed by physicians who were
        responsible for care of the patient and failed to identify any problems, even when
        grossly and flagrantly unacceptable care was provided.

        We reviewed two years of care as documented in the health record for most of the
        33 deaths. . . We identified 1757 errors in care.

[Puisis SR p. 93-94; emphasis added.]

        337.    A “preventable death” according to the Second Expert team was “[a] death wherein

opportunities for clinical intervention or errors related to care delivery were identified that

WOULD have prevented or significantly delayed the patient’s death.” [Puisis MR p. 1.] A

“possibly preventable death” was “[a] death wherein opportunities for clinical intervention or

errors related to care delivery were identified that MIGHT have prevented or significantly delayed

the patient’s death. [Id.]

        338.    In addition to the deaths that the Puisis team determined to be preventable or

possibly preventable, there were five additional deaths out of the 33 reviewed as to which they

could not make a determination about preventability because the record-keeping was so

inadequate. [Puisis MR pp. 1.]

        339.    The preventable deaths assessed by the Second Expert team included:

        A 24-year-old with mental illness swallowed two plastic sporks (combination spoon
        and fork) that was witnessed by a correctional officer. A doctor did not evaluate the
        patient but ordered an x-ray, which would not likely show the ingested plastic item.
        The x-rays were normal. About two and a half months later, a nurse practitioner
        evaluated the patient. The NP failed to recognize a 33-pound weight loss, but the
        patient did tell the NP that he had swallowed a spork a long time ago and needed it
        removed. The NP made an assessment that the patient had an ingested spork but
        took no action. The patient remained untreated and eventually lost 54 pounds and



                                                113
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 262 of 409 PageID #:14031




       had repeated episodes of abdominal pain with an inability to eat without pain,
       nausea, and diarrhea. Eventually the patient was found unresponsive, was sent to a
       hospital, and died. On autopsy, the two swallowed sporks were found having caused
       esophageal perforation, which was the cause of death.

       A 51-year-old had headache, complaint of fever, and vomiting. Treatment for this
       condition was infirmary admission, IV fluid, and intravenous antibiotics for
       presumed pharyngitis. These signs were inconsistent with pharyngitis. The patient
       continued to vomit, yet continued to be managed for pharyngitis. The provider
       ordered labs on the second infirmary day that were not done. Later, on the second
       day on the infirmary, the patient developed altered mental status and hypothermia,
       and was not responding. These are red-flag signs. The patient was not sent to a
       hospital despite signs of acute sepsis. No laboratory tests had yet been done after
       two days of infirmary housing. On the third infirmary day, the patient was found on
       the floor and would open his eyes only to severe stimulus. He was not sent to a
       hospital until he was found unresponsive and in shock (BP 68/palpable). The patient
       died in the hospital; there was no autopsy.

       Another patient had hepatitis C and cirrhosis evident as early as June of 2012, yet
       facility providers failed to list cirrhosis as a problem and did not monitor the patient
       for this condition. Doctors did not initially order tests typically ordered for cirrhosis
       (EGD to screen for varices and ultrasound to screen for hepatocellular carcinoma)
       and the patient was not monitored for ascites. In May of 2015, the patient eventually
       received an ultrasound, which showed a liver mass. A CT scan later that month
       confirmed a liver mass. The patient was referred for interventional radiology for a
       biopsy in August 2015, but this was denied by Wexford UM and instead an MRI
       was recommended. The reason was unclear, as a biopsy was indicated. An MRI was
       done in October but a biopsy was never done. The patient developed hypoxemia
       (oxygen saturation of 79%) with hypotension (96/64) and the patient was admitted
       to the infirmary, but should have been admitted to a hospital. The day following
       admission to the infirmary the patient developed fever, but no action was taken. The
       patient had massive ascites, fever, hypotension, and hypoxemia, yet was kept on the
       infirmary. The following day the patient again developed hypotension (88/60) and
       hypoxemia (84%) on four liters of oxygen and was sent to a hospital, where he died.
       The delay in transfer to a hospital contributed to his death. He also never had a
       biopsy of his liver mass and therefore never had a diagnosis.

[Puisis SR pp. 95-96, 98.]

       340.    The deaths reviewed by the Second Expert team reflect the systemic failures

observed by the team throughout their review of IDOC care. [Puisis MR, passim.] These failures

included: failure to hospitalize patients in need of hospital care; failure to provide skilled nursing

care; failure to order tests or properly examine the patient; delays in obtaining treatment



                                                 114
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 263 of 409 PageID #:14032




recommended by a consultant; outside reports missing from the medical record; medication errors

and failed chronic clinic evaluations; failure to evaluate plain symptoms of disease; and

inappropriate prescriptions with no monitoring of side-effects. [Puisis MR pp. 10-15, 17, 22, 30,

34, 36-37, 40, 42, 45.]

       341.    The Second Expert team assessed the care delivered to some of these patients as

“appear[ing] to be indifferent, incompetent, and inhumane,” and “neglectful and border[ing] on

cruelty,” inter alia. [Puisis MR pp. 29, 38.]

       342.    Like the First Expert team, the Second Expert team concluded that there is no

functional mortality review process in IDOC. [Puisis SR pp. 91-92.]

       343.    Finally, both the First and the Second Expert teams noted problems with care of the

dying and use of informed consent.

       344.    “[T]here are no resources in place to assist health care staff in the care of patients

who are dying or in the management of common end of life symptoms,” concluded the Shansky

team. “It was obvious that once patients signed DNR (do not resuscitate) orders, they were often

no longer treated for even simple reversible illness . . .. Even though DNR is an instruction not to

use CPR under circumstances when it is known to be futile, often simple treatment with antibiotics

or hydration or suctioning can be effective and diminish suffering.” [Dkt. 339 p. 43; emphasis

added.]

       345.    The Puisis team in turn noted problems with informed consent and the use of

palliative sedation in advance of death. [Puisis MR pp. 35, 52.]

       346.    Defendants claim that they provide “hospice” or end-of-life care in their facilities.

However, despite Illinois law requiring facilities (including public facilities) providing “hospice”




                                                115
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 264 of 409 PageID #:14033




care to be licensed as hospice facilities, and hospice workers also to be licensed, IDOC “hospice”

facilities and workers are not licensed pursuant to state law. See 210 ILCS 60/1 et seq.

        347.    Defendants’ records reflect that at least two of the patients whose deaths were

reviewed by the Second Expert team hoped at least to survive until release. Mortality patient no.

6 (assessed as a possibly preventable death by the Second Expert team), is reported to have told

an IDOC nurse in March 2016, “I just wanna live to get out of here.” [Puisis MR p. 8; P475.]54

She died less than six months later. Mortality patient no. 8 (also assessed as a possibly preventable

death by the Second Expert team), rescinded his DNR 5 days before his death because “he had

less than one week until release from prison and wanted to do everything possible to ensure that

he would survive to release.” [Puisis MR p. 12; P457.]

XVII. NAMED PLAINTIFFS’ EXPERIENCES

        348.    Plaintiff Don Lippert is 43 years old and is currently incarcerated at Lawrence CC;

he was previously incarcerated at Stateville CC and at Pinckneyville CC. Mr. Lippert is a type 1

(insulin-dependent) diabetic and also has diabetic neuropathy and hypertension. Since 2010, at

Stateville, Pinckneyville, and Lawrence, Mr. Lippert has regularly suffered from delayed dosages,

improper dosages, or no dosages of his insulin; failures or refusals to provide him with a diet

suitable for managing his diabetes; and failures or refusals to treat collateral effects of his Type 1

diabetes such as cracked and fragile skin and foot pain. Mr. Lippert has also experienced protracted

interruptions of other medications he is regularly prescribed for high blood pressure and pain.




54
  This patient “developed fever, abdominal pain, and hypotension consistent with septic shock, but was not
sent to the hospital for evaluation for two days.” [Puisis MR p. 8.] On her return and placement in the prison
infirmary, she began vomiting blood repeatedly and was hypotensive, indicating shock,” yet she was not
sent to a hospital for five hours. [Id.] “This was grossly and flagrantly unacceptable,” stated the Second
Expert team. [Id.]


                                                    116
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 265 of 409 PageID #:14034




       349.      Plaintiff Lewis Rice is 48 years old and is incarcerated at Menard CC. Mr. Rice has

a medical history in IDOC that includes headaches, fainting spells, chest pains, right shoulder pain

(for which Mr. Rice receives a “double cuff” permit), severe vomiting and constipation, and GERD

(gastroesophageal reflux disease). Throughout his spells of headaches and fainting, chest pains,

and vomiting, Mr. Rice has never received any diagnosis of the causes of these episodes.

Defendants have refused to consider surgery or even an MRI to analyze his persistent right

shoulder pain.

       350.      Plaintiff Debra Pattison is 54 years old and is incarcerated at Logan CC. Ms.

Pattison has, in her knee, a complete ACL tear, a partial PCL tear, a meniscal tear, and

tricompartmental osteoarthritis. She also has a history of hypertension, type 2 diabetes, asthma,

migraines, and possible transient ischemic attacks while in IDOC custody. An orthopedic

consultation obtained in 2012 after Ms. Pattison had severely injured her knee while in IDOC

custody recommended knee replacement surgery, but Wexford utilization management has denied

this request on multiple occasions. Ms. Pattison can now barely walk.

       351.      Plaintiff Ezell Thomas is 76 years old; he was incarcerated at Pontiac CC and is

now in custody at Dixon CC. Mr. Thomas has a history of chronic obstructive pulmonary disease,

hypertension, dyslipidemia, anemia, prostate cancer, renal failure, and lung cancer while in IDOC

custody. On many occasions outside providers to whom Mr. Thomas was sent for diagnosis or

management of these medical problems have recommended follow-up appointments within a

certain time period, or the performance of diagnostic tests, or the prescription of certain

medications, Defendants have failed to schedule Mr. Thomas for these appointments, see to it that

the tests were performed, or provide Mr. Thomas with the medications.




                                                 117
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 266 of 409 PageID #:14035




       352.    Plaintiff Milam Martin is 62 years old and is incarcerated at Big Muddy River CC.

Mr. Martin was previously incarcerated at Pontiac CC, Menard CC, Dixon CC, Lawrence CC, and

Pinckneyville CC. Mr. Martin is incorrectly identified in IDOC’s records as “Milan” Martin.

Despite his efforts to have his name corrected, Defendants have refused to correct Mr. Martin’s

first name throughout his incarceration. Mr. Martin has a medical history in IDOC custody that

includes chronic bronchitis, hypertension, Bell’s palsy, hypercholesterolemia (high cholesterol

levels), and partial right lower extremity hemiparesis (weakness of one side of the body). Mr.

Martin uses a wheelchair. Since 2010, Mr. Martin has injured himself falling out of a defective

wheelchair issued to him which Defendants had refused to replace and been placed in the infirmary

for an extended stay during which he was largely neglected. Mr. Martin also has an injury to his

jaw that causes it to fall out of place; at one time he had a plastic mouth brace which he could use

while sleeping to secure it, but this was lost by IDOC during one of his prison transfers and dental

personnel have refused to replace it. As a consequence, Mr. Martin is forced to use cardboard and

Kleenex to try to keep his jaw in place while sleeping so that he does not wake up in pain. Mr.

Martin has also experienced such lengthy delays in getting appointments to have teeth that were

in need of extraction extracted, that he has on multiple occasions ended up pulling the teeth out

himself.

       A.      The Stern Report

       353.    On May 31, 2018, Plaintiffs’ expert Dr. Marc F. Stern MD, MPH, issued a report

on the adequacy of medical and dental care in IDOC based principally upon the medical records

and other information relating to the named plaintiffs in this case. [P551.] He classified the errors

and problems he found in the records into eleven categories based upon the analysis made by the

First Expert team.




                                                118
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 267 of 409 PageID #:14036




        354.    Using the standard of care for medically necessary care in the community, and

national standards for correctional care “to the extent that … they provide a guide to what is

necessary, but not necessarily sufficient, for safe health care,” Dr. Stern made two key findings.

[Id. p. 3.] First, the errors and problems he discovered fall into a large number, and possibly a

majority, of the “essential” categories of a correctional health care system. Second, the errors and

problems occur frequently across facilities, therefore, this is not attributable to individual

incompetent staff members. [Id. p. 3.] Dr. Stern deemed the problems “pervasive, systematic, and

symptomatic,” of a system that constantly places patients at risk. [Id. p. 3.]

       B.       The Stern Report: Quality of nursing decision-making and care

       355.     In the first category, Dr. Stern looked at the quality of nursing decision-making and

care. Dr. Stern found that in each case clinical judgment and competency were lacking among the

nurses in each of the named plaintiffs’ cases. [Id. p. 4.]

       356.     Mr. Rice saw a nurse presenting symptoms that could indicate a life-threatening

medical problem. Instead of contacting a practitioner immediately, the nurse acted independently

and made a routine referral which was not complete until five days later. Additionally, the nurse

used a poorly designed protocol which requires the nurse to utilize treatments that may lead to life-

threatening consequences for certain patients. Furthermore, the nurse ignored instructions within

the protocol. [Id. p. 4.]

       357.     Mr. Lippert saw a LPN for chest pains. The visit took place in the patient’s living

area. The patient exhibited signs for a heart attack, which require that treatment begin as soon as

possible. The exertion required to get into a wheelchair can be dangerous in this situation. The

licensed practitioner nurse does not have the requisite training to make the decision to transport a




                                                 119
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 268 of 409 PageID #:14037




patient or begin treatment at the bed sign especially without conducting an examination or taking

vital signs. The care of Patient 4 was dangerous and put his life at risk. [Id. pp. 5-6.]

       358.    Dr. Stern found more than 20 other examples of poor quality of nursing decisions

and care in the records he reviewed. These findings are consistent with the previous report by Dr.

Shansky. [Id. p. 6.]

       C.      The Stern Report: Quality of practitioner decision-making and care

        359.   In the second category, Dr. Stern evaluated the quality of practitioner decision

making and care. Here, Dr. Stern also found that sound clinical judgment and competency are

lacking among the practitioners. [Id. p. 6.]

        360.   Mr. Lippert takes insulin for his diabetes. Many times, the management of his

treatment was not consistent with acceptable and safe medical standards. Prolonged exposure to

elevated blood sugar levels increased the patient’s risk of neurologic and cardiovascular damage.

[Id. p. 10.]

        361.   Dr. Stern stated he found more than 70 other examples of poor quality practitioner

decisions in the records reviewed. His findings are consistent with Dr. Shansky’s findings of poor

practitioner decision making and poor care. [Id. p. 11.]

       D.      The Stern Report: Errors and problems in continuity of care

        362.   In the third category, Dr. Stern looked at errors and problems in continuity of care.

Dr. Stern advised that one of the principles of constitutionally adequate correctional health care is

that once the patient receive a professional medical judgment, the plan resulting from that

judgment must be carried out. Orders may be issued only by duly licensed practitioners. According

to the records reviewed, Dr. Stern found that continuity of care is not well maintained at IDOC.

[Id. p. 11.]




                                                 120
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 269 of 409 PageID #:14038




        363.    Ms. Pattison complained of shortness of breath. An EKG was ordered but never

done. Ms. Pattison had a number of risk factors for heart disease and the EKG was important for

ruling out acute heart disease as a cause. She also should have been checked for anemia as a cause.

The practitioner should have scheduled a follow up. None was ordered. [Id. pp. 11-12.]

        364.    Mr. Thomas saw a cardiologist to manage his heart disease. The cardiologist

stopped two medications and replaced them with two others. It took 17 days to implement the

change when it should have taken one or two days. Mr. Thomas returned to the cardiologist three

months later. The practitioner saw him for a follow up and his blood pressure was better but

increased the dose. There was no follow-up appointment scheduled. Mr. Thomas’s blood pressure

was not checked again for another 3 months. [Id. pp. 12-13.]

        365.    Dr. Stern found more than 55 examples of poor continuity of care in the records.

[Id. p. 13.]

       E.       The Stern Report: Errors and problems in non-urgent episodic care

        366.    Dr. Stern lists category four as errors and problems in non-urgent episodic care.

This category focused on the administrative, policy, and operational aspects or care. Dr. Stern

found two problematic aspects at the IDOC facilities. [Id. p. 14.]

        367.    One example is Mr. Rice, who was scheduled to see a practitioner for chest pain

but saw a Certified Medical Technician (CMT) instead. The CMT did not conduct an examination

and the patient did not see a practitioner until 18 days after the first appointment. Mr. Rice also

went to see a nurse practitioner for a history of vertigo, vomiting, and a headache. The nurse used

three different protocols which ignored the convergence of the various symptoms that could

indicate a fatal condition. [Id. p. 15.]




                                               121
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 270 of 409 PageID #:14039




       368.     Another example is Ms. Pattison, who went to a nurse for new onset back pain. The

nurse employed the “Back Pain” protocol which is flawed in that it guides the nurse to make a

decision based on symptoms they do not collect during examination. It also provides unsafe

instructions on how to refer to the patient to the practitioner. The ultimate referral was then

ignored. [Id. p. 16.]

       369.     A final example is Mr. Martin, who was evaluated by a nurse practitioner for cheek

and jaw pain for three or four days. The nurse conducted only the protocol and diagnosed the pain

as a dental problem. Because the protocol did not call for other examinations, the nurse practitioner

could not have ruled out other more serious and urgent problems and placed the patient at risk of

harm. [Id. p. 16.]

       370.     Dr. Stern found 30 other examples of poor quality in non-urgent episodic care in

the records that are consistent with Dr. Shansky’s findings. [Id. p. 17.]

       F.       The Stern Report: Errors and problems in urgent and emergent episodic care

       371.     Dr. Stern’s category five looks at errors and problems in urgent and emergent

episodic care. In one example, a CMT responded to Mr. Lippert after he was reported unconscious.

The CMT took no history or conducted an examination other than touching him and testing his

blood sugar. The CMT made a nursing diagnosis without consultation. Without taking into account

the patient’s elevated blood sugar and high risk for heart disease, the CMT’s care was reckless and

deliberately dismissive of a serious medical need. [Id. p. 17.]

       372.     Ms. Pattison slipped in the shower when her knee gave out and pulled her shoulder

out and hit her head on the wall. The notes show that the nurse practitioner informed Ms. Pattison

that she should not lie about injuries and when they happen, which was “abusive” and not

supported by any evidence in the patient’s chart. [Id. pp. 17-18.]




                                                122
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 271 of 409 PageID #:14040




        373.    Mr. Thomas reported shortness of breath and was visited by a CMT. His blood

oxygen level was low and the lung sounds were slightly diminished. The CMT prescribed a

medication, noted that the Mr. Thomas’s lung sounds were clear and reported a higher blood

oxygen level. The diagnosis was listed as momentary constriction of the airway due to emphysema.

The possible reasons for the shortness of breath were much more extensive than momentary airway

constriction and providing treatment as such risked harming the patient and delaying an accurate

diagnosis. [Id. pp. 18-19.]

        374.    Dr. Stern found more than 16 other examples of poor quality urgent or emergent

episodic care in the records which was consistent with Dr. Shansky’s finding of serious

deficiencies. [Id. p. 20.]

       G.       The Stern Report: Errors and problems in chronic disease management

        375.    Dr. Stern’s sixth category focuses on errors and problems in chronic disease

management. This included diseases or conditions that last more than a few months, are not

expected to disappear on their own, and are expected to continue to produce problems for the

patient, and for which ongoing preventive care can help reduce or prevent those problems. Chronic

care is scheduled visits at regular intervals during which complications are addressed and the

patient receives preventative care. Dr. Stern concluded that the facilities he reviewed were

dysfunctional. [Id. p. 20.]

        376.    Ms. Pattison suffers from several chronic conditions, including hypertension,

diabetes, and asthma. She had a chronic visit for her diabetes in January 2013. Her next visit was

not until June 2015. Almost two and half years passed between chronic care visits. Ms. Pattison

also has a long history of arthritis of the left knee. In 2012, a surgeon determined that surgery was

necessary. Wexford held two meetings and decided to ignore the recommendations without any




                                                123
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 272 of 409 PageID #:14041




explanation. They denied the request for surgery and used an alternative treatment plan. Ms.

Pattison made several requests over the next few years for the surgery. Wexford kept pointing to

a note from the surgeon saying that patient would expect “limited motion if surgery performed”.

However, the note was not in the records. In 2016, Ms. Pattison was referred back to a surgeon.

IDOC failed to send sufficient medical records with the patient, thus the surgeon was unaware that

steroid injections had been used before which worsened the condition. The surgeon injected the

Ms. Pattison’s knee as a result. The surgeon requested follow up in two months. As of March 2018,

no follow up has occurred. Dr. Stern found this care “cruel”. [Id. pp. 20-23.]

       377.     Mr. Thomas has a history of prostate cancer but went almost two and half years,

maybe longer without follow up to determine if his cancer returned and required treatment. [Id. p.

23.]

       378.     Dr. Stern found more than 25 other examples of poor chronic disease management.

These findings were consistent with those of Dr. Shansky. [Id. p. 24.]

       H.       The Stern Report: Errors and problems in infirmary care

       379.     Dr. Stern labeled category seven as errors and problems in infirmary care. Patients

in the infirmary are supposed to receive closer monitoring and more frequent care by doctors and

nurses. If their condition worsens, they should be transferred to a hospital. Dr. Stern found the

quality of care in the infirmaries to be poor. [Id. p. 24.]

       380.     Mr. Martin was admitted to the infirmary in May of 2015 complaining of weakness.

He had abnormal vital signs. He fell off the toilet later that day due to weakness. The nurses did

not measure blood oxygen saturation levels nor did they check for dehydration. The next day, his

blood pressure was below level even though the patient has hypertension. This should have

prompted an immediate contact with a practitioner but nothing was done. A practitioner visited




                                                  124
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 273 of 409 PageID #:14042




Mr. Martin three days later. His blood pressure was at a critically low level which demanded an

urgent response. Instead, one of his blood pressure medications was stopped and fluids were

increased. Mr. Martin was discharged two days later. His blood pressure was not monitored upon

discharge nor were there orders to continue monitoring. His blood pressure went unchecked for

half a year. It was then too high because of the discontinued medication. Mr. Martin was exposed

to unhealthy blood pressure for months which could damage his cardiovascular system. [Id. pp.

24-26.]

          381.   These findings are consistent with those of Dr. Shansky. [Id. p. 26.]

       I.        The Stern Report: Scheduled offsite services

          382.   Dr. Stern’s category eight looks at scheduled offsite services. Dr. Stern noted that

prisons must often send patients to community providers for consultations or tests. In order for the

care to be safe, these must be acted upon in a timely manner and the recommendations of the

specialists, and test results must be acted upon in a timely manner. This does not happen at IDOC.

[Id. p. 26.]

          383.   Mr. Rice was in the infirmary where he developed a cardiac problem. The

practitioner recommended he be referred to another practitioner for referral to a cardiologist and

maybe fitted for a pacemaker. Mr. Rice never saw a cardiologist. [Id. p. 26.]

          384.   Mr. Thomas was supposed to have a repeat CT scan of his lungs three months after

his release from the hospital. The CT scan was not obtained until two years later and only in

response to a renewed recommendation. Doctors also ignored a recommendation that Mr. Thomas

see a hematologist because of an abnormality suggesting cancer. Nine months passed before Mr.

Thomas was seen for follow up. Doctors suggested another follow-up in three to four weeks. The

follow-up did not occur for five months. [Id. p. 27.]




                                                 125
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 274 of 409 PageID #:14043




        385.    Dr. Stern found more than 15 other examples of errors dealing with scheduled

offsite services and these findings were consistent with Dr. Shansky’s. [Id. p. 27.]

       J.       The Stern Report: Dental program

        386.    There was insufficient evidence in the named plaintiffs’ records for Dr. Stern to

form reliable conclusions in category nine. Category nine pertained to the dental program and

quality of dental care. [Id. p. 27.]

       K.       The Stern Report: Errors and problems in medical records

        387.    Dr. Stern’s category ten looks at errors and problems in medical records. The

records must be complete and clear so that each caregiver can easily and accurately determine

what is known about the care already delivered. Dr. Stern states that if the record is incomplete

and unclear, there cannot be safe patient care. The records he reviewed were not complete or clear,

and therefore patient care cannot be safe. [Id. pp. 27-28.]

        388.    Written requests for care are missing from all records reviewed. The Problem Lists

in three of the five records were either missing or incomplete. Another had too much information

to the point where it was cluttered with repetitive and irrelevant information. Many scribbles were

illegible. Overall, Dr. Stern found more than 45 other errors or problems with medical records; his

findings are consistent with Dr. Shansky’s. [Id. pp. 28-29.]

       L.       The Stern Report: Errors and problems with pharmacy and medication
                administration

        389.    Finally, Dr. Stern’s category eleven looks at errors and problems with pharmacy

and medication administration. Medication administration must be completed timely and

accurately. When a patient refuses a medication dose, the nurse needs to determine if the patient

is capable of making such a decision. If so, the refusal must be informed. Even if the refusal is

informed, the standard of care requires medical staff to attempt to alieve the concerns or encourage



                                                126
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 275 of 409 PageID #:14044




the patient to accept the medications. A lock-down, a patient no-show, or no reason at all are

invalid excuses for failure to administer a medication. Dr. Stern found many examples of failure

of the medication delivery system. [Id. p. 29.]

       390.     Nurses failed to administer six doses of medications for asthma, heart disease,

hypertension, and pain for Ms. Pattison. No reasons were given. In February 2017, nurses failed

to administer 24 doses of medications. The reason was listed as “did not show”. [Id. pp. 29-30.]

       391.     In November of 2017 nurse failed to administer all morning and evening doses of

insulin to Mr. Lippert, 31 doses total due to a lockdown, six evening doses due to the patient not

being in his cell, and one evening dose for no given reason. Seven of these failures occurred in one

day. Mr. Lippert received no insulin for three days straight. In December, he went four days

without insulin and missed 30 doses total. [Id. p. 30.]

       392.     These findings are consistent with those of Dr. Shansky. [Id. p. 30.]

       M.       The Stern Report: “Capstone” stories

       393.     Dr. Stern used two stories to show how multiple errors and problems in the same

patient over time compound one another and create significant deficiencies in health care. [Id. p.

30.]

       394.     Mr. Rice had a history of multiple fractures, alcohol and drug abuse, bradycardia,

gastroesophageal reflux disease, major depressive disorder with psychotic features, chronic

constipation, and chronic insomnia. On March 10, 2017, he saw a practitioner for constipation and

nausea. On March 16, he saw a registered nurse. She noted he had persistent vomiting and signs

of dehydration and made an urgent referral to a practitioner. Though he was listed as “urgent,” he

did not see a practitioner for three days. [Id. p. 31.]




                                                  127
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 276 of 409 PageID #:14045




       395.    On March 19, 2017, Mr. Rice saw a practitioner and his vital signs had deteriorated.

He was diagnosed with “vomiting” which is not a diagnosis but a symptom. He was given a single

injection and discharged without follow up. [Id. p. 31.]

       396.    On March 29, 2017, Mr. Rice saw a registered nurse for constipation, nausea,

vomiting, and abdominal pain. The nurse referred him to a practitioner. The history of symptoms

indicate a serious medical problem, possibly life-threatening. A consultation should have been

immediate, instead it was a routine referral. [Id. p. 32.]

       397.    On April 3, 2017 Mr. Rice saw the practitioner in response to the registered nurse’s

referral, and reported vomiting every time he ingests food or liquid. He also reported blood in his

stools, a sign of internal bleeding unless proved otherwise. The practitioner was concerned about

internal bleeding but Mr. Rice refused a rectal exam. The practitioner then ordered a few

medications for vomiting and stomach acid, a plain x-ray of the abdomen, and routine blood and

stool tests. A follow up appointment was scheduled in a week. Dr. Stern notes Mr. Rice’s refusal

of the rectal exam was uninformed and the practitioner made no effort to encourage him to have

the exam. This was problematic because the patients combined symptoms are evidence of a

medical emergency until proven otherwise. If Mr. Rice had a serious bleed, he would have died

before it could be controlled. [Id. pp. 32-33.]

       398.    On April 10, 2017, the Wexford authorities denied the request for an ultrasound.

Instead, they implemented an alternative care plan including blood tests and stool tests and a diet

change. Still, no diagnosis was made. [Id. p. 33.]

       399.    On April 12, 2017, Mr. Rice saw the practitioner for a follow-up. His weight had

dropped significantly. The practitioner noted that she was waiting on labs and scheduled a follow




                                                  128
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 277 of 409 PageID #:14046




up in three weeks. The practitioner should have done an examination in the interim but failed to

do so. [Id. p. 33.]

          400.   On May 16, 2017, the Wexford authorities heard about this case again. They

directed a new treatment plan that did not improve upon the previous plan from April 10. [Id. pp.

33-34.]

          401.   Dr. Stern explains that at this point care for the problem was stopped. There is no

further mention of the problem nor an evaluation of Mr. Rice. The errors occurred over a period

of months. If the Mr. Rice had a serious medical emergency, it was undiagnosed. Dr. Stern says

he was unable to determine if Mr. Rice indeed has or is still developing a serious medical condition.

[Id. p. 34.]

          402.   The second story involves Mr. Thomas, who has a history of heart disease,

emphysema, gout, hypertension, and prostate cancer. In 2013, he developed a blood abnormality

and a lung abnormality, both of which concerned specialists as to the presence of possible cancer.

[Id. p. 34.]

          403.   On February 1, 2014, Mr. Thomas was discharged from the hospital for internal

bleeding. Due to the abnormalities, the doctors recommended that the patient have a CT scan in

three months. IDOC ignored the recommendation. A CT occurred on July 14, 2016, two years

later. The doctors also recommended a follow up with a blood specialist in three to four weeks.

This order was also ignored. [Id. p. 34.]

          404.   On February 24, 2014 Mr. Thomas saw a different specialist who noted the

hematology consultation had not taken place and reminded IDOC of the recommendation. Nothing

was scheduled. The patient did not see a hematologist until October 29, 2014, nine months late.

[Id. p. 35.]On October 29, the hematologist recommended blood tests and a follow up visit in three




                                                 129
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 278 of 409 PageID #:14047




to four weeks. This recommendation was also ignored. The follow up somehow occurred April

29, 2015, five months late. Luckily, there was no cancer. [Id. p. 35.]

        405.    On June 10, 2016, Mr. Thomas saw a lung specialist for his emphysema. The

specialist noted the follow up request from December 2013 was never fulfilled and recommended

it be done in the next few weeks. Using no evidence, Wexford determined that the lesion was

stable and decided to delay any action until the next utilization meeting. Mr. Thomas finally had

a chest CT on July 14, 2016, which showed a new shadow in a different location. On August 17,

2016, Mr. Thomas received a more specialized scan which showed suspicions of malignancy. This

result requires a practitioner to seek consultation form the pulmonologist urgently. This did not

occur. [Id. p. 35.]

        406.    On September 14, 2016, Mr. Thomas had a regularly scheduled follow up with a

pulmonologist for his emphysema. The pulmonologist saw the scan results and planned further

work up. On October 25, 2016, the biopsy showed cancer and Mr. Thomas was referred to an

oncologist. He was referred for radiation therapy on November 18, 2016. [Id. pp. 35-36.]

        407.    Dr. Stern found that the delays and mismanagement of the Mr. Thomas’s care

showed the systems and professionals at IDOC were reckless in this patient’s care. [Id. p. 36.]

       N.       The Stern Report: Other systemic conclusions reached by Dr. Stern

        408.    Dr. Stern noted he did not have enough information to identify with certainty the

underlying causes of unsafe health care conditions in a correctional setting. However, he found

there was enough information to identify at least three factors: staffing levels, budget,

jurisdictional heterogeneity, and IDOC Central Office oversight. [Id. p. 36.]

        409.    Under staffing levels, Dr. Stern found that the Monthly Performance Monitoring

Reports he reviewed showed there are many position vacancies. This is similar to the findings in




                                                130
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 279 of 409 PageID #:14048




Dr. Shansky’s report. The Monitoring Reports also show many required clinical activities are not

completed or are backlogged. [Id. pp. 36-37.]

       410.     For budget, Dr. Stern looked at the Pew report on Prison Health Care Costs and

Quality from October 2017, which showed that Illinois was underspent by only seven other states

in 2015. [Id. p. 37.]

       411.     Under jurisdictional heterogeneity, Dr. Stern found the unclear chains of command

between Wexford and the state employees problematic. The health care unit administrator at each

facility is a state employee, while nurses are a mix of state and Wexford employees. [Id. p. 37.]

Almost all practitioners and dentists are Wexford employees. Most of the Directors of Nursing are

Wexford employees and they cannot fully supervise a state-employed nurse. Dr. Stern inferred

then that a state-employed director cannot fully supervise a Wexford-employed nurse. Dr. Stern

inferred similar complications in the chain of command for practitioners and heath care unit

administrators employed by different employers. Clear chains of command and clear supervisory

authority are essential to a safe and well-run healthcare environment. According to Dr. Stern, these

are not present in IDOC healthcare. [Id. p. 38.]

       412.     Under Central Office oversight, Dr. Stern reports that there are weaknesses in the

Medical Director’s ability to monitor the system. The director is not consistently getting all reports

and trends from every facility. The contract with Wexford has tools for monitoring the health

system but not a single measure directly measures patient safety. [Id. p. 39.]

       413.     Dr. Stern concluded that there are serious, systemic deficiencies in IDOC

healthcare in the five patient records he examined. Based on his experience, Dr. Shansky’s report,

and the extent that the five records are representative of a class of individuals at IDOC, Dr. Stern




                                                   131
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 280 of 409 PageID #:14049




further concluded that the deficiencies are also prevalent throughout IDOC. The result puts patients

at “substantial, regular, and predictable risk of serious harm.” [Id. p. 39.]

XVIII. DEFENDANTS’ KNOWLEDGE OF SYSTEMIC MEDICAL AND DENTAL CARE
       FAILURES

       O.      The John Howard Association Reports

       414.    Defendants have known for years of the systemic failures in their medical and

dental care systems.

       415.    Even before the 2014 Shansky Report and the 2016 NRI Reports, Defendants had

been notified by other outside reports of complaints about many of the systemic problems within

IDOC medical and dental care addressed by the First Expert team and NRI.

       416.    The John Howard Association of Illinois (“JHA”) is an independent, not-for-profit

prison monitoring (or “watchdog”) organization founded in 1901 and based in Chicago, Illinois.

[https://www.thejha.org.] JHA regularly visits IDOC facilities and issues reports on particular

prisons as well as special reports on particular issues within IDOC. In 2015, JHA received a

MacArthur Award for Creative and Effective Institutions from the MacArthur Foundation.

       417.    Defendants regularly receive JHA’s reports prior to public distribution and have an

opportunity to comment on them before publication. Defendants’ email correspondence obtained

in discovery circulates and comments upon many JHA reports.

       418.    JHA’s 2012 NRC report was forwarded to Dr. Shicker after it had gone through a

review process involving the warden and others. [P147 at 0277733-70.] In July 2013, a JHA staff

member forwarded the draft of JHA’s Dixon CC report to Dixon’s warden, Nedra Chandler, stating

inter alia, “We want the report we publish to be as fair, accurate, and helpful as possible, so your

input is invaluable.” [P157 p. 2.] The draft was then forwarded to IDOC higher-ups including the




                                                 132
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 281 of 409 PageID #:14050




Chief of Program and Support Services, who in turn forwarded it to then-agency Medical Director

Dr. Shicker. [Id. p. 1.]

        419.    From 2013 to 2015, emails show that Dr. Shicker received JHA’s reports on NRC,

Vandalia CC, Pontiac CC, Big Muddy River CC, Graham CC, Stateville, Dixon CC (2013),

Graham CC, Logan CC (2014), and NRC and Pontiac CC (2015). [P147; P157.]

        420.    Similarly, in February 2017, Chief of Programs Kim Butler forwarded the two

parts, in draft, of a JHA omnibus 2016 report to different groups of IDOC higher-ups including

Dr. Meeks and Director Baldwin, noting that there was an “opportunity for rebuttal” prior to its

publication and reflecting comments she and another had made upon it. [P155 at 0098770; P156

at 0098798.]

        421.    The 2012 JHA NRC report (received in draft by Dr. Shicker in February of 2013),

highlighted two of the systemic issues later focused on by the Shansky team on its first page,

namely staff shortages and intake medical record problems:

        Chronically low healthcare staffing frustrates NRC’s ability to provide adequate
        care, let alone doing so while conducting thorough intake assessments.

        NRC must rely upon inmates self-reporting their mental health and medical
        conditions because the state lacks a reliable system to pass information between
        county jails, mental health facilities, and the prison system. . . .

[P146 p. 1.]

        422.    As to healthcare staffing at NRC, the 2013 JHA report stated:

        Administrators stated that at the time of the visit, staffing shortages prevented them
        from conducting separate nurse and Correctional Medical Technician (CMT) sick
        calls. Stateville and NRC had been in crisis mode for nursing (where staff are pulled
        from other institutions and nurse pay is elevated to two and a half times normal
        salary) and nurses had been commonly mandated to work significant overtime.

[Id. p.8.]

        423.    A footnote added detail about leaves of absences and the Medical Director vacancy:



                                                133
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 282 of 409 PageID #:14051




        At the time of the visit, approximately one-fourth of the state healthcare workers at
        NRC and Stateville were on leave. In addition, NRC had only one of two authorized
        Wexford physician positions filled for 40 hours a week of coverage. Although
        authorized for 104 hours of Wexford physician assistant services, NRC had only 80
        hours covered [ ] In addition, NRC has 12 hours a week of Wexford dental hygienist
        coverage and 60 hours a week of Wexford dental assistant coverage (the state dental
        assistant was on a leave of absence). NRC had been without a Wexford medical
        director for over a year. Hence, the Wexford regional medical director must
        facilitate outside consultations. JHA heard reports of inmates waiting months to be
        seen by outside specialists at the University of Illinois.

[Id. p. 8, n. 19.]

        424.     As to medical records, the 2013 JHA NRC report noted that transferability of

records was essential to prison healthcare, and commented upon IDOC’s initiative to implement

an electronic medical record:

        Best correctional practice calls for continuity of care, including with respect to
        medication, upon entry into the correctional system, during confinement and
        transportation, during and after transfer between facilities, and upon release. . .

        Despite these standards, inmates’ medical and mental health information and
        medications are rarely provided to NRC from the county jails, and as a result, NRC
        still primarily relies on selfreporting from the inmates. As JHA noted in our 2011
        NRC report, the reliance on selfreporting “is a wholly unreliable means to ensure
        that inmates receive continuity of care and uninterrupted medication and treatment.
        A minimum standard of care dictates that records and data of inmates’ diagnoses,
        treatment, treatment history and recommendations, and medications should
        accompany inmates when they arrive at NRC from the county jails and when they
        leave NRC to go to their destination facilities.”

        To move away from reliance on self-reporting, JHA continues to recommend that
        Illinois improve medical records and data collection and sharing to allow greater
        continuity of care between county and state correctional facilities, and promote the
        implementation of data-based correctional healthcare policies and planning.” JHA
        is pleased that IDOC appears to be beginning to address this issue. Staff reported to
        JHA that NRC will be a pilot location to test electronic mental health records. . .

[Id. p. 6.]




                                                134
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 283 of 409 PageID #:14052




       425.     JHA’s Vandalia CC report, also received by Dr. Shicker in 2013, noted “numerous

complaints about healthcare treatment and access,” and recommended “prioritizing nursing staff

hiring at Vandalia.” [P153 p. 3.]

       426.     The 2013 Vandalia report, like the NRC report, comments upon both staff

deficiencies generally and vacancies in healthcare leadership position. According to the report, the

Vandalia Director of Nursing position was vacant, and “[r]eportedly, nurse-staffing levels at

Vandalia have not been readdressed since the facility was slated for closure and many nurses left

in 2004.” [P153 pp. 3, 10.]

       427.     In dental care at Vandalia, JHA reported that there was “a wait time of two and a

half months for extractions, 18 months for fillings, and three months for dentures.” [Id. p. 11.]

       428.     The 2013 JHA Pontiac report received by Dr. Shicker also noted physician

vacancies and vacancies in other healthcare staff as well as on dental backlogs, and the likelihood

that these were connected to complaints about healthcare access:

       . . . At the time of the visit, Pontiac had only one of the two Wexford authorized
       physician positions filled for 48 instead of 80 hours per week. This was the same as
       noted in our 2012 report.

       There were 15 of 22 authorized nurse positions filled, leaving the facility with
       minimum staffing of four nurses for first shift, three for second shift, and only one
       on the night shift for over 1,900 inmates. There were six of 11 authorized
       correctional medical technician (CMT) positions filled. Healthcare staff commented
       that in addition to the challenges of understaffing, they also lack the ability to
       physically expand the infirmary, which is quite small for accommodating the needs
       of Pontiac’s population.

       Pontiac reported 88 hours of dentist coverage per week, an increase from our prior
       visit; yet at the time of the visit, fillings were backlogged from August 2012.

[P152 p. 13.]

                                               ****




                                                135
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 284 of 409 PageID #:14053




        JHA heard many complaints from inmates regarding medical and mental health care
        at Pontiac. Inmates commonly reported that sick call requests were not responded
        to, and that inmates needed to submit multiple requests over several weeks before
        seeing a nurse. Inmates also complained about medical appointments frequently
        being canceled. One inmate reported that he is prescribed a medication that is to be
        taken with food, but he has nothing to eat and had been trying for several months to
        get this resolved. JHA cannot confirm nor deny the validity of these inmates’
        reports. However, lapses in care are consistent with medical staff shortages, like
        those experienced at Pontiac and throughout IDOC.


[Id. p. 15]

        429.   The 2013 JHA Big Muddy River CC report received by Dr. Shicker observed that

“Dental and eye care backlogs persist at the facility.” Specifically:

        Administrators reported that additional healthcare staff would be beneficial in order
        to reduce the backlogs of dental and eye care. Big Muddy had three operational
        dental chairs, up from two at the time of JHA’s 2011 visit. At that time, the facility
        had substantial backlogs for dental treatment, including 16-weeks for extractions, a
        year-and-a-half for fillings, and two-years for dentures. Administrators at the most
        recent visit reported this backlog continues, as Big Muddy continues to receive
        inmates with poor dental health, and there is no funding for additional dental
        coverage. . . . In 2011, Big Muddy also had a large backlog of 361 inmates waiting
        eight to nine months for eye care. During the 2013 visit, administrators reported that
        there is still a backlog due to the large number of inmates that require such services,
        with 293 inmates on the waitlist. Facility administrators reported the limited
        optometrist hours at Big Muddy preclude reduction of the backlog.

        430.   The JHA 2013 Graham CC report received by Dr. Shicker commented on

medication issues specific to Graham’s status as an intake center as well as general medical records

and healthcare staffing issues relevant the prison as a whole:

        . . . JHA received several complaints that inmates were taken off particular
        medications at intake. IDOC officials responded that such decisions are made solely
        for medical purposes . . .

        JHA received several complaints from inmates about inability to receive particular
        medications at Graham. Some inmates reported they were told they were being
        “weaned off” other medications that they had taken successfully, while others
        reported they were more quickly cut off. . . . JHA is concerned about such
        complaints and believes this is an area where outside oversight would be helpful to




                                                 136
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 285 of 409 PageID #:14054




        determine whether medication choices are consistent with both inmate wellbeing
        and cost containment.

[P154 p. 18.]

                                                 ****

        JHA continues to recommend that IDOC improve medical records, as well as data
        collection and sharing, to allow greater continuity of care between county and state
        correctional facilities, and also importantly to promote the implementation of data-
        based correctional healthcare policies and planning.

[Id. pp. 4-5]

                                                 ****

        At the time of the visit in May 2013, administrators reported that critical vacancies
        included the Director of Nursing (DON), a Psych Administrator, and Health
        Information Technician. The DON position is particularly important at Graham
        because of the dialysis unit and the facility’s need for oversight of continuity of care
        with intake through the R&C.

[Id. p. 16.]

        431.    The JHA 2013 Stateville CC report received by Dr. Shicker commented not just on

staffing shortages but also on the need for “corrected staffing” and for system oversight. [P151 p.

4.] It also notes shortages of “basic supplies” as well as continued and medical record problems,

and comments on the same problem of overlapping staff for NRC and Stateville that attracted the

attention of both the Shansky and Puisis teams. The electronic medical record initiative which JHA

had praised is noted to be stalled:

        Inmates’ healthcare needs overwhelm Stateville where high demand is continually
        aggravated by insufficient resources, including key staffing vacancies.

[Id. p. 1.]

        …Stateville has immediate needs. At the time of the visit, Stateville staff reported
        difficulty obtaining basic supplies, while inmates file more medical grievances than
        any other category.

                                                 ****



                                                 137
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 286 of 409 PageID #:14055




        . . . IDOC remains reliant on paper medical records, which makes transmissions of
        information between facilities and with outside care more difficult.

        JHA and IDOC agree that implementing an electronic medical record system is
        vitally important. However, although the program was intended to be implemented
        system-wide by now, there are continued delays. . .

[Id. p. 3.]

                                         Recommendations

                                                 ****

        • JHA continues to recommend oversight for the IDOC healthcare system and
        corrected staffing levels.

        • JHA continues to recommend that IDOC improve sharing of medical records to
        allow greater continuity of care; this is particularly important to facilitate efficient
        and timely outside specialist care.

[Id. p. 4.]

                                                 ****

        At the time of the visit, administrators reported that critical healthcare vacancies
        included a physician and a dentist, as well as 25 nursing positions and four
        Correctional Medical Technician (CMT) positions shared with NRC. [ft 20 - At the
        time of the visit, although authorized for four physicians and four physician
        assistants, Stateville had just two physicians and three physician assistants. NRC
        also lacked a medical director and physician assistant, while the NRC Director of
        Nursing (DON) and nurse supervisors were on leaves of absence…] … Nursing
        shortages, as observed throughout IDOC’s correctional healthcare system, are linked
        to greater stress and burnout for staff, and increased safety risks and medical errors
        for patients. Administrators reported it would be helpful for them to have separate
        Stateville max and NRC medical staff, but ideally total staffing would be increased
        to 72 nursing positions with additional certified nursing assistants for the infirmaries.

[Id. pp. 6-7; emphasis added.]

        432.    The 2013 Stateville report also reported staff concerns about Wexford restrictions

on medications and supplies due to cost, as well as criticisms of the utilization management

system:




                                                  138
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 287 of 409 PageID #:14056




       . . . Staff expressed to JHA that they believe fear of litigation causes many things to
       go undocumented. They reported that they are discouraged by Wexford
       administrators from ordering certain medications and supplies due to cost. IDOC
       officials stated that IDOC staff and supervisory personnel do not discourage the
       ordering or administering of any necessary medication. Staff reported that basic
       items such as gloves are rationed, so they will work with just one. IDOC officials
       deny gloves are rationed. In many cases, staff reported to JHA that they feel that
       contractor Wexford does not support a physician’s or other provider’s medical
       judgments. IDOC officials responded that all decisions are supported within the
       parameters of a correctional setting, and that whatever is necessary and physically
       possible is done. JHA will continue to monitor and report on these issues.

       At the time of the visit, administrators reported that needed medical equipment and
       supplies included: (1) record keeping items — computers, a fax machine, a paperless
       chart system,medical charts, shelving for medical records; (2) necessary infirmary
       items — hospital beds, mattresses, wheelchairs,23 a blood pressure machine, a
       portable pulse oxygen meter, IV poles, weight scales, shower chairs; and (3) dental
       and optometry equipment — a slit lamp, four dental chairs, four lights, four units,
       two sterilizers, a x-ray developer, a high evacuation system, and an ultrasonic
       cleaner. . . .

[Id. p. 8.] In addition, the 2013 Stateville report documented complaints from prisoners as to access

to sick call, medication interruptions, lack of physicians, delayed or cancelled outside

appointments, and lockdowns which foreclosed access to healthcare services:

       Although Stateville reported 13,352 sick call visits for 2012, some inmates reported
       that they had not seen healthcare staff because sick call requests were ignored, with
       reports of no response in more than two months. IDOC officials denied that sick calls
       are ignored . . . They acknowledged that delays may occur, but stated that emergent
       cases never wait.

       JHA received several complaints from inmates who had transferred into Stateville
       from other facilities without being reevaluated or getting medications and
       prescriptions continued. Administrators confirmed that this does at times
       accidentally occur, which points again to the need for better a better recordkeeping
       mechanism. Inmates also reported that they are not allowed to submit refill and
       medical permit requests early enough to ensure continuous treatment at Stateville.
       IDOC officials explained that often patients must be reevaluated before their
       prescriptions can be refilled and inmates do not want to wait for this normal
       procedure. IDOC officials also stated that there are documented cases of inmates
       claiming to have not been seen who actually were seen. IDOC officials further
       wished to note that JHA cannot confirm or deny the validity of particular inmates’
       reports. JHA will continue to monitor such issues and encourages inmates to clearly
       document their concerns.



                                                139
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 288 of 409 PageID #:14057




       Inmates reported that physicians are frequently not at the facility and appointments
       are cancelled. IDOC officials reported that since the visit, daily nurse sick call is
       now held in the housing units, which should eliminate waits and free up the
       physicians to see only those requiring physician attention. Outside appointments are
       also often canceled or delayed. In addition to scheduling issues, lockdowns also
       cause appointments to be canceled. Stateville had 88 days of lockdown in the prior
       year. JHA finds the policy of canceling all healthcare appointments due to lockdown
       untenable and again recommends this be reconsidered.28 In one documented
       example, a “one week” follow-up appointment actually occurred 12 weeks later and
       a pending specialist appointment had not occurred in more than four months. Several
       inmates reported never receiving follow-up appointments with both in-facility staff
       and specialists. JHA believes that this is also an area where electronic recordkeeping
       would be helpful.

       At the time of the visit, due to the lack of a physician, there was a backlog for the
       chronic care clinics other than Hepatitis C and HIV clinics, which are provided
       through Telemed. . .

[Id. pp. 8-10.]

       433.       Finally, the 2013 JHA Dixon CC report received by Dr. Shicker comments on a

broad range of issues later addressed in the First Expert and Second Expert Reports, including the

needs of IDOC’s geriatric population; medical records; the need for data collection, auditing, and

quality assurance analysis; deficiencies in supplies; and delays in dental care, optometry

appointments, outside tests and appointments at UIC; and a need for skilled nursing care:

       The facility had critical vacancies at the time of the visit including healthcare
       administrators . . . [P150 p. 1.]

                                               ****

       The increased population and need at Dixon foreshadows a mounting crisis in
       correctional healthcare. In Illinois and across the country, inmates over 50 represent
       the fastest growing segment of prisoners. . . About 30 percent of the Dixon
       population are age 50 or older. [Id. p. 2.]

                                               ****

       While Dixon serves as a repository for elderly inmates in IDOC, it is not alone in
       this responsibility. JHA has observed older inmates throughout the system in




                                                140
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 289 of 409 PageID #:14058




     facilities ill-equipped for their care. . . . As it stands, Illinois is ill-prepared to meet
     this challenge. [Id. p. 3.]

     … JHA and the experienced correctional leadership at Dixon are in agreement that
     IDOC also needs to quickly implement electronic medical records . . . [Id.]

                                                ****

     JHA also reiterates our recommendation that Illinois implement a permanent,
     reliable, centralized system for data collection, auditing, and analysis of inmate
     healthcare services to assist policy makers, legislators and IDOC administrators in
     the current and future management of correctional healthcare, particularly with
     special populations such as elderly inmates and inmates with mental illness. [Id. p.
     5.]

                                                ****

     . . . [A]dministrators reported that expansion of the infirmary for housing inmates
     requiring skilled nursing would be helpful. [Id. p. 6.]

                                                ****

     Administrators also noted equipment needs included new IV pumps, new hospital
     beds, updated software for pharmacy, computer equipment and electronic medical
     record software, a new x-ray machine, and dental autoclave. During the 2011 visit,
     staff noted need for additional costly dental equipment. While urgent dental issues
     are addressed immediately, there is roughly a 12-week wait period for other dental
     treatment. Dixon is unable to provide inmates with dental cleanings because the
     facility does not have sufficient staffing, space, or equipment. With only eight hours
     of optometrist coverage a week, Dixon also struggles to meet its population’s eye
     care needs, with a current wait time estimate of eight weeks.23 Administrators also
     reported some delays in chronic clinic care based on lack of physician coverage.
     There were six week delays for ultrasounds and eight weeks for MRIs and CAT or
     PET scans. [Id. p. 7.]

                                                ****

     Staff and administrators indicated that timely access to medical specialists outside
     the facility, mostly at the University of Illinois, Chicago (UIC), can be challenging.
     Most specialty referrals are seen within eight weeks, but Urology and Neurology
     sometimes take more than 16 weeks. [Id. p. 8.]

     . . . Dixon healthcare staff explained that inadequate staffing levels put an added
     strain on the clinical relationship between medical providers and inmates because
     the demand for medical services far outpaces supply. Consistent with this report,
     JHA received reports from inmates expressing confusion over their medical



                                                141
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 290 of 409 PageID #:14059




      conditions or treatment, reflecting a breakdown in the communication between
      provider and patient . .. [Id.]

                                              ****

      . . . While we cannot verify individual complaints, the volume of reports JHA
      received regarding delays and lack of access to adequate healthcare are consistent
      with objective data showing that Dixon is understaffed and under-resourced for
      tremendous need.. . . [ Id. p. 13.]

                                              ****

      A significant number of Dixon inmates reported instances where lack of timely
      medical treatment, particularly access to specialty medical care, resulted in medical
      conditions being exacerbated. In addition to complaints about wait times for
      specialist appointments, JHA heard reports of inmates being transferred for specialist
      appointments without appropriate records accompanying them. Some inmates
      complained of being denied treatment as they approached their release date, having
      trouble obtaining medical records from the facility, and not receiving appropriate
      linkages to services on release. Other inmates reported being denied necessary
      medical procedures, being taken off of medications, not receiving prescribed
      medications, and being offered other medication because it was cheaper. For
      example, one man said he had not received his diabetes medicine in the two weeks
      he had been in intake, while an asthmatic inmate indicated that he was chastised for
      using his inhaler too much and warned that he would be denied a refill. [Id. p. 14.]

                                              ****

      JHA received several reports from Dixon inmates that the healthcare staff were not
      changing their gloves between patients. This is consistent with reports from Wexford
      staff who stated that they must ration supplies including gloves.. . . [Id. p. 15.]

       434.    The 2013 JHA reports all repeatedly reference JHA’s 2012 overview report on

IDOC healthcare, titled Unasked Questions, Unintended Consequences: Fifteen Findings and

Recommendations on Illinois’ Prison Healthcare System. In this report, JHA concluded that

“healthcare resources and staffing are inadequate to meet minimum standards of care throughout

IDOC. In particular, systemic nursing shortages prevent inmates from timely accessing sick call

and necessary healthcare services. However, lack of adequate medical staffing and resources in all

areas—medical, mental health, dental, vision—threaten serious harm by delaying diagnosis and




                                               142
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 291 of 409 PageID #:14060




treatment and inviting medical error. Inadequate medical staffing levels also contribute to staff

burnout and turnover, which, in turn, help perpetuate chronic understaffing throughout IDOC.”

       435.    Further, the report criticizes the lack of oversight of the vendor and lack of audit

functions:

       . . . [T]here is insufficient external oversight of IDOC healthcare services,
       particularly with respect to services provided under contract by the private vendor,
       Wexford . . . While administrators in individual IDOC facilities are charged with
       performing quality improvement reviews and monitoring the delivery of healthcare
       services, they do not have the resources to perform comprehensive quality control
       monitoring and financial auditing of services under the Contract. The Office of the
       Illinois Auditor General, the entity that typically performs such comprehensive
       public financial audits, does not audit the Wexford contract.

       436.    In 2014, JHA issued a “Special Prison Monitoring Report” about Logan CC titled

Overcrowded, Underresourced, and Ill-Conceived: Logan Correctional Center, 2013/14. [P149.]

The minutes of a December 2014 Programs and Support Services meeting reflect that the report

was discussed at this meeting and commented upon by IDOC Deputy Director of Programs

Shannis Stock. [P158 p. 4.]

       437.    Staffing, including in leadership positions, were noted to be ongoing problems in

the JHA special Logan report. In the summary at the opening of the “Healthcare” section, the

report stated that “Though healthcare staffing has improved somewhat [from JHA’s November

2013 site visit], in February 2014 the facility still operated with backlogs for chronic care clinics

and annual testing for women,” as well as “numerous complaints about medication issues” and

issues with obtaining records on intake. [P149 p. 13.] Healthcare overtime had been required, and

       . . .as of November 2013. . . key healthcare leadership positions, including the
       HCUA, were vacant. The facility was operating with one doctor for 2,000 women.
       . . .During the February 2014 visit, the facility had gained a HCUA, but still had
       only one doctor and considerable backlogs. . .” [Id. pp. 13-14.]




                                                143
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 292 of 409 PageID #:14061




        438.   As to dental care at Logan, the report noted that in November 2013, there was “a

two-week backlog for extractions and seven weeks for fillings.” [Id. p. 14.]

        439.   In addition, there were reported problems with medication administration of the

same kind reported by the Puisis team in 2018, and with outside specialty and chronic care:

        JHA was concerned by the number of women who reported having medication
        issues (for example, staff not crushing medications in front of women so they could
        be sure they were getting the right medication). Also, women did not appear to be
        receiving appropriate follow-up care (for example, after having outside medical
        specialist visits). . . Several women who suffered from seizures reported not having
        clinical care or needed medication adjustments . . .

[Id. p. 14.]

        440.   In December 2014, Dr. Shicker also wrote to the executive director of JHA with

comments on the Logan report, stating in conclusion: “Logan does remain a work in progress. . . .

[W]e have a way to go to where I will be satisfied.” [IDOC UPDATE 2524-26; emphasis added.]

       P.      The 2016 Logan GIPA Report

        441.   Two years after the special JHA Logan CC report, a July 2016 Gender Informed

Practice Assessment (GIPA) report from the National Resource Center on Justice-Involved

Women [P148] noted, yet again, staffing and access to care problems at Logan, as well as problems

with records and consistency in care:

       Staffing. At the time of the GIPA, there had not been a full- time Medical Director
       or physician on staff at Logan for at least one year, and doctors from other prisons
       provided patchwork coverage during that period. In addition, there had never been a
       state Director of Nursing at the facility since the transition, and 9 state and contracted
       nursing positions had remained vacant. Numerous women reported that staff
       turnover resulted in changing diagnoses/treatment for the same conditions due to
       conflicting medical opinions, and several reported treatment disruptions after
       transition to Logan from Dwight, and potentially missing medical records.

       Access. Logan has a somewhat “tri-furcated” health care system with private
       contractors and state employees providing clinical services, and state correctional
       officers lacking clinical training often serving as “gatekeepers” to care. While IDOC
       records indicated all emergency and crisis referrals are seen the same day and routine



                                                  144
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 293 of 409 PageID #:14062




       medical referrals are seen within 10 days, 80% of the women surveyed expressed
       concerns about medical care and many reported slow responses to medical
       grievances. Assessors identified [ ] Slow, inconsistent follow-up treatment (after
       initial appointments), that may be attributed to low staffing/ high turnover rates
       among health care staff . . . .

[Id. p. 7.] Further:

       While IDOC records indicated all emergency and crisis referrals are seen the same
       day and most routine medical referrals are seen within 10 days, 80% of the women
       surveyed expressed concerns about medical care and many reported slow responses
       to medical grievances.

[Id. p. 109.] Director Baldwin received a copy of this report on its issuance.

        442.    The report notes that, in response to its comments about staff deficiencies, as of

May 2016 Wexford reported that its 23 nurse positions at Logan were filled. [Id. p. 108.] This did

not last. As of June 2018, 12 of these nursing position were vacant (and one RN was on leave of

absence). [Illinois Medical Vacancy Report with ASRs, P248 p. 18.]. The Logan staff physician

position was still vacant, having never been filled.

       Q.       The 2016 Adler Report

        443.    A February 2016 report of the Illinois Commission on Criminal Justice and

Sentencing Reform, titled “The Prison Letter Report,” summarized the results of a survey sent to

prisoners at all of the state prisons by the Institute for Public Safety and Social Justice at Adler

University. [P428 p. 3.] The report was sent to Director Baldwin and others in IDOC. As to health

care, the survey results—as summarized in the report—were characterized by a “prevalent theme”

of “deficient health care and lack of attention to the overall well-being of prisoners”:

        The primary complaint was inordinate and sometimes extreme wait times to be seen
        by the medical staff. . .[R]egardless of symptom severity, inmates are seen by a
        medical technician before they are seen by a doctor and an additional screener.
        Because of these long delays . . . only inmates in severe distress, and often those
        who are bleeding or who are at risk of infecting others through communicable
        diseases, are given priority . . . Those who are deemed to be of lower priority often
        go untreated until their condition worsens to require medical treatment.



                                                145
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 294 of 409 PageID #:14063




[Id. p. 13.]

XIX. INTERNAL COMPLAINTS ABOUT SYSTEMIC MEDICAL AND DENTAL
     PROBLEMS

        444.      Defendants and their employees have complained for years among themselves and

to their superiors about the problems detailed in the JHA reports, the Shansky Report, the NRI

report, and the Puisis Report.

        445.      Staffing and vacancies in Wexford positions, and their impact on care, have been a

principal internal complaint within IDOC.

        446.      In March 2014, Dr. Shicker emailed IDOC’s CFO and its general counsel, inter

alia:

        I just want to report to you that so far Wexford has made no head way in filling the
        following key positions:

               1. Medical Director at Dixon
               2. Staff Physician at Dixon
               3. NP at Dixon
               4. Medical Director at Lincoln
               5. NP at Logan [ ]
               6. Medical Director at Robinson
               7. Medical Director at Vienna
               8. Medical Director at Illinois River
               9. NP at Vienna
               10. NP at E Moline
               11. NP at Danville

        In addition the Medical Director at Sheridan is not working out and will need to
        either be terminated or changed to a staff physician AND the Medical Director at
        NRC will likely be terminated soon.

        Any advice on how we proceed with their inability to fill these vacancies—it is
        affecting medical care. Thank[] you.

[P167 at 0037001-2.]




                                                  146
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 295 of 409 PageID #:14064




       447.   In April 2015, Dr. Shicker sent “[a]s requested,” a memo detailing key vacancies

to the new acting Director, Donald Stolworthy, Assistant Director Jason Garnett, and the agency

Chief of Operations. The memo noted:

       Assistant Director Garnett: Below you will find the current Wexford vacancy
       situation of Medical Directors, DON’s and some other key positions.

        1.    Danville: No Medical Director since the end of last year. Their NP will be
              going on maternity leave this coming August. . .
        2.    Dixon: Long term vacant Medical Director position. A candidate — Dr.
              Chamberlain — has accepted the position but due to current contractual
              obligations cannot come on board until July. They have hours covered
              currently by Dr. Bautista who replaced Dr. Wahl who was doing hours albeit
              inefficiently. They have a good NP and a poor PA. The PA will likely be
              terminated soon.
        3.    East Moline: Wexford has never filled a part time PA/NP position
        4.    IRCC: Long term Medical Director vacancy. Strong NP working there. I will
              be interviewing a potential candidate in a few weeks.
        5.    Jacksonville: Medical Director resigned in February
        6.    Logan: Medical Director states that he will resign this May. Staff physician
              position open as well
        7.    Menard: Open staff physician; NP has submitted resignation. We have also
              had some reliability issues with their Medical Director
        8.    Robinson: Currently the recently hired Medical Director (Dr. Adams) after
              a long period of vacancy splits his time between Robinson and Vienna. Dr.
              Osmundsen has been identified for this position but he will need an extended
              orientation process that will likely take place at Logan.
        9.    SWICC: Medical Director on FMLA and we have been told that he will not
              return. This began approximately a month ago.
        10.   Vandalia: Dr. Caldwell, Medical Director, will be going on medical leave in
              June and then return to IDOC only on a prn basis. I interviewed a candidate
              for this position last Wednesday and he should be able to start the orientation
              process soon. His name is Dr. Afuwape
        11.   Vienna - see note on Robinson above # 8

                                              ****

       The DON Position at Shawnee is vacant
       Supervising Nurse position at Pontiac

                                              ****

       Dental Vacancies (part or fulltime):




                                               147
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 296 of 409 PageID #:14065




               1.      Stateville
               2.      Graham
               3.      Lawrence
               4.      Menard
               5.      Shawnee

       State HCUA positions vacant:
              1.   Dixon
              2.   Shawnee (recent)
              3.   Pontiac (coming up)
              4.   Western (recent)
              5.   Stateville (long term Medical leave which was supposed to be filled with
                   someone else)
              6.   NRC — was to get their own HCUA and I do not know the status of that
                   position
              7.   Taylorville
              8.   Illinois River

       448.    In September 2015, a series of emails among IDOC personnel including Defendant

Shicker complained, initially, of a staffing crisis at Hill Correctional Center. The discussion then

expanded to reveal current staffing crises at almost one-half of the system’s twenty-five facilities.

       449.    “For the past 3 years,” a Hill staff member wrote:

       [Hill Medical Director] Dr. Soods vacation time has not been covered.—This
       vacancy creates numerous audit findings and poses a health and safety threat to our
       offender population. . . . Current back logs are as followed [sic]: Chronic clinic—
       back log of 169 offenders, Physicals as of Aug behind 49[.] MD line—as of next
       Monday 600 offenders are scheduled and waiting to be seen from NSC, chronic
       clinics, physicals, Seg visits, and follow ups. Dr. Sood offered to work over time at
       time and half. However Wexford has refused to pay him.

[P16 at 001034.]

       450.    “What is the remedy here,” wrote IDOC Deputy Director David J. Gomez,

“because this backlog is unacceptable. . . . [W]hat does this say about the service/care that is not

being provided to the offender population?” [Id.]

       451.    As the correspondence continued, on September 16, 2015, Defendant Shicker

wrote: “Back logs are occurring at sites that do not have their providers. These include:




                                                148
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 297 of 409 PageID #:14066




       Dixon
       Hill
       IRCC [Illinois River Correctional Center]
       Jacksonville (getting better)
       Logan
       Menard
       PNK [Pinckneyville] (they are staffed but having some difficulties)
       Taylorville
       Vienna

       Backlogs change all the time but to my knowledge these sites are having the most
       problems. I will be at Stateville/NRC tomorrow and see how they are doing.

       Decatur—unacceptable dental
       BMR—unacceptable dental
       Western—getting bad.

[Id. at 1050.]

       452.      In January 2017, new Chief of Health Services Dr. Meeks wrote to Wexford, of

Sheridan CC:

       Please see the attached caseload.
       Total 777 (84 are follow up appointments)
       Of that:
       There are
       -19 diabetics not seen within the required month
       -66 Hep C not seen within the required month
       -2 hypertension not seen within the required month
       269 are patients on the doc line that are waiting more than 72 hours.
       There has been no doctor visits in seg since Dr. James left.
       How are you going to address this?

[P224 at 218301.]

       453.      In May 2017, Dr. Dempsey wrote Charlie Weikel in the Governor’s office

forwarding a copy of a “Weekly report” from East Moline CC which showed dental and optometry

backlogs, a nurse practitioner position vacant since October 2016, three vacant LPN positions

(among other problems—”Ceilings continue to leak in MD’s office, dental exam room and

Director of Nursings’ office. New Ceiling leaks in medical records room, outside sick call room”).




                                               149
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 298 of 409 PageID #:14067




“FYI,” wrote Dempsey. “As you can see Wexford does not have the capacity to fully staff IDOC.

This is only one report. There are 26 weekly reports just like this.” [P477.]

       454.    Employees at individual facilities describe problems resulting from staffing and

vacancies ranging from inability to complete clinics and sick call, backlogs of referrals, and

general frustration.

       455.    In August 2015, the HCUA at Jacksonville CC wrote to Dr. Shicker describing

ongoing problems with chronic clinics and sick call due to lack of a doctor. [P435.]

       456.    In January 2017, Dixon CC was facing a backlog of over 400 optometry requests

and over 150 RN or MD referrals. “[G]rievances are piling up . . .,” wrote the HCUA. [P508.]

       457.    Also in January 2017, Dr. Meeks and others received the following report from the

Assistant Warden of Programs at Menard CC:

       As you are all aware nursing staff at Menard is critically low. . . . I have met with
       most of the staff, most recently the 11-7 nurses, who expressed frustration and
       concern not only about the amount of mandatory overtime they are being forced to
       work, but also about the quality of care . . . [T]hey have voiced concern over their
       physical ability to continually work sequential double shifts up to five times per
       week. . . Particularly on the back shifts, we barely have the staff to pass
       meds/insulins, much less attend to the infirmary which houses an average of 18
       offenders or respond to emergencies. Should more than one offender or staff
       member require immediate medical attention on a back shift, it is very likely
       we would not have the staff to respond. . .

[P102 at 0096016; emphasis added.]

       458.    In March 2017, UIC physician Chan wrote to Dr. Meeks and others, “It seems like

no labs or orders had been done as requested lately. What can we do from a UIC perspective to

get Menard patients the care they need?” [P452] The subsequent email chain among IDOC

employees reflected an intertwined set of problems including “low morale” among the healthcare

staff, staff coverage problems, and a depressed chronic clinic nurse. [Id.]




                                                150
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 299 of 409 PageID #:14068




        459.      In May 2017, OHS declared Pontiac “one of three sites in the state that has critical

healthcare needs” in response to a plea from northern region coordinator Ssenfuma to agency

Medical Director Dr. Meeks that “I am very concerned that Pontiac CC is close to being in a crisis

mode . . . We cannot afford to wait too long for these vital positions to be filled especially, looking

at the major law suits the department is dealing with, both medical and mental health.” [P505.]

        460.      Defendants’ employees complained about the condition of the Wexford-maintained

medical records: In June 2014, regional coordinator Marna Ross wrote to Wexford’s Doug Mote,

“I need to talk to you about the deplorable condition of NRC medical records that I worked with

today. . .” [P450.]

        461.      The agency Medical Director complained about data collection and accuracy: Dr.

Meeks, March 2017: “I am reviewing the Chronic Clinic Control data that was submitted for the

RFP. The data that I am reviewing looks at whether we have good, fair or poor control in our HTN,

asthma, DM and seizure clinics. I am finding that this data in many cases is not accurate, i.e., that

numbers don’t add up to the totals listed or the percentages do not equal 100% . . .” [P448.]

        462.      --------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

-------------------------------------------------------------------------------------------------------

        463.      Defendants’ employees complained about the impact of lockdowns on medical

services: In March 2017, at Menard, the regional coordinator (Lisa Prather) was not even sure




                                                        151
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 300 of 409 PageID #:14069




what was happening “I have been given conflicting information about the last lockdown and

offender movement. One employee at my CQI meeting [said] ‘we were not able to see the

offenders when they were on lockdown for 1-2 weeks.’ . . . Chief Butler did implement the change

of medical seeing them after 48 hours. Are they following her rule is difficult to know.” [P456.]

        464.    In October 2017, the HCUA for Decatur wrote the acting central region coordinator

Lisa Johnson and agency medical coordinator Kim Hugo, among others:

        I am allocated for 10 state RN’s. At one point, we were allocated for 12 RN’s, it is
        unclear when that allocation was decreased. I believe it was around the time the
        allocation for the DON [director of nursing] disappeared.

        I currently have 7 RN’s on payroll. Right now, 3 are on LOA. . . . Thus leaving only
        4 RN’s to cover at this time.

        . . . [T]he nurses are [] covering the doctor call line, med lines and infirmary, plus
        walk-ins, treatments, codes, sick call, telepsych, intakes, etc. Unsafe staffing reports
        are written by the nurses when they work alone . . .. I have also run into instances
        when I only have 1 nurse to cover day shift, on those days, the MD will do
        administrative work as I cannot make the RN cover med line, infirmary and attempt
        to run a MD call line.

“Everyone is dealing with increased stress and anxiety with the way things have been going for

this facility . . .,” she concluded. [P486.]

        465.    Defendants’ employees complained about the infirmary and infection control at

NRC: Months before the Puisis team’s January/February 2018 site visit to NRC, when they found

that there were “multiple deficiencies concerning sanitation and infection control in the infirmary,”

including that the negative pressure monitor for the two negative pressure rooms was not working,

and in one room the vent was taped shut, “disabling the negative pressure capability of that room,”

in June 2017, northern region coordinator Ssenfuma had reported to the assistant warden that “[we]

tested your infirmary negative pressure rooms . . . both rooms do not have negative pressure.




                                                 152
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 301 of 409 PageID #:14070




Unfortunately, it has been reported by HCU staff on their weekly checks that these rooms are

complaint with the requirement. Please address . .” [Puisis NRC pp. 15, 57-58; P506.]

       466.   Defendants’ employees complained about the timeliness of UIC appointments: In

June 2015, Dixon CC HCUA wrote Dr. Shicker re: “timeliness of UIC appointments” (marked

“High” importance):

      I have spent the last two days going through grievances from offenders and the
      resounding theme is delay in care or indifference. Most of it stems from the inability
      to get to a specialist once it has been approved. Just late last week Cathy (our Staff
      Assistant who manages our furloughs) sent to Barb (the UIC scheduler) all of the
      rest of February and March approvals to secure appointments. The current method
      that Wexford uses is ineffective. They have not secured appointments for these
      approved referrals yet, until Barb and Cathy were on the phone and Barb said to send
      them to her.

      Wexford’s method is to communicate with the UIC scheduler without the sites being
      a part of it. Oftentimes, I am being told, they have incomplete information since the
      site is not on the phone conference, thus causing more of a delay.

      The process from when a NON medical director makes a referral is:

      NP/PA or Dr. Dominguez makes a referral. Sometimes it may take 1-3 weeks for an
      appointment to get to medical director to determine if appropriate for collegial (due
      to provider coverage.) After that it is usually another week until collegial. And then
      we wait....

      It seems preposterous that it was Barb and Cathy working together that FINALLY
      got appointments for the rest of the referrals dated from FEBRUARY and then at
      that time Barb said to send her March too. That is about 4 months JUST to secure an
      appointment. And then we wait for the anticipated appointment.

      ALL OF THIS IS A SYSTEM FAIL and leaves us in a lurch with a site that already
      has a lot of problems that I am attempting to clean up, but this is ridiculous.

      Please find out how we can fix this. They should have EIGHT weeks for an
      appointment, and I am willing to go so far as to say even 10, but MONTHS is
      unacceptable and is the reason I am buried with grievances.

[P228 at 001020.]

       467.   Dr. Shicker’s response was:


                                               153
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 302 of 409 PageID #:14071




        We have been through this over and over.

        They must use local providers when there are significant delays (greater than 8
        weeks).

        Reserve the UIC for the truly tertiary or where care has already been established.
        Specialized imaging (CT, MRI, etc) should be done locally if they are taking up
        spots on the schedule.

[Id. at 1021.]

       468.      Defendants’ employees complained about Wexford utilization management

decisions: In July 2015, a nursing supervisor at Menard CC complained to Dr. Shicker about a

Wexford utilization management denial for surgery for a patient who had a staph infection and

“multiple draining areas on his right & left butt cheek as well as his coccyx . . . for several months”:

“THIS OFFENDER NEEDS SURGICAL INTERVENTION,” she wrote. “Please help he needs

to be seen ASAP . . .” [P490.]

       469.      In January 2016, the HCUA at Hill CC complained to Dr. Shicker about a Wexford

utilization management denial for a prisoner who needed a prosthetic foot repair: “This offender’s

prosthetic foot is held together with tape. He needs a new foot.” [P476; emphasis added.]

       470.      Defendants’ employees complained about the condition of the infirmaries: In June

2016, Mike Atchison, IDOC Chief (Deputy Director) of Operations, reported the following about

his visit to the health care unit at Western Illinois CC:

       Yesterday at approximately 4pm, while touring the Western Illinois HCU with Chief
       Bowen, I overheard a nurse report to AWP Ervin that the infirmary rooms,
       especially the large multi -bed room, was very hot and lacked ventilation. . . .AWP
       Ervin explained the chiller for the building was not working and hasn’t for some
       time. I then had her open the door to the room, which housed three convalescent
       offenders, and I entered. The conditions were appalling. The stench of human
       excrement or other unsanitary conditions was overwhelming and the room was
       stifling. I saw no fans inside the room, neither small personal nor larger state. The
       room was in a state of obvious disarray. The offenders were transferred [to] Illinois
       River today . . . It appeared to simply be neglect.




                                                  154
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 303 of 409 PageID #:14072




[P238.]

       471.    Defendants received complaints about medication and testing problems: In August

2016, northern region coordinator Ssenfuma reviewed a portion of a medical file for a Pontiac

prisoner and noted, among many other deficiencies, that in May 2016, although the patient had

been enrolled in both the Asthma and the HTN [hypertension] clinics, “in May 2016 [he] ran out

of all chronic medications for Asthma and HTN . . .” [P509.]

       472.    In October 2016, one of the UIC physicians involved with treatment for IDOC

prisoners wrote the acting agency Medical Director Dr. Dempsey:

      Good Morning,

      Just wanted to alert you to a couple of issues at Pontiac. We had an inmate that was
      hospitalized for PJP recently that was originally supposed to follow- up in June 2016.
      The nurse reported that he somehow slipped through the cracks... This gentleman
      was supposed to be initiated on antiretroviral therapy in June. If this had happened,
      his hospitalization would have been completely preventable.

      Also, this facility has been notorious for not having appropriate follow- up labs
      drawn prior to our clinic visits (per our protocol).

      Additionally, we asked for a couple of genotypes to be drawn to initiate therapy and
      they were never drawn. We constantly bring it to their attention and they state that
      they are “ working” on it but this has been going on for some time.

      Hope your last day is going smoothly otherwise!
      Melissa

      Melissa Badowski, PharmD, BCPS, AAHIVP
      Clinical Associate Professor, Section of Infectious Diseases Pharmacotherapy HIV-
      IDOC Telemedicine
      Clinical Specialist University of Illinois at Chicago, College of Pharmacy

[P237.]

       473.    In July 2017, an NRC employee wrote to northern region coordinator Ssenfuma:

“Here are the errors found in cart H-M. The nurses are not cleaning/organizing their carts and have

not been for some time. I was asked to (c & o) a cart because a lot of the guys didn’t have meds. I



                                               155
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 304 of 409 PageID #:14073




asked for a list and did not receive one. . . “ Ssenfuma in turn wrote to Mary Ellen Grennan at

NRC, cc’ing Dr. Meeks and numerous others: “Ms. Grennan, You and the nursing supervisors are

already aware of this on-going problem. It has come up so many times in the monthly CQI

meetings . . . All we do is talk about issues in the CQI meetings and nothing is being done to

correct identified problems. We are dealing with class action lawsuits . . . I need a corrective action

plan by COB today.” [P485.]

       474.    The minutes of a September 2017 CQI meeting at NRC report:

       PHARMACY MAR SAMPLE AUDIT DISCUSSION

       Doses documented as an issue. Everyone agrees on passing meds not being
       documented.

                                                ****

       MEDICATION ERRORS

       Nurses are responsible for accuracy. No excuses. Highlight or X the stop date! It’s
       gotten better but still bad. . . .

[P472 pp. 2-3.]

       475.    Defendants’ employees noted weaknesses in infection control processes: In July

2017, northern region coordinator Ssenfuma wrote to the Wexford DON at Danville: “HI Tammy,

Thanks for sending me the MRSA log. . . . Upon review of your MRSA log, it is very obvious that

there are serious documentation issues at your site. . . .There is no way you can convince any

public health official by just looking at this MRSA Report that you have an infection control

system in place . . . because this is very terrible documentation.” [P507.]

       476.    Defendants complained to Wexford about backlogs and staffing in dental care: In

May 2015, Dr. Shicker wrote Wexford:

       We have an unacceptable dental situation at a few sites—Shawnee and BMR come
       to mind. Poor staffing, very long delays. Either you provide the hours or arrange for



                                                 156
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 305 of 409 PageID #:14074




       off-site care. Offenders who have had teeth pulled in the fall are still not getting
       their dentures for example. Waits for fillings and extractions are simply intolerable.”

[P229.]

       477.      Defendants received internal complaints about dental care: In a February 2017

email chain that made its way to Dr. Meeks, a dentist (Dr. Mitchell) reported of another, Wexford-

employed dentist at NRC:

       I saw Mr. [redacted] in the dental clinic today as an emergency patient. He was
       complaining of pain on the upper left that was preventing him from eating the last
       couple of days. An exam and (6) x- rays were taken on Mr. [redacted]. The clinical
       exam revealed 14 cavities, one tooth that needed to be extracted and two small
       medicated fill. On 12/ 9/ 2016 Dr. Gamble documented that he had placed medicated
       fillings in tooth # 14 and 15. The x-rays revealed very large carious lesions under
       the medicated fill # 15 and a medium size cavity under the medicated fill on # 14.
       The medicated fills were placed on top of the decay with no evidence that the dentist
       attempted to remove the decay. The patient advised that he did not even give him
       an injection to anesthetize him during the ten minute appointment. Today I had to
       extract tooth # 15. I can’t say if the tooth could have been saved but Dr. Gambl[e’s]
       failure to remove the decay did not help the situation. In most cases if the tooth is
       left open the spread of decay is not as rapid. Dr. Gamble’s dental care was equivalent
       to deliberate indifference, malpractice, and a total disregard for reasonable patient
       care. Dr. Gamble’s dental chart was not documented with any of the cavies I
       identified during my exam. The cavities were obvious to the naked eye. The tooth
       that needed to be extracted # 2 has obvious apical abscesses on the x- ray. I have
       made a recommendation to you regarding a check and balance system to assist this
       dentist in performing dental services, on the patients at the NRC in a reasonable and
       acceptable manner. This reckless disregard for basic dental standards needs to be
       addressed. Dr. Mitchell

[P235.]

       478.      Defendants’ employees acknowledged weaknesses in their ability to perform CQI:

July 2014, regional coordinator Cindy Hobrock wrote personnel at NCCHC:

          As you know we are not good with our studies in the different areas that are required.
          Could you give me some examples of process and outcomes in the following areas?

          I do realize that we need to look at each facility and discuss our problem areas and
          work towards correct[ing] our problems. Thanks in advance for your help.

          Quality Improvement Studies. . . .



                                                  157
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 306 of 409 PageID #:14075




[P244 at 107875-6.]

       479.      Many internal complaints from Defendants and/or their employees touch on

multiple problems in medical and dental care—lockdowns, lapses in care, failures in

documentation, delays in appointments, and other issues.

       480.      In 2014, Dr. Shicker complained of delays of appointments, “horrible”

documentation, and delays of care due to lockdown at Stateville. [P470.]

       481.      In summer 2016, the Hill CC HCUA complained to her regional coordinator about

errors in medication and Wexford staff spending time on paperwork rather than healthcare:

          Hi Cindy and Tina,
          . . . As you witnessed yesterday during COI, Dr. Sood admitted that he was advised
          the night of occurrence that nurse Rhonda had given a diabetic 2 injections of
          Glucagon. Dr. Sood as the norm did not share this information with Ruth nor did he
          direct the nurse to submit a medication error reporting form. On a consistent/ daily
          basis Dr. Sood and Wexford regional managers has directed the entire HCU staff
          not to inform the HCUA of problems, mistakes, offenders taking a turn for the worst,
          etc. I literally will make rounds and the infirmary nurses will not share a word with
          me.. . .
          …Ruth is nice, but she spent the majority of her time dealing with DR. Soods
          paychecks (according to him they were never correct) and his paper work- she did
          his death summary reports, his legal and Grievance responses, any and all reports.
          Ruth than spent the rest of her time dealing with Wexford corporate work.
          She was never afforded the time to be a DON.

[P239.]

       482.      In November 2016, the Lawrence CC assistant warden of programs wrote to

Wexford, cc’ing Dr. Dempsey (who passed it along to Dr. Meeks), about a host of HCU problems,

including:

          We have very serious concerns regarding the medical care given to offender [x] who
          passed June 26, 2016. It would appear that little to no care was given, the
          documentation from the nursing medical staff is abhorrent, and this has been
          reviewed by OHS. My concern is that if it is this poor with one patient, what is it
          like with the others.




                                                  158
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 307 of 409 PageID #:14076




          There is no DON. This site is too large to go without a manager. . .

          We have no medical director. This is a problem regardless of the site.

[P474.]

       483.      In January 2017, a staff member in the Menard Warden’s office wrote to Dr. Meeks

about Wexford’s failure to provide physician hours according to the contract schedule and a

doctor’s refusal to perform certain duties:

          It has just come to my attention that Wexford is regularly fulfilling MD hours on
          weekends and evenings despite the Schedule E depicting two FT positions working
          8a -4p M - F. This is creating State nurse overtime since they have to be with the
          MD’s as they hold call lines. Additionally, call lines can only be run up until a
          specific time in the afternoon, following which workers return to their cellhouses
          and line movement stops. After this point, it is necessary for the MD’s to perform
          other duties. However, Dr. Caldwell has given direction to the Wexford Staff
          Assistant that he will not perform jacket reviews, write permit renewals, and he will
          not perform initial physician exams. This leaves many hours that are not productive
          ...

          My question is can we reject the monthly schedule provided by Wexford as it does
          not meet the tenets of the contract? . . .Your input and direction is appreciated.

A week later, regional coordinator Lisa Prather asked Dr. Meeks: “Not sure if you had the chance

to review the below?” The response: “Not yet? on the pile?” [P232.]

       484.      At the end of March 2017, the Hill CC HCUA reported the following in an

“Executive Dashboard Status Report”:

       No NP since 6/30/15- back log for physicals and MD sick call (f/u visits, NSC
       referrals, furloughs) . . .
       1 vacant RN position on Eve and 1 RN on nights
       1 LPN position vacant -eve shift and another LPN on MLOA
       State staff assoc position vacant- HCUA performing Staff assoc and DON duties
       Radiology tech position vacant
       PT and PTA positions not filled since contract renewal
       DON vacant. Site manager requested since Aug 2016 so that a DON would be able
       to perform DON duties.
       Vacancies in key areas –unsafe




                                                  159
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 308 of 409 PageID #:14077




[P234 at 0095936; emphasis added.] There were backlogs in chronic clinics as well as physicals

and MD sick call; dental and infirmary needed new sinks, and the infirmary needed an alarm

system. [Id. at 0095935-36.]

       485.   The minutes of an Office of Health Services teleconference in late January 2017

show southern region healthcare staff reporting the following problems to Dr. Meeks and others:

      Big Muddy, - AW Harrington and Debbie Isaacs HCUA

      Debbie Isaacs: The hospital reports we get from Wexford are not giving us updates.
      Inmate is being discharged without communication.

      Lisa Prather — this in in reference to the report that comes from Wexford, Dr. Meeks
      has been made aware of the inconsistency of this report, and reliability is lacking.
      …
      Lisa Prather — One of the largest issues is to plan for discharge in advance, it is
      truly lacking. Offenders are coming back with needs and we need to have the
      supplies available for their aftercare. Sometimes they come back without any notice.

      Debbie Isaacs — Wexford’s DON their availability to do State responsibility (i.e.
      assisting staff and auditing for their unit). It seems that they do not get the time
      because the Wexford administration is assigning them their duties. They are
      responsible for payroll which takes all day, and then they have to spend a half a day
      doing orders, as well as other issues. It’s putting too much work on the HCU
      Administrators doing Welford’s duties.

      Dr. Meeks. This was discussed at our last meeting . . .

      Debbie Isaacs — Lack of accountability of nursing staff, I have a lot of errors and
      there is no accountability for lack of performance.

      AW Harrington - The beds in our institution are not acceptable. We put in ASR and
      we were denied by Wexford without any explanation. Offenders/ patients are getting
      bed sores because we don’t have bedding supplies.
      ...
      Centralia — Lisa Krebs and AWP S. Waggoner

      Lisa Krebs — Would like communication to be better with the healthcare unit
      administrator when offender is being transferred. We have same issues that everyone
      else if having.

      Dr. Meeks — In our last meeting we spoke on this, and we will put together a
      protocol that is needed . . .



                                              160
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 309 of 409 PageID #:14078




     Lawrence — AW D. Burkhart & Lorie Cunningham

     Lisa Krebs — We continue to have staff vacancies, no medical director and hours
     are being filled with bizarre times. We have no PA or MP; . . . Optometrist was
     injured and is out for 2 more months. Lack of these positions be[ing] filled is causing
     significant issues.

     Dr. Meeks — We will take this issue to Wexford. . .

     Lisa Krebs - Next issue is staff accountability, our concerns mirror what AW
     Harrington discussed. . . The staff accountability is problem because the DON is
     being pulled to different areas. There need to be more training done. There is poor
     documentation and poor nursing practices. These issues have not been adequately
     addressed by Wexford, despite our efforts to resolve this ongoing issue. . . .

     AW Burkhart — Touched on the staff vacancies, Wexford is not scheduling staff
     during the normal 8a -4p. M -F times, and is unrealistic. I. E. They wanted to
     schedule two doctors for 10 hour shifts on a Sunday.. . .

     Lisa Krebs — Same as AW Harrington, lack of communication and dodging phone
     calls and will not send nothing in writing. I can’t recall the last time I had a
     conversation with the regional coordinator.

     Dr. Dempsey — Attaching a read receipt on all correspondence, will help making
     sure that they are in receipt of note. . .

     AW Burkhart — Also, having problems with documenting and Wexford nursing
     staff should be held accountable. Wexford should give progressive disciplinary and
     when asked to see what was given to employee, I was not able to see what discipline
     was given. We need to start looking at the negligence practices that’s been
     happening.

     Menard — AW F. Lawrence, HCUA - G. Walls, and K. Mueller, A.A.

     G. Walls — Largest issue is staffing and medical director not being available. Dr.
     Tro[st] has been leaving early and arriving late, which has been an ongoing problem
     for the last 2 years. . . The Optometrist is disabled and because of that, a staff assistant
     has been assigned to him because of his writing. Writing wrong prescriptions. A
     backlog of seeing patients . . .

     Dr. Meeks — Will speak with R. Maddox, Coordinator of the South. . . This is not
     good. . . .

     G. Walls — When we put in our orders for supplies, they are being cut.
     …



                                                161
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 310 of 409 PageID #:14079




     G. Walls - Death Summaries, we cannot get them until they are approved. I can only
     go through Dr. Tro[st], and there is a delay.

     Dr. Meeks — They have a contract that the time period for a death summary is 72
     hours.. . . They have an obligation. (per contract)
     ...
     K. Mueller — Also, the nurse staffing issue on the States end. There are outstanding
     ASR’s and becoming unmanageable.
     ...
     AW Lawrence — There seems to be a problem with Dr. Caldwell doing chart
     reviews, chronic clinics. He’s coming in at 2: 00 a.m. to fulfill his hours, this makes
     the healthcare unit not run smoothly. . . .

     Dr. Dempsey — Please forward his sign - in sheets, include Dr. Meeks. . .

     Pinckneyville — AW Love, HCUA C. Brown

     C. Brown — My issues are repeat of everything that has been discussed so far. Staff
     vacancies, psychiatrics. . . The Optometrist is out on LOA. Wexford not only has a
     problem with hiring, but they will not train their staff….

     C. Brown — As far as discipline goes, Wexford is thinking why the warden is not
     locking them out and wants to put it on IDOC.

     Dr. Dempsey — Wexford wants the IDOC to be responsible for their staff’s errors,
     including locking employee out. When it comes to discipline and oversight we have
     to take an active role.

     Dr. Meeks — We have to document, document, and document. The common thing
     I am hearing that it is no accountability and a lack of disciplinary process. Whenever,
     a legal issue is involved, Wexford is nowhere to be found . . .
     Lisa Prather — The other issue we spoke on is getting ETD, Colonoscopy, and EEG
     without a consultation, and it is hard to get the procedure done . . .

     Robinson — Warden Raines, AW M. Neese and Phil Martin

     Phil Martin — We also are having problems with the doctor. His schedule has
     changed and he’s working two days per week, one day being a weekend which leads
     to us readjusting the nursing schedule. . .
     DON does a lot of timekeeping, which takes away from her DON duties.

     Shawnee — AWP L. Walker and Karen Smoot HCUA

     Karen Smoot - Our issues mirror the rest of everyone else. Wexford nursing staff is
     not being held accountable for numerous mistakes. Our DON is leaving today and




                                              162
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 311 of 409 PageID #:14080




      assigned to another facility. I will have to contact the regional coordinator for issues.
      Our staffing levels are down. . .
      We have to scan to the refill medications to the doctor and he is billing us on the
      time he spends writing refills. There have offenders that have gone without
      medication because he is not expeditious in sending them back.
      ...

      Vienna — AWP D. Luce, Penny George HCUA, and Nigel Vinyard

      Penny George — We do have a medical director position vacant since last year, we
      have very little coverage, 16 hours a week we acquired. It takes extra manpower
      when the physician scheduled is lacking, leaving us with audit findings. . . We have
      problems also with supplies being cut. We have a backlog in optometry backlog; the
      optometrist is out on medical leave. Treatment plans not being signed by the offender
      and he/she will need a copy of their medication prescribed. . .

      Dr. Meeks thanked all for their participation. We will take these issues to Wexford
      to get them resolved.

      Meeting adjourned

[P233.]

XX.       AWARENESS OF PROVIDER INCOMPETENCE AND LACK OF WEXFORD
          OVERSIGHT

       486.    That many of the Wexford physicians practicing in IDOC are inadequately trained

for the positions they hold and pose risks to the patients in their care, and that Wexford fails to

monitor, discipline, or correct these providers, has been known to Defendants for years.

       487.    In June 2015, Dr. Shicker emailed Wexford’s Regional Medical Director Dr.

Matticks about the case of an (unnamed) prisoner at Graham CC with long-term gastric symptoms

who had ultimately become unresponsive in the infirmary, was transferred to hospital and

“ultimately underwent a total colectomy and is still on the Vent.” [P461.] Shicker was dissatisfied

with Matticks’ reply; “I am not clear whether you think Dr. Kayira approached this appropriately

but I strongly think it was not handled well.” Matticks’ further response—”Thank you. He and I

both agree that there is room for improvement in the case . . .”—provoked Shicker to forward the




                                                163
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 312 of 409 PageID #:14081




chain to regional nurse Cindy Hobrock with the comment “Review this email chain when you get

a chance. I am a bit tired of them not taking serious omissions [in] care seriously enough.” [Id.]

       488.    In June 2017, IDOC regional medical coordinator Joseph Ssenfuma wrote to Dixon

CC HCUA Amber Allen, “Thanks Amber, Last Friday I reviewed all the patients that you guys

sent out to the hospital after Dr. Varma dropping the ball—numerous times, and noticed all of

them were seriously sick patients. Keep up the good . . .” [P469 at 0592949; emphasis added.]

       489.    One particularly notable case is that of Dr. Sood, who was at one time the Medical

Director at Hill CC. In a series of mortality cases reviewed by Dr. Shicker in early 2016, he wrote

as to one of Dr. Sood’s patients:

       There are two main disturbing aspects in the case of this patient. The first is that Mr.
       [redacted] had abnormal liver function tests early during his incarceration—yet no
       workup was undertaken until almost three years into his stay. After he was
       diagnosed with Hepatitis C appropriate work up to assess eligibility for treament
       was not undertaken. There was poor communication with Dr. Paul (Wexford
       Hepatitis C Coordinator). The result was that his disease progressed unchecked . . .
       I [] classify this case as a likely avoidable death. I have discussed this case at length
       with Wexford executive level physicians. We agree that Dr. Sood has now made
       some significant errors in the care of IDOC patients at Hill CC and that he will
       receive a final warning and likely termination or voluntary resignation.

[P227 at 0068581; emphasis added]

       490.    This was not the only death in which Dr. Shicker faulted Dr. Sood: in a review of

the death of [redacted], DOD 10/13/15 for an April 8, 2016 mortality conference, Shicker noted

“significant delays in in follow up and finding others to aid in the diagnosis and management of

this individual”; “. . .there were too many gaps and delays in [this patient’s] care.” [P458 at

0188156.]

       491.    Over a year later, Dr. Sood came to Dr. Dempsey’s attention while Dr. Dempsey

was the acting agency Medical Director. In reference to a death review Dr. Dempsey had received,

he wrote to Wexford in September 2016: “The review is quite concerning. I would refer you to the



                                                 164
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 313 of 409 PageID #:14082




1/4/16 through 1/10/16 chronology. . .” [P473 at 0073977.] He asked for all the death summaries

and death reviews for prisoners who had been under Dr. Sood’s care at the time of their death.

         492.   Later in the chain, deputy director Kimberly Butler asked Dempsey: “So if I’m

reading this correctly Dr. Shicker recommended a final warning, possible termination or voluntary

resignation? Dr. Sood was moved to Stateville as a result of the allegations . . . Was any action

taken by Wexford from the original complaint?” Dempsey responded: “I never got the details of

the agreement between Dr. Shicker and Wexford. They tended to be verbal. It is typical for a

provider to have trouble at one site to be moved . . .” And at the end of a further exchange, he

added:

         I had a conversation with Wexford in early July, voicing my concerns, and was told
         that Dr. Sood had one more chance. To me, his one more chance has been
         notification of the most recent lawsuit. . .

[Id. at 0073974-77.]

         493.   In 2018, the Puisis team reviewed the same death that caught Dr. Dempsey’s

attention as part of their review of 2016/2017 deaths in IDOC. The Second Expert Report notes

significant problems with his care while he was still at Menard CC, notably the failure of the

physicians there to investigate and explain why he remained on anticoagulant medications when

he also had an IVC filter (“Typically, patients on an IVC filter are not also anticoagulated”), and

the failure to address the fact that he was having “breakthrough seizures” despite being on three

antiepileptic drugs. [Puisis MR p. 55.] But it was the care of this patient during the last few months

of his life, after he had been transferred to Hill CC and was under the supervision of Dr. Sood, that

particularly attracted the team’s attention. The patient was housed in the infirmary throughout his

time at Hill CC, where:

         Over the course of the next two and a half months the patient continued to have
         unequal pupils, had progressively deteriorating mental status, and became



                                                 165
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 314 of 409 PageID #:14083




       progressively unable to care for himself. The patient could not walk without support.
       . . . Over time the patient was unable to communicate effectively, did not consistently
       respond to questions or commands, became incontinent of urine and feces, did not
       consistently eat food or drink, and was unable to care for himself. Despite a dramatic
       deterioration of neurological status in the context of a VP shunt, the patient never
       had a thorough neurological examination or had an imaging study (CT scan or MRI)
       of his brain. The deteriorating condition of the patient combined with the lack of
       physical examination or care by providers for the patient was indifferent, and grossly
       and flagrantly unacceptable care.

       Over time the patient developed bruising, first noted on his elbows but then on his
       back, thighs, legs, and elbows. Despite being on Coumadin and aspirin and having
       bruising, the provider did not order an INR to assess whether he had supratherapeutic
       levels of anticoagulants. . . This is a dangerous sign and calls for immediate action
       to prevent life-threatening harm. The doctor did not assess why the patient was on
       aspirin, as he had no clinical indication for this drug. Keeping the patient on both
       drugs and failure to assess the INR was a life-threatening danger to the patient and
       grossly and flagrantly unacceptable medical care. . .

[Puisis MR p. 56.] In conclusion, the Second Expert team stated as to this death:

       This patient’s death was preventable. Care for this patient was grossly and
       flagrantly unacceptable. The death summary was performed by the doctor caring for
       the patient and no problems were identified. This doctor is a nuclear radiologist and
       clearly does not have fundamental medical knowledge sufficient to practice general
       primary care medicine, and should not be allowed to do so. This is a doctor identified
       on the First Court Expert report as having performed poorly. Yet he continues to
       practice. . .

[Id. p. 57]

        494.   In fact, at the time of the Puisis team’s 2018 site visit to NRC, Dr. Sood was in

place there as a Wexford “Travelling Medical Director.”

        495.   Another Wexford physician who was the subject of repeated internal complaints

was Dr. Obaisi, the Medical Director at Stateville CC.

        496.   In his notes for a February 5, 2016 mortality conference on a patient DOD 9/18/15,

Dr. Shicker observed:

       [The patient] was prescribed Epivir by Dr. Obaisi. It turns out that he never received
       the epivir (although this is no longer recommended for the treatment of chronic




                                                166
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 315 of 409 PageID #:14084




       Hepatitis B given the high resistance rate) . . . There are several problematic areas
       with this case . . .

       a) This individual had risk factors for Hepatitis and the first mention we have about
       Hepatitis testing is over ten years into his incarceration.

       b) The approach to treat the chronic Hepatitis B was not up to date (use of epivir)

       c) Medications ordered were no[t] obtained or given. . . .There was no
       communication and no pick up from the MAR that there was a problem. . . .

[P227.]

       497.    Dr. Obaisi’s lack of up-to-date medical knowledge was not his only failure noted

by IDOC personnel. In March 2015, it was reported to regional coordinator Marna Ross and others

that the Stateville CC warden was “really frustrated” with Dr. Obaisi over “not completing

infirmary admissions, the medical permits, not seeing inmates (rescheduling), etc.” [P226.]

       498.    In May 2015, it was reported to Dr. Shicker by regional coordinator Marna Ross

that “Dr. Obaisi did not come to CQI today as he called in late and would not get there [till] this

afternoon,” and “Dr. Obaisi has so many depositions that he is not keeping up with his work.”

[P435.]

       499.    Six months later, it was reported to regional coordinator Joseph Ssenfuma, “Dr.

Obaisi was told about the Doc review box and seeing the infirmary patients on Saturday. True to

form, he ignored them both. The Infirmary Nurses had to do everything but cuff him to get him to

go to the infirmary at Stateville.” [P436.]

       500.    Two of the 19 deaths reviewed by the Second Expert and judged preventable

involved Dr. Obaisi. [Puisis MR Patients #10 (pp. 96-106) and #13 (pp. 133-143).]. As to Patient

10, “Providers failed to evaluate [this patient] for peptic ulcer even though the patient had

symptoms or signs of this condition (anemia, vomiting, and apparently bloody emesis). The

patient’s anemia was never properly evaluated . . . Despite potential for ulcer disease and



                                               167
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 316 of 409 PageID #:14085




cardiovascular disease providers kept the patient on non-steroidal medication for years . . .” [Puisis

MR p. 17.] Patient 13 “had long standing hypertension. His blood pressure at Stateville was

uncontrolled throughout his entire 18 month stay and the system was indifferent to his uncontrolled

blood pressure. . .” [Puisis MR p. 22.]

       501.    Despite the problems noted by Defendants’ personnel with Dr. Obaisi, he practiced

at Stateville CC until his sudden death in December 2017.

       502.    Another physician still in place within IDOC and involved in what the Second

Expert judged to be a preventable death was Dr. Vipin Shah. Defendants themselves had identified

him as problematic.

       503.    In January 2015, the Pinckneyville HCUA wrote to southern region coordinator

Prather about a prisoner who was dying of bladder and prostate cancer: “I am sending you an

update on this guy he is at Belleville Memorial Hospital DX: Septic and malnourished I found

some issues in his file regarding nursing and Doctor Shah. I feel he should have been sent out

sooner and could not find any confirmation of terminal CA . . .” [P494.] Prather forwarded this

email to Dr. Shicker. [Id.]

       504.    In Dr. Shicker’s notes for a July 31st 2015 mortality conference, addressing the case

of a patient who “came to IDOC with no significant medical problems” but died (age 37) of cardiac

arrest, Shicker observed:

       Comment: There are several areas of concern regarding this case:

       1.     There was a lengthy delay in obtaining the EKG and the evaluation of said
       EKG . . .
       2.     Starting a patient on low dose aspirin based solely on this EKG is highly
       questionable and problematic especially since this offender had mild anemia as
       well.
       3.      Mild anemia of 12.5 in a young male is a red flag and requires a work up to
       try to determine the cause.


                                                 168
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 317 of 409 PageID #:14086




       ...
       5.      There were numerous no shows by this individual without getting a signed
       refusal. . . I recommend that the Vendor conduct additional peer reviews of Dr.
       Vipin Shah’s work (quarterly for one year) and submit to me. In addition some
       education and counselling should occur regarding work up of patients with
       anemia, and abnormal EKG’s.

[P225 at 0169999-70000; emphasis in original.]

       505.    Earlier that month, the Pinckneyville HCUA had reported to Dr. Shicker and the

regional coordinator on the case of a prisoner who had just been sent to the ER after Dr. Shah had

reviewed him the previous day and ordered observation and vitamins, “recheck in 2 weeks”: “I

have issues with this case and think it may need to be reviewed. The Nurse Practitioner is getting

upset in regards to Doctor Shah.” “We need to do something,” the regional coordinator wrote to

Dr. Shicker. “Dr. Shah is doing poorly!” [P467.]

       506.    Six months later, at the December 31, 2015 mortality conference, Shicker again

reviewed one of Shah’s patient deaths: “Mr. [redacted] was diagnosed with a type of cancer that

is almost universally fatal . . . The problem with his case, however, is that his initial symptoms

were not followed up upon and were, therefore, not worked up adequately. Between July 2014 and

March 2015 he lost 36 pounds . . . He was empirically treated for GERD without further follow

up. . . .[T]he chance for at least prolonging his life was certainly a possibility. I expect that the

Vendor will address this with Dr. Shah . . .” [P458 at 0188162-63.]

       507.    Six months later still, Dr. Shah was still a Medical Director, now at Robinson CC,

where Shicker found a death potentially “bothersome. This patient has cardiac risk factors . . .

With chest pain 10/10 albeit atypical in nature—sharp—I would err on the side of sending this guy

out to the ER. Observation in a non-telemetry infirmary is in my opinion inadequate.” [P466 at

369899-901.]

       508.    The death on which Dr. Shicker was commenting is Puisis Mortality Patient no. 33:



                                                169
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 318 of 409 PageID #:14087




       This patient had repeated episodes of acute coronary syndrome and two episodes of
       atrial fibrillation, each of which should have resulted in hospitalization, which did
       not occur. The angina was inappropriately treated and was never under control.
       Cardiac catheterization was not done over three months despite the patient having
       three episodes of apparent acute coronary syndrome. The atrial fibrillation was
       never appropriately assessed, and the patient was not anticoagulated despite having
       atrial fibrillation and acute coronary syndrome on three occasions. The patient’s
       cause of death was listed as coronary atherosclerosis and stroke, both of which were
       preventable with timely and appropriate treatment. Therefore, this death was
       preventable.

[Puisis MR p. 61; emphasis in original.]

       509.    As of September 2018, Dr. Shah was still practicing at Robinson CC. He does not

appear on a list of Wexford provider employees disciplined (or terminated) between 7/1/2015 and

11/26/2017 for misconduct or performance. [P121.]

       510.    Dr. Trost, the former Menard CC medical director, was involved in two deaths

identified by the Second Expert as preventable, and two more deaths identified as possibly

preventable deaths, in 2016/2017. [Puisis MR Patients #21 (pp. 269-284), #22 (pp. 285-304), #23

(pp. 305-318), and #27 (pp. 338-351).]

       511.    Defendants’ employees were complaining of problems with Dr. Trost well before

these deaths; he was the subject of a numerous internal complaints about his work performance as

well as his clinical judgment.

       512.    In January 2015, the Menard HCUA wrote to southern region coordinator Prather

“This is a list that medical records put together showing everyone that has been scheduled at least

3 times before being seen by Dr. Trost. We have a problem. . . .” [P480.] The list—of over 60

prisoners—included one with a “[m]ass on left side of head” who was scheduled six times before

he was seen; one who had been to nurse sick call for “blood in stool” and had been scheduled 3

times and still had not been seen; one who had been referred for positive Hepatitis C and had been

scheduled four times and still had not been seen; and one who had been seen in nurse sick call for



                                               170
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 319 of 409 PageID #:14088




shoulder/testicular pain, a rectal exam, and medication renewal, and had been scheduled 17 times

and still had not been seen. [Id.]

       513.      In January 2015, southern region coordinator Prather wrote Dr. Shicker that it had

been reported to her that:

          . . . there are days when Dr. Trost is on-site and does very little work. Gail told
          Yolande Johnson and me, one day the collegial review scheduler initiated a game
          with Dr. Trost to get him to complete the collegial review follow-ups. They called
          the game, “Solve the crime.” The lady who schedules would make up a scenario
          that involved the offenders collegial review health need and Dr. Trost had to instruct
          what the follow-up needs in collegial were before he was able to solve the crime.
          Gail said, they were able to get the collegial follow-ups scheduled by playing this
          game with him.

          Dr. Trost is a very likable, personable doctor but he is not interested in doing his
          work. . .

[P492.]

       514.      In December 2016, regional coordinator Lisa Prather wrote Dr. Meeks about a case

in which a patient “died on 10/20 or multisystem organ failure related to AIDS. In March he

became symptomatic and the physician simply didn’t think to HIV test. . . .At some point, we need

to discuss the performance of this Medical Director. His name is John Trost. . . .[L]acking in

performance, lacking motivation, really doesn’t have supervisory skills, calls in or shows up later

often . . . Wexford assured Dr. Shicker they were looking for his replacement . . .” [P446.]

       515.      In March 2017, Menard HCUA wrote to Meeks and others in March 2017: “Dr.

Trost called in today and he had collegial scheduled . . . This happens a lot. Now Dr. Trost won’t

have a line on Friday afternoon and no li[n]es today. This isn’t helping our backlogs. . .” Regional

coordinator Lisa Prather observed: “This has been an ongoing problem for a long time. I also

noticed in our CQI meeting, he saw and completed 39% of his [medical director sick call] lines

for the month of January . . .” [P456 at 0464762-764.]




                                                  171
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 320 of 409 PageID #:14089




           516.   The first of the two deaths regarded by the Second Expert as definitely preventable

in which Dr. Trost was involved was a case of a 46-year-old at Menard CC who died in July 2016

with septic shock due to complications of HIV infection. [Puisis MR pp. 38-39.] Almost a year

earlier:

       On 9/5/15, the patient developed altered mental status with fever. He was a 46 year
       old man who was urinating on himself. The patient did not have an adequate
       evaluation for alteration of mental status. He was not provided an adequate history
       or physical examination for his condition. He should have had a CT scan and other
       diagnostic testing. Instead, the patient was merely monitored on the infirmary with
       blood tests. The doctor made a diagnosis of fever of unknown origin. This diagnosis
       presumes that causes of the fever have been ruled out, which had not been done in
       this case, as little diagnostic evaluation was performed. The patient should have
       been hospitalized for his condition but was not. Care was grossly and flagrantly
       unacceptable.

       The doctor presumed that the patient had lupus, but the patient did not have
       immunologic criteria to qualify for this diagnosis. The providers failed to evaluate
       for HIV, a common condition in this population and one that the patient had risk
       factor for . . .

       Lupus is an uncommon condition in this population as compared to HIV. . .
       nevertheless, the doctor maintained this diagnosis without searching for more
       obvious causes of the patient’s problem. . .

                                                 ****

       This patient’s death was preventable. The patient had multiple risk factors for HIV
       infection yet was never screened for this infection. The patient had altered mental
       status for over a year but never had a diagnostic evaluation for this. The patient had
       low lymphocytes and low white counts since 2013 but was never evaluated
       adequately for this. The patient had fever but was never properly evaluated for this.
       The patient’s confusion resulted in inability to take care of his hygiene, but the
       patient was neglected, resulting in a large, unrecognized pressure ulcer and
       significant unrecognized weight loss. Care was indifferent, neglectful, and grossly
       and flagrantly unacceptable. Early diagnosis of HIV should have been made and this
       would have prevented his death. We note that the physician caring for this patient
       was a surgeon without primary care expertise . . .

[Id.; emphasis in original.]




                                                  172
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 321 of 409 PageID #:14090




       517.     As to the second preventable mortality in which Dr. Trost was involved, the Puisis

team wrote:

        This 48-year-old man had difficult to control blood pressure. For the entire two
        years of record review, the blood pressure was uncontrolled. The blood pressure
        was significantly out of control and as high as 260/130. . .

        The patient also had a persistent need for statin treatment which was unrecognized.
        ..

        The patient developed symptoms of episodic shortness breath on 2/4/15 and was
        admitted to a hospital. At the hospital, the patient had an echocardiogram that
        showed thickening of the LV and concentric hypertrophy but normal systolic
        function, verifying hypertensive cardiovascular disease. . .

        Upon return to Menard, the Medical Director, who was a surgeon, did not refer to
        nephrology or cardiology as recommended . . .

        This patient’s death was preventable. It is our opinion that if the patient’s blood
        pressure were controlled he would not have died from hypertensive heart disease. .
        ..

[Puisis MR pp. 46-48; emphasis in original.]

       518.     And before the Puisis team had reviewed the case of Mortality Patient 18 (Dennis

Edwards, DOD 1/31/16) and assessed it as a possibly preventable mortality, Dr, Shicker had seen

problems as well: “Mr. [redacted] was a 59 year old male with multiple medical problems . . . He

also had a significant psychiatric illness . . . He began fasting 12/25/15 call[]ing it a religious fast

and lost significant weight over time complicated by bed sores and appearing malnourished . . .

This was a very unfortunate case. There were a few discoveries made during the review that

demonstrated some breakdowns in care and need to be corrected. . . .” [P458 at 0188157.] The

Medical Director in question, at Dixon CC, was involved in three other deaths that the Second

Expert team assessed as “preventable.” [Puisis MR Patients #7 (pp. 51-61), #17 (pp. 178-213), and

#19 (pp. 229-245).]




                                                  173
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 322 of 409 PageID #:14091




XXI. FAILURE TO IMPLEMENT THE RECOMMENDATIONS DEFENDANTS
     ACCEPTED FROM THE 2014 SHANSKY REPORT

        519.    In November 2014, pursuant to the process set out in the Agreed Order Appointing

Expert (Dkt. 244, ¶ 5b), Defendants submitted comments to Dr. Shansky on what was then the

Confidential Draft Report of the Shansky team. [P23.] Defendants have placed this letter on their

exhibit list. [D9.]

        520.    In the Barnes letter, Defendants rejected many of the First Expert’s

recommendations for improving IDOC medical and dental care. However, they also stated that

they agreed with and intended to implement (or already had implemented) a considerable number

of the recommendations. Four years later, many of the recommendations Defendants accepted

have not been implemented even though Defendants accepted them in 2014.

        521.    As to staffing and leadership, the Barnes letter stated:

        IDOC believes that it does have adequate staffing and leadership and is committed
        to these important principles. Nevertheless, in an attempt to make the delivery of
        health care even better, IDOC has filled a number of the vacancies identified in the
        Report. . .

        522.    The letter cited filled Medical Director positions at two prisons and the acceptance

by a candidate of a Medical Director position at a third prison, inter alia. [D9 p. 3.]

        523.    Since [October] 2016, the “Lippert Call” reports reflect that there have been

continuously no fewer than 4 Medical Director vacancies every month throughout the system; in

fact the number has risen. From March of 2017 to December 2017 there were either 6 or 6.5

Medical Director vacancies each month; the number briefly dropped in January 2018 to 5.5 only

to rise again to 6.5 vacancies from March through May 2018 (there is no data for February

produced). This is coupled with staff physician vacancies ranging from a low of 1.2 FTE (1 month)




                                                 174
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 323 of 409 PageID #:14092




to a high of 4 (x months) throughout the same period. In short, the staffing and leadership

deficiencies remain in place.

       524.    As to administrative duties affecting leadership positions, the Shansky Report

recommended that “The Director of Nursing position at all facilities is a full-time position whose

time should not be taken away by corporate responsibilities.” The Barnes letter stated:

       The IDOC agrees with this requirement and took necessary steps to insure that, if
       an IDOC facility has a vendor Director of Nursing (DON) who is also designated as
       the vendor site manager, corporate responsibilities will be limited to 10% of his/her
       time.

[Id. p. 4.] In fact, Wexford administrative responsibilities continue to consume excessive amounts

of DON time.

       525.    Further as to administrative functions of Wexford employees, the First Expert

Report had recommended that “Medical vendor health care staff assigned to leadership positions,

such as the director of nursing, supervising nurse or medical records director, will not be assigned

corporate duties such as time keeping, payroll or human resources activities.” The Barnes letter

stated: “The IDOC agrees with this requirement and has effectively managed such situations to

insure that health care managers are assigned to appropriate leadership tasks.” [Id. p. 6.]

       526.    In fact, Wexford administrative responsibilities continue to consume excessive

amounts of health care managerial time.

       527.    As to a staffing needs analysis, the Shansky Report recommended that IDOC

“develop and implement a plan which addresses facility-specific critical staffing needs by number

and key positions and a process to expedite hiring of staff when the critical level has been

breached.” As to this recommendation, the Barnes letter stated:

       The IDOC agrees with this recommendation, and is continually assessing critical
       vacancies and working with its staffing vendor to fill them in an expeditious fashion.




                                                175
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 324 of 409 PageID #:14093




           As noted above, IDOC and its vendor have already filled numerous key vacancies,
           and are committed to continue to do so in the future. . .

[Id. p. 7.]

           528.   Four years later, IDOC has performed no staffing analysis, and critical vacancies

persist.

           529.   As to infection control, the Shansky Report recommended that IDOC “Immediately

seek approval, interview and fill the Infection Control Coordinator position.” As to this

recommendation, the Barnes letter stated: “The Department agrees that the Infection Control

Coordinator position should be filled . . .” [Id. p. 8.]

           530.   Four years later, Defendants have finally hired someone for the Infection Control

Coordinator position—but it is one of the OHS regional coordinators who continues to perform

that full-time job as well. 55

           531.   As to OHS staffing, the First Expert Report recommended that IDOC “[e]stablish,

identify and fill the positions for three regional physicians trained and board certified in primary

care who will report to the Agency Medical Director and perform at a minimum peer review

clinical evaluations, death reviews, review and evaluate difficult/complicated medical cases,

review and assist with medically complicated transfers, attend CQI meetings and one day a week,

within their region, evaluate patients. . .” As to this recommendation, the Barnes letter stated:

“…While IDOC does not see the need for three additional regional physicians, it recognizes the




55
   No one has held this position in the interim. In January 2017, the HCUA at Vienna CC wrote to Dr.
Meeks and others: “On 7/28/16 I applied for the Infection Control Nurse, Public Service Administrator . . .
. Do you know if they are going to fill this position?” The response, from agency Medical Coordinator Kim
Hugo, was: “Back in August, I asked about this as no one in Health Services was aware they had posted it.
Evidently Dr. Shicker had requested this at some point. I have not received any more information in regard
to filling this position. Sorry!” [P243.]


                                                   176
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 325 of 409 PageID #:14094




advantage to hiring one additional physician to work under the direction of the IDOC Medical

Director. …” [Id. pp. 8-9.]

        532.     Four years later, the agency Medical Director still does not have a single physician

to assist him.

        533.     As to sick call, the First Expert Report had numerous recommendations with which

the Barnes letter agreed:

       Shansky: 1. All sick call must take place in a designated area that allows sick call to
       be conducted in an appropriate space that is properly equipped and provides for
       patient privacy and confidentiality.

                 Barnes: • The IDOC agrees with this recommendation.

       Shansky: 2. Equipment, mattresses, etc., which have an impervious outer coating
       must be regularly inspected for integrity and repaired or replaced if it cannot be
       appropriately cleaned and sufficiently sanitized.

                 Barnes:• The IDOC agrees with this recommendation.

       Shansky: 3. A paper barrier which can be replaced between patients should be used
       on all examination tables.

                 Barnes:• The IDOC agrees with this recommendation.

       Shansky: 4. Hand washing or sanitizing must be provided in all treatment areas.

                 Barnes:• The IDOC agrees with this recommendation.

[Id. p. 10.]

        534.     Four years later, there is still a lack of appropriate private space for sick call

encounters, equipment and mattresses are still found worn and torn, paper barriers, while more

widely used, are not universal, and hand sanitation remains problematic.

        535.     In general, as to clinical space and sanitation, the Barnes letter stated: “[T]he IDOC

recognizes the inherent importance of appropriate clinical space and sanitation within its medical

system, and agrees with all of the report’s recommendations in this section.” [Id. pp. 9-10.]



                                                  177
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 326 of 409 PageID #:14095




       536.    Four years later, the Puisis team still found widespread deficits in space and

sanitation.

       537.    As to medical reception (intake), the First Expert Report recommended, “A process

that insures a clinician reviews all intake data, including laboratory tests, TB screening, history

and physical, etc., and develops a problem list and plan for each problem.” [Id. p. 10.] The Barnes

letter stated: “The IDOC agrees with this statement and currently follows this process . . .” [Id. p.

11.]

       538.    The Second Expert team found that Defendants’ medical reception process does

not comply with this process.

       539.    As to continuous quality improvement, the Shansky Report recommended: “A

quality improvement process that monitors completeness, timeliness and professional performance

and is able to intervene in order to implement improvements.” The Barnes letter stated: “The IDOC

agrees and believes its current QI system accomplishes the suggested task. . . .” [Id. p. 11.]

       540.    Four years later, the Second Expert team still found Defendants’ CQI process

unable to function so as to “implement improvements.”

       541.    As to medical record-keeping, the Shansky Report recommended that “Problem

lists should be kept up to date.” The Barnes letter stated: “The IDOC agrees with this

recommendation. . .” [Id. p. 13.]

       542.    Problem lists are still not well-maintained or complete.

       543.    As to reports of outside consultations or hospitalizations, the First Expert Report

recommended, “Medical records staff should track receipt of all outside reports and ensure that

they are filed timely in the health record.” The Barnes letter stated: “The IDOC agrees with this

recommendation.” [Id. p. 14.].




                                                178
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 327 of 409 PageID #:14096




       544.    Outside reports are still not regularly obtained or placed in the medical record.

       545.    As to access to services, the Shansky Report recommended, “Administration must

insure health care activities such as sick call are not routinely cancelled, as this results in an

unacceptable delay in health assessment.” [Id. p. 15.] The Barnes letter stated: “The IDOC agrees

with this recommendation.”

       546.    Four years later the Puisis team found that this was still a serious problem within

IDOC healthcare.

       547.    As to the medication administration record, the First Expert Report recommended

that, “Copies of the current MAR should be available for the provider’s review during chronic care

clinic.” The Barnes letter stated: “The IDOC agrees with this recommendation.” [Id. p. 19.]

       548.    The Puisis team found that there was “no evidence” that this recommendation had

been implemented. [Puisis SR p. 83.]

       549.    As to tracking of urgent/emergent services, the First Expert Report recommended,

“All facilities must track urgent/emergent services through using a logbook maintained by nursing

which includes patient identifiers, the time and date, the presenting complaint, the location where

the patient is seen, the disposition and when the patient is sent out, the return with the appropriate

paperwork, including an emergency room report and appropriate follow up by a clinician.” The

Barnes letter stated: “The IDOC agrees with this recommendation.” [D9 p. 20.]

       550.    The Second Expert team found that this recommendation had not been

implemented.

       551.    As to requests for specialty services, the Shansky Report recommended, “The entire

process, beginning with the request for services, must be tracked in a logbook, the fields of which

would include date ordered, date of collegial review, date of appointment, date paperwork is




                                                 179
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 328 of 409 PageID #:14097




returned and date of follow-up visit with clinician. There should also be a field for approved or not

approved, and when not approved, a follow-up visit with the patient regarding the alternate plan

of care.” The Barnes letter stated: “The IDOC agrees with this recommendation, as a logbook is

currently in place for off-site services.” [Id. p. 24.]

        552.    The Second Expert team found that this was not true. Tracking logs were not

complete and not accurate. [Puisis SR p. 64.]

        553.    As to utilization management/collegial review timing, the Shansky Report

recommended, “Presentation to collegial review by the Medical Director must occur within one

week.” The Barnes letter stated:

        The IDOC agrees with this recommendation. Presently, if the facility medical
        director and provider believe there is a need for offsite service, the case is referred
        to WHS and discussed during weekly collegial review. If approved, an authorization
        number is generated and returned to the site within 5 working days.

[D9 p. 24.] To the contrary, the Puisis team found that there were still problems with timeliness of

collegial review.

        554.    As to sanitation and bedding, the First Expert Report recommended that IDOC

“[d]evelop and implement a plan to insure sufficient quality and quantities of infirmary bedding

and linens.” The Barnes letter stated: “The IDOC agrees with this recommendation.” [Id. p. 28.]

        555.    Four years later, the sanitation and quantity of infirmary linens remains a problem.

        556.    As to sanitation and bedding, the First Expert Report recommended that IDOC

“[d]evelop and implement a plan to aggressively monitor skin infections and boils and work jointly

with security and maintenance staff regarding cell house cleaning practices with monthly reporting

to the IC/QI-RN, QIC and facility administration as needed.” The Barnes letter stated: “Existing

policies are already in place. Data is reviewed at QI meetings with the Agency Medical Director

in attendance and demonstrates that numbers are decreasing system wide.” [Id. p. 30.]



                                                   180
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 329 of 409 PageID #:14098




       557.     In reality, the existing CQI data (which is incomplete and inconsistent between

facilities) shows that there has been no decrease in skin infection rates since 2014. [G526-G532.]

       558.     As to negative air pressure in infirmary rooms, the First Expert Report

recommended that IDOC “[d]evelop and implement a plan to daily monitor and document negative

air pressure readings when the room(s) is occupied for respiratory isolation and weekly when not

occupied.” The Barnes letter stated: “The IDOC agrees with this recommendation, as it reflects

current policy.” [Id. p. 30.]

       559.     The Puisis team found that these readings are not properly monitored.

       560.     As to the training of inmate “porters” used in healthcare areas, the First Expert

Report recommended that IDOC “[d]evelop and implement a training program for health care unit

porters which includes training on blood-borne pathogens, infectious and communicable diseases,

bodily fluid clean-up, proper cleaning and sanitizing of equipment, infirmary rooms, beds,

furniture, toilets and showers.” The Barnes letter stated: “The IDOC agrees with this

recommendation, and trains its health care porters on the above-mentioned protocols before

allowing them to work in health care units. . .” [Id. p. 30.]

       561.     Four years later, the Second Expert team found that training of inmate “porters” in

these hazardous roles was still deficient at three out of the five sites they surveyed.

       562.     As to patient care furniture, the First Expert Report recommended that IDOC

“[d]evelop and implement a plan to monthly monitor all patient care associated furniture, including

infirmary mattresses, to assure the integrity of the protective outer surface with the ability to take

out of service and have repaired or replaced as needed.” The Barnes letter stated: “The IDOC

agrees with this recommendation, as the practice is already in place.” [Id. p. 31.]




                                                 181
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 330 of 409 PageID #:14099




       563.    In 2018, the Defendants’ patient care furniture, especially infirmary beds, are in

very poor and often dangerous condition.

       564.    As to dental care, the First Expert Report recommended that, “Proper area

disinfection and clinician hygiene be implemented.” The Barnes letter states: “The IDOC agrees

with this recommendation, as proper area disinfection and clinician hygiene is expected of all

dental professionals.” [Id. p. 32.]

       565.    The Second Expert team found that disinfection had not improved and clinician

hygiene had deteriorated since 2014. [Puisis SR p. 105.]

       566.    In addition, as to dental care, the First Expert Report recommended that, “Routine

comprehensive care should be provided for through a comprehensive exam and treatment plans.”

The Barnes letter stated: “The IDOC agrees with this recommendation.” [D9 p. 33.]

       567.    Four years later, the Second Expert team found that this aspect of care was

unchanged and Defendants still fail to provide a comprehensive exam. [Puisis SR p. 106.]

       568.    As to dental care, the First Expert Report also recommended that, “That the exam

includes radiographs diagnostic for caries, a periodontal assessment, a soft tissue exam and

accurate charting of the teeth.” The Barnes letter stated: “The IDOC agrees with this

recommendation.” [D9 p. 33.]

       569.    Defendants still fail to provide this. [Puisis SR pp. 106-07.]

       570.    As to review of dentists, the Shansky Report recommended that “The IDOC

develop a clinically oriented peer review system [for dentists] and that dentists be available to

provide these reviews, such that deficiencies in treatment quality or appropriateness can be

corrected.” The Barnes letter stated: “The NCCHC requires dentists to be peer reviewed on an




                                                182
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 331 of 409 PageID #:14100




annual basis. WHS dentists in IDOC are peer reviewed annually and upon request by the company,

in accordance with NCCHC standards. . .” [D9 pp. 34-35.]

       571.    Wexford dentists were not peer reviewed in 2014 and are not peer reviewed in 2018.

       572.    As to dental patients with underlying medical issues, the Shansky team

recommended that “The IDOC develop a thorough and well-documented health history section in

the dental record.” The Barnes letter stated: “The IDOC agrees with this recommendation, as it

strives to develop a thorough health history for each of its dental patients.” [Id. p. 35.]

       573.    Four years later, Defendants have not implemented this recommendation. [Puisis

SR p. 115.]

       574.    Further as to medically compromised dental patients, the First Expert Report

recommended “That appropriate medical conditions be red flagged and that medical consultations

and precautions be documented in the dental record.” The Barnes letter stated:

       575.    The    IDOC      agrees    with   this   recommendation.       Accordingly,    medical

conditions/precautions are noted in the patient problem list located as the very first page in every

offender’s medical chart. [D9 p. 35.]

       576.    Four years later, this recommendation has not been implemented. Medical problem

lists (which are also flawed) are not available for dental procedures.

       577.    As to dental policies and protocols, the First Expert Report recommended “That

IDOC dental policy insures that all institution dental programs have well developed and thorough

policy and protocol manuals that address all areas of the dental program. That all dental staff be

familiar with these policies and protocols.” The Barnes letter stated: “The IDOC agrees with this

recommendation.” [Id. p. 35.]




                                                 183
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 332 of 409 PageID #:14101




       578.    Four years later, the Second Expert team concluded that the policies and protocols

were “inadequate” and not materially improved from 2014. [Puisis SR p. 113.]

       579.    The First Expert Report also recommended that there be “An administrative dentist

[] to oversee the IDOC dental program as a whole. This person could remain in the field as a part-

time practicing dentist.” The Barnes letter stated: “The IDOC agrees with this recommendation. .

. IDOC has [ ] committed to filling the position of Dental Director which will have a statewide

administrative component to its job description.” [D9 p. 35.]

       580.    Four years later, there is no such position.

       581.    The Shansky Report stated that “Dental hygienists should be hired ASAP at Henry

Hill CC and Dixon CC.” The Barnes letter stated: “The IDOC agrees with this recommendation.”

[Id. pp. 35-36.]

       582.    This has not happened.

       583.    As to the CQI program, the First Expert Report recommended that “The QI program

should monitor timeliness and appropriateness of professional responses.” The Barnes letter stated:

“The IDOC agrees with this recommendation, and will work to incorporate timeliness and

appropriateness of professional responses into its existing CQI process.” [Id. p. 22.]

       584.    As of 2018, this recommendation has not been implemented.

       585.    Also as to the CQI program, the First Expert Report recommended that “As an

aspect of the QI program, review nursing and clinician performance to improve it.” The Barnes

letter stated: “The IDOC agrees with this recommendation, noting that it has already been

incorporated into its existing CQI process.” [Id. p. 22.]

       586.    The Second Expert team found Defendants’ CQI program does not monitor nursing

and clinician performance.




                                                184
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 333 of 409 PageID #:14102




XXII. FAILURE TO IMPLEMENT INITIATIVES TO IMPROVE HEALTHCARE
      THAT DEFENDANTS THEMSELVES HAVE PRIORITIZED

       587.    In addition to their failures to follow through and implement the First Expert Report

recommendations that the IDOC accepted back in 2014, Defendants have also failed to carry

through on a number of other initiatives they recognized were needed to improve the delivery or

oversight of medical and dental care in IDOC.

       588.    The most notable failed initiative is an electronic medical record system (or

“EMR”). The State Defendants have been planning for years to transition to an electronic medical

record system, but have failed to do so.

       589.    In August 2009, an internal State email exchange reported:

       One issue that IDOC has been working on is the need to move in the direction of an
       electronic records system. Often, inmates will be transferred but their records do not
       follow them to a new facility. They need to be completely re-evaluated to determine
       whether they needs the same treatment that they were receiving in the previous
       facility. . . Electronic records systems certainly would help this, and make the entire
       system more up-to-date and reliable.

[P240.]

       590.    As noted earlier, the 2011 Wexford contract provided for the development of EMR.

[P18 at 000374-76 (§ 7.7.4).] In 2012, for unexplained reasons, the Department instructed Wexford

to stop rollout beyond Logan and Decatur. [Tr. T. Taylor; P418.]

       591.    In a December 2014 IDOC “Transition Report” prepared after the election of

Defendant Rauner and forwarded by Assistant Director Gladyse Taylor, the implementation of

Electronic Medical Records by Wexford was still identified as a “High” priority.

       592.    In December 2014, the minutes of a Programs and Support Services meeting reflect

that Dr. Shicker stated that “EMR is up and running at Decatur and Logan,” and that he also

assured the attendees that it would “be started at other sites soon.” [P158.]




                                                185
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 334 of 409 PageID #:14103




       593.    As of today, in 2018, Logan CC and Decatur CC are still the only IDOC prisons

with an EMR system.

       594.    Defendants have also failed to create and staff positions that they recognized were

needed for healthcare system oversight generally and for oversight of Wexford.

       595.    This is also a long-acknowledged need. The same August 2009 email chain that

discussed EMR also reported that the then IDOC Director—Michael Randle—“would like to see

us add a new position,” so that in addition to the agency Medical Director, there would also be a

“Medical Coordinator,” also a physician, who would “oversee the vendor Medical Directors and

other medical staff . . .” A subsequent email in the chain said, “The work is really more than 1

person can handle, which is the reason for the 2 proposed positions.” [P240.]

       596.    In October 2015, as part of the internal analysis of the Wexford contract in

preparation for a new Request For Proposal for IDOC healthcare services, Dr. Shicker summarized

recommendations of the “RFP Sub-Committee,” which included that “Staffing of OHS will need

to be enhanced so that appropriate monitoring can realistically be done.”[P481; emphasis added.]

       597.    In summer of 2016, there was an initiative to create positions for “Wexford contract

monitors” within IDOC; an email chain among then-agency Medical Director Dr. Dempsey, the

IDOC CFO and Chief of Staff, among others included a suggestion from the agency Chief of Staff

that there be as many as seven of these (one assigned to each of the three regional coordinators,

one assigned to the agency medical coordinator, and one each assigned to the agency Medical

Director (Chief Medical Officer), the Chief of Mental Health and the Chief of Psychiatric

Services). [P49.]




                                               186
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 335 of 409 PageID #:14104




       598.    In 2017, agency Medical Director Dr. Meeks once again proposed (now to Director

Baldwin) that there should be a deputy medical director, as well as three regional medical directors

and another administrative assistant for OHS. [P98.]

       599.    None of these positions were ever created. Dr. Meeks, the agency Medical Director,

remains the sole physician responsible for physical healthcare in OHS. The Wexford contract

continues to be “monitored” by the monthly monitoring reports generated by the HCUAs.

       600.    Defendants have also periodically started initiatives to improve their CQI process

which have fallen short.

       601.    An important component of a functional CQI process is “outcome studies,” which

try to assess the quality of care being provided. [Puisis SR pp. 118-19.] In February 2015,

Defendants had an initiative to create “outcome studies,” based on an email from agency Medical

Director Shicker, who described himself as taking a “first stab” at them. “I did not suggest any for

dental or mental health,” he added, “I am not a dentist o[r] an MHP—I’m barely a doctor!!!”

[P482.]

       602.    As of 2018, Defendants’ CQI process still does not know how to perform “outcome

studies,” in the judgment of the Second Expert team. [Puisis SR p. 118.]

       603.    A functional mortality review process is also an essential component of CQI. [Tr.

T. Puisis] In January 2017, the HCUA at East Moline CC expressed confusion about IDOC’s death

review policy after receiving a copy of a policy from Wexford’s Dr. Fisher. In response, Dr.

Dempsey wrote: “The Wexford guidelines on deaths is just that. IDOC needs its own policy on

mortality reviews going forward.” [P471; emphasis added.]




                                                187
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 336 of 409 PageID #:14105




       604.     As of 2018, Defendants’ mortality review process remains inadequate, in the

judgment of the Second Expert team. [Puisis SR p. 102.] “The IDOC leadership is unaware that

they have preventable deaths.” [Id.]

       605.     In July 2018, Defendants entered into a contract for an analysis of their quality

control processes with UIC; the contract has no timelines and no deadlines. [P484; D1.]

       606.     Perhaps the most remarkable failed initiative that Defendants have repeatedly

articulated, both in internal (non-privileged) communications and in statements to outside

stakeholders, is the need to settle this case.

       607.     Each year, Defendants submit statements to the Illinois Legislature about IDOC’s

initiative and priorities—including budget priorities. These are signed by the IDOC Director.

Starting with the FY15 report to the Illinois Legislature, Defendants told legislators that the best

course would be to settle this case. Describing the process that had led to the appointment of Dr.

Shansky and his forthcoming report, the report stated, “. . . while prospective changes in the

provision of medical services may come with a sizeable price tag, it is our firm conviction that the

State is better-served by proceeding in this collaborative fashion . . ..” [P199 at 000434. The FY16

ISL report repeats the same statement. [P198 at 000396.]

       608.     In a November 2016 memo to the Governor’s Office of Management and Budget,

IDOC CFO Jared Brunk wrote:

       It is with great respect that the Illinois Department of Corrections presents to you a
       list of FY17 and FY18 operational concerns: . . .

       Legal Issues:

                                                 ****

       Lippert v. Godinez, et al., 10 C 4603 (N.D. Ill.)




                                                 188
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 337 of 409 PageID #:14106




       . . . . [T]he parties agreed to ask the District Court to appoint an expert under Rule
       706 to review the medical care being provided . . . The Court appointed Dr. Shansky
       as the expert. Dr. Shansky’s final report indicated that the Department fails to
       provide constitutionally adequate medical care and he proposed a myriad of changes
       to current practices.

       Plaintiffs filed their motion for class certification on December 7, 2015. . . . If the
       motion for class certification is granted, the Department will need to settle the case
       and will need to hire staff including three regional medical directors and QI staff and
       implement a number of new policies and procedures . . .

[P56; emphasis added.]

        609.     In this same vein, the Defendants’ FY17 statement to the Legislature as to this case

added that “ . . . the report and recommendations of the expert were issued in late 2014. While

there have been a few bumps in the road toward resolution, since the report was released, and while

prospective changes in the provision of medical services may carry a sizeable price tag, it is our

firm conviction that the State is better-served by proceeding in a collaborative fashion . . . . So,

we are focusing again on reaching an agreed settlement in the case.” [P201 at 000475; emphasis

added.]

        610.     --------------------------------------------------------------------------------------------------

-------------------------------------------------------------------------------------- [P52 at 000329; P142 at

003423.]

        611.     Defendants’ FY17 statement to the Legislature also states, in response to the

question “What are the 5 top programmatic priorities for FY 2017?” as the first priority,

“Addressing the Health Care Needs of our Population”:

          The Department is constitutionally mandated to provide adequate levels of health
          care to all those in our custody. While the Department has taken serious steps in
          trying to achieve full compliance - increased staffing, policy changes, further
          improved training - inadequacies in our system still exist. These inadequacies must
          be overcome with a mix of continued training and development, increased staffing
          levels, and a robust medical services contract that fully encompasses the needs of
          the Department . . .



                                                       189
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 338 of 409 PageID #:14107




[P201 at 000480.]

         612.   ------------------------------------------------------- [P52 at 000334.]

         613.   --------------------------------------------------------------------------------------------------

------------------------ [P54 at 000326; P52 at 000386.]

XXIII. DEFENDANTS FAIL TO MONITOR THEIR VENDOR OR PENALIZE IT WHEN
THEY KNOW IT FAILS TO MEET CONTRACT REQUIREMENTS

         614.   Illinois now pays Wexford well over $200 million per year for prison healthcare

services, and the total cost of the contract over ten years will be in excess of $1.6 billion. [P18;

P191.]

         615.   Through the 2011 contract, Defendants have effectively outsourced a majority of

their medical and dental care functions—and virtually all clinical decision-making—to their

vendor, Wexford. This grant of power over the lives of those in IDOC custody, however, is not

coupled with monitoring of most aspects of Wexford’s performance, or any efforts to hold it

accountable as to even those aspects—such as providing staff—which Defendants do try to

monitor.

         616.   The 2011 contract leaves IDOC with virtually no control over certain important

aspects of the healthcare system.

         617.   The contract leaves Wexford with the ability to block purchases of needed

equipment even once they have been approved by the Office of Health Services. In December

2016, the HCUA at Big Muddy River CC was wondering what had happened to the ASR (adjusted

service request) for new beds for her infirmary. The answer ultimately turned out to be that

Wexford had blocked it: “I signed and sent that ASR . . .,” reported Dr. Dempsey. “Wexford can

deny the ASR. We have no recourse.” [P454.]




                                                      190
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 339 of 409 PageID #:14108




       618.    The contract also leaves IDOC with no control over Wexford’s employees. No

matter how bad a doctor—or any Wexford employee—is, Defendants cannot fire him or her. The

only direct remedy at IDOC’s disposal is to have a facility’s warden lock the employee out of the

prison. [Tr. T. Meeks.]

       619.    In the case of Wexford staff, however, Defendants are unlikely to know in a timely

fashion whether a physician or other member of vendor staff is putting patients at risk because

Defendants have given themselves no means to monitor Wexford staff performance. Defendants

have left the peer review of doctors and other providers—if it is done at all—to Wexford.

Defendants do not even receive a copy of these reviews, just a notice that they have been done.

[Tr. T. Meeks.] In addition, since IDOC, in the opinion of the Second Expert, does not have a

quality assurance program that is capable of identifying clinical failures—including preventable

morbidity and mortality—Defendants have provided themselves with no other method to identify

clinicians or other staff who are causing harm.

       620.    In sum, Defendants have constructed and persisted in a system in which they have

little to no knowledge of, and exercise no control over, the performance of two-thirds of the

system’s healthcare staff. This includes the critical staff—the doctors, dentists, nurse practitioners

and physician assistants—who make diagnoses and decisions about course of treatment, and must

advocate for any care the prison itself cannot provide.

       621.    Defendants have also outsourced virtually all the decision-making about specialty

care to the vendor. Vendor Medical Directors must recommend any specialty care, and vendor

utilization management makes the decisions. On rare occasions, a denial is appealed to the agency

Medical Director, but this is the exception, not the rule. [Tr. T. Meeks.] The CQI process does not

analyze these decisions, and IDOC has no other method of assuring that they are made in




                                                  191
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 340 of 409 PageID #:14109




accordance with patient interests. As part of his analysis of the Wexford contract back in 2015, as

part of his summary of the recommendations of the “RFP Sub-Committee,” Dr. Shicker noted:

        The current contract goes into detail about the process of obtaining a consult
        including the approval and denial process . . . The problem is that there is no further
        monitoring after this process and no formal contractual monitoring about denial
        rates.

[P481; emphasis added.]

        622.       IDOC’s lack of oversight of this process—the utilization management/collegial

review process—is coupled with a feature of the contract that should mandate oversight of this

process, namely, that there are powerful financial incentives built into the contract for Wexford to

deny care. Both the “Hospital Utilization Threshold” and the UIC outpatient/inpatient threshold

penalize Wexford financially if these thresholds are exceeded in any given contract year. [P18 §§

2.2.3.7, 3.1.2.]

        623.       In addition, as to the “Hospital Utilization Threshold,” there is an extra level of

penalization that was intentionally built into the contract. The intention of the State in including

the hospital utilization threshold in the contract was to create a “penalty” for going over the

threshold, and that penalty was enhanced by how the threshold would be calculated. In a series of

emails in late March 2011, IDOC and HFS personnel discussed their ongoing negotiations with

Wexford about the utilization threshold. The threshold would be calculated using “billed charges,

not paid charges”—and “Paid charges is the amount the State pays, which is usually/always some

amount less than the billed charge. This is a change from the present contract. . .” [P242 p.3;

emphasis added.] “The intent of the RFP,” the writer explained, “ . . . was that a penalty in the

form of an adjustment to the monthly payments would be levied if the threshold was crossed and

that the adjustment would be equal to the billed charges . . . The intent was not simply to have the




                                                   192
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 341 of 409 PageID #:14110




vendor reimburse the State for hospital charges, but to penalize them by making them pay (through

the form of an adjustment) more than what the State pays . . .” [Id.]

        624.       The contract thus incentivizes Wexford to save money. There are no corresponding

provisions that incentivize it to provide quality care. [Tr. T. Puisis.]

        625.       These features have remained unchanged through the three renewals of the current

contract. [P18, P188, P190, P191.]

        626.       --------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

----------------------------------------------

        627.       Wexford is a for-profit company owned by a small number of individuals—the

required disclosures of these individuals in the contract, as of 2011, listed nine people altogether.

[P18 at 000334-361.] ------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

----------------

        628.       Defendants do not know and have not tried to find out how much profit Wexford

makes on the healthcare contract. [Tr. T. Brunk.]




                                                         193
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 342 of 409 PageID #:14111




         629.   Defendants do monitor certain aspects of Wexford’s compliance with the 2011

contract through the monthly “contract monitoring reports” prepared by the facility HCUAs. As

the Puisis Report notes, these do not concern aspects of clinical performance, and the HCUAs are

nurses who “are not able to monitor clinical care of physicians, including appropriateness of

referral, chronic care, and infirmary care.” [Puisis SR pp. 17-18.] “The contract monitoring on the

part of the state is inadequate,” in the opinion of the Second Expert team. [Id. p. 17.]

         630.   Rather than being tied to clinical performance, the “contract monitoring reports”

are tied to a series of “Performance Targets” in the contract. These “Performance Targets” require,

inter alia, “100% compliance with Staffing Schedules” and Schedule Es, “100% compliance” with

IDOC Administrative Directives, and “100%” performance of paying subcontractor bills within

60 days. [P18, Exhibit IV at 000466.]

         631.   Defendants’ monitoring even of these aspects of the contract through the

monitoring reports is imperfect. For calendar year 2017, for instance, 14 of IDOC’s then-

functioning 25 prisons failed to complete reports for at least one month; 11 missed at least two

months of reporting; and some prisons were much worse than that: Danville reported only 5 of 12

months; Logan missed 6 months; and Sheridan reported only 3 months out of 12. [Demonstrative

P547.]

         632.   Although the reports are supposed to track staff hours not provided by Wexford,

this data also is not always provided. Nevertheless, the reports catalog thousands of hours of staff

time Wexford was supposed to provide each contract year but did not. In addition to the long-

running staff vacancies reported in ¶¶ 58-95, above, just from the set of contract monitoring reports

provided to Plaintiffs relating to the eight prisons reviewed in 2014 by the First Expert team, the

following missing hours can be compiled:




                                                194
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 343 of 409 PageID #:14112




         •   In 2007, the only contract monitoring reports provided were from Hill (for
             July-December only, 4161.45 unfilled hours), and Pontiac (for July-August,
             October-December only, 2914.03 unfilled hours).
         •   In 2008, the only contract monitoring reports provided were from Pontiac
             (9385.03 unfilled hours), Logan (for January-May, July-December only,
             3026.43 unfilled hours).
         •   In 2009, the only contract monitoring reports provided were from Pontiac
             (10,005.25 unfilled hours), Dixon (9853.55 unfilled hours), Hill (for
             January-September only, 5720.33 unfilled hours), and Logan (for January-
             September only, 2724.75 unfilled hours).
         •   In 2010, the only contract monitoring reports provided were from Pontiac
             (4703.75 unfilled hours), and Menard (for April-June, August-October, and
             December only, 2545 unfilled hours).
         •   In 2011, the only contract monitoring reports provided were from Pontiac
             (for June, July, and September only, 4030.2 unfilled hours), and Menard (for
             January-May and December only, 2961 unfilled hours).
         •   In 2012, the only contract monitoring reports provided were from Menard
             (for January, May, June, and October-December only, 3193.65 unfilled
             hours), and Pontiac (for January-July, September, and November-December
             only, 3076.02 unfilled hours), and Illinois River (for June and November
             only, 1511.08 unfilled hours).
         •   No contract monitoring reports for the Shansky-reviewed prisons from 2013
             were provided.
         •   In 2014, the only contract monitoring reports provided were from Menard
             (8053.45 unfilled hours), Hill (for January-September, November-
             December only, 7899.49 unfilled hours), Pontiac (January-April, June-
             September, November-December only, 5089.05 unfilled hours), and
             Stateville (for January-March only, 3154.75 unfilled hours).
         •   In 2015, the contract monitoring reports provided were from Hill (10,783.57
             unfilled hours), Menard (8586.46 unfilled hours), Dixon (for June-
             December only, 3200 unfilled hours), Stateville (for July-November only,
             2842.5 unfilled hours), Pontiac (for February-April and June-July only,
             1677.65 unfilled hours), and Logan (for July only, 832.55 unfilled hours).
         •   In 2016, the contract monitoring reports provided were from Dixon
             (12,433.02 unfilled hours), Menard (10,719.83 unfilled hours), Hill
             (January-March, May-December only, 9243.31 unfilled hours), Pontiac (for
             June-December only, 8222.05 unfilled hours), Stateville (for January-
             March, May, July, and September-December only, 4830.81 unfilled hours),
             and Illinois River (for June-August and October-November only, 3967.59
             unfilled hours).
         •   In 2017, the contract monitoring reports provided were from Pontiac
             (26,474.52 unfilled hours), Dixon (23,330.08 unfilled hours), Hill (12,434.6
             unfilled hours), Stateville (8834.35 unfilled hours), Menard (for January-
             September only, 7860.01 unfilled hours), Illinois River (for January, March,
             June, and August only, 2120.1 unfilled hours), and Logan (for February
             only, 1338.5 unfilled hours).


                                             195
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 344 of 409 PageID #:14113




           •   In 2018, the contract monitoring reports provided were for May-June only,
               from Pontiac (May-June, 7015.38 unfilled hours), Stateville (for June only,
               1649.1 unfilled hours), Hill (1514.55 unfilled hours), Dixon (for May only,
               1182.35 unfilled hours), 56 Menard (for June only, 478.45 unfilled hours).

       633.    In many cases, the reports also contain comments from the HCUAs. In the

December 2017 contract monitoring report for Hill CC, for instance, the HCUA wrote, inter alia:

       NP [nurse practitioner]—vacant 2 years this June—Wexford Regional manager not
       providing sufficient staffing to fulfill AD requirements. Lack of hours for NP and
       MD creating dangerou[s] and unsafe work environment. Backlog MD sick call,
       follow up furloughs, physicals, and clinics. Waiting time for [nurse sick call]
       referrals up to one month.

                                                ****

       A pattern of non compliance in all areas due to continued staffing deficiencies and
       lack of accountability. This continued non-compliance has created an unsafe health
       care environment. Potential legal rammifications are grave concern. Grievances have
       doubled.

                                                ****

       [R]econcilation of hours not done since March 2017. Taking up enormous amount
       of HCUA and BA time to go back and reconcile months later.

[G159.]

       634.    The 2011 contract permits “performance adjustments” to be made for failures to

comply with the requirements of Exhibit IV, including the requirement of 100% compliance with

the staffing schedules. [P18 §§ 3.9-3.9.3.] Other provisions of the contract permit suspension of

payment to the vendor for non-performance. [Id. §§ 3.8.7, 3.8.9.]

       635.    Over the years, Defendants and their employees have repeatedly complained about

Wexford’s failures and asked what could be done.




56
  It is impossible to determine how many Dixon hours were unfilled in June 2018 due to an error on the
report.


                                                 196
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 345 of 409 PageID #:14114




       636.       In March 2006, IDOC sent a letter to Wexford relaying IDOC’s “serious concerns

. . . with respect to the failure of Wexford Health [ ] to meet the staffing needs of the Correctional

Centers covered under the health care contract effective December 17, 2005.” [P502.] “[T]he

vacancy rate,” the letter states, “for key positions at many facilities remains unacceptable.” [Id.]

Two years later, in June 2008, IDOC wrote another letter to the same effect: “[The] Agency

Medical Director, has identified ten sites as having critical vacancies . . . [V]acancies for these key

positions at the facilities listed above remains unacceptable.” [P503.]

       637.       In June 2012, the state was writing Wexford again, this time about Administrative

Directive violations at Hill and Menard, and the lack of a Menard medical director. [P504.]

       638.       Over time, Defendants’ employees have asked whether something could be done—

specifically, if penalties could be imposed. In August 2015, the HCUA at Jacksonville CC wrote

to Dr. Shicker describing ongoing problems with chronic clinics and sick call due to lack of a

doctor: “Jacksonville is going to request penalties on Wexford due to low coverage of practitioner

hours. Who do we send the letter to- is it to go to you?” Shicker responded, “Even though I cannot

institute penalties I have been notifying my supervisors of the severe vacancy problem and the

lack of coverage. They must make that call. In all my years here I have never seen a penalty

imposed.” [P435.]

       639.       Charlie Weikel, in the Office of the Governor, sent the following information

compiled by another member of the OG to Director Baldwin, as follows:

       Charlie,

       I attached a spreadsheet with data for the Wexford contract analysis.

       Here are some interesting points for the reports/ violations:

        1.        Out of the 27 facilities, we have 70 of the 189 monthly reports.




                                                 197
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 346 of 409 PageID #:14115




               -> Some sheets were inaccessible— this number should be higher if we
               check in with IDOC.
        2.     Of the 153 reported violations, 90 (58. 8%) were related to not having
               enough staff hired/ not having enough people to cover shifts.
        3.     There were 27 reports of violating administrative directives— which means
               that IDOC issued policy/ directive and Wexford did not comply.
        4.     The contract mentions performance metrics multiple times, but these reports
               lack performance metrics.
               -> Implementing better metrics might be a good first step.
        5.     There are 8 cases of Wexford not paying the subcontractor, which should
               result in a $1000 per day/ bill fine.

      I think that if we kept digging, more would come up. If you have any ideas on what
      else I should look into for this, let me know.

      Best,
      T. J. Galullo

Baldwin’s response to Weikel: “Thanks. Good info. Lots to improve upon.” [P91.]

       640.    Defendants have mused for years about holding Wexford accountable. In August

2011, a state employee, Eric Dailey of the Department of Healthcare and Family Services, wrote

Shicker and then-IDOC CFO Brian Gleckler: “We are aware that there are vacant healthcare

position—vacant Wexford positions, to be precise. Also, HFS desires to hold Wexford accountable

. . . I think if we wait any longer, we send the wrong message to Wexford. . . ” Shicker responded:

       . . . I don’t think we can compare the State not filling its vacant positions to the
       Vendor not filling its obligations. I am deeply embarrassed by the State vacant
       positions but that is the State’s prerogative. The Vendor was hired for a specific
       purpose and we spent a lot of time discussing accountability . . .[L]ittle progress has
       been made since May and I fear it will get worse when they take over the four other
       sites. The reason I harp on vacancies is that good staffing levels clearly affect overall
       performance.

The subsequent emails in the chain, between Dailey and CFO Gleckler, discuss imposing monetary

penalties under Section 3.9 of the contract. [P468; emphasis added.]

       641.    In August 2015, the HCUA at Pinckneyville complained:

       Dr. Shah has been missing work related to several lawsuits this has put us behind
       on what needs done here. Wexford is saying they do not have to make the hours up.



                                                 198
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 347 of 409 PageID #:14116




       They feel we should pay for his court appearances as contract hours. . . I don’t feel
       we should be short hours because Wexford sends him to 10 different prisons and he
       is sued from multiple sites. . . . The suits will only increase as the denials increase .
       ..

RTP#5_ESI 52469] As her message made it up the chain, the GC wrote to CFO Brunk, “Legal

will be working . . .to hold them more accountable on the medical side of things,” with regular “to

discuss staffing.” “Thanks,” replied Brunk. “Whatever is needed from fiscal, just let us know.”

[P465.]

       642.    In September 2015, a sharp email from IDOC Deputy Director David Gomez to

Wexford’s Cheri Laurent about the consequences of vacancies at Hill CC (“At a minimum this is

going to be a facility audit finding but more importantly, what does this say about the service/care

that is not being provided to the offender population?”) evolved into an internal IDOC discussion,

between Gomez, IDOC CFO Brunk, and Dr. Shicker about what to do about it. [P44.] The

recommendation from CFO Brunk was to file a vendor complaint form. [Id.]

       643.    A whole series of forms were subsequently prepared in October (Danville CC—

“Medical Director Vacancy—Since October 31st, 2014; Decatur CC—“Vacancy of Dentist . . .”;

Dixon CC—“Physician’s Assistant Vacancy,” coupled with chronic clinic backlogs; Graham

CC—chronic clinic and physicals backlogs as well as “Vacancy of a Part Time Dentist” and

“Physician Assistant on Leave of Absence (No addition[al] coverage provided to make up for

this)”; Hill CC—chronic clinic and nurse sick call backlogs, “220 Follow Ups are also past due,”

and “Vacant Nurse Practitioner,” “Medical Director (On vacation in August because of being ILL

(No coverage what so ever was provided in his absence”; Illinois River CC—“Medical Director

Vacancy” but here, “Update: This was resolved . . .”; Logan CC—“Medical Director Vacancy,”

“Full Time Nurse Practitioner Vacancy”; Menard CC—backlogs in chronic clinic, physicals,

dental, optometry, MD call line and MD backlogs; “1 & ½ MD Vacancies,” “NP/PA—1 on Leave



                                                 199
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 348 of 409 PageID #:14117




of Absence (No backup provided),” “1 Dentist Vacancy”; Pontiac CC—“Vacancy of Part Time

Nurse Practitioner,” “Vacancy of Full Time Dentist”; Robinson CC—“Vacancy of Site Medical

Director”; etc.)—there were 17 forms in all, also covering Shawnee CC, Southwestern Illinois

CC, Stateville CC, NRC, Taylorville CC, Vandalia CC, and Vienna CC. [P45.]

        644.      In September 2015, Defendants formed a subcommittee which made a serious

effort to consider how to review Wexford’s performance. [P50.] However, contract monitoring

has not changed.

        645.      In his October 2015, in his summary of recommendations of the “RFP Sub-

Committee,” Dr. Shicker observed, “We will need language on how to effectively deal with

vacancies . . .” [Exh. 481.]

        646.      --------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

------------------------------------------------------------------------------------------------

        647.      Despite these intermittent discussions of penalties, Defendants have never

penalized Wexford during the course of the 2011 contract. [Tr. T. Brunk.]

        648.      --------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

--------------------------------------------------------------------------------------------------------------------

----------------------------------------

        649.      Defendants’ fiscal management of the Wexford contract actually ends up rewarding

Wexford for its failures.




                                                        200
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 349 of 409 PageID #:14118




       650.    Under the 2011 contract, the contract “Schedule Es” for each prison, which

includes the amounts to be paid for staff plus population base amount, add up to an annual dollar

amount. Wexford is paid in advance for each month, on a facility-by-facility basis. That is, if the

contract provides that, for a particular year, Wexford is to be paid $[x] for facility [y], 1/12th of

$[x] for its contractual obligations at facility [y] is due on the 1st of the previous month. [P18 §

3.1.1.1.]

       651.    Thereafter, on a quarterly basis, the contract provides that the amounts already paid

to Wexford for that quarter are to be “reconciled” on a facility-by-facility basis. [P18 § 3.1.1.2.]

The reconciliation process consists of (i) calculating how many staff hours Wexford actually

provided at that facility for each month during the quarter, as against the number of hours it was

supposed to provide, and multiplying either missing hours, or hours provided over the contract

requirements (e.g., as a result of an ASR) by the dollar amounts listed for each position on the

Schedule Es, and either subtracting or adding that amount, as applicable, from or to the monthly

payment; (ii) multiplying the per capita population amount by the actual population count for the

facility for the month in question, and either subtracting or adding that amount, as applicable, from

or to the monthly payment; and (iii) calculating the reimbursement due Wexford for any equipment

or supply purchases during the month. The resulting amount is either (if more) added to a

subsequent payment to Wexford or, (if less than already paid) taken as a credit by the facility

against a future payment. [Id.; P140; P43; P47; P140; P194-P197; P202; P204; P206; P208; P210-

P212; P338-P362; P387-P394; P396-P403; P455.]

       652.    The reconciliations are supposed to be completed within 60 days of the end of the

previous quarter. P18 § 3.1.1.2.]




                                                201
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 350 of 409 PageID #:14119




       653.    Since Wexford has never in the course of the contract supplied all the staff hours it

is supposed to provide, and payment for staff hours is the largest component in the monthly 1/12th

payments due, if payment is made, Wexford is almost always paid more than it is owed. In

addition, under the contract, at best the reconciliations do not happen until 2-3 months after the

fact, and they can be delayed for sixty days thereafter. In reality, the reconciliations are often much

more delayed than that, enabling Wexford to keep money it has not earned for months or years.

       654.    The reconciliations are done at the facility level, and there is no central office

auditing of whether they are correct.

       655.    In fiscal years 2016 and 2017, the state of Illinois was without a budget due to

conflicts between the Governor and the legislature. During that period, Wexford was paid late or

not paid at all. The reconciliation process for Wexford bills was suspended by IDOC, so to the

extent that it was paid it was able to retain unearned funds for an even more extended period than

usual. Wexford also benefited in two additional ways from the budget crisis:

       656.    First (and this is always true if payments were more than 90 days past due), it

accrued “Prompt Payment Act” interest on the unpaid invoices at a rate of 1% per month (12%

annually). If the invoices were unreconciled (as they were during this period), this interest accrued

on amounts almost always larger than Wexford was owed. These amounts are not insubstantial—

in FY15, Wexford was paid over $520,000.000 in prompt pay interest. [P465.]

       657.    Second, during the state budget crisis, Wexford was able to participate in the state

“factoring” program, under which the state arranged for lenders to pay unpaid vendors with unpaid

state bills as security. Wexford opted to have some (not all) of its unpaid bills entered into the

factoring program. It continued to accrue prompt pay interest on the other bills. Under the terms

of the factoring contracts, Wexford received 90% or 88% of the amounts due based on the invoices




                                                 202
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 351 of 409 PageID #:14120




from the lending company. The lending company in its turn collected the prompt pay interest until

the bills were paid. When the lending company was paid, the vendor whose bills had not been paid

would receive the 10% or 12% (in Wexford’s case) that had it had not previously received, and

the factoring company would retain the prompt pay interest.

       658.     90% or 88% is higher than the Wexford “fill rate” for employees during most of

the relevant period.

       659.     The Wexford invoices in question had not gone through the reconciliation process

and a special letter required by at least one factoring company and signed by IDOC officials

committed the state to pay the full face amount of the invoices without any discounts due to

reconciliations. The letter stated that:

       IDOC will take all necessary steps to ensure that full payment of each of the
       Receivables, together with payment of the interest payable with respect thereto
       pursuant to the Prompt Payment Act, and without deduction for any offset or other
       contractual rights against Vendor . . .

[P247 at 0319590.]

       660.     Among the consequences of this were that (1) the state paid interest to the factoring

company on amounts not actually due, since the invoices had not been reconciled, and (2) when

the factoring company was paid by the state and Wexford received the 10% or 12% it had not

previously received under the factoring contract, it received excess funds not due to it, since

Wexford had never provided 100% of the staff required of it under the contract.

       661.     Defendants have no explanation of their long delays in reconciling Wexford

payments.


XXIV. PROPOSED CONCLUSIONS OF LAW




                                                203
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 352 of 409 PageID #:14121




        662.    The Eighth Amendment prohibits the “unnecessary and wanton infliction of pain”

through “deliberate indifference to serious medical needs of prisoners.” Estelle v. Gamble, 429

U.S. 97, 104 (1976) (citation omitted).

        663.    “To determine if the Eighth Amendment has been violated in the prison medical

context, [courts] perform a two-step analysis, first examining whether a plaintiff suffered from an

objectively serious medical condition, and then determining whether the individual Defendant was

deliberately indifferent to that condition.” Petties v. Carter, 836 F.3d 722, 727-28 (7th Cir. 2016),

as amended (Aug. 25, 2016), cert. denied, 137 S. Ct. 1578 (2017); see also Greeno v. Daley, 414

F. 3d 645, 653 (7th Cir. 2005). These two steps are commonly known as the “objective” component

and the “subjective” component. Greeno, 414 F.3d at 653.

        664.    The Defendants’ conduct satisfies both prongs of the analysis. They have been and

continue to be deliberately indifferent to the serious medical needs of the plaintiffs in violation of

the Eighth Amendment.

       R.       Objective Component—Serious Medical Needs And Conditions Causing
                Harm

        665.    By definition, all members of the plaintiff class have serious medical or dental

needs. [Dkt. 534 (certifying “a class of all prisoners in the custody of the Illinois Department of

Corrections with serious medical or dental needs.”).] As the Court previously held, the named

plaintiffs have specific serious medical needs “that are generally representative of” those suffered

by the class. [Id. p. 16.]

        666.    The gross deficiencies in IDOC’s health care system have caused and continue to

cause serious and unnecessary harm to the plaintiff class and expose them to the continuous risk

of such harm. See Helling v. McKinney, 509 U.S. 25, 33 (1993) (“[T]he Eighth Amendment protects

against future harms to inmates” and a “remedy for unsafe conditions need not await a tragic event”).



                                                 204
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 353 of 409 PageID #:14122




       667.    The court-appointed experts have both found major deficiencies in every aspect of

IDOC’s health care system that have harmed and pose a continuous risk of harm to the plaintiff

class. The named plaintiffs provide illustrative examples of the injuries result from Defendants’

deliberate indifference.

       668.    Both the First and Second Court-Appointed Experts found serious inadequacies in

the number of medical and dental staff. The Second Expert found that staff vacancies had worsened

in the four years since the First Expert Report. In addition, the IDOC-commissioned NRI report

concluded that numerous staff vacancies and leaves of absence were among the “operational

challenges . . . that are having a significant impact on the ability to provide timely and

constitutionally adequate health care” in IDOC. [P21 p. 9.] Both Court-Appointed Experts found

that leadership vacancies were especially critical. Understaffing affects virtually every area of care

and causes “immense harm to the inmates” with serious medical needs. Rasho v. Walker, 07-1298,

2018 WL 2392847, at *8 (C.D. Ill. May 25, 2018).

       669.    Both the First and Second Court-Appointed Experts also found serious

inadequacies in the quality of medical staff. Both the Shansky team and the Puisis team concluded

that the absence of physicians with primary care training resulted in avoidable harm to patients,

including mortalities. The Court finds that Defendants’ failure to staff their medical program fully

with qualified clinicians has caused serious medical harm to the plaintiff class, and subjects them

to an unreasonable, ongoing risk of serious medical harm.

       670.    Both the First and Second Court-Appointed Experts also found pervasive

deficiencies in clinic space, sanitation, and equipment. Space problems ranged designated space

being inadequately equipped to designated space providing no privacy or confidentiality during

the health care encounter. Some spaces lacked adequate equipment for medical or dental care




                                                 205
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 354 of 409 PageID #:14123




encounters. Sanitation was also alarmingly deficient. The concerns included exam tables and other

surfaces that were difficult or impossible to keep sterile, peeling paint and cracked tiles, lack of a

paper covering on exam tables that can be changed between patients, and failure to regularly clean

such surfaces. The IDOC-commissioned NRI report likewise found lack of basic supplies and

adequate facilities for health care within IDOC. Even outside the medical context, the Seventh

Circuit has recognized that “[a] lack of . . . sanitation can violate the Eighth Amendment” because

it is one of “life’s necessities.” Gillis v. Litscher, 468 F.3d 488, 493 (7th Cir. 2006). See also

Wheeler v. Walker, 303 Fed. Appx. 365, 368 (7th Cir. 2008) (allegations of unsanitary conditions

stated an Eighth Amendment claim); Johnson v. Epps, 479 Fed. Appx. 583, 590 (5th Cir. 2012)

(unsanitary practices in prison barbershop “pose an unreasonable risk of serious damage to

[plaintiff’s] future health” that is sufficient to state an Eighth Amendment claim). Unsanitary

facilities have “the manifest propensity to spread disease” and an “obvious likelihood of injury.”

Brown v. Mitchell, 308 F. Supp. 2d 682, 693 (E.D. Va. 2004). In the case of unsanitary medical

spaces, the risk is all the more obvious, because the prisoners who lie down on exam tables are the

most likely to have an infectious disease or be especially vulnerable to infection due to illness. The

Court finds that Defendants’ failure to provide adequate and sanitary clinical spaces and equipment

subjects the plaintiff class to an unreasonable, ongoing risk of serious harm.

       671.    Both the First and Second Court-Appointed Experts found poor quality medical

records in most facilities. In the words of Plaintiffs’ expert Dr. Stern, “The medical record is the

primary tool for the multitude of health professionals caring for a patient to communicate with one

another. The record must be complete and clear so that each user of the record can easily and

accurately determine what is already known about the patient and what care has already been

delivered to the patient.” [P551 p. 27.] Problems included missing Medication Administration




                                                 206
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 355 of 409 PageID #:14124




Records (MARs), disorganized filing, and inadequate or illegible clinician notes. The Second

Expert team also found access to records during healthcare encounters problematic, and concluded

that the paper record system in place in most IDOC facilities exacerbated the system’s other

problems in delivery of care.

       672.    The medical and dental reception process, including and especially Northern

Reception Center (NRC), through which most prisoners enter the system, is deficient. The system

is meant “to identify acute and chronic medical problems along with acute and chronic mental

health problems, as well as any potential communicable diseases and any other special needs.”

The First Expert team found that “problems with both the identification and follow through”

created “potential harm for the patients.” [Dkt. 339 pp. 12-13.] The Second Expert team concluded

that conditions had worsened at NRC. [Puisis NRC p. 3.] See Braggs v. Dunn, 257 F. Supp. 3d

1171, 1201 (M.D. Ala. 2017) (“Failure to identify those who need mental-health services denies

them access to necessary treatment, creating a substantial risk of harm to those who remain

unidentified.”) The Court finds that Defendants’ inadequate reception process subjects the plaintiff

class to an unreasonable, ongoing risk of serious medical and dental harm.

       673.    Access to most prison healthcare services occurs through nursing sick call. Both

the First and Second Court-Appointed Experts found that nursing sick call was inadequate in

various ways at every institution. Sick call was frequently conducted by LPNs, who do not have

the training to perform independent assessments. Problems with physical space, equipment, lack

of privacy, and record-keeping compounded other problems. Sick call was arbitrarily cancelled by

security staff. Sick call was not adequately logged. Timely access to physicians and other clinicians

was lacking. All of these deficiencies contribute to failures in identifying issues, incorrect

diagnosis and treatment, and/or treatment delays, subjecting patients to an increased risk of harm.




                                                207
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 356 of 409 PageID #:14125




The Court finds that Defendants’ inadequate sick call process subjects the plaintiff class to an

unreasonable, ongoing risk of serious medical and dental harm.

       674.    The Defendants’ chronic care program is also inadequate. Both the First and Second

Court Experts concluded that routine management of chronic illness throughout IDOC put

prisoners at risk Prisoners with chronic conditions are arbitrarily limited to visits on timetables that

may not correspond to the level of control of their disease. If a patient’s condition is not well

controlled, this practice can expose him or her to ongoing damage caused by inadequately

controlled chronic disease, which “leads to avoidable morbidity and mortality.” [Dkt. 339 p. 19.]

The practice of addressing only one chronic condition during a clinic visit caused fragmented and

potentially dangerous care. The IDOC-commissioned NRI Report articulated the same criticisms

of IDOC’s chronic care program. [P21 p. 12.] In addition, the Court-Appointed Experts found the

guidelines for disease management deficient. Some common chronic conditions are not addressed

at all. Finally, the Second Expert team found that the poor quality of physicians in IDOC

exacerbated the other deficiencies in chronic care. The Court finds that Defendants’ inadequate

care for patients with chronic conditions subjects the plaintiff class to an unreasonable, ongoing

risk of serious medical harm.

       675.    With respect to unscheduled urgent or emergent care, both the First and Second

Court-Appointed Experts found breakdowns at virtually every step of the process. Medical

personnel failed to identify serious problems that required emergency, off-site treatment or urgent

on-site treatment. Patients returned from hospital visits without appropriate documentation of what

happened during the visit or what treatment is required. Patients did not receive prompt follow-up

visits after they returned from a hospital visit, and did not thereafter receive recommended

treatment. All of these issues were exacerbated when medical personnel did not maintain adequate




                                                 208
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 357 of 409 PageID #:14126




logs tracking patients through the process. Consequences included preventable morbidity and

mortality. The Court finds that Defendants’ failure to provide adequate urgent and emergent care

subjects the plaintiff class to an unreasonable, ongoing risk of serious medical and dental harm.

       676.    Both the First and Second Court-Appointed Experts found similar failures with

respect to scheduled, off-site consultations and procedures and other “specialty” care. In the

opinion of the Second Expert, the Wexford system of “collegial review” constitutes an ongoing

hazard to patient health and safety. Specialty services were underutilized due to the poor quality

of practitioners; follow-up on return to the prisons was inadequate. The consequences of the poor

specialty care system included preventable deaths. The Court finds that Defendants’ inadequate

system for patients needing specialty care subjects the plaintiff class to an unreasonable, ongoing

risk of serious medical harm.

       677.    Both the First and Second Court Experts found serious deficiencies with regard to

policy, practice and physical plant issues in IDOC infirmaries. These included “numerous

examples of patients who were admitted to the infirmary with potentially or actually unstable

conditions which should have been referred to a higher level of care (i.e., outside hospital).” [Dkt.

339 pp. 32-33.] The physical plants and equipment are inadequate and pose risks to medically-

compromised patients. Deficiencies in nursing staffing and clinician quality also pose risks to the

infirmary patients. The Court finds that Defendants’ infirmary conditions and infirmary policies

subject the plaintiff class to an unreasonable, ongoing risk of serious medical harm.

       678.    The Second Court-Appointed Expert also found serious deficiencies in IDOC

medication administration, which appeared to have worsened in the four years since the Shansky

Report. Problems in the ordering and administration of medications, incomplete record-keeping,

prescription processes that do not conform to state law, and poor hygiene posed pervasive risks to




                                                209
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 358 of 409 PageID #:14127




patients. The Court finds that Defendants’ inadequate medication administration processes subject

the plaintiff class to an unreasonable, ongoing risk of serious medical harm.

        679.    Both the First and Second Court-Appointed Experts found pervasive problems in

IDOC infection control. Inadequate staffing of infection control positions and a lack of consistent

oversight resulted in multiple deficiencies ranging from poor sanitation of infirmary linens,

medical and dental equipment, and many healthcare spaces to failure to track infection data or

maintain negative pressure rooms in prison infirmaries. The Second Expert also found that the

management of tuberculosis and hepatitis C were inadequate. The Court finds that Defendants’

inadequate infection control subjects the plaintiff class to an unreasonable, ongoing risk of serious

harm.

        680.   Both the First and Second Court-Appointed Expert found comprehensive

deficiencies in the dental program. Dental screening at intake was inadequate. There was poor

disinfection and clinician hygiene between patients. Routine care did not include important

examinations, assessments, and planning. Dental extractions were performed without documented

diagnostic reasons. There were inadequate protocols, equipment, staffing, sanitation, and

management. Patients suffered unnecessary pain as urgent pain treatment was unacceptably

delayed. No peer review system for dentists was in place, and the Second Expert found that staffing

had deteriorated. The Court finds that Defendants’ inadequate dental program subjects the plaintiff

class to an unreasonable, ongoing risk of serious harm.

        681.   Both the First and Second Court-Appointed Experts found a seriously deficient

continuous quality improvement program (CQI). The deficiencies affected both medical and dental

CQI. The quality improvement program had no means to improve quality of healthcare. Both

Experts’ mortality reviews found high rates of serious lapses in care during the course of deaths,




                                                210
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 359 of 409 PageID #:14128




but the internal mortality review process had identified none of them and was dysfunctional. The

CQI program also failed to use any standards by which to measure quality, and failed to evaluate

clinicians or clinical quality, which contributes to preventable morbidity and mortality. The Court

finds that Defendants’ inadequate continuous quality improvement program and mortality review

subjects the plaintiff class to an unreasonable, ongoing risk of serious harm.

       S.       Subjective Component—Deliberate Indifference To Serious Medical Needs
                And To Risk Of Harm Posed By Health Care Deficiencies

       682.     The subjective component of the analysis requires a plaintiff to show that

Defendants “actually knew of and disregarded a substantial risk of harm.” Petties v. Carter, 836

F.3d 722, 728 (7th Cir. 2016), as amended (Aug. 25, 2016), cert. den., 137 S. Ct. 1578 (2017). In

Petties, the court explained that the subjective requirement of deliberate indifference does not

require proof of actual intent to harm. Id. at 728 (“Rarely if ever will an official declare, ‘I knew

this would probably harm you, and I did it anyway!’ Most cases turn on circumstantial evidence

…”). The Petties court discussed the many ways that deliberate indifference can be established in

individual cases. Many of these also apply here, including continuing in a harmful course of

conduct; treatment decisions that constitute a “substantial departure from accepted professional

judgment, practice, or standards”; failing to follow an existing protocol; persisting in a course of

treatment known to be ineffective; and inexplicable delay in treatment which serves no penological

interest. Id. 729-30.

       683.     “[T]he Eighth Amendment protects prisoners not only from a prison[’s] . . . deliberate

indifference to a prisoner’s current serious health problems, but also from . . . deliberate indifference

to conditions posing an unreasonable risk of serious damage to the prisoner’s future health.” Henderson

v. Sheahan, 196 F.3d 839, 846-47 (7th Cir. 1999)




                                                  211
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 360 of 409 PageID #:14129




       684.       “The Seventh Circuit has recognized that systemic deficiencies in a prison’s health

care facility” may constitute deliberate indifference. Rasho v. Walker, 07-1298, 2018 WL

2392847, at *18 (C.D. Ill. May 25, 2018) (citing Cleveland-Perdue v. Brutsche, 881 F.2d 427,

430-31 (7th Cir. 1989)). Deliberate indifference exists when “there are such systemic and gross

deficiencies in staffing, facilities, equipment, or procedures that the inmate population is

effectively denied access to adequate medical care.” Id. (quoting Wellman, 715 F.2d at 272).

Moreover, “a prison official's failure to remedy systemic deficiencies in medical services . . .

constitute(s) deliberate indifference to an inmate's medical needs.” Id. (quoting Cleveland-Perdue,

881 F.2d at 431). See also Coleman v. Wilson, 912 F. Supp. 1282, 1304 (E.D. Cal. 1995) (finding

deliberate indifference where “Defendants have known for years of the gross deficiencies in the

provision of mental health care to inmates . . ., and that they have failed to take reasonable steps

to avert the obvious risk of harm to mentally ill inmates that flows from the failure to remedy those

deficiencies.”)

       685.       In this case, nearly every aspect of Defendants’ medical and dental programs has

serious deficiencies that subject inmates to an unreasonable risk of serious harm. At the very latest,

the Defendants knew of all of these deficiencies by December 2014, when Dr. Shansky produced

his report and made recommendations for addressing the many significant problems he found.

Even before that, however, many of these issues had been documented and brought to Defendants’

attention. The John Howard Association of Illinois (JHA) reported on the lack of medical staff and

a host of other healthcare problems in Illinois prisons. Defendants receive and review these reports.

In addition, the 2016 IDOC-commissioned NRI report identified many of the same deficiencies in

healthcare found by the First and Second Court-Appointed Experts. Finally, Defendants’ own




                                                 212
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 361 of 409 PageID #:14130




employees have repeatedly complained of the deficiencies in the healthcare system and the risks

it poses.

        686.   The Defendants have not reasonably responded to the dangerous inadequacies in

their medical system. Even the deficiencies they committed to fix in 2014, after the Shansky

Report, have remained unremedied. They have failed to implement their own initiatives to improve

IDOC medical and dental care, or to exercise oversight or control of the healthcare vendor although

they know that such oversight and control is needed.

        687.   As in Rasho, “Defendants have been aware of these deficiencies for an

unreasonable period of time, and their failure to address these deficiencies amounts to deliberate

indifference.” Rasho v. Walker, No. 07-1298, 2018 WL 2392847, at *20 (C.D. Ill. May 25, 2018),

citing Wellman v. Faulkner, 715 F.2d 269, 272 (7th Cir. 1983).

        688.   To the extent that Defendants have taken action on these issues, such action has

been wholly insufficient, especially in light of the severe injury already inflicted on the plaintiff

class and the ongoing risk of harm to which they are subjected daily. See Indiana Protection and

Advocacy Services Commission v. Commissioner, Indiana Department of Corrections, 2012 WL

6738517 (S.D. Ind. 2012)( “deliberate indifference to a serious medical need may be manifested

by ‘woefully inadequate action’ as well as no action at all”); Coleman v. Wilson, 912 F. Supp.

1282, 1319 (E.D. Cal. 1995) (“patently ineffective gestures purportedly directed towards

remedying objectively unconstitutional conditions do not prove a lack of deliberate indifference,

they demonstrate it”). Such inadequate responses are not “reasonable measures to abate” identified

risks of serious harm. Farmer v. Brennan, 511 U.S. 825, 827 (1994).




                                                213
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 362 of 409 PageID #:14131




       689.     The Court finds that the Defendants have been aware of staffing deficiencies for

an unreasonable period of time, and their failure to address these deficiencies amounts to deliberate

indifference.

       690.     The Court finds that the Defendants have been aware of deficiencies in provider

quality for an unreasonable period of time, and their failure to address these deficiencies amounts

to deliberate indifference

       691.     The Court finds that the Defendants have been aware of deficiencies in clinic

space, sanitation and equipment for an unreasonable period of time, and their failure to address

these deficiencies amounts to deliberate indifference.

       692.     The Court finds that the Defendants have been aware of deficiencies in medical

records for an unreasonable period of time, and their failure to address these deficiencies amounts

to deliberate indifference.

       693.     The Court finds that the Defendants have been aware of deficiencies in the

reception process for an unreasonable period of time, and their failure to address these deficiencies

amounts to deliberate indifference.

       694.     The Court finds that the Defendants have been aware of deficiencies in nursing

sick call for an unreasonable period of time, and their failure to address these deficiencies amounts

to deliberate indifference.

       695.     The Court finds that the Defendants have been aware of deficiencies in chronic

disease management for an unreasonable period of time, and their failure to address these

deficiencies amounts to deliberate indifference.




                                                214
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 363 of 409 PageID #:14132




       696.    The Court finds that the Defendants have been aware of deficiencies in urgent and

emergent care on site and off site for an unreasonable period of time, and their failure to address

these deficiencies amounts to deliberate indifference.

       697.    The Court finds that the Defendants have been aware of deficiencies in scheduled

offsite services and other “specialty” care for an unreasonable period of time, and their failure to

address these deficiencies amounts to deliberate indifference.

       698.    The Court finds that the Defendants have been aware of deficiencies in infirmary

care for an unreasonable period of time, and their failure to address these deficiencies amounts to

deliberate indifference.

       699.    The Court finds that the Defendants have been aware of deficiencies in infection

control for an unreasonable period of time, and their failure to address these deficiencies amounts

to deliberate indifference.

       700.    The Court finds that the Defendants have been aware of deficiencies in dental care

for an unreasonable period of time, and their failure to address these deficiencies amounts to

deliberate indifference.

       701.    The Court finds that the Defendants have been aware of deficiencies in continuous

quality improvement for an unreasonable period of time, and their failure to address these

deficiencies amounts to deliberate indifference.

       T.      Conclusion

       702.    Virtually every aspect of the IDOC medical and dental system presents multiple,

pervasive deficiencies that have caused serious injury to members of the plaintiff class and subject

them to ongoing, substantial risk of harm. The Defendants have been aware of these deficiencies

for years, and have been deliberately indifferent to them by failing to take adequate measures to




                                                215
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 364 of 409 PageID #:14133




address them. The Defendants have violated and continue to violate the Eighth Amendment rights

of the plaintiff class.



DATED: November 16, 2018                           Respectfully submitted,

                                                   By: /s/ Camille E. Bennett
                                                   One of Plaintiffs’ attorneys

 Alan Mills                                        Benjamin S. Wolf
 Uptown People’s Law Center                        Camille E. Bennett
 4413 North Sheridan                               Lindsay S. Miller
 Chicago, IL 60640                                 Roger Baldwin Foundation of ACLU, Inc.
                                                   150 N. Michigan Ave., Ste. 600
                                                   Chicago, IL 60601

 Harold C. Hirshman
 Dentons US LLP
 233 S. Wacker Drive, Ste. 5900
 Chicago, IL 60606




                                             216
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 365 of 409 PageID #:14134




                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that on November 16, 2018, she caused a copy of
the above and foregoing PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF
LAW (REDACTED) to be served on all counsel of record via the Court’s electronic filing
system (CM/ECF):




                                                   /s/ Camille E. Bennett




                                             217
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 366 of 409 PageID #:14135




                    THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 DON LIPPERT, et al.,                    )
                                         )
                    Plaintiff,           )       No. 10-cv-4603
                                         )
       v.                                )       Judge Jorge L. Alonso
                                         )       Magistrate Judge Susan E. Cox
 JOHN BALDWIN, et al.,                   )
                                         )
                    Defendants.          )

                         FINAL PRETRIAL ORDER
            EXHIBIT 9—DEFENDANTS’ PROPOSED FINDINGS OF FACT
                        AND CONCLUSIONS OF LAW
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 367 of 409 PageID #:14136




   I. Findings Of Fact

            A. Statewide IDOC Summary Report

       1.      Leadership: In regards to health care leadership, the court appointed expert found

that “[t]here have been staffing increases, particularly at NRC and SCC…” Statewide, p.10.

Overall, “[t]he HCUA leadership staff at all five facilities was very good.” Statewide, p. 10. “With

respect to facility leadership, administrative supervision by HCUAs at individual facilities has

improved since the First Court Expert’s visit. The IDOC HCUAs are responsible for administrative

operational supervision of each facility. Of the 26 HCUA positions, all but one is now

filled. . . HCUAs were all competent and were engaged in solving administrative problems, even

though some problems appeared unrecognized. This is one of the most significant and positive

advances since the First Court Expert’s report and is a strength that the program can build on.”

Statewide, p. 18.

       2.      Statewide Use of UIC Medical Services: The court appointed expert notes that

“[t]he First Court Expert did not address services provided by University of Illinois at Chicago

(UIC). UIC provides laboratory services statewide. We found no problems with laboratory services

at any facility we visited. UIC also provides HIV and some hepatitis C services via telemedicine

statewide. Everyone we spoke with spoke of the high quality of these services. All patients with

HIV are scheduled for care by UIC clinicians. The First Court Expert found that coordination of

care between UIC and IDOC providers could be improved. We agree, but found that overall when

patients are referred, care was of very good quality.” Statewide, p. 29.

       3.      “The UIC medical school correctional program is a significant resource that has

potential to provide qualified physicians to the IDOC correctional medical program. The UIC

School of Medicine has a subsidiary school of medicine in Rockford which has a significant



                                                 2
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 368 of 409 PageID #:14137




primary care program. The Southern Illinois School of Medicine is also a potential significant

resource which is close to many of the southern Illinois prisons. As we will discuss later in the

recommendations, we believe that the UIC program or some combination of state affiliated

medical school programs can be the basis for improving physician quality in the IDOC system of

care.” Statewide, p. 30.

       4.      Intrasystem Transfer: “Overall, we find that the timeliness of medical screening

following transfer has improved…” Statewide, p. 44. “At Dixon, the process has improved since

the previous Court Expert’s report. All transferred inmates are brought to the dispensary upon

arrival at DCC. Registered nurses review the transfer summary, take vital signs, and conduct a

brief screening interview to identify any immediate medical needs and reconcile prescribed

medications so that treatment can be continued. Each inmate receives an individual explanation

from the nurse about how to request health care attention for urgent and routine medical needs.

The next day these inmates are seen again by nurses, who complete a lengthier interview using the

intake screening questions and review the medical record. At this encounter, the nurse ensures the

problem list is up to date, completes any screening not done at intake, and identifies any pending

referrals or appointments. Inmates who have chronic diseases are enrolled in chronic care clinic,

and medication, treatments, and labs are ordered. At this second encounter, the nurse answers any

questions and confirms the inmates’ understanding of how to request care, procedures to receive

KOP and pill line medications, and obtain refills.” Statewide, p. 45.

       5.      Nursing: “There was overall compliance with timeliness of nursing admission

notes, which were consistently written at the time of admission, and the frequency of nursing

progress notes. Nursing progress notes were consistently entered no less than daily even when the

policy required only weekly notes.” Statewide, p. 68.



                                                 3
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 369 of 409 PageID #:14138




       6.      “Patients admitted to the infirmaries with less complicated conditions (post-op,

basic wound care, no assistance with ADL’s, etc.) were more likely to be adequately managed.”

Statewide, p. 73.

       6.      Nursing Sick Call: “At SCC, access to sick call is through a combination of a

written health request and sign-up system. Problems related to the frequency of sick call clinics

and custody’s failure to escort patients to clinic exam rooms have been resolved. Improvements

were noted with the standardization of exam room equipment and supplies, and availability of the

medical record at nursing encounters.” Statewide, p. 49.

       7.      “At Dixon, access to nurse sick call is through a written health request. Problems

related to confidentiality of sick call request forms have been resolved through installation of sick

call boxes on the housing units.” Statewide, p. 49.

       8.      “At LCC, our review showed some improvement from the previous Court Expert’s

report but other issues persist. To access sick call, inmates sign up for sick call on a sheet of paper

in the housing unit rather than submitting a written request with the nature of the complaint.”

Statewide, p. 49.

       9.      “At MCC, we found improvement with standardization. Our review found that

some of the problems with sick call described in the previous Court Expert’s report have been

resolved while other problems persisted. Positively, the rooms used by nursing staff to conduct

sick call are uniformly equipped and supplied. Many of the exam rooms have a Plexiglas door

which ensures auditory privacy during the sick call encounter.” Statewide, p. 50.

       10.     Chronic Care: “We found that the IDOC now uses a UIC HIV chronic care

guideline [which is an improvement from the first report].” Statewide, p. 51.




                                                  4
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 370 of 409 PageID #:14139




          11.   Dental Care Orientation Manual for Inmates: Overall, inmate orientation to

dental care has improved since the First Court Expert’s Report. While we concur with the First

Court Expert that the orientation handbook could benefit from additional information about access

to dental care, there was sufficient information provided about sick call in general for inmates to

access dental care. Furthermore, dentists provided relevant information during the NRC, LCC, and

MCC intake exams. Statewide, p. 110.

          12.   Dental Specialists: “Dental specialty referral has not changed materially since the

First Court Expert’s Report and remains adequate. We concur with the First Court Expert’s

findings. In addition, we identified current and additional findings as follows.” Statewide, p. 113.

“Several prisons have arrangements for local oral surgeons to provide care on site for less complex

procedures and transport prisoners to the oral surgeon’s practice for complex procedures. Other

prisons send all prisoners who require oral surgery care off site. Oral surgery consultations we

reviewed were appropriate, and appointments were made timely.” Statewide, p. 113.

          13.   Dental Extractions: “Our finding that [Dental] Extraction care is adequate

diverges from that of the First Court Expert which suggests that many of the previously identified

deficiencies have been remedied. Moreover, we identified current and additional findings as

follows.” Statewide, p. 109. “With few exceptions, extractions were informed by adequate

preoperative x-rays and were accompanied by signed consent forms. However, while the tooth to

be extracted was identified, the reason for the extraction was rarely noted. On the other hand, most

of the health history forms were not updated. Generally, patients with dental infections who were

prescribed antibiotics had the tooth extracted timely, that is within the therapeutic window of the

antibiotic (i.e., within 10 days – the duration of most of the antibiotic prescriptions).” Statewide,

p. 109.



                                                 5
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 371 of 409 PageID #:14140




              B. Dixon Report
        14.      Leadership: Dixon has a competent Health Care Unit Administrator Dixon, p.3.

“One significant change is that the State has filled the HCUA position with a very capable person.

She appears to have led changes that have resulted in improvements noted in this report. The

HCUA has been in her position since 2015. This person has provided leadership . . .” Dixon, p. 7.

        15.      Intrasystem Transfer and Sick Call: “[W]e find that the intrasystem transfer and

sick call processes have improved since the First Court Expert Report . . . ” Dixon, p. 2.

        16.      Nurse Sick Call and Intake: Since the first expert report, Dixon has established a

new intake process where inmate medical needs are being identified and reported by correctional

nurses and healthcare staff. Dixon, p. 3. Nursing sick call and overall access to healthcare has

improved since the first expert report. Dixon, p. 3.

        17.      “Boxes have been put in place to receive health care requests and these are picked

up daily. A log has been established. We found that sick call requests were timely triaged. Because

licensed practical nurses (LPNs) work in close proximity and under supervision of an RN, nursing

sick call now conforms to the Illinois Nurse Practice Act requirements. Sick call is no longer done

in the hall.”

        18.      Transfer of sick Inmates: “The previous Court Expert’s recommendation [in

regards to reception processing and intrasystem transfer] has been achieved. All transferred

inmates are brought to the dispensary upon arrival at DCC. Nursing staff (RNs) review the transfer

summary, take vital signs, and conduct a brief screening interview to identify any immediate

medical needs and reconcile prescribed medications so that treatment can be continued. Each

inmate receives an individual explanation from the nurse about how to request health care attention

for urgent and routine medical needs. The next day these inmates are seen again by nurses who

complete a lengthier interview using the intake screening questions and review the medical record.

                                                 6
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 372 of 409 PageID #:14141




At this encounter the nurse checks to make sure the problem list is up to date, completes any

screening not done at intake, and identifies any pending referrals or appointments. Inmates who

have chronic diseases are enrolled in chronic care clinic, and medication, treatments, and labs are

ordered. At this second encounter, the nurse answers any questions and confirms the inmates’

understanding of how to request care, procedures to receive KOP and pill line medications, and

obtain refills.” Dixon, p. 20.

         19.   Medication and Medical Equipment: “Emergency response equipment and

supplies [are] available, properly sealed, and maintained. Equipment is regularly checked. Mass

casualty drills are performed and are thorough. . .” Dixon, p. 4. Medication rooms were clean,

secured, and uncluttered. Medication refrigerators were well maintained. Narcotic counts were

accurate. Dixon, p.4.

         20.   Clinical Space: “[C]linical areas were generally clean. The negative pressure room

unit was functional and regularly inspected. Medical equipment is mostly regularly inspected.”

Dixon, p. 3.

         21.   “The telehealth room used for UIC HIV and hepatitis C care, renal specialty

consultation, and telepsychiatry is clean and adequately sized. The telehealth room is not shared

with the clinical providers and thus there is no competition for this space.” Dixon, p.10

         22.   “The location of a satellite nurse sick call room in a housing unit of the X building

maximizes the segregated patient-inmates’ access to sick call.” Dixon, p. 10.

         23.   “The negative pressure unit in the infirmary is regularly inspected. The unit was

fully functional. The unit has documented inspections on a weekly basis.” Dixon, p.10.

         24.   “In summary, the medical building was generally clean and organized . . .” Dixon,

p. 16.



                                                 7
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 373 of 409 PageID #:14142




       25.      Sanitation: Monthly safety and sanitation inspections and reports are being done

by the health care team at DCC. Dixon, p. 16. “The clinical areas in the medical building and in

the X building and the patient rooms in the infirmary, ADA unit, and the geriatric floor were

generally clean.” Dixon, p. 16.

       26.      Medical Records: “Since the First Court Expert’s report, MARs appear now to be

timely filed in the medical record. Three additional medical record staff have been added since the

First Court Expert’s visit in 2014, which has helped in this regard.” Dixon, p. 18.

       27.      Radiology: “Radiology services are inspected and current. Access to plain film x-

rays is acceptable and turnaround time is good.” Dixon, p.5.

       28.      “The Illinois Emergency Management Agency (IEMA) radiation safety inspections

and reports for the radiology units at DCC are current. The active x-ray equipment at DCC was

found to be in compliance with the Radiation Protection Act of 1990.” Dixon, p. 80.

       29.      “The access to plain film x-rays at DCC is acceptable.” Dixon, p. 80.

       30.      “The turnaround time for radiologist readings and return of the reports is good.”

Dixon, p. 80.

       31.      Dental Care: “Dental sterilization, safety, and disinfection has not changed

materially since the First Court Expert’s Report and remain adequate.” Dixon, p. 83-84. “The clinic

was neat and clean. Surface disinfection between patients was adequate and instruments were

bagged and stored properly.” Dixon, p. 83-84. “The clinic was neat and clean. Surface disinfection

between patients was adequate and instruments were bagged and stored properly. Dixon, p. 90.

“[O]ral surgery consultations with specialists appear to be adequate.” Dixon, p. 92.

             C. Logan Report




                                                 8
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 374 of 409 PageID #:14143




       32.      Leadership: “We were impressed by the enthusiasm and dedication to

improvement of the HCUA and the direction she has provided to the program.” – p. 7

       33.      Intake Process: “[W]e found that the physician assistant working in [the intake

clinic] performed very well. He was thorough and conscientious, and we were impressed with his

work.” – p. 3

       34.      Clinic Space, Sanitation, and Support Services: “Overall, the clinical areas at

LCC were clean, organized, and well maintained.” – p. 16.

       35.      “The infirmary was clean and organized.” – p. 5. “The infirmary beds were all

hospital beds in good condition with adjustable heights, heads, and legs. The three crisis room beds

were elevated concrete slabs with mattresses. The battery powered nurse call devices located in

the infirmary patient rooms were functional.

       36.      The crisis rooms were located in direct line of sight from the infirmary nursing

stations and did not have call devices.” – p. 9 “The 15-bed infirmary is located at the opposite end

of the medical building from the ambulatory care wing. The nursing station with an adjacent

medication/supply/equipment room is located at the beginning of the infirmary corridor. Four

patient rooms had two beds per room with a toilet in each two-person room. There were seven

single-bed rooms; three of these single person rooms were crisis/negative pressure rooms located

directly in front of the nursing station. Relatively new, excellent condition hospital beds with

adjustable heights and head and lower extremity sections were in all the single (non-crisis) and

two-person rooms. Nurse call devices were mounted on the walls next to each bed in the non-crisis

rooms; four were tested and found to be functioning. The infirmary nurse quickly responded to an

unannounced activated device.” – p. 14.




                                                 9
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 375 of 409 PageID #:14144




        37.        “The ambulatory care wing of the medical building has a centralized nurse station

and five private exam rooms, a telehealth room, an equipment storeroom, a phlebotomy room, and

two nurse offices. There is a centralized nursing station in the outpatient clinic area with an open

counter, two chairs, computer monitors, and supply cabinets. The station was clean and

organized.” – p. 10

        38.        “The [OB-GYN] exam rooms were generally clean and adequately organized.” –

p. 11

        39.        Radiology: “Radiology services are timely and there is no backlog. Access to this

service is good. Equipment appears to be in compliance with state regulations.” – p. 5. “The Illinois

Emergency Management Agency (IEMA) radiation safety inspections and reports for the

radiology units at LCC are current. The active x-ray equipment at LCC was found to be in

compliance with the Radiation Protection Act of 1990. The access to plain film x-rays at LCC is

good. The turnaround time for radiologist readings and return of the reports is good.” – p. 45. “It

was reported that there is not a waiting list for non-urgent onsite x-rays. Most x-rays are reported

to be taken within one to two days after receiving the order. Weekend and holiday requests are

completed on the next working day.” – p. 45. “In summary, the radiology services at LCC have

reasonable access to x-ray services and reasonable turnaround time of radiologist readings and

reports.” – p. 4

        40.        Infirmary: “Since the visit of the First Court Expert, LCC has implemented an

EMR system that addressed most of the deficiencies related to the poor organization of the former

paper medical record and the inability to find clinical information. A nurse call system has been

installed adjacent to all the non-crisis infirmary beds. Vital signs are regularly taken.” – p. 46. “The




                                                  10
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 376 of 409 PageID #:14145




infirmary was clean and organized. . . . Vital signs in the infirmary were regularly taken and

recorded.” – p. 47.

       41.     “With the exception of the crisis rooms, hospital beds with adjustable heights and

sections in good condition were universally deployed in all infirmary rooms. The crisis rooms had

concrete beds with intact mattresses.” – p. 47.

       42.     “Nurse call devices were mounted on walls adjacent to each infirmary bed. The

system was verified as being operational. Patients demonstrated full understanding of how to

activate the nurse call device. There were no nurse call devices in the crisis rooms, but the rooms

were in the line of sight and/or sound of the nursing station.” – p. 47.

       43.     “Review of five current infirmary records with six infirmary admissions verified

that each of these patients had nurse admission notes on the day of admission and no less than

daily progress notes; most records had notes on each shift, on all patients. Provider admission notes

were written on the six admissions within 48 hours and the five chronic patients had progress notes

no less than weekly.” – p. 48

       44.     Chronic Care: “An EMR has been implemented at LCC. This addressed the First

Court Expert’s strong concerns about the legibility of provider notes. LCC now has a single,

dedicated nurse to coordinate the chronic care program. Patients assigned to chronic care clinics

are regularly seen in these disease specific clinics.” – p. 53

       45.     “Diabetic patients were found to have HbA1C testing on a regular basis,

documented foot exams, urine microalbumin-creatinine ratio testing, and annual eye evaluations

by an optometrist.” – p. 57




                                                  11
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 377 of 409 PageID #:14146




         46.   Dental Program: “LCC has two full-time dentists, two full-time assistants, and

one full-time hygienist. This should be adequate to provide meaningful dental services for LCC’s

2000 inmates.” – p. 71.

         47.   “There was a separate sterilization and laboratory room of adequate size with a

large work surface and a large sink to accommodate proper infection control and sterilization.” –

p. 71.

         48.   “Dental facilities and equipment have improved since the First Court Expert’s

Report and are adequate. We concur with the First Court Expert and note that since then, the loose

wires have been secured, the EMR has been implemented, and the dental hygiene area has been

completed.” – p. 72

         49.   “Surface disinfection performed between patients in the clinic was appropriate and

protective covers were used on surfaces. Sterilization procedures and instrument flow were

adequate. Instruments were properly bagged, sterilized, and stored.” – p. 73

         50.   “A review of the past two years’ sterilization logs showed that autoclaving was

accomplished weekly and documented. They utilize a service from Henry Schein called Crostex

that does the testing and maintains the results. A spread sheet of the results is available and

provided annually.” – p. 73

         51.   “Dental extraction care has improved since the First Court Expert’s Report and is

adequate. We concur with the First Court Expert’s findings but note that unlike those findings, of

10 records of inmates who had extractions, all extractions were informed by adequate panoramic

x-rays. This aspect of the program has improved substantially since the First Expert’s Report. All

progress notes documented the reason for the extraction. . . . All extractions were accompanied by

signed consent forms.” – p. 77.



                                               12
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 378 of 409 PageID #:14147




       52.     “The dental sick call process has changed since the First Court Expert’s Report and

is adequate. Consequently, our findings diverge from those of the First Court Expert. Moreover,

we found that the SOAP format was used consistently, which represents an improvement in

documentation.” – p. 79

       53.     “We concur with the First Court Expert that oral surgery consultations are

adequate.” – p. 82.

             D. Menard Report
       54.     Leadership: “The HCUA position is filled by a nurse who is competent and well

qualified for her position.” Menard, p.7.

       55.     Nursing Sick Call and Infection Control: Minor improvements made in nursing

sick call and infection control. Menard, p. 3.

       56.     “Patient-inmates interviewed in the cell houses were all knowledgeable about the

sick call request procedure. Most stated that they are seen by a nurse within a few days after they

place a request in the locked box. If they were referred by the nurse to see a provider, it will take

three to four days up to a few weeks before they were seen in a provider sick call.” Menard, p. 13.

       57.     “Our review found that some of the problems with sick call described in the

previous Court Expert’s report have been resolved. Most notably, the rooms used by nursing staff

to conduct sick call are uniformly equipped with accurate weight scales, an otoscope, blood

pressure cuff and stethoscope, peak flow monitor, pulse oximeter, and exam table with paper. Most

have sinks to wash hands and those that do not had hand sanitizer available (in two rooms the hand

sanitizer was empty). Each exam room had a flyer mounted on the wall reminding nurses to change

paper between patients. Wall mounted oto-ophthalmoscopes did not work in most rooms but there



                                                 13
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 379 of 409 PageID #:14148




were hand-held ophthalmoscopes in all the rooms. Many of the rooms have a plexiglass door which

ensures auditory privacy during the sick call encounter.” Menard, p. 23.

       58.     “In summary, the relocation of all nurse sick calls, provider sick calls, and chronic

care clinics to the cell house allows for improved access to primary care services.” Menard, p. 7.

“Since the First Court Expert’s visit, MCC now has properly equipped rooms used to conduct

nursing sick call evaluations. All sick requests we reviewed were seen timely, including urgent

sick call requests. We verified this in interviews of inmates.” Menard, 5. “There is a dedicated full-

time nurse assigned to infection control, and important improvements have been made to the

program. MCC tracks infectious disease and has the most advanced tracking of persons with

infectious disease of all the facilities we have visited.” Menard, p.6. “We noted that medication

rooms were clean and orderly, and that storage of medication was appropriate.” Menard, p. 6.

       59.     Radiology: “Radiology equipment, inspections, and safety were adequate . . .”

Menard, p. 4. “The Illinois Emergency Management Agency (IEMA) radiation safety inspections

and reports for the radiology units at MCC are current. The active x-ray equipment at MCC was

found to be compliance with the Radiation Protection Act of 1990.” Menard, p. 17. “The access to

plain film x-rays at MCC is acceptable.” Menard, p. 17. “In summary, the radiology services at

MCC have reasonable access to x-ray services and reasonable turnaround time of radiologist

readings and reports.” Menard, p. 18.

       60.     Medical Records: Paper medical records are used and were thinned to a reasonable

size. Menard, p. 18. We confirmed the First Court Expert’s finding that medical record volumes

are thinned. Whenever a volume reaches two inches in depth, medical record staff thin the volume,

and for all charts we reviewed, volumes were thinned to two inches or less. Charts we used for




                                                 14
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 380 of 409 PageID #:14149




medical record reviews came apart much less frequently than occurred at other sites, but this still

occurred. Menard, p. 19.

       61.     Chronic Care: “Patients assigned to chronic care clinics are regularly seen in these

clinics.” Menard, p. 26.

       62.     “MCC continues to utilize combination chronic care clinics, which allows some but

not all chronic illnesses to be managed in a single clinic session.” Menard, p. 26.

       63.     “A dedicated nurse manager is assigned to assist and coordinate the telehealth

clinics. This nurse is present in the exam rooms during all the UIC High Risk/HIV clinic, UIC

telemedicine liver clinic, and the renal telehealth clinic appointments. She coordinates the

appointments for these three specialty clinics, manages the completion of hepatitis C pre-treatment

database, and tracks the clinical status and lab results of the referrals to UIC liver clinic. This

telehealth nurse manager maintains clinically useful spread sheets on patients being followed in

the High Risk/HIV clinic that tracks the status of the preliminary workup and approval process for

hepatitis C patients.” Menard, p. 29.

       64.     Dental Care: “[T]he number of authorized dental personnel positions is adequate .

. . ” Menard, p. 76.

       65.     “Autoclave log management has improved since the First Court Expert’s Report

and is adequate.” Menard, p. 78.

       66.     “Oral surgery consultations are adequate.” Menard, p. 90.

       67.     “The dental CQI program, has improved since the First Court Expert’s Report and

is adequate. We were provided with a summary of two studies. We concur with the First Court

Expert’s findings that there is an ongoing dental CQI program. Moreover, current and additional

findings follow.” Menard, p. 90



                                                15
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 381 of 409 PageID #:14150




          68.      “A study of 50 patients who were on the restoration (filling) list May 2015 to

December 2015, with treatment dates ranging from August 2016 until September 2016, found that

94% had successful restorations without need of extraction.” Menard, p. 90.

                E. Stateville Report

          69.      Leadership Staffing & Custody Functions: “Based on a comparison of

conditions as identified in the First Court Expert’s report, we find that some conditions appear to

have improved by virtue of hiring a permanent Health Care Unit Administrator (HCUA) and

improving access to sick call. . . . The HCUA position is now filled with a capable full time

administrator.” – pp. 2-3

          70.      “There has been a very recent increase in staffing at NRC which will reduce the

need to send staff from SCC to NRC.” – p. 7. “[T]he HCUA and DON are energetic and willing

to learn their assignments.” – p. 7

          71.      Intrasystem Transfer: “We found that the intrasystem transfer process has

improved since the First Court Expert’s report.” – p. 3

          72.      Access to Care: “Access to care has significantly improved since the First Court

Expert’s report and problems identified in that report related to access to care have been resolved.”

– p. 3.

          73.      Quality Improvement Program: “While the First Court Expert found the quality

improvement program ‘non-functioning,’ we found that the HCUA and his staff have initiated CQI

activity, although it is nascent and not yet effectively functioning.” – p. 5

          74.      Clinic Space: “Clinic examination rooms were generally clean and appropriately

equipped.” – p. 3




                                                  16
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 382 of 409 PageID #:14151




        75.     “The nurse sick call rooms in the housing units (B, C, D, E, X) are adequately sized

and properly equipped. Their location in the housing units maximizes the patient-inmates’ access

to sick call.” – p. 10

        76.     “The infirmary porters were verified to have received blood borne disease training

and hepatitis A and B vaccinations.” – p. 10

        77.     “The nurse sick call rooms in Quads B, C, D, E, and in the X (disciplinary and

protective custody) building were inspected. The location of the nurse sick call rooms in the

housing areas enhances the inmates’ access to health care services. The sick call rooms have

adequate space. Each has an exam table with disposable paper coverage, a blood pressure and vital

sign unit, a temperature taking device, a medication cart, a wall mounted oto-ophthalmoscope, a

privacy barrier, and a scale.” – p. 11

        78.     “The mattresses [of the infirmary beds] were generally in good condition; the

impervious covers were also either intact or taped. . . . The rooms on the two-bed wing had nurse

call devices; a review of four rooms verified that the devices were functional.” – p. 12

        79.     “Two infirmary porters were interviewed. They both stated that they had received

formal training about their duties and had been vaccinated against hepatitis A and B. The Director

of Nursing provided copies of their training curriculum, post-training test and vaccination records

that confirmed the information provided by the porters.” – p. 12

        78.     “The infirmary nurse station was centrally located between the two wings, with

access to both hallways. The nurse station was adequately sized and clean.” – p. 12




                                                 17
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 383 of 409 PageID #:14152




          79.   “The health care unit/clinic’s exam rooms, nurse work rooms/offices, urgent care

room, physical therapy room, telehealth rooms, mental health interview rooms, and

phlebotomy/lab prep room were organized and clean.” – p. 13

          80.   “The optometrist (two days/week) uses the sixth room; it has an optometry chair

with a small tear, optometry equipment that is aging but was reported to be fully functional, a

functioning ophthalmoscope, and a desk with a chair. The optometry room was clean, neat, and

organized.” – p. 13

          81.   Environmental Rounds: “Monthly Medical Safety and Sanitation rounds are

being performed and have been reported from September 2017 through February 2018. The format

of the Monthly Medical Safety and Sanitation report is notably improved. This report includes: 1)

Location, 2) Identification of Standards Not Met, 3) Recommendations for Corrective Action, 4)

Follow-Up on Past and Present Discrepancies.” – p. 15.

          82.   Medical Records: “Except for hospital and consultant reports, most documents are

filed timely into the medical record.” – p. 3 “Transfer screening at SCC has improved since 2014.”

– p. 16

          83.   Nursing Sick Call: “Our review found that problems with daily access to sick call

have been resolved. Since SCC has implemented the sign-up log, patients are seen the next day.

Documentation of timeliness and disposition of sick call requests is evident from review of the

sick call logs. The rooms used to perform sick call are now adequately equipped. There was also

no evidence of security staff failing to escort inmates to sick call as described in the First Court

Expert’s report.” – p. 19




                                                18
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 384 of 409 PageID #:14153




       84.     “Inmates appear to be able to access nursing sick call within 24 hours of signing

up. None of the inmates interviewed or who agreed to be observed during sick call voiced

complaints about the timeliness or responsiveness of nursing sick call.” – p. 21

       85.     “Nurses see inmates in a sick call room that has been established in each of the cell

houses. The nurse brings the inmate’s medical record to use during the sick call encounter. The

sick call rooms are well lighted, generally clean, and capable of providing patient privacy. Each

has an exam table with paper and a wall mounted oto-ophthalmoscope. . . . The space, equipment,

and supplies available to conduct sick call are adequate.” – p. 21

       86.     “We observed three nurses (all RNs) as they were conducting sick call on Monday

February 26, 2018. A total of five patients were seen, three of these were in segregation. Each of

the nurses’ evaluation of the patients’ complaints was thorough and appropriate. Nurses correctly

used the IDOC treatment protocols and the plans derived for each patient were appropriate.” – p.

21

       87.     Pharmacy & Medication Administration: “We toured the medication room in

the clinic and the room behind, where the pharmacy technician works, and where medication is

stored until it is needed for administration. These two rooms were clean, uncluttered, well lighted,

and kept secure. There is a refrigerator with a thermometer and temperature log that was up to

date. We conducted a random count of controlled substances and found it to be accurate.” – p. 56

       88.     “The interaction between the nurses administering medication and inmates in the

cells was outstanding in professionalism and respect.” – p. 58



       89.     Infection Control: “Responsibility for infection control is dispersed amongst

several staff nurses, the DON, and HCUA. The HCUA facilitates and monitors sanitation



                                                19
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 385 of 409 PageID #:14154




inspections and is diligent in following up on identified concerns until correction has been

achieved.” – p. 60

          90.      Dental Program: Regarding the dental team: “Overall, this is a strong team that

works well together to create a very busy and smooth-running clinic.” – p. 62

“Facilities and equipment are unchanged from the First Court Expert’s Report and remain

adequate. We concur and note that the previously inoperative ultrasonic unit had been repaired.”

– p. 63

          91.      “Autoclave log maintenance has improved since the First Court Expert’s Report

and is adequate. Spore testing was performed weekly and documented. No negative results were

recorded. Unlike the finding of the First Court Expert, there were no gaps in the sterilization

record.” – p. 65

          92.      Dental Orientation Handbook: “Inmate orientation to dental care has not changed

substantially since the First Court Expert’s Report and we agree with the First Court Expert that it

remains adequate. Inmates are informed that they can access health care (including dental care) as

part of the SCC intake process. In the alternative, they can submit a specific request for dental care

on a form that is collected periodically and delivered to the dental clinic.” – p. 71

                F. Stateville NRC

          93.      Radiology: “There is no waiting list or backlog for plain x-ray studies at NRC. The

turnaround for the radiologist’s reading is one to three days. . . . It was reported that ‘no shows’

are always rescheduled on the next working day.” – p. 21

          94.      Medical Reception: “Our review showed that improvements have taken place with

respect to the timeliness of completion of the medical reception process, including labs and




                                                   20
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 386 of 409 PageID #:14155




provider physical examinations. Nurse and phlebotomy stations are clean and well organized.

Medical providers documents medical conditions on patient problem lists.” – p. 28

          95.   Pharmacy & Medication Administration: “We toured the rooms where

pharmacy technicians receive and sort medications. The rooms were clean and well organized. . .

. Pharmacy technicians have established an accountability system for stock medications in which

nurses sign out a stock medication blister pack for each patient. Narcotics are not stored in these

medications rooms.” – p. 64

          96.   Dental Program: “The dental treatment room was disinfected appropriately

between patients and protective covers were used on all surfaces. Instruments were properly

bagged and sterilized. All hand pieces were sterilized in bags.” – p. 72

          97.   “Autoclave log maintenance had improved since the First Expert’s Report and is

adequate. The sterilization log for the past two years was in order. Testing was performed weekly

and documented. No negative results were recorded.” – p. 73

          98.   Internal Monitoring & Quality Improvement Programs: “NRC should be

credited with having started the CQI process. It is a step forward to have performed these studies.”

– p. 88

          99.   “The annual CQI report contains two useful pharmacy studies. One is a monthly

audit of the medication rooms. While we did not verify the accuracy or effectiveness of this study,

we do agree with the concept of this study and believe that such audits do promote regular

monitoring of the program. The pharmacy also performs a monthly audit of 20 medication

administration records (MAR) in (1) Whether the start and stop dates are present on the MAR; (2)

Whether the drugs in the cart match the MAR; (3) Whether allergies are listed on the MAR; and

(4) Whether there is documentation of all doses given. This is a useful audit.” – p. 91-92



                                                21
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 387 of 409 PageID #:14156




            G. IDOC Mortality Rates Compared to Other States

         100.   The sample of patients that Dr. Puisis selected for mortality review cannot be

extrapolated to the entire IDOC inmate population. (Puisis Report, Statewide at 91)

         101.   IDOC provided Dr. Puisis with 174 death records from 2016-2017. Dr. Puisis

selected 33 records to review from 12 of IDOC’s facilities. (Puisis Report, Statewide at 91). His

report does not refer to any statistical methods or measurable criteria regarding how he selected

these 33 records from the total number of records provided to him. In fact, the report does not

contain any explanation regarding how he selected these records. Dr. Puisis merely described the

sample as “excellent” without explaining what constitutes an “excellent” sample.            (whole

paragraph is from page 91).

         102.   The U.S. Department of Justice (Bureau of Justice Statistics) tracks inmate deaths.

For 2014, the latest year of available statistics, The IDOC had the sixth lowest mortality rate

(182/100,000 inmates) of the 50 state systems. The average mortality rate of state correctional

systems was 275 per 100,000 inmates. (Puisis Report, Statewide at 90)

         103.   Rates of mortality in IDOC are significantly below average for all chronic illnesses

affecting the elderly. This is in line with IDOC having the seventh lowest percent of persons over

age 55 of all state systems.” (Puisis Report, Statewide, at 90)

         104.   Indiana, Kentucky, and New Jersey all have 55 and older populations less than that

of the IDOC yet have mortality rates that are 22%-50% higher than that of the IDOC. (U.S. DOJ ,

Bureau of Justice Statistics, Mortality in State Prisons, 2001-2014, cited by Dr. Puisis – Statewide

at 90)

         105.   Of the ten largest prison systems in the country, IDOC has the lowest mortality rate

and percentage of the population over 55. Four of the nine comparator states have a percentage of


                                                 22
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 388 of 409 PageID #:14157




55 and older population that is less than 2% greater than the IDOC yet have a mortality rate that is

anywhere from 15-23% greater than the IDOC. (U.S. DOJ , Bureau of Justice Statistics, Mortality

in State Prisons, 2001-2014, cited by Dr. Puisis – Statewide at 90)

            H. Expected Testimony

         106.   In July 2018, IDOC and the University of Illinois executed an agreement that

directs the university’s College of Nursing Institute for Health Care Innovation to develop a

comprehensive quality improvement program so that IDOC will deliver high quality and safe

health care reliably to offender patients. This program will be comprehensive, system-wide and

will focus on patient safety, risk management, infection prevention and control, and peer review.

It will be based on standards from the National Commission on Correctional Health Care and The

Joint Commission and other evidence-based health care practices.          The university’s efforts

pursuant to this agreement have begun. (Defs’ Ex. – IDOC/U of I agreement; testimony of Dr.

Meeks)

         107.   IDOC alone spent $2,167,000 on healthcare staff overtime to fill staffing vacancies.

And in the past year Wexford spent $6,116,718.81on overtime and other staffing measures to cover

vacancies. (Expected Testimony from Jared Brunk and from Wexford Representative).

         108.   The Puisis Report does not recognize that, even with the inclusion of vacancies, the

health care staff per 1,000 inmates increased by 33% from 2014 to 2018. The Report also does not

provide any comparison of IDOC vacancy rates to those from other state prison systems or from

the community. Further, it fails to comment on the national nursing shortage or reflect that over

25% of the hospitals in the country have a Registered Nurse (RN) vacancy rate of greater than

10%. (Expected Admission of Dr. Puisis)




                                                 23
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 389 of 409 PageID #:14158




       109.    Dr. Puisis has concluded that the current leadership of each HCU he visited is “very

good.” (Puisis Report, Statewide at 11)

       110.    IDOC resumed conducting mortality review as of the first week of October

2018. These reviews will include Dr. Meeks, Regional Directors, and Kim Hugo. In the event

there are concerns at the weekly mortality review that need to be shared with the medical vendor,

IDOC will have a monthly mortality meeting with the vendor. (Testimony of Dr. Steven Meeks)

       111.    As of October 3, 2018, facilities have been directed to use RNs for sick call, subject

to availability of RNs on staff. (Testimony of Dr. Steven Meeks)

       112.    IDOC currently has a full-time infectious disease coordinator and quality control

auditor, Joe Ssenfuma. (Testimony of Dr. Steven Meeks)

           I. Healthcare Spending/Finances

       113.    IDOC breaks down its total spending on offender health care into five

categories: comprehensive medical, ancillary costs, AIDS/HEP C, dialysis, and statewide

hospitalization.   For Fiscal Year 2010, IDOC spent $124,058,000.00 across all five

categories. For Fiscal Year 2011, IDOC spent $135,355,000.00 across all five categories. For

Fiscal Year 2012, IDOC spent $129,898,000.00 across all five categories. For Fiscal Year 2013,

IDOC spent $128,525,000.00 across all five categories. For Fiscal Year 2014, IDOC spent

$146,579,000.00 across all five categories. For Fiscal Year 2015, IDOC spent $155,419,000.00

across all five categories. For Fiscal Year 2016, IDOC spent $160,392,000.00 across all five

categories. For Fiscal Year 2017, IDOC spent $203,454,000.00 across all five categories. All

dollar amounts have been rounded to the nearest thousand. (Defs’ Ex. Re IDOC fiscal

expenditures; testimony of Jared Brunk)




                                                24
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 390 of 409 PageID #:14159




         114.   IDOC maintains on an ongoing basis a list of adjusted service requests (ASRs) that

Wexford staff submit. An ASR is an amendment to the contract between IDOC and Wexford

allowing for expenses to be incurred that overall are not material in value but do represent a

technical change from what is currently in the contract. ASRs are generally used for staffing

changes and commodity/equipment request. (Defs Ex documenting ASRs; testimony of Jared

Brunk)

         115.   For the most recent full Fiscal Year (2018), Wexford staff submitted 371 ASRs that

called for an increase in expenditures. IDOC approved 253 of these requests. (Defs Ex

documenting ASRs; testimony of Jared Brunk)

         116.   Some notable examples of approved requests for staffing changes at various levels

were:$60,528.00 for a staff assistant at Menard Correctional Center; $29,465.00 for a medication

room assistant at Vienna Correctional Center; $258,440.00 for several staff assistant positions at

Stateville Correctional Center; $54,849.60 for a dental assistant at Lincoln Correctional Center;

$181,667.20 for a dentist at Menard Correctional Center; $42,390.40 for certified nursing

assistants at East Moline Correctional Center; $254,342.40 for certified nursing assistants at

Graham Correctional Center; and $254,342.40 for certified nursing assistants at Logan

Correctional Center. (Defs Ex documenting ASRs; testimony of Jared Brunk)

         117.   Some notable examples of approved commodity/equipment requests were: $8,120

for an x-ray processor at Big Muddy Correctional Center; $4,977.50 for HEP A & B and Tetanus

vaccines at Stateville Correctional Center; $10,378.50 for a dental chair at Sheridan Correctional

Center; $12,680.00 to repair an x-ray machine at Dixon Correctional Center; $5,126.76 for TB

serum and syringes at Pontiac Correctional Center; $6,870.99 for TB serum and syringes at

Menard Correctional Center; and $500,000.00 to establish dialysis services at Graham



                                                25
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 391 of 409 PageID #:14160




Correctional Center and Stateville Correctional Center. (Defs Ex documenting ASRs; testimony

of Jared Brunk).

           J. Utilization Management

       118.    Wexford’s utilization management program for IDOC is documented in manual

entitled, “Utilization Management Guidelines, Region: Illinois.” The guidelines set forth in this

manual are substantially followed in practice. Inmate needs regarding offsite medical care are

identified in a timely manner, and Wexford follows each inmate patient until his or her need is

completely resolved. (Defs Ex Utilization Management Guidelines, Region: Illinois; expected

testimony of Wexford representative)

       119.    When a site provider and a site medical director agree that there is a need for a non-

urgent offsite service, the site medical director present this case during a weekly Collegial Review

to a utilization corporate medical director. (Defs Ex Utilization Management Guidelines, Region:

Illinois; expected testimony of Wexford representative)

       120.    Wexford Health does not require pre-authorization for emergencies. The onsite

provider makes the decision to send the patient to the ED without any approval being necessary.

After hours, when the provider is not physically onsite, when an emergency occurs, the patient is

brought to the medical unit for a nurse assessment. After assessing the patient, the nurse calls the

on-call provider to make the final disposition which could include: Sending the patient back to

his/her cell, admitting the patient to the infirmary, or sending the patient to an emergency

department. If the patient is obviously in severe acute distress, 911 is called prior to a complete

nurse assessment or provider call. Wexford Health uses InterQual criteria to assess medical

necessity during Collegial Reviews, which standardizes this process. (Defs Ex Utilization

Management Guidelines, Region: Illinois; expected testimony of Wexford representative)


                                                26
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 392 of 409 PageID #:14161




       121.       If a case is approved, an authorization number is generated and supplied to the site

within 5 working days. During each Collegial, the UM medical director and the site medical

director determine the urgency of each approval. This is relayed to the scheduler at UIC and

followed up by the Wexford Health UM department to ensure the patient is seen in a clinically

appropriate time frame. (Defs Ex Utilization Management Guidelines, Region: Illinois; expected

testimony of Wexford representative)

       122.       It is not possible, practical, or necessary for all non-urgent offsite care to occur

within 30 days. For example, Neurologists, Dermatologists, and some other specialists in the

community have waiting periods up to 4 months for new patients. If a medical director determines

the consult is of a more urgent nature then Wexford routinely encourages our medical directors to

call the specialist to discuss the case to determine if a more timely appointment is available. (Defs

Ex Utilization Management Guidelines, Region: Illinois; expected testimony of Wexford

representative)

       123.       If the site medical director and UM medical director agree on an alternative

treatment plan, then that is documented in WexCare and in the chart. Once that alternative has

been tried, the site medical director re-evaluates the patient to see if the alternative was

successful. If not, the case is re-presented in a Collegial Review and in these cases, the original

offsite service is usually approved. If the site medical director disagrees with an alternative

treatment plan, there is an appeal process. Cases that are appealed must be decided within 24

hours. In these cases, the request for offsite care is reviewed by a different UM medical

director. Historically appeals have a 30-40% rate of overturn in favor of the site medical director.

(Defs Ex Utilization Management Guidelines, Region: Illinois; expected testimony of Wexford

representative)



                                                   27
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 393 of 409 PageID #:14162




        124.      Urgent requests for offsite services do not wait for the weekly scheduled collegial

discussion. Site provider call the Corporate UM medical director when an urgent offsite service

is considered medically necessary and this process occurs regularly. Regional Medical Directors

can also approve urgent referrals. These processes ensure that an authorization number is

generated so that when the claim is sent by the offsite service provider, it is paid in a timely fashion.

(Defs Ex Utilization Management Guidelines, Region: Illinois; expected testimony of Wexford

representative)

            K. Facts Elicited in Depositions

Laurent Dep 7/12/17
        125.      As of July 2017, Wexford was 90% compliant in staffing health care positions in

the Illinois Prison System.

29:9-15

        126:      Wexford Regional Healthcare Managers are tasked with overseeing medical

records at each facility to monitor whether the Medical Records Department is running smoothly

and provides a service that is a benefit to the patient and to the staff. As July 2017, regional

managers were reporting that the state of medical records have improved.

51:2-24; 52:1

        127:      Dental care in facilities greatly improved in 2017. Very significant backlogs and

delays in appointments and procedures were reduced by contracting out with a subcontractor of

dentists in summer 2016 that came in and helped eliminate the patient backlogs.

61:14-23; 62:1-11




                                                   28
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 394 of 409 PageID #:14163




         128:   Wexford has made all Wexford administrative, medical, and dental staff aware of

the requirement and responsibility to deliver urgent care to inmates within 24 to 48 hours of

identifying the inmate’s condition and necessary treatment.

62:19-24; 63:1-10

         129:   Informal reports on persisting delays and improvements in dental care are provided

to Wexford administrators to determine whether Wexford medical and dental staff are meeting the

responsibilities and requirements of providing qualifying inmates with urgent care in 24 to 48

hours.

62:19-24; 63:1-10

         130:   Since December 2014, there have been physical changes improve clinical spaces at

various facilities including, Menard CC, Pontiac CC, Dixon CC, and Stateville CC (particularly

Stateville NRC).

127:16-24; 128:1-4.

         131:   Wexford Management is actively seeking and examining new ways to improve

chronic disease management. Quarterly meetings are held to discuss issues relating to treatment

goals and potential solutions.

128:18-24; 129:1-4.

            L. Meeks Dep:

         132:   All three regional coordinator positions have been filled for the approximately 8

months that Dr. Meeks has been employed as agency medical director for IDOC.

37:6-19

         133:   There is someone at each facility who is responsible for keeping the pertinent

infection control statistics.



                                                29
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 395 of 409 PageID #:14164




71:22-24 – 72:1-6

         134:   There is a monthly safety and sanitation inspection in IDOC facilities.

75:22-24 – 76:1-7

         135:   Medical providers have a means to sanitize and wash their hands in all treatment

areas.

77:5-9

         136:   IDOC’s quality improvement process today monitors completeness, timeliness, and

professional performance by medical providers.

78:18-24 – 80:5

         137:   With respect to transferring inmates, their medical records are transferred in a

timely fashion such that they continue to receive whatever medication and treatment they are

supposed to be receiving.

78:18-24 – 80:5

         138:   IDOC’s HIV patients are followed by the University of Illinois Chicago infectious

disease team.

85:15-24 – 86:1-17

         139:   All IDOC facilities track, through a logbook, urgent/emergent services. Any

urgent/emergent assessments are performed by staff appropriately licensed to address the

urgent/emergent services necessary.

88:22-24 – 89:1-6

         140:   Each IDOC facility has an area designated as an infirmary. Each infirmary is staffed

with a registered nurse 24 hours a day, 7 days a week.

91:2-9



                                                 30
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 396 of 409 PageID #:14165




            M. Ssenfuma Dep:

         141:   Since the Shansky report, the following changes have been made: (1) NRC now has

a healthcare unit administrator and has been separated from Stateville proper; (2) sick call boxes

are now provided so that inmates can submit a sick call without security getting involved.

14:23-24 – 15:1-17

         142:   Every special medical mission facility has its own healthcare administrator.

28:4-9

         143:   In the Stateville, NRC, Sheridan, Pontiac, East Moline, Hill and Dixon facilities,

there is a designated, private space to conduct sick call. There are also examination tables in the

sick rooms in Stateville and Dixon, which were noted to be lacking examination tables in the

Shansky report.

[CITE]

         144:   Pontiac has had changes introduced since the Shansky report, and now has private

sick call rooms and examination tables. The medical staff does safety and sanitation inspections

monthly, and if any issues are noted, they report them to the site administrative staff.

40:1-10 – 41:5-10

         145:   A reception evaluation is conducted by nursing and clinician staff on the same day

that an inmate arrives at NRC. If an offender arrives at NRC with an acute illness, he is seen by

the medical doctor that same day and then sent to the infirmary or the hospital that same day.

53:6-24




                                                 31
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 397 of 409 PageID #:14166




       146:    The facilities at Stateville, NRC, Sheridan, Pontiac, East Moline, Hill and Dixon

all have an infirmary. For each infirmary, there is at least one registered nurse 24 hours a day, 7

days a week.

72:7-17

       147:    At the Hill and Stateville facilities, there is a call system for each bed in the

infirmary.

74:11-15

       148:    There is a plan in place through which the facility healthcare administrator conducts

a monthly documented safety patient inspection; the report from this inspection is sent to the

regional coordinator. 77:7-12

       149:    Offenders are regularly reassessed for suitability to handle food within the IDOC

facilities. There is a system in place for tracking any offenders afflicted with communicable

diseases, and a master log exists which is used to track inmates with transmittable diseases who

need to be isolated and treated to avoid infection across the unit or facility.

78:1-24

       150:    All offenders that work in healthcare are trained specifically to handle bloodborne

pathogens, blood spills, or any contagious bodily fluids. This training is logged and documented

and kept in each offender’s medical file.

79:5-13

       151:    The monthly safety and sanitation report looks at everything concerning infection

control, including in the healthcare, dietary, and housing units.

79:14-22




                                                  32
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 398 of 409 PageID #:14167




          152:   There is a designated quality improvement coordinator for every IDOC facility.

Each of the major services provided is reviewed every month, and then again at the annual

governing body meeting. This review is conducted on the basis of the eight quality performance

measures.

83:4-24

          153:   The problem of 33-75% of scheduled appointments being cancelled due to

lockdowns, staffing issues, etc. has been corrected by policies put in place specifically to address

the issue.

91:7-24

          154:   Since the Shansky report was completed, the infirmary beds at Pontiac have been

replaced, and there is now a sink in the nursing station that can be used for hand washing.

Additionally, inmate porters have received training on proper sanitation.

97:6-12; 98:15-18

          155:   Since the Shansky report was completed, Stateville has implemented an “open sick

call” process through which offenders write their name, number, and housing unit on the sick call

sheet, the nurses come pick up the sheets, and the offenders are then seen. This process was

implemented to remedy the deficiencies in the Stateville sick call process noted in the Shansky

report.

108:9-24; 109:1-5

             N. Ritz Dep:

          156.   Dr. Ritz opined that roughly more than 75% of treatment referral requests are

granted under the collegial review program.

54:19-24; 55:7-9.


                                                33
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 399 of 409 PageID #:14168




            O. Hugo Dep:
        157:    Kim Hugo is Medical Coordinator for the Illinois Department of Corrections. This

is a position that falls within the chain of command between Dr. Meeks and the regional nurses.

p.5.

        158:    Ms. Hugo has a work history which includes being a registered nurse in an intensive

care unit in an emergency room. P.6.

        159:    The Annual Governing Body report is a report that allows the Illinois Department

of Corrections' Medical Coordinator to see a snapshot of cqi for a particular IDOC facility. Actions

are taken as a result of data that is compiled from this report. P. 8 - 9.

        160:    In fact, Dr. Meeks gives instructions as a result of deficiencies that appear within

the annual governing body report. P. 12.

        161:    The office of Health Services conducts regular conference calls related to the

physical and dental health care. Those calls occur on Friday of every week. These calls are

staggered, in the sense that the northern region is discussed on the first Friday of the month, the

central region is discussed on the second Friday of the month, and on the third Friday the southern

region is discussed. P. 13-14.

        162:    Registered nurses at a facility are either all state registered nurses or, alternatively,

are supplied all by Wexford. P. 15.

        163:    Ms. Hugo has referred to the Wexford contract in the past in her work. For instance,

she has referred to the Wexford contract concerning the requirement that Wexford provide an

ADA van when such a van is otherwise unavailable. P. 20-21.

        164:    Concerning Lawrence Correctional Center, Ms. Hugo recalled that a situation arose

at Lawrence that required attention from her and Dr. Meeks concerning the transferring of an

offender to another facility for specific care. She explained that an offender requiring care from

                                                   34
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 400 of 409 PageID #:14169




UIC and requiring transfer up north to a more Northern facility, so it was a shorter distance for

their health services. she explained that I substantial part of her work on a daily or weekly basis

involves issues of Prisoner Transportation for healthcare purposes and that this is something she

tries to coordinate on a regular basis within her work. P. 23-24.

       165:    Ms. Hugo also explained that the regional coordinators call her and have questions

for her or have her relay information to Dr. Meeks. P. 24.

       166:    Ms. Hugo explained a number of facilities are currently experiencing nursing

shortages. These facilities include: Stateville, Pontiac, Elgin, Decatur, Graham, and Southwestern.

These are the facilities that came to her mind. P. 25.

       167:    Miss Hugo explained that the caterer and Pontiac have in the past been in crisis

mode concerning nursing shortages. That period of time has been within the past two years.        P.

27.

       168:    At least from December 2016 through April 2017 there was a continuous nursing

crisis at Menard Correctional Center. P. 30-31. There is no longer in nursing crisis at Menard. P.

32. Ms. Hugo did admit that her understanding was Menard was not fully staffed, but that they

were no longer in crisis. She did admit that the problem had not been completely solved. P. 32.

       169:    There is a nationwide shortage in nurses. Hospitals and Health Service facilities are

aggressively recruiting for nurses. P. 38.

       170:    Nursing staffing has been a continuous problem since October of 2017 at Pontiac.

Ms. Hugo understood that Pontiac had been continuously in crisis mode. P. 40.

       171:    Nursing staffing has also been in crisis mode at Decatur since October of 2017, and

it has been a continuous problem. P. 44.




                                                 35
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 401 of 409 PageID #:14170




         172:   IDOC has a monthly call between State personnel and Wexford to discuss Wexford

Staffing vacancies, as well as to discuss backlogs. P. 47.

         173:   These staffing vacancies discussed have included such positions as physician, nurse

practitioner, optometry, and dentist. P. 48.

         174:   Ms. Hugo established that new healthcare equipment has been purchased during

her time in the position. That equipment she remembered being purchased were new automatic

external defibrillators (AEDs). P. 57.

         175:   There has been, within IDOC, a Lippert conference call we're Staffing vacancies

and backlogs are discussed. Though it can take place less, the call usually takes place monthly. P.

63.

         176:   When asked if she was aware if anyone had taken any action with respect to the

criticisms in the Shansky report, Ms. Hugo explained that it was not true that no one had taken any

action, and that the Friday calls discuss review of the process of how health care is provided to the

offender's and to also improve service to the offenders. P. 65.

         177:   Ms. Hugo admits a main issue on her radar is the problem of the aging population

within the Illinois Department of Corrections and the need for an assisted living facility. It is, she

explained, a nationwide problem and not just a problem within the prison population. Ms. Hugo

desires to appropriately place such offenders for medical care that is appropriate and that meets

the operational needs of IDOC. P. 71.

      II. Conclusions Of Law

            A. Background

         178.   The Court has certified a class under Fed. R. Civ. P. 23(b)(2) for injunctive relief.

ECF Dkt. No. 534, generally. Plaintiffs do not seek monetary damages. The class is defined as all



                                                 36
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 402 of 409 PageID #:14171




prisoners in the custody of the Illinois Department of Corrections with serious medical or dental

needs. Id. at 20.

        179.    Plaintiffs contend that the Illinois Department of Corrections’ medical program has

caused them to suffer cruel and unusual punishment in violation of the Eighth Amendment. ECF

Dkt. No. 449, generally.

            B. Jurisdiction

        180.    Federal jurisdiction in this case arises under 18 U.S.C. § 1331 and 28 U.S.C. § 1343

.

            C. Plaintiffs’ Eighth Amendment Claim

        181.    The Supreme Court has confirmed that not every claim by a prisoner that he or she

has not received adequate medical treatment constitutes a violation of the Eighth Amendment.

Estelle v. Gamble, 429 U.S. 97, 105 (1976). “The Constitution does not mandate comfortable

prisons, but neither does it permit inhumane ones.” Farmer v. Brennan, 511 U.S. 825, 832 (1970)

(internal citations and quotation marks omitted). In cases involving an alleged lack of adequate

medical care, the Eight Amendment is implicated if prison officials are deliberately indifferent to

a known lack of care that results “in pain and suffering which no one suggests would serve any

penological purpose.” Id. at 103.

        182.    To determine if a lack of medical care violates the Eighth Amendment, the Court

must answer the following questions to determine if the record demonstrates both objective and

subjective deliberate indifference: (a) Does the record show an objective risk of serious harm to

the inmate population? (b) Does the defendant have actual subjective knowledge of that serious

harm? and (c) Is the defendant subjectively “deliberately indifferent” to that harm? Farmer, 511

U.S. at 837; Petties v. Carter, 836 F.3d 722, 728 (7th Cir. 2016) (en banc).



                                                 37
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 403 of 409 PageID #:14172




       183.    In cases alleging systemic violations of the Eighth Amendment, the objective test

looks first to whether “systemic deficiencies at the prison’s health care facility [have] rendered the

medical treatment constitutionally inadequate for all inmates.” Cleveland-Purdue v. Brutsche, 881

F.2d 427, 430–31 (7th Cir. 1989). In Wellman v. Faulkner, the court stated the test as whether

“systemic and gross deficiencies in staffing, facilities, equipment, or procedures” are so great that

“the inmate population is effectively denied access to adequate medical care.” 715 F.3d 269, 272

(7th Cir. 1983) (quoting Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir. 1980)). Isolated instances

where particular prisoners do not receive prompt responses to their medical needs do not qualify

as systemic deficiencies. Phillips v. Sheriff of Cook County, 828 F.3d 541, 554 (7th Cir. 2016)

(affirming decertification of class and remanding for individual detainees to present evidence as

to whether they were denied constitutional access to dental services).

       184.    The second question is whether the public official defendants have subjective

knowledge that the alleged systemic deficiencies present a substantial risk that prisoners are being

denied access to the constitutionally required level of care. Petties, 836 F.3d at 728; Wellman, 715

F.3d at 272. As noted above, it is not enough for public officials to be generally aware of alleged

negligence or contract violations—they must have actual knowledge of an overall failure to deliver

medical services that is effectively denying care to the relevant inmate population. Id.

       185.    If plaintiffs show that prison officials are subjectively aware of an objective level

of substantial harm arising from a failure to deliver the minimal level of care, then the court must

consider whether the public officials are “deliberately indifferent” to that known harm. Petties,

836 F.3d at 728. To analyze this question, courts have often described deliberate indifference in

the negative, by clarifying what is not deliberate indifference. For example, negligence, and even

gross negligence, is not deliberate indifference. Estelle, 429 U.S. at 105; Snipes v. DeTella, 95



                                                 38
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 404 of 409 PageID #:14173




F.3d 586, 590. Likewise, medical malpractice—a failure to meet a standard of care—is not

deliberate indifference. Id.; Whiting v. Wexford Health Sources, Inc., 839 F.3d 658, 662 (7th Cir.

2016). “Even objective recklessness—failing to act in the face of an unjustifiably high risk that is

so obvious that it should be known—is insufficient to make out a claim. Petties, 836 F.3d at 728

(citing Farmer, 511 U.S. at 836–38).

         186.     Establishing deliberate indifference is relatively straightforward when the evidence

shows the public officials actually know about the substantial risk and ignore it. Farmer, 511 U.S.

at 837; Petties, 836 F.3d at 729. On the other hand, courts recognize that deliberate indifference is

difficult to establish when officials are aware of the risk and take action to remedy it. Whiting, 839

F.3d at 662; Wharton v. Danberg, 854 F.3d 234, 244 (3d Cir. 2017). There is no deliberate

indifference where a doctor provides even minimal treatment based on his or her medical

judgment. Youngberg v. Romeo, 457 U.S. 307, 323 (1982); Whiting, 839 F.3d at 662; Petties, 836

F.3d at 729. The Supreme Court has also confirmed that “prison officials who actually knew of a

substantial risk to inmate health or safety may be found free from liability if they responded

reasonably to the risk, even if the harm ultimately was not averted.” Farmer, 511 U.S. at 844.

         187.     To determine whether prison officials’ efforts to address a known risk rise to the

level of deliberate indifference, courts look to the nature of the effort made. 57 For example,

evidence that prison officials have persisted with a course of treatment that they know is ineffective

could raise an issue of fact to allow the question to be presented to a jury. Petties, 836 F.3d at 726.

Examples include where a prison official knew a prisoner faced a serious risk of appendicitis but

merely gave the prisoner aspirin and sent him back to his cell, Sherrod v. Lingle, 223 F.3d 605,



57
  Three dissenting judges in Petties noted that where a prisoner receives some care and the dispute is about the quality
of that care, there may be a claim for negligence under state law, but not one for constitutional deliberate indifference.
836 F.3d at 735–36.

                                                           39
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 405 of 409 PageID #:14174




612 (7th Cir. 2000), or where a prisoner experiencing persistent severe vomiting continued to

receive nothing more than antacids for more than three years. Greeno v. Daily, 414 F.3d 645, 655

(7th Cir. 2005), or where prison officials needlessly delayed treatment that could have been easily

provided or chose an “easier and less efficacious treatment” that they knew to be ineffective.

Petties, 836 F.3d at 730 (collecting cases).

       188.    Furthermore, to establish a right to injunctive relief, a plaintiff must show that a

prison official is “knowingly and unreasonably disregarding an objectively intolerable risk of

harm, and that they will continue to do so; and finally to establish eligibility for an injunction, the

inmate must demonstrate the continuance of that disregard during the remainder of the litigation

and into the future.” Farmer, 511 U.S. at 846.

       189.    Additionally, if constitutional violations are found, “prospective relief in any civil

action with respect to prison conditions shall extend no further than necessary to correct the

violation of the Federal right of a particular plaintiff or plaintiffs. The court shall not grant or

approve any prospective relief unless the court finds that such relief is narrowly drawn, extends no

further than necessary to correct the violation of the Federal right, and is the least intrusive means

necessary to correct the violation of the Federal right. The court shall give substantial weight to

any adverse impact on public safety or the operation of a criminal justice system caused by the

relief.” 18 U.S.C. § 3626(A).

       190.    Based on the factual record and the applicable law discussed above, the Court

concludes that the evidence presented at trial in this matter does not demonstrate that plaintiffs

have proven that the Department (and in particular, the three Defendants named in their official

capacities, Illinois Governor Bruce Rauner, Director of IDOC John Baldwin, and IDOC’s Medical




                                                  40
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 406 of 409 PageID #:14175




Director, Dr. Steven Meeks) are deliberately indifferent to plaintiffs’ serious medical or dental

needs.

         191.    As a threshold matter, the objective component for an Eighth Amendment violation

does not depend on whether the Department has been negligent, grossly negligent, or that medical

professionals working in the prison system have committed malpractice. Rather, the test is whether

“systemic deficiencies at the prison’s health care facility [have] rendered the medical treatment

constitutionally inadequate for all inmates.” Cleveland-Purdue, 881 F.2d at 430–31; see also

Wellman, 715 F.3d at 272 (looking to whether systemic deficiencies were so great that “the inmate

population is effectively denied access to adequate medical care”). Although the Second Court

Appointed Expert (“Court Expert”) 58 opined there were several inadequacies with IDOC’s medical

program, the court finds the Court Expert’s analysis flawed.

         192.    Mortality rates are a critical benchmark used to evaluate the quality and

performance of healthcare systems, and the Court Expert has admitted the sample of patients

selected for the Court Expert’s mortality review cannot be extrapolated to the entire IDOC inmate

population. Second Court Expert’s IDOC Summary Report at 91. However, the U.S. Department

of Justice (Bureau of Justice Statistics) tracks inmate deaths, and in fact, in 2014, the latest year of

available statistics, the IDOC had the sixth lowest mortality rate (182/100,000 inmates) of the 50

state systems. Id. at 90. The average mortality rate of state correctional systems was 275 per

100,000 inmates. Id. Accordingly, the record does not allow the Court to conclude that IDOC’s

program has rendered medical treatment “constitutionally inadequate for all inmates” Cleveland-




58
  “Court Expert” shall refer to the Second Court Appointed Expert (Dr. Mike Puisis) and also shall include the
Medical Investigation Team, listed in the draft report as consisting of: Mike Puisis, DO; Jack Raba, MD; Madie
LaMarre MN, FNP-BC; Catherine M. Knox RN, MN, CCHP-RN; and Jay Shulman, DMD, MSPH.

                                                        41
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 407 of 409 PageID #:14176




Purdue, 881 F.2d at 430–31, or have resulted in “the inmate population [being] effectively denied

access to adequate medical care,” Wellman, 715 F.3d at 272.

        193.    As to the required level of subjective knowledge of substantial harm, although there

is no question that prison officials were aware that the Department faces challenges delivering

medical and dental care to the inmate population, there are challenges inherent in delivering

medical and dental care in any setting as healthcare delivery is an imperfect process fraught with

both system and human error. Errors such as these do not rise to the level of constitutional

violations. Moreover, the record does not show that prison officials were aware that any of the

alleged failures were resulting in substantial harm to prisoners or were effectively denying medical

or dental care to the plaintiff class. Indeed, the Court Expert concluded that “IDOC leadership is

unaware that they have preventable deaths.” Second Court Expert’s IDOC Summary Report at 91.

        194.    Most significantly, the Court cannot conclude that prison officials are being

deliberately indifferent to the need to deliver adequate medical and dental care to the plaintiff class.

The Court notes that the Court Expert’s Report found that the health program of IDOC continues

to face challenges since the First Court Expert’s Report, but is unpersuaded that the Court Expert’s

findings rise to the level of constitutional violations.

Moreover, based on the record, the Court cannot conclude the Department was aware of a

substantial risk and chose to ignore it. The Department has clearly taken action to remedy the

deficiencies asserted in the Court Expert’s Report. Notably, between 2014 and 2018 the

Department has increased the total number of medical related positions within the five facilities

reviewed by the Court Expert by thirty-three (33) percent. (Statewide Summary Report, pp. 26-

27). Likewise, medical staff in IDOC per 1000 inmates increased by 33% from 2014 to 2018.

Additionally, IDOC and the University of Illinois have executed an agreement that directs the



                                                  42
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 408 of 409 PageID #:14177




university’s College of Nursing Institute for Health Care Innovation to develop a comprehensive

quality improvement program so that IDOC will deliver high quality and safe health care reliably

to offender patients. (Defs’ Ex. – IDOC/U of I agreement; testimony of Dr. Meeks). Indeed, even

the Court Expert noted improvements from the First Court Expert’s Report in the areas of (1)

leadership; (2) intrasystem transfers; (3) nursing; (4) nursing sick call; (5) chronic care; (6) dental

care orientation manuals; (7) dental specialists; and (8) dental extractions. (See Statewide

Summary Report). Given these facts, Plaintiff have failed to prove Defendants continual disregard

of the Plaintiff class’ objectively intolerable risk of harm proceeding into the future as is required

for an injunction. See Farmer, 511 U.S. at 846.

       195.    Additionally, the Court concludes that even if constitutional violations were

proven, the relief sought by Plaintiffs is not narrowly tailored to the alleged constitutional

violations as required by the Prison Litigation Reform Act (“PLRA”). See 18 U.S.C. § 3626(A);

see also Brown v. Plata, 563 U.S. 493, 539 (2011). The relief requested by Plaintiffs goes far

beyond constitutional adequacy and even the community standard.

       Dated: November 28, 2018



                                                       Respectfully Submitted,

LISA MADIGAN                                           /s/ Nicholas S. Staley
Attorney General of Illinois                           NICHOLAS S. STALEY
                                                       Assistant Attorney General
                                                       General Law Bureau
                                                       Office of the Illinois Attorney General
                                                       100 West Randolph Street, 13th Floor
                                                       Chicago, Illinois 60601
                                                       (312) 814-3588
                                                       nstaley@atg.state.il.us

                                                       Attorney for Defendants



                                                  43
Case: 1:10-cv-04603 Document #: 785 Filed: 12/03/18 Page 409 of 409 PageID #:14178




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on November 28, 2018 he electronically filed the foregoing
document with the Clerk of the Court for the Northern District of Illinois by using the CM/ECF
system. All participants in the case are registered CM/ECF users who will be served by the
CM/ECF system.




                                                   /s/ Nicholas S. Staley
                                                   NICHOLAS S. STALEY




                                              44
